Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 1 of 335 PageID #: 10




                    16th JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN
                                          STATE OF LOUISIANA


  NO. 85926-A                                                                         DIVISION:


                                             GILBERT DUGAS
                                                 VERSUS
                           ACE AMERICAN INSURANCE COMPANY, ET AL


                                INDEX OF STATE COURT RECORDS
                                                                                                      ;;


 NO.       PLEADING                                                       PARTY            DATE
                                                                                           FILED
    1.     Petition; Interrogatories and Requests for Production of       Plaintiff        10/12/17
           Documents; Cover letter to Clerk of Court; Court's Fax
           Confirmation Sheet; Fax Transmission Report (Fax Filed)
    2.     Cover letter to Clerk of Court; Petition; Interrogatories      Plaintiff        10/16/17
           and Requests for Production of Documents (Originals)
    3.     Citation to Pilot Travel Centers (to serve Petition,           Court            10/17/17
           Interrogatories and Requests for Production of Documents)
    4.     Citation to Ace American Insurance Company (to serve           Court            10/17/17
           Petition, Interrogatories and Requests for Production of
           Documents)
    5.     Citation to Progressive Security Insurance Company (to         Court            10/17/17
           serve Petition, Interrogatories and Requests for Production
           of Documents); Sheriff cover sheet
    6.     Citation to CRST Expedited Inc. (to serve Petition,            Court            10/17/17   :1
           Interrogatories and Requests for Production of                                             ::l
           Documents); Sheriff Cover Sheet
    7.     Citation to Mark Strauss (to serve Petition, Interrogatories   Court            10/17/17
           and Requests for Production of Documents)
                                                                                                      1
    8.     NEW CIVIL SUIT FILING CERTIFICATION                            Court            10/12/17
    9.     Cover letter to Clerk; First Supplemental and Amending         Plaintiff        10/16/17
           Petition; Fax Confirmation; Fax Transmission Report (Fax
           Filed)
    10.    Cover letter to Clerk; First Supplemental and Amending         Plaintiff        10/18/17
           Petition (Originals Filed)
    11.    Citation to Ace American Insurance Company (to serve           Court            10/20/17
           First Supplemental and Amending Petition)
    12.    Citation to Mark Strauss (to serve First Supplemental and      Court            10/20/17
           Amending Petition)
    13.    Citation to CRST Expedited Inc. (to serve First                Court            10/20/17
           Supplemental and Amending Petition); Long Arm Statute                                      I
           service sheet                                                                               :!

    14.    Citation to Progressive Security Insurance Company (to                                     !3
                                                                          Court            10/20/17     !
           serve First Supplemental and Amending Petition); Service
                                                                                                       !
           through Secretary of State service sheet
    15.    Citation to Pilot Travel Centers LLC (to serve First           Court            10/20/17
           Supplemental and Amending Petition)
    1 6.   Court's Fax Confirmation sheet (filing First Supplemental      Court            10/18/17
           and Amending Petition)                                                                     :


    1 7.   Service Information of Citation to Pilot Travel Centers        Court            10/24/17
           (serving Petition, Interrogatories and Requests for
           Production of Documents on 10/17/1 7) ; Notice of Service
                                                                                                       ;l




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                  16th JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN
                                          STATE OF LOUISIANA

  NO. 85926-A
                                                                                                         ;i
                                                                                        DIVISION:


                                             GILBERT DUGAS
                                                   VERSUS
                           ACE AMERICAN INSURANCE COMPANY, ET AL

                                                                                                          ;;

    18.    Service Information of Citation to Ace American Insurance       Court             10/24/17
           Company (serving Petition, Interrogatories and Requests
           for Production of Documents on 10/24/17); Notice of
           Service
    19.    Service Information of Citation to Progressive Security         Court             10/26/17
           Insurance Company (serving First Supplemental and
           Amending Petition on 10/26/17); Notice of Service
    20.    Service Information of Citation to Progressive Security         Court             10/24/17
           Insurance Company (serving Petition, Interrogatories and
           Requests for Production of Documents on 10/24/17);
           Notice of Service
                                                                                                        3
    21 .   Service Information of Citation to Ace American Insurance       Court             11/03/17
           Company (serving First Supplemental and Amending
           Petition on 10/26/17); Notice of Service
    22.    Cover letter to clerk; Answer to Petition for Damages and       Def,              11/1/17    'i
                                                                                                         i
           Request for Trial by Jury; Request for Notice; Jury Order       Progressive
                                                                           Security
                                                                           Insurance Co
    23.    Letter from Clerk of Court to counsel for Progressive           Court             11/8/17
           Security Insurance Co re Order granting jury trial
    24.    Service Information of Citation to Pilot Travel Centers         Court             11/8/17
           LLC (serving First Supplemental and Amending Petition
           on 10/23/17); Notice of Service
    25.    Cover letter to clerk; Answer and Affirmative Defenses to       Def, Ace          11/21/17
           Original Petition and First Supplemental and Amending           American
           Petition and Request for Trial by Jury; Jury Order;             Insurance Co
           Request for Notice                                                                           i:i
                                                                                                        y
    26.    Letter from Clerk of Court to counsel for Ace American          Court             11/29/17
           Insurance Co re Order granting jury trial
    27.    Cover letter to clerk; Request for Notice of Trial Date, Etc.   Def, Pilot        12/7/11
                                                                           Travel
                                                                           Centers
    28.    Cover letter to Clerk; Answer to Petition for Damages and       Def, Pilot        1/30/18
           First Supplemental and Amending Petition for Damages            Travel
                                                                           Centers
    29.    Letter from Clerk of court to counsel for Pilot Travel          Court             2/2/186
                                                                                                        j
           Centers re: Order granting jury trial
    30.    Letter to Clerk; Motion to Compel Plaintiffs' Discovery         Def, Ace          2/8/18        i
           Responses and Deposition Testimony with Date;                   American
           Memorandum in Support of Motion to Compel; (Fax                 Insurance and                 :j
           Filed)                                                          CRST                          H
                                                                                                         ;.i



                                                                           Expedited
    31.    Fax transmission report                                         Court             2/8/18
    32.    Letter to Clerk; Motion to Compel Plaintiffs' Discovery
           Responses and Deposition Testimony with Date; Rule to
                                                                           Def, Ace          2/8/18     !
                                                                           American
           Show Cause; Memorandum in Support of Motion to                  Insurance and
                                                                                                        -
           Compel; (Fax Filed)                                             CRST
                                                                           Expedited


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                                                                                                        5j
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                   16fll JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN
                                          STATE OF LOUISIANA                                         j




  NO. 85926-A                                                                        DIVISION:


                                             GILBERT DUGAS
                                                  VERSUS
                           ACE AMERICAN INSURANCE COMPANY, ET AL
                                                                                                     -i



    33.    Fax confirmation (of Ace American Insurance's Motion to       Court            2/8/18     :Z
           Compel)                                                                                    :i
    34.    Fax confirmation (of Ace American Insurance's Motion to       Court            2/8/18
           Compel with 3 services);    Fee due $560.00; Court's fax
           transmission report                                                                         !
                                                                                                      ')J



    35.    Letter to Clerk; Motion to Compel Plaintiffs' Discovery       Def, Ace         2/9/18
                                                                                                     j
           Responses and Deposition Testimony with Date; Rule to         American
           Show Cause; Memorandum in Support of Motion to                Insurance and
           Compel; Court's Fax Confirmation (Originals Filed)            CRST
                                                                         Expedited
    36.    Citation Rule to Plantiffs; Sheriff service sheet (to serve   Court            2/15/18
           Rule, Motion to Compel and etc.)
                                                                                                     .Z
    37.    Citation Rule to Pilot Travel Centers, LLC                    Court            2/15/18
    38.    Citation Rule to Progressive Security Insurance Company;      Court            2/15/18
           Sheriff service sheet (to serve Rule, Motion to Compel and
           etc.)                                                                                       5
                                                                                                     :'lj
    39. Notice of Fixing Case for Trial to Plantiffs; Sheriff service    Court            2/15/18
           sheet (to serve Rule, Motion to Compel and etc.)
    40.    Sheriffs Service Information of Citation Rule to              Court            2/20/18
           Progressive Security Insurance Company; Notice of
           Service sheet (to serve Rule, Motion to Compel and etc.)
    41 .   Citation Rule to Pilot Travel Centers, LLC; Sheriff service   Court            2/20/18    Z
           sheet (to serve Rule, Motion to Compel and etc.)
    42.    Sheriffs Service information on Plantiffs; Notice of          Court            2/20/18
           service sheet (to serve Rule, Motion to Compel and etc.)
    43.    Defendants' Motion to Continue and ReSet Hearing with         Def, Ace         03/19/18
           date on Motion to Compel Plaintiffs' Discovery Responses      American
           and Deposition Testimony with Date; Rule to Show Cause;       Insurance and
           Memo in Support (FAX FILED)                                   CRST
                                                                                                     Z
                                                                         Expedited                   Z
    44.    Fax confirmation of Def s Motion to Continue and ReSet        Court            3/20/18
           Hearing; Courts fax transmittal report
    45.    Ltrto Clerk; Motion to Substitute Counsel of Record;          Defs, Pilot      03/20/18
           Signed Order                                                  Travel Ctrs
                                                                         and Ace
                                                                         American
                                                                         Insur Co
    46.    Ltr to Clerk; Notice of Change of Address (for Sean           Def,             03/22/18   ;;i
           Rabalais)                                                     Progressive
                                                                         Security
                                                                         Insur Co
    47.    Defendants' Motion to Continue and ReSet Hearing with         Def, Ace         03/26/18
           date on Motion to Compel Plaintiffs' Discovery Responses      American
           and Deposition Testimony with Date; SIGNED Rule to            Insurance and
           Show Cause; Memo in Support (ORIGINALS FILED)                 CRST
                                                                         Expedited
    48.    Notice / Entry re: Motion to Compel; no parties present       Court            3/27/18
           for hearing; note that Motion to Continue was filed                                        ::




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                  16th JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN
                                        STATE OF LOUISIANA


  NO. 85926-A                                                                        DIVISION:


                                           GILBERT DUGAS
                                               VERSUS
                          ACE AMERICAN INSURANCE COMPANY, ET AL
                                                                                                     i;.:

    49.   Notice of Fixing Trial on the Motion to Compel Pltf s          Court            03/28/18
          Discovery Responses and Disposition Testimony                                              Zi
                                                                                                     A
    50.   Notice of Service (of Notice of Fixing Case for Trial) upon    Court            03/28/18
          Plaintiffs
    51. Notice of Service (of Notice of Fixing Case for Trial) upon      Court            03/28/18
        Pilot Travel Centers
                                                                                                     Z
    52. Notice of Service (of Notice of Fixing Case for Trial) upon      Court            03/28/18
                                                                                                     Z
          Progressive Security Insurance Company
    53.   Letter to Clerk; Request for Written Notice                    Defs, Pilot      03/28/18
                                                                         Travel Ctrs
                                                                         and Ace
                                                                         American
                                                                         Insur Co
    54. Notice of Service (of Notice of Fixing Case for Trial) upon      Court            04/03/18
        Plaintiffs
    55.   Notice of Service (of Notice of Fixing Case for Trial) upon    Court            04/09/18
                                                                                                       ;!
          Pilot Travel Centers
    56. Notice of Service (of Notice of Fixing Case for Trial) upon      Court            04/09/18
        Progressive Security Insurance
                                                                                                       I
    57.   Notice / Entry re: Motion to Compel; no parties present        Court            05/11/18
          for hearing; note parties will submit Consent Judgment
    58.   Letter to Judge re: remove 6/25/18 hearing on Motion to        Defs, Ace        06/20/18
          Compel from docket (Fax Filed)                                 American
                                                                         Insur and
                                                                         CRST
                                                                         Expedited
    59.   Fax confirmation re: request to remove 6/25/1 8 hearing        Court            06/20/18
          from docket; Court instructed that Request to Remove be
          sent to Clerk's office; Court's fax transmittal report
    60.   Letter to Clerk re: remove 6/25/1 8 hearing on Motion to       Defs, Ace        06/22/18    i
          Compel from docket (Fax Filed)                                 American
                                                                         Insur and
                                                                         CRST
                                                                         Expedited                   Z
    61.   Letter to Clerk re: remove 6/25/18 hearing on Motion to        Defs, Ace        06/27/18
          Compel from docket w/ Court Confirmation and our               American
          Firm's fee check (Original Filed)                              Insur and
                                                                         CRST
                                                                         Expedited
    62.   Letter to Clerk; Motion for Leave to File Amended              Defs, Pilot      07/30/18
          Answer, and Incorporated Memorandum in Support of              Travel Ctrs
          Motion; Signed Order; Amended Answer                           and Ace
                                                                         American
                                                                         Insur Co
    63.   Court's Certificate of Notice of signing Motion for leave to   Court            08/03/18
          file Amended Answer on Plaintiffs; Sheriffs service
          certificate




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                                           STATE OF LOUISIANA


  NO. 85926-A                                                                         DIVISION:


                                             GILBERT DUGAS
                                                VERSUS
                          ACE AMERICAN INSURANCE COMPANY, ET AL


    64.   Sheriffs service return (re: Court's Certificate of Notice of   Court            08/06/18
          signing Motion for leave to file Amended Answer on
          Plaintiffs )
    65.   Letter to Clerk; Ex Parte Motion to Withdraw and                Defs, Pilot      08/17/18
          Substitute Counsel of Record (Fax Filed)                        Travel Ctrs                  !
                                                                          and Ace
                                                                          American
                                                                          Insur Co
    66.   Fax confirmation of Ex Parte Motion to Withdraw;                Court            08/20/18
          Court's fax transmittal report
    67.   Letter to Clerk; Ex Parte Motion to Withdraw and                Defs, Pilot      08/23/18
          Substitute Counsel of Record (Original Filed); Signed           Travel Ctrs
          Order                                                           and Ace
                                                                          American
                                                                          Insur Co
    68.   Letter to Clerk; Motion for and Judgment of Dismissal           Plaintiff        09/19/18
                                                                                                      /
          without prejudice Pilot Travel Centers, LLC (Fax Filed)                                     -i




    69.   Fax confirmation of Motion for and Judgment of                  Court            09/20/18
          Dismissal; Court's fax transmittal report
    70.   Letter to Clerk; Motion for and Judgment of Dismissal           Plaintiff        09/25/18
          without prejudice Pilot Travel Centers, LLC (Original
          F iled) ; Signed Order
    71.   Court certificate: Notice of signing of Motion for and          Court            09/27/18
          Judgment of dismissal; sheriff certificate for service
    72.   Sheriffs service return upon Plaintiffs (re: Court's            Court            10/02/18   1
          Certificate of Notice of signing Motion for and Judgment
          of dismissal)
    73.   Letter to Clerk; Motion to Compel and Incorporated              Def,             10/25/18
          Memo in Support; Order/Rule to Show Cause (Signed by            Progressive
          Judge)                                                          Security                    'Si
                                                                                                       :!
                                                                          Insur Co
    74.   Rule 10.1 Certificate of Conference                             Def,             10/26/18
                                                                          Progressive
                                                                                                       ;j
                                                                          Security
                                                                          Insur Co
    75.   Certificate Rule to Plaintiffs (hearing 12.5.18)                Court            10/31/18
    76. Notice of Fixing Trial on the Motion to Compel Pltf s             Court            10/31/18
          Discovery Responses
    77.   Sheriffs service information on Certificate Rule to             Court            11/05/18
          Plaintiffs
    78. Notice / Entry re: Motion to Compel; no parties present           Court            12/05/18    :!
          for hearing; note Motion was not addressed in open court
    79.   Letter to Clerk; Request for service of original Petition,      Plaintiff        03/20/19
          Interrogatories and Request for Production of Documents
          be served upon Mark Strauss




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                 16th JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN
                                                                                                   2
                                       STATE OF LOUISIANA


  NO. 85926-A                                                                      DIVISION:


                                          GILBERT DUGAS
                                               VERSUS
                                                                                                    ;!
                          ACE AMERICAN INSURANCE COMPANY, ET AL


    80.   Citation for service Via Long Arm Statute of original        Court            03/25/19
          Petition, Interrogatories and Request for Production of
          Documents be served upon Mark Strauss; Service request
          to Sheriff
    81.   Letter to Clerk; Partial Motion and Order to Dismiss with    Def,             03/26/19
          Prejudice and with Reservation of Rights (dismissing         Progressive
          Progressive Security Insurance Co); Signed Order             Security Insur
                                                                       Co
    82.   Certificate of signing Partial Motion and Order to Dismiss   Court            03/27/19
          Progressive Security Insurance Company
    83.   Letter to Clerk; Affidavit of Janey DeRouen, Secretary for   Plaintiff        05/06/19
          counsel for plaintiff regarding service on Mark Strauss




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          GILBERT DUGAS                                           H Ji^ipiAL DISTRICT COURT

                                                   i      I I       jpBS»        '
          VERSUS                                          m       MFfiXNUMBER:

          ACE AMERICAN INSURANCE COMPANY,                      ST. MARTIN PARISH
          CRST EXPEDITED INC., MARK STRAUSS,
          PILOT TRAVEL CENTERS LLC -STORE                      STATE OF LOUISIANA
          #274, AND PROGRESSIVE SECURITY
          INSURANCE COMPANY



                                                       PETITION


                NOW INTO COURT, comes Petition, GILBERT DUGAS, a resident of the full age of

         majority of the Parish of St. Martin, State of Louisiana, who with respect represents:


                                                          1.


                Made Defendants herein are:

                A       ACE AMERICAN INSURANCE COMPANY, a foreign insurer licensed to do and
                        doing business within the State of Louisiana, which at all times relevant herein
                        provided insurance coverage for its insured employee, MARK STRAUSS;


                B.      CRST EXPEDITED INC., a company believed to be licensed to do and doing
                        business within the State of Louisiana;


                C.      MARK STRAUSS, believed to be a resident of the State of California, by reason
                        and belief at all times herein was acting in the course and scope of his employment
                        with CRST EXPEDITED INC;


                D.     PILOT TRAVEL CENTERS LLC - STORE #274, a company licensed to do and
                       doing business within the State of Louisiana;


                E.     ABC INSURANCE COMPANY, a foreign insurer licensed to do and doing
                       business within the State of Louisiana, which at all times relevant herein provided
                       insurance coverage for its insured, PILOT TRAVEL CENTERS LLC - STORE
                       #274; and                                                          "

                F.     PROGRESSIVE SECURITY INSURANCE COMPANY, a foreign insurer
                       licensed to do and doing business within the State of Louisiana, that at all times
                       relevant herein provided a policy of uninsured and/or underinsured motorist
                       coverage to Petitioner, GILBERT DUGAS, which policy provides insurance for
                       the uninsured and/or underinsured portion of the damages alleged herein, including
                       but not limited to the uninsured/underinsured liabilities of Defendant, MARK
                       STRAUSS, alleged herein for the damages to Petitioner, GILBERT DUGAS.

                                                         2.


                On or about October 31,2016, Petitioner, GILBERT DUGAS, was operating a 20 1 2 Honda

         Accord owned by Rachel Dugas in the parking lot of Defendant, PILOT TRAVEL CENTERS

         LLC - STORE #274, when suddenly, negligently, and without warning, a 2016 FRT 18 Wheeler

         owned by Defendant, CRST EXPEDITED INC., and operated by Defendant, MARK STRAUSS,

         by reason and belief carelessly side-swiped the 2012 Honda Accord causing severe injury and

         damages to Petitioner, GILBERT DUGAS,




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                                                                                        >




                                                            3.


                The above described collision resulted from the fault and/or negligence of Defendant,


         MARK STRAUSS, in the following non-exclusive particulars:


                A.      Failing to see what he should have seen;

                B.      Careless operation of a motor vehicle;


                C.      Not paying attention while operating a motor vehicle;


                D.      Failure to keep a proper lookout;

                E.      Failing to brake in time to avoid the collision;

                F.      In operating his vehicle in a careless and reckless fashion;

                G.      In failing to maintain control of his vehicle;

                H.      In causing a collision; and


                I.      Any and all other acts ofnegligence and/or legal fault which will be proved

                        at the trial on the merits.


                                                          4.


                The above described collision resulted from the fault and/or negligence of Defendant,

         PILOT TRAVEL CENTERS LLC — STORE #274, in the following non-exclusive particulars:

                A.      Failure to prohibit 1 8 wheeler traffic from traveling in gas bays;

                B.      Failure to enforce industry practices regarding movement of big rigs upon a gas

                        station premises; and


                C.      Any and all other acts ofnegligence and/or legal fault which will be proved

                        at the trial on the merits.

                                                          5.


                As a result of the above described collision, Petitioner, GILBERT DUGAS, sustained

         serious and permanent injuries that have resulted in past and future physical and mental pain and

         suffering, past and future loss of enjoyment of life, past and future loss of earnings and loss of

         earning capacity, that has necessitated that they incur medical expenses, both past and future, all

         ofwhich entitles them to recover a sum reasonable in the premises.

                                                            6.


                At this time, damages suffered by Petitioner, GILBERT DUGAS, exceeds $50,0000.00,

         exclusive of interest and costs, however, Petitioner, GILBERT DUGAS, reserves the right to

         amend this Petition at any time.




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                 WHEREFORE, Petitioner, GILBERT DUGAS, prays that a certified copy of this Petition

         be served upon Defendants, ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED


         INC., MARK STRAUSS, PILOT TRAVEL CENTERS LLC - STORE #274, ABC INSURANCE


         COMPANY, and PROGRESSIVE SECURITY INSURANCE COMPANY, and that after due

         proceedings are had there be judgment herein in favor of Petitioner, GILBERT DUGAS, and

         against Defendants, ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC.,


         MARK STRAUSS, PILOT TRAVEL CENTERS LLC - STORE #274, ABC INSURANCE

         COMPANY, and PROGRESSIVE SECURITY INSURANCE COMPANY, jointly, severally and

         in solido in a sum reasonable in the premises together with legal interest from the date ofjudicial


         demand unti 1 paid, for all cost of these proceedings, and for all remedies available under Louisiana

         law.




                                                               Respectfully submitted,


                                                               BROUSSAREf & DAVID, LLC




                                                               JEROME H.VMOROUX (#32666)
                                                               557 Jefferson Street
                                                               P.O. Box 3524
                                                               Lafayette, Louisiana 70502-3524
                                                               PH: 337-233-2323
                                                               FX: 337-233-2353
                                                               EMAIL: ierome@broussard-david.com
                                                               COUNSEL FOR PLAINTIFF
                                                               GILBERT DUGAS




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          PLEASE SERVE:

          ACE AMERICAN INSURANCE COMPANY
          Through its Registered Agent for Service of Process:
          Louisiana Secretary of State
          8585 Archives Avenue
          Baton Rouge, LA 70809


          CRST EXPEDITED INC.
          [VIA LOUISIANA LONG ARM STATUTE]
          1332 Edgewood Road SW
          Cedar Rapids, Iowa 52406


          MARK STRAUSS
          [VIA LOUISIANA LONG ARM STATUTE]
          740 Camelback Drive
          Armuda Dunes, CA 92201


          PILOT TRAVEL CENTERS LLC - STORE #274
          2112 Rees Street
          Breaux Bridge, LA 70517


          PROGRESSIVE SECURITY INSURANCE COMPANY
          Through its Registered Agent for Service of Process:
          CT Corporation System
          3867 Plaza Tower Drive
          Baton Rouge, LA 708 16




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            GILBERT DUGAS                                          16™ JUDICIAL DISTRICT COURT

            VERSUS                                                 DOCKET NUMBER:

            ACE AMERICAN INSURANCE COMPANY,                        ST. MARTIN PARISH
            CRST EXPEDITED INC., MARK STRAUSS,
            PILOT TRAVEL CENTERS LLC - STORE                       STATE OF LOUISIANA
            #274, AND PROGRESSIVE SECURITY
            INSURANCE COMPANY



                INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS

                   TO:     ACE AMERICAN INSURANCE COMPANY


                           CRST EXPEDITED INC.

                           MARK STRAUSS


                           PILOT TRAVEL CENTERS LLC - STORE #274

                           PROGRESSIVE SECURITY INSURANCE COMPANY

                   NOW INTO COURT, through undersigned counsel, come Petitioner, GILBERT DUGAS,

           who propound the following Interrogatories and Requests for Production of Documents to

           Defendants, ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK


           STRAUSS, PILOT TRAVEL CENTERS LLC - STORE #274, ABC INSURANCE COMPANY,


           and PROGRESSIVE SECURITY INSURANCE COMPANY, as follows:


                                                 INTERROGATORIES


           INTERROGATORY NO. 1

           Please set forth your full legal name and present address.


           INTERROGATORY NO. 2

           Please state whether you were involved in a motor vehicle crash at the time and place set forth in

           PlaintiffCs/s') Petition and, ifyou were so involved, please state whether:

           A.      You were a driver or passenger;


           B.     If a passenger, your location within the vehicle which you occupied;

           C.     Name the owner of the vehicle in which you were driving;

           D.     Whether you were in the course and scope of employment

           INTERROGATORY NO. 3


           Do you contend that any of the following caused or contributed to the happening of this crash,

           and/or to any injuries or damages claimed in Plaintiff('s/s') Petition:


           A.     The negligence and/or intentional acts of any Defendants);

           B.     The negligence and/or intentional acts of Plaintiff(s);




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          C.      The negligence and/or intentional acts on the part of anyone not a party to this lawsuit;

          D.      Any defect in any vehicle involved in this crash;


          E.      The negligent maintenance, inspection, repair, or service of any vehicle involved in this


                  crash;

          F.      The negligence and/or intentional acts in operating any vehicle involved in this crash;


          G.      Weather conditions.


          INTERROGATORY NO. 4

          If your answer to any part of the foregoing Interrogatory is in the affirmative, please set forth as to

          each affirmative response:


          A.      Your contention as to each such cause or contributing factor;

          B.      Each fact known to you which supports each contention;


          C.      The name, address, and telephone number of each person known to you who caused or

                  contributed to the crash;


          D.      Everything each such person did or failed to do which you contend caused or contributed

                  to it;


          E.      The name, business and resident address, and telephone number of each person who claims

                  to possess knowledge of any such fact;


          F.      An identification, which such particularity as you would require in a motion to produce, of

                  each and every writing relating to any such contention; and,

          G.      The name, business and residence address, and telephone number of the custodian of any

                  writing, identified in the foregoing subpart to this Interrogatory.

          INTERROGATORY NO. 5


          With respect to the crash which is the subject of Plainliffl['s/s') Petition, please set forth:

          A.      Your estimate of the speed at which your vehicle was traveling at the time of impact and

                  any fact upon which you base that estimate;

          B.      Your estimate ofthe speed at which Petitioners' vehicle was traveling at the time ofimpact

                  and any fact upon which you base that estimate;

          C.      The speed limit applicable to the section of road on which your vehicle was traveling

                  immediately prior to the crash;


          D.      Where your vehicle was coming from and heading at the time of this crash;




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 13 of 335 PageID #: 22



          E.     Details of the specific mission for which you were operating your vehicle, including but

                 not limited to, whether personal or business.


          INTERROGATORY NO. 6

          At the time of the crash;


          A.     Did you have any impairment of vision in either eye? If yes, please:

                 (I)     State which eye;


                         (ii)    Describe the impairment;

         B.      Were you wearing glasses or contact lenses? If yes, please state:


                 (I)     whether they were tinted or colored;


                         (ii)    whether they were bifocal;

                         (iii)   the name and address of the doctor or optometrist who gave you any eye

                                 examination in the last 5 years and the date thereof.

         INTERROGATORY NO. 7

         Please describe the condition of the roadway surface at the time and place of the subject crash,


         staling specifically whether the road was:


         A.     Wet or dry;

         B.      Slippery or slick for any reason;


         C.     Straight, curved, or otherwise;

         D.     Concrete, blacktop, asphalt, or other, and


         E.     Level, uphill or downhill.


         INTERROGATORY NO. 8


         Please set forth how many miles you drove:


         A.     On the date of the subject crash;

         B.     On the day before the subject crash.

         INTERROGATORY NO. 9


         How many hours of sleep did you have:

         A.     In the last 24 hours immediately preceding the subject crash;

         B.     In the 24 hour period immediately preceding the period descried in subpart (a) of this

                Interrogatory;


         C.     How many hours you had been continuously awake prior to this crash.




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 14 of 335 PageID #: 23



          INTERROGATORY NO. 10

          Please state whether you consumed any alcohol, sleeping pills, tranquilizers, medicines, drugs of

          any kind, pills, or injections within 24 hours before this crash.


          INTERROGATORY NO. 1 1

          If your answer to the foregoing Interrogatory is in the affirmative, please set forth:


          A.      The type of each such product consumed;


          B.      The quantity consumed;


          C.      The time and place consumed;


          D.      The identity of any person who witnessed such consumption.


          INTERROGATORY NO. 12

          For each expert who has or claims to have knowledge of facts pertaining to any issue in this

          lawsuit, or for each person in your employ whom you consider to be such an expert, please state:

          A.     Name, address and job classification;


          B.      Employer or associates, if not self-employed;


          C.     Field of competency;


          D.     Educational background, including schools, degrees, and years received;


          E.     Occupational experience, including employers, types of work and dates;

          F.     Other significant qualifications;


          G.     Whether a written report was prepared, and if so, the date of each report; and


          H.     The title, authority, publisher and date of publication of three treatises or other

          INTERROGATORY NO. 13


          For each photograph pertaining to any issue in this lawsuit, including scenes of the crash site,

          which is or has been in your custody, please state:

          A.     The date it was taken;


          B.     The name, address, job classification and employer of the photographer,

          C.     In general, the items, scenes, or persons portrayed, and;

          D.     The name and address of the photograph's present custodian.

          INTERROGATORY NO. 14


          List and describe each other document, hospital records, medical report, statement, chart, diagram,

          log, book, memorandum, video, photograph, tangible item and similar paper or thing pertaining to




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          any issue in this lawsuit which is or has been in your custody or control, indicating the name,


          address and job classification of the present custodian of each.

          INTERROGATORY NO. 15


          For each policy of insurance, including but not limited to all automobile, homeowner, general


          liability, employers liability and excess/umbrella insurance policies, that were in effect on the date


          of Plaintiff 's/s') crash, please state:


          A.      The name and address of the insurer;


          B.      The policy number;

          C.      The types of coverage;


         D.       The limits of liability for each coverage; and

         E.       The nature of any exclusion.


         INTERROGATORY NO. 16


         Please state according to your best information, knowledge and belief, the cause of the crash, which

          is the subject of this litigation.

         INTERROGATORY NO. 17


         Please identify each individual who has any factual knowledge of the physical condition of the

         Plaintiff(s) and the Plaintiff's/s') disability or physical limitations following the crash.

         INTERROGATORY NO. 18

         Please identify any individual who has conducted or attempted to conduct any surveillance on the


         Plaintiffs) and/or captured any photographs or video of Plaintiff(s),

         INTERROGATORY NO. 19


         Please list the names, addresses and telephone numbers of all persons from whom statements have

          been taken by you or anyone whose interest was or is the same as your interest insofar as this

          litigation is concerned, and with whom interviews have been conducted (whether or not a statement

          was taken) by you or anyone whose interest was or is the same as your interest insofar as this

          litigation is concerned. Note, such identifications are discoverable whether or not the actual

          statements are discoverable.


         INTERROGATORY NO. 20


         For each statement listed in your answer to Interrogatory No. 19, please state to whom the

          statement was given, the employer of the person taking this statement, the form of the statement

         (recorded, written, transcribed, oral without transcription, etc.), the date of the statement, and the




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          names, addresses and telephone numbers of all persons who are in the possession of any


          transcription, copy or recordings of the above mentioned statements. This information is required

          to determine the discoverability of the actual statements.

          INTERROGATORY NO. 21

          Please state whether you have sought relief under any provisions of the Bankruptcy Act and if your

          answer is in the affirmative, please state the following:


          A.      The date on which the petition or petitions were filed;                        .

          B.     The entire caption of your petition, including the court docket number, division and judge;

                 and.


          C.     If any Order has been entered in that proceeding granting any relief prayed for in your

                 petition, please attach a copy of the same to your answers hereto.

          INTERROGATORY NO. 22


          For each objection stated in your response to the above interrogatories, please state:

          A.     WUcijiw iuiumiaLiuii bnauLwub witlijieM oi wiicLucx tiic uujtiUioi'i ismaue foi- the purpose


                 of attempting to preserve the right to object to future requests for information of the nature •


                 sought; and,


          B.     If information is actually being withheld, state:

                 1.      A   brief description    of the   information withheld     ["a   list   of names",   "a

                         memorandum", "hand notes", "the statement of (name)", etc.];

                 2.      The pertinent date associated with the information (date of statement, date of


                         memorandum, dale of notice, date of crash, etc.);

                 3.      The author of the information;

                 4.      The name ofthe individual statementized;


                 5.      Whether the information has been previously provided to any third party whether

                         or not a party to this matter;


                 6.      The exact authority upon which you base your objection stating specifically the

                         statutory and jurisprudential authority upon which you rely.

                              REQUESTS FOR PRODUCTION OF DOCUMENTS

          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 1

          Please produce the following:

         A.      Written notices of crash or injury;




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          B.   Crash reports;

          C.   Any and all statements, either oral or written, signed or unsigned, and any memoranda


               relating to the incident complained of herein;

          D.   Medical reports;

          E.   Expert reports;

          F.   Written statements from Plaintiffs);


          G.   Copies of all      documents bearing Plaintiffps/s') signatures, including facsimile of

               signatures;

          H.   Photographs, motion pictures and videos of the crash scene, the Plaintiffs) and any object

               involved in the crash;

          I.   Any and all insurance policies requested in Interrogatory No. 15;


          J.   All documents relating to any investigation of the subject crash including without

               limitation all crash investigation reports, root cause determinations and similar reports, and

               other pertinent documents or things (including but not limited to those listed in answer to

               INTERROGATORY NO. 14);


          K.   All documentation and electronically stored information with respect to the ownership,

               maintenance and use of the vehicle involved in this incident, including but not limited to

               title, damage estimates from this crash, repair invoices from this crash, and for 6 months


               before this accident through one month after: maintenance records, travel logs, and digital

               data, fuel logs, GPS and/or tracking coordinates, speed recordings, black box data, etc.;


         L.    Please produce copies of any and all drug and/or alcohol testing results obtained from

               Defendant(s) after this crash (including but not limited to all testing results mandated by

               DOT, local, state or federal agencies).


         M.    Any and all drug and/or alcohol testing results (complete with litigation packet) for

               Defendant(s), including but not limited to drug and/or alcohol testing results taken before

               and/or after this crash;


         N.    Any and all drug and/or alcohol testing results (complete with litigation packet) for any

               persons taken after this incident;


          O.   Any and all photographs, pictures, video tapes, motion pictures, records and any other

               depictions or written description, etc., involving, concerning, regarding or in any way




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                  connected with the area of the occurrence and facts of the accident complained of herein;


                  and,


          P.      Copies of ail documents bearing Plaintiff^'s/s*) signatures,          including facsimile of


                  signatures.


          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 2

          Please produce a copy of each crash report prepared by you or at your request concerning the crash


          which is the subject matter of this litigation including, but not limited to, all crash reports or other


          notices filed with state or federal agencies.


          REQUEST FOR PRODUCTION OF DOCUMENTS WO. 3


          Please produce a copy of all fuel records, tickets, citations, inspections, receipts or summaries for

          the vehicle in question for 201 6 and 2017.


          REQUEST FOR PRODUCTION OF DOCUMENTS NO. 4


          Please produce a copy of all surveillance information in your possession or in your control, whether

          or not you intend to use the same at trial, including:


          A.     All information showing the identification of the individuals who conducted or attempted


                 to conduct such surveillance.

         B.      AH information showing the dates on which such surveillance was attempted or conducted.


          C.     Copies of all photographs, videos, films, still photography, movies, or other recordings


                 made during such surveillance or attempted surveillance.

          D.     All notes, memorandums, surveillance logs, or other written, digitally recorded, typed or

                 documented information concerning this surveillance, including surveillance notes,

                 records, logs, reports, rough diagrams, rough notes, time sheets, and invoices for such

                 activities.


         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 5

         Please provide a copy of any and all mobile phone usage documentation {bills, statements, etc.

         documenting specific messaging and call data) for the entire month of July 2017 for any phones

         used by Defendants).


         REQUEST FOR PRODUCTION OF DOCUMENTS NO. 6

         Please provide a complete copy of Defendant('s/s') violations of motor vehicle traffic laws.




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                        REQUEST FOR PRODUCTION OF DOCUMENTS WO. 7

                        Please provide a complete copy of all vehicle maintenance records of the vehicle involved in the


                        accident that is the subject of this litigation.


                        REQUEST FOR PRODUCTION OF DOCUMENTS WO. 8

                        Please provide a copy of all post-accident repair records, documentation and/or invoices with


                        respect to the vehicle involved in the in the accident that is the subject of this litigation.


                        REQUEST FOR PRODUCTION OF DOCUMENTS NO. 9


                        Please provide a copy of Defendant('s/s') driver's license.




                                                                                Respectfully submitted,

                                                                                BROUSS     ARL   & DAVID, LLC




                                                                                JEROME HLWOROUX (#32666)
                                                                                557 Jefferson Street
                                                                                P.O. Box 3524
                                                                                Lafayette, Louisiana 70502-3524
                                                                                PH: 337-233-2323
                                                                                FX: 337-233-2353
                                                                                EMAIL: ierome@broussard-david.com
                                                                                COUNSEL FOR PLAINTIFF
                                                                                GILBERT DUGAS

                        PLEASE SERVE:


                        SAME AS ABOVE




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                                          JUSTICE.              OBTAINED.
             Jerome H. Moroux                          Attorneys At Law                 (337)233-2323 Telephone
        A Professional Law Cotporalion                557 JefTerson Street                    (337)233-2353 Fax
                                                     Post Office Box 3524                (800) 337-2323 Toll Free
                                                Lafayette. Louisiana 70502-3524



                                                   October 12, 2017

  Via Facsimile - 337-394-2240 & U.S. Mail
  St Martin Parish Clerk of Court .
  415 St. Martin Street
  P.O. Box 308
  St. Martinville, LA 70582                 .


  Re:      Gilbert Dugas versus Ace American Insurance Company, CRST Expedited Inc., Mark
           Strauss, Pilot Travel Centers LLC - Store #274, ABC Insurance Company, and Progressive
           Security Insurance Company


  Dear Clerk:


           Please find enclosed the original and service copies of a Petition, Interrogatories, and
  Request for Production of Documents for filing in the above captioned matter. Please serve all
  pleadings on the Defendants indicated and notify me when service has been made. Please return
  the enclosed copy of this correspondence showing the docket number and date and time of filing.
  Also enclosed is our check in the amount of $_ to cover the cost of filing and service fees.


           In accordance with LSA-C.C.P. Article 1 572, you are requested to give us written notice
  by mail, ten days in advance, of the date fixed for the trial or hearing of this case, whether on
  exceptions, motions, rules or the merits.   We also request immediate notice of all orders or
  judgments, whether interlocutory or final, made or entered in this case upon the rendition thereof
  as provided by LSA-C.C.P. Articles 1913 and 1914, including notice ofjudgment in the event this
  case is taken under advisement, or if the judgment is not signed at the conclusion of this trial.

          With kind regards, 1 am
                                                                                II
                                                                        Yours 1 ruly,




                                                                        JEROME H.            IX
  JHM:nt
  Attachments/Enclosures




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         DUGAS, GILBERT
                                                                                                  Case: 085926
                                                                                                  Division: A
         Versus
                                                                                                   16th Judicial District Court
                                                                         I
                                                                        t                         Parish of St. Martin
        /ICE AMERICAN INSURANCE COMPANY - ETAL
                                                                       r                          State of Louisiana
                                                                                                   fax ID # 726001272




         TOD       HEREBY INFORMED BY THIS FAX CONFIRMATION NOTICE THAT THE FOLLOWING HAS
        BEEN FILED BY FACSIMILE.




        DATE FAX TRANSMISSION RECEIVED: 10,12.17


        DESCRIPTION OF TRANSMISSION: DAMAGES


        FILED ON BEHALF OF:


        PERSON SIGNING PLEADING: J. MOROUX




    :    This is to acknowledge that the above describedfacsimile transmission was received andfiled on the date
        shown above as per LA R.S. 13:850.


        The original pleading is to be forwarded within SEVEN (7) days, exclusive of legal holidays, ofthis
        confirmation together with the $5. 00 transmission fee; $15. 00 fee for this confirmationfWILL BE ADDED
                                                                                                                 TO
    ;   AMOUNT DUE); the correct filingfee to cover the cost offiling the facsimile copy as well as the original
        pleading and any balance of costs due.   When the original pleading is received, the file mark will indicate the
        actual date it is received.


        The record will contain the facsimile pleading, this confirmation and the original pleading, PLEASE ADD
        CASE NUMBER.




                                                                BECKY P. PATIN
                                                                Clerk ofthe 16th Judicial District Court for
                                                               St. Martin Parish, Louisiana




                                                         BY:


                                                               Deputy Clerk of Court




.       Confirmation faxed to number: 233.2353


        Date confirmation faxed: 10.12.17


        Amount due: $932.00


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                                                                                 Transmission Report

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                                             mu WE HEREBY INFORMED BY THIS FAX CONFIRMATION.NOTICE THAT THE FOLLOWING IL1S
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                                            DATE I "AX TRANSMISSION RECEIVED: 10.12, 17

                                            DESCRIPTION OF TRANSMISSION: DAMAGES


                                            FILED ON BEHALF OF:

                                            PERSON SIGNING PLEADING: J. MOROUX




                                            This ix to acknowledge thai the above described facsimile transmission was recehwt urn! filed on the dene
                                           shown above as per LA R.S. 13-RM                                                                   '
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                                           The 01 ifiiiiol pleading ix u> be forwarded within SEVEN (?) days, exclusive of legal Irulidavs. ofthis
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                                           pleading and any balance of casts due. H hen the original pleading is received, the file mark will indicate the
                                       .   actual date it ix received.


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abbreviations:
IS: Host send                   PL: Polled local                                 MP: Mailbox print                                CP: Completed                                         TS: Terminated by system
JR: Host receive                PR: Polled remote                                RP: Report                                        FA: Fail                                             G3: Group 3

VS: Waiting send                MS: Mailbo.xsave                                 FF: Fax Forward                                  TU: Terminated by user                                EC: Error Correct




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Case 6:19-cv-00630-TAD-CBW
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                           Document 1-1 Filed 05/16/19 Page 23 of 335 PageID #: 32

                                        B ROUS SARD
                                            DAVID
                                        JUSTICE.         OBTAINED.
            Jerome H. Moroux                     Attorneys At Law                (337)233-2323 Telephone
       A Professional Law Corporation           557 Jefferson Street                (337)233-2353 Fax
                                               Post Office Box 3524              (800) 337-2323 Toll Free
                                          Lafayette, Louisiana 70502-3524



                                             October 12, 2017


 Via Facsimile - 337-394-2240 & U.S. Mail
 St. Martin Parish Clerk of Court
 415 St. Martin Street
 P.O. Box 308
 St. Martinville, LA 70582


 Re:      Gilbert Dugas versus Ace Ajmerican Insurance Company, CRST Expedited Inc., Mark
          Strauss, Pilot Travel Centers LLC - Store #274, ABC Insurance Company, and Progressive
          Security Insurance Company


 Dear Clerk:

       Please find enclosed the original and service copies of a Petition, Interrogatories, and
 Request for Production of Documents for filing in the above captioned matter. Please serve all
pleadings on the Defendants indicated and notify me when service has been made. Please return
the enclosed copy of this correspondence showing the docket number and date and time of filing.
Also enclosed is our check in the amount of $_ to cover the cost of filing and service fees.


       In accordance with LSA-C.C.P. Article 1572, you are requested to give us written notice
by mail, ten days in advance, of the date fixed for the trial or hearing of this case, whether on
exceptions, motions, rules or the merits.   We also request immediate notice of all orders or
judgments, whether interlocutory or final, made or entered in this case upon the rendition thereof
as provided by LSA-C.C.P. Articles 1913 and 1914, including notice ofjudgment in the event this
case is taken under advisement, or if the judgment is not signed at the conclusion of this trial.


          With kind regards, I am
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                                                               Yours truly,




                                                               JEROME H.         HJX
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Attachments/Enclosures



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 GILBERT DUGAS                                         16th JUDICIAL DISTRICT COURT

 VERSUS                                                DOCKET NUMBER:            gsqairt
 ACE AMERICAN INSURANCE COMPANY,                       ST. MARTIN PARISH
 CRST EXPEDITED INC., MARK STRAUSS,
 PILOT TRAVEL CENTERS LLC - STORE                      STATE OF LOUISIANA
 #274, AND PROGRESSIVE SECURITY
 INSURANCE COMPANY




                                            PETITION


        NOW INTO COURT, comes Petition, GILBERT DUGAS, a resident of the full age of


 majority of the Parish of St. Martin, State of Louisiana, who with respect represents:


                                                  1.


        Made Defendants herein are:


        A.      ACE AMERICAN INSURANCE COMPANY, a foreign insurer licensed to do and
                doing business within the State of Louisiana, which at all times relevant herein
                provided insurance coverage for its insured employee, MARK STRAUSS;


        B.      CRST EXPEDITED INC., a company believed to be licensed to do and doing
                business within the State of Louisiana;


        C.      MARK STRAUSS, believed to be a resident of the State of California, by reason
                and belief at all times herein was acting in the course and scope of his employment
                with CRST EXPEDITED INC;


        D.      PILOT TRAVEL CENTERS LLC - STORE #274, a company licensed to do and
                doing business within the State of Louisiana;


        E.      ABC INSURANCE COMPANY, a foreign insurer licensed to do and doing
                business within the State of Louisiana, which at all times relevant herein provided
                insurance coverage for its insured, PILOT TRAVEL CENTERS LLC - STORE
                #274; and


        F.      PROGRESSIVE SECURITY INSURANCE COMPANY, a foreign insurer
                licensed to do and doing business within the State of Louisiana, that at all times
                relevant herein provided a policy of uninsured and/or underinsured motorist
                coverage to Petitioner, GILBERT DUGAS, which policy provides insurance for
                the uninsured and/or underinsured portion of the damages alleged herein, including
                but not limited to the uninsured/underinsured liabilities of Defendant, MARK
                STRAUSS, alleged herein for the damages to Petitioner, GILBERT DUGAS.

                                                  2.


        On or about October 31,2016, Petitioner, GILBERT DUGAS, was operating a 20 1 2 Honda

 Accord owned by Rachel Dugas in the parking lot of Defendant, PILOT TRAVEL CENTERS

 LLC - STORE #274, when suddenly, negligently, and without warning, a 2016 FRT 18 Wheeler

 owned by Defendant, CRST EXPEDITED INC., and operated by Defendant, MARK STRAUSS,

 by reason and belief carelessly side-swiped the 2012 Honda Accord causing severe injury and

 damages to Petitioner, GILBERT DUGAS.
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                                                   3.


       The above described collision resulted from the fault and/or negligence of Defendant,


MARK STRAUSS, in the following non-exclusive particulars:


       A.      Failing to see what he should have seen;


       B.      Careless operation of a motor vehicle;


       C.      Not paying attention while operating a motor vehicle;


       D.      Failure to keep a proper lookout;


       E.      Failing to brake in time to avoid the collision;


       F.      In operating his vehicle in a careless and reckless fashion;


       G.      In failing to maintain control of his vehicle;


       H.      In causing a collision; and


       I.      Any and all other acts of negligence and/or legal fault which will be proved


               at the trial on the merits.


                                                   4.


       The above described collision resulted from the fault and/or negligence of Defendant,


 PILOT TRAVEL CENTERS LLC - STORE #274, in the following non-exclusive particulars:


        A.     Failure to prohibit 1 8 wheeler traffic from traveling in gas bays;


        B.     Failure to enforce industry practices regarding movement of big rigs upon a gas

               station premises; and


        C.     Any and all other acts of negligence and/or legal fault which will be proved

               at the trial on the merits.


                                                   5.


        As a result of the above described collision, Petitioner, GILBERT DUGAS, sustained

 serious and permanent injuries that have resulted in past and future physical and mental pain and

 suffering, past and future loss of enjoyment of life, past and future loss of earnings and loss of

 earning capacity, that has necessitated that they incur medical expenses, both past and future, all

 of which entitles them to recover a sum reasonable in the premises.

                                                    6.


        At this time, damages suffered by Petitioner, GILBERT DUGAS, exceeds $50,0000.00,

 exclusive of interest and costs, however, Petitioner, GILBERT DUGAS, reserves the right to

 amend this Petition at any time.
Case 6:19-cv-00630-TAD-CBW
                      n    Document 1-1 Filed 05/16/19 Page 26 of 335 PageID #: 35
                                                                             \




         WHEREFORE, Petitioner, GILBERT DUGAS, prays that a certified copy of this Petition


 be served upon Defendants, ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED


 INC., MARK STRAUSS, PILOT TRAVEL CENTERS LLC - STORE #274, ABC INSURANCE


 COMPANY, and PROGRESSIVE SECURITY INSURANCE COMPANY, and that after due


 proceedings are had there be judgment herein in favor of Petitioner, GILBERT DUGAS, and


 against Defendants, ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC.,


 MARK STRAUSS, PILOT TRAVEL CENTERS LLC - STORE #274, ABC INSURANCE


 COMPANY, and PROGRESSIVE SECURITY INSURANCE COMPANY, jointly, severally and


 in solido in a sum reasonable in the premises together with legal interest from the date ofjudicial


 demand until paid, for all cost of these proceedings, and for all remedies available under Louisiana


 law.




                                                           Respectfully submitted,


                                                           BROUSSAR® & DAVID, LLC




                                                           JEROME H.VMOROUX (#32666)
                                                           557 Jefferson Street
                                                           P.O. Box 3524
                                                           Lafayette, Louisiana 70502-3524
                                                           PH: 337-233-2323
                                                           FX: 337-233-2353
                                                           EMAIL: j erome@broussard-david. com
                                                           COUNSEL FOR PLAINTIFF
                                                           GILBERT DUGAS




                                    RECEIVED AND FILED

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                           Document 1-1 Filed 05/16/19 Page 27 of 335 PageID #: 36
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 PLEASE SERVE:


 ACE AMERICAN INSURANCE COMPANY
 Through its Registered Agent for Service of Process:
 Louisiana Secretary of State
 8585 Archives Avenue
 Baton Rouge, LA 70809


 CRST EXPEDITED INC.
 [VIA LOUISIANA LONG ARM STATUTE]
 1332 Edgewood Road SW
 Cedar Rapids, Iowa 52406


 MARK STRAUSS
 [VIA LOUISIANA LONG ARM STATUTE]
 740 Camelback Drive
 Armuda Dunes, CA 9220 1


 PILOT TRAVEL CENTERS LLC - STORE #274
 2112 Rees Street
 Breaux Bridge, LA 70517


 PROGRESSIVE SECURITY INSURANCE COMPANY
 Through its Registered Agent for Service of Process:
 CT Corporation System
 3867 Plaza Tower Drive
 Baton Rouge, LA 70816
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 28 of 335 PageID #: 37
                                                                           )




 GILBERT DUGAS                                          16th JUDICIAL DISTRICT COURT

 VERSUS                                                 DOCKET NUMBER:                         A
 ACE AMERICAN INSURANCE COMPANY,                        ST. MARTIN PARISH
 CRST EXPEDITED INC., MARK STRAUSS,
 PILOT TRAVEL CENTERS LLC - STORE                       STATE OF LOUISIANA
 #274, AND PROGRESSIVE SECURITY
 INSURANCE COMPANY



      INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS

         TO:    ACE AMERICAN INSURANCE COMPANY


                CRST EXPEDITED INC.


                MARK STRAUSS


                PILOT TRAVEL CENTERS LLC - STORE #274


                PROGRESSIVE SECURITY INSURANCE COMPANY


        NOW INTO COURT, through undersigned counsel, come Petitioner, GILBERT DUGAS,


 who propound the following Interrogatories and Requests for Production of Documents to


 Defendants, ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK


 STRAUSS, PILOT TRAVEL CENTERS LLC - STORE #274, ABC INSURANCE COMPANY,


 and PROGRESSIVE SECURITY INSURANCE COMPANY, as follows:


                                       INTERROGATORIES


 INTERROGATORY NO. 1


 Please set forth your full legal name and present address.


 INTERROGATORY NO. 2


 Please state whether you were involved in a motor vehicle crash at the time and place set forth in

 Plaintiff('s/s') Petition and, if you were so involved, please state whether:

 A.     You were a driver or passenger;


 B.     If a passenger, your location within the vehicle which you occupied;

 C.     Name the owner of the vehicle in which you were driving;

 D.      Whether you were in the course and scope of employment.

 INTERROGATORY NO. 3


 Do you contend that any of the following caused or contributed to the happening of this crash,

 and/or to any injuries or damages claimed in Plaintiff('s/s') Petition:

 A.      The negligence and/or intentional acts of any Defendant(s);

 B.      The negligence and/or intentional acts of Plaintiff(s);
Case 6:19-cv-00630-TAD-CBW
                      s
                           Document 1-1 Filed 05/16/19 Page 29 of 335 PageID #: 38
                              V.




 C.      The negligence and/or intentional acts on the part of anyone not a party to this lawsuit;


 D.      Any defect in any vehicle involved in this crash;


 E.      The negligent maintenance, inspection, repair, or service of any vehicle involved in this


         crash;


 F.      The negligence and/or intentional acts in operating any vehicle involved in this crash;


 G.      Weather conditions.


 INTERROGATORY NO. 4


 If your answer to any part of the foregoing Interrogatory is in the affirmative, please set forth as to


 each affirmative response:


 A.      Your contention as to each such cause or contributing factor;


 B.      Each fact known to you which supports each contention;


 C.      The name, address, and telephone number of each person known to you who caused or


         contributed to the crash;


 D.      Everything each such person did or failed to do which you contend caused or contributed


         to it;


 E.      The name, business and resident address, and telephone number of each person who claims


         to possess knowledge of any such fact;


 F.      An identification, which such particularity as you would require in a motion to produce, of


         each and every writing relating to any such contention; and,


 G.      The name, business and residence address, and telephone number of the custodian of any


         writing, identified in the foregoing subpart to this Interrogatory.


 INTERROGATORY NO. 5


 With respect to the crash which is the subject of Plaintiff('s/s') Petition, please set forth:

 A.      Your estimate of the speed at which your vehicle was traveling at the time of impact and

         any fact upon which you base that estimate;

 B.      Your estimate of the speed at which Petitioners' vehicle was traveling at the time of impact

         and any fact upon which you base that estimate;


 C.      The speed limit applicable to the section of road on which your vehicle was traveling

         immediately prior to the crash;


 D.      Where your vehicle was coming from and heading at the time of this crash;
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 30 of 335 PageID #: 39
                            f                                             \




E.     Details of the specific mission for which you were operating your vehicle, including but


       not limited to, whether personal or business.


INTERROGATORY NO. 6


At the time of the crash:


A.     Did you have any impairment of vision in either eye? If yes, please:


       (I)     State which eye;


               (ii)      Describe the impairment;


B.     Were you wearing glasses or contact lenses? If yes, please state:

       (I)     whether they were tinted or colored;


               (ii)      whether they were bifocal;


               (iii)     the name and address of the doctor or optometrist who gave you any eye


                         examination in the last 5 years and the date thereof.


INTERROGATORY NO. 7


Please describe the condition of the roadway surface at the time and place of the subject crash,


stating specifically whether the road was:


A.     Wet or dry;


B.     Slippery or slick for any reason;


C.      Straight, curved, or otherwise;


D.     Concrete, blacktop, asphalt, or other; and


E.     Level, uphill or downhill.


INTERROGATORY NO. 8


Please set forth how many miles you drove:

A.      On the date of the subject crash;


B.      On the day before the subject crash.

INTERROGATORY NO. 9


 How many hours of sleep did you have:


 A.     In the last 24 hours immediately preceding the subject crash;

 B.     In the 24 hour period immediately preceding the period descried in subpart (a) of this

        Interrogatory;


 C.     How many hours you had been continuously awake prior to this crash.
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 31 of 335 PageID #: 40
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 INTERROGATORY NO. 10

 Please state whether you consumed any alcohol, sleeping pills, tranquilizers, medicines, drugs of


 any kind, pills, or injections within 24 hours before this crash.


 INTERROGATORY NO. 11

 If your answer to the foregoing Interrogatory is in the affirmative, please set forth:


 A.     The type of each such product consumed;


 B.     The quantity consumed;


 C.     The time and place consumed;


 D.     The identity of any person who witnessed such consumption.


 INTERROGATORY NO. 12


 For each expert who has or claims to have knowledge of facts pertaining to any issue in this


 lawsuit, or for each person in your employ whom you consider to be such an expert, please state:


 A.     Name, address and job classification;


 B.     Employer or associates, if not self-employed;


 C.     Field of competency;


 D.     Educational background, including schools, degrees, and years received;


 E.     Occupational experience, including employers, types of work and dates;


 F.     Other significant qualifications;


 G.     Whether a written report was prepared, and if so, the date of each report; and


 H.     The title, authority, publisher and date of publication of three treatises or other


INTERROGATORY NO. 13


 For each photograph pertaining to any issue in this lawsuit, including scenes of the crash site,


which is or has been in your custody, please state:


A.      The date it was taken;


B.      The name, address, job classification and employer of the photographer;

 C.     In general, the items, scenes, or persons portrayed, and;


 D.     The name and address of the photograph's present custodian.

 INTERROGATORY NO. 14


 List and describe each other document, hospital records, medical report, statement, chart, diagram,

 log, book, memorandum, video, photograph, tangible item and similar paper or thing pertaining to
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 32 of 335 PageID #: 41



 any issue in this lawsuit which is or has been in your custody or control, indicating the name,


 address and job classification of the present custodian of each.


 INTERROGATORY NO. 15

 For each policy of insurance, including but not limited to all automobile, homeowner, general


 liability, employers liability and excess/umbrella insurance policies, that were in effect on the date


 of Plaintiff('s/s') crash, please state:

 A.      The name and address of the insurer;


 B.      The policy number;


 C.      The types of coverage;


 D.      The limits of liability for each coverage; and


 E.      The nature of any exclusion.


 INTERROGATORY NO. 16


Please state according to your best information, knowledge and belief, the cause of the crash, which


 is the subject of this litigation.


 INTERROGATORY NO. 17


Please identify each individual who has any factual knowledge of the physical condition of the


Plaintiff(s) and the Plaintiff('s/s') disability or physical limitations following the crash.


INTERROGATORY NO. 18


Please identify any individual who has conducted or attempted to conduct any surveillance on the


Plaintiff(s) and/or captured any photographs or video of Plaintiff(s).


INTERROGATORY NO. 19


Please list the names, addresses and telephone numbers of all persons from whom statements have


been taken by you or anyone whose interest was or is the same as your interest insofar as this


litigation is concerned, and with whom interviews have been conducted (whether or not a statement

was taken) by you or anyone whose interest was or is the same as your interest insofar as this

litigation is concerned.     Note, such identifications are discoverable whether or not the actual

statements are discoverable.


INTERROGATORY NO. 20

For each statement listed in your answer to Interrogatory No. 19, please state to whom the

statement was given, the employer of the person taking this statement, the form of the statement

(recorded, written, transcribed, oral without transcription, etc.), the date of the statement, and the
Case 6:19-cv-00630-TAD-CBW
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 names, addresses and telephone numbers of all persons who are in the possession of any


 transcription, copy or recordings of the above mentioned statements. This information is required


 to determine the discoverability of the actual statements.


 INTERROGATORY NO. 21


 Please state whether you have sought relief under any provisions of the Bankruptcy Act and if your


 answer is in the affirmative, please state the following:


 A.     The date on which the petition or petitions were filed;


 B.     The entire caption of your petition, including the court docket number, division and judge;


        and,


 C.     If any Order has been entered in that proceeding granting any relief prayed for in your


        petition, please attach a copy of the same to your answers hereto.


INTERROGATORY NO. 22


For each objection stated in your response to the above interrogatories, please state:


 A.     Whether information is actually withheld or whether the objection is made for the purpose


        of attempting to preserve the right to object to future requests for information of the nature


        sought; and,


B.      If information is actually being withheld, state:


        1.      A   brief description    of the   information withheld     ["a   list   of names",   "a

                memorandum", "hand notes", "the statement of (name)", etc.];


        2.      The pertinent date associated with the information (date of statement, date of


                memorandum, date of notice, date of crash, etc.);


        3.      The author of the information;


        4.      The name of the individual statementized;


        5.      Whether the information has been previously provided to any third party whether

                or not a party to this matter;


        6.      The exact authority upon which you base your objection stating specifically the

                statutory and jurisprudential authority upon which you rely.

                       REQUESTS FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION OF DOCUMENTS NO. 1


Please produce the following:


A.      Written notices of crash or injury;
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 34 of 335 PageID #: 43
                          (




 B.    Crash reports;


 C.    Any and all statements, either oral or written, signed or unsigned, and any memoranda


       relating to the incident complained of herein;


 D.    Medical reports;


 E.    Expert reports;


 F.    Written statements from Plaintiff(s);


 G.    Copies of all documents bearing Plaintiff('s/s') signatures, including facsimile of


       signatures;


 H.   Photographs, motion pictures and videos of the crash scene, the Plaintiff(s) and any object


       involved in the crash;


 I.   Any and all insurance policies requested in Interrogatory No. 15;


 J.   All documents relating to any investigation of the subject crash including without


      limitation all crash investigation reports, root cause determinations and similar reports, and


      other pertinent documents or things (including but not limited to those listed in answer to


      INTERROGATORY NO. 14);


K.    All documentation and electronically stored information with respect to the ownership,


      maintenance and use of the vehicle involved in this incident, including but not limited to


      title, damage estimates from this crash, repair invoices from this crash, and for 6 months


      before this accident through one month after: maintenance records, travel logs, and digital


      data, fuel logs, GPS and/or tracking coordinates, speed recordings, black box data, etc.;


L.    Please produce copies of any and all drug and/or alcohol testing results obtained from


      Defendant(s) after this crash (including but not limited to all testing results mandated by


      DOT, local, state or federal agencies).


M.    Any and all drug and/or alcohol testing results (complete with litigation packet) for

      Defendant(s), including but not limited to drug and/or alcohol testing results taken before

      and/or after this crash;


N.    Any and all drug and/or alcohol testing results (complete with litigation packet) for any

      persons taken after this incident;


O.    Any and all photographs, pictures, video tapes, motion pictures, records and any other

      depictions or written description, etc., involving, concerning, regarding or in any way
Case 6:19-cv-00630-TAD-CBW
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         connected with the area of the occurrence and facts of the accident complained of herein;


         and,


 P.      Copies of all documents bearing Plaintiff('s/s') signatures, including facsimile of

         signatures.


 REQUEST FOR PRODUCTION OF DOCUMENTS NO. 2


 Please produce a copy of each crash report prepared by you or at your request concerning the crash


 which is the subject matter of this litigation including, but not limited to, all crash reports or other


 notices filed with state or federal agencies.


 REQUEST FOR PRODUCTION OF DOCUMENTS NO. 3


 Please produce a copy of all fuel records, tickets, citations, inspections, receipts or summaries for


 the vehicle in question for 2016 and 2017.


 REQUEST FOR PRODUCTION OF DOCUMENTS NO. 4


 Please produce a copy of all surveillance information in your possession or in your control, whether


 or not you intend to use the same at trial, including:


A.      All information showing the identification of the individuals who conducted or attempted


        to conduct such surveillance.


B.      All information showing the dates on which such surveillance was attempted or conducted.


C.      Copies of all photographs, videos, films, still photography, movies, or other recordings


        made during such surveillance or attempted surveillance.


D.      All notes, memorandums, surveillance logs, or other written, digitally recorded, typed or


        documented information concerning this surveillance, including surveillance notes,


        records, logs, reports, rough diagrams, rough notes, time sheets, and invoices for such


        activities.


REQUEST FOR PRODUCTION OF DOCUMENTS NO. 5


Please provide a copy of any and all mobile phone usage documentation (bills, statements, etc.

documenting specific messaging and call data) for the entire month of July 2017 for any phones

used by Defendant(s).


REQUEST FOR PRODUCTION OF DOCUMENTS NO. 6


Please provide a complete copy of Defendant('s/s') violations of motor vehicle traffic laws.
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 36 of 335 PageID #: 45



 REQUEST FOR PRODUCTION OF DOCUMENTS NO. 7


 Please provide a complete copy of all vehicle maintenance records of the vehicle involved in the


 accident that is the subject of this litigation.

 REQUEST FOR PRODUCTION OF DOCUMENTS NO. 8


 Please provide a copy of all post-accident repair records, documentation and/or invoices with

 respect to the vehicle involved in the in the accident that is the subject of this litigation.


 REQUEST FOR PRODUCTION OF DOCUMENTS NO. 9


 Please provide a copy of Defendant('s/s') driver's license.




                                                         Respectfully submitted,


                                                         BROUSS           & DAVID, LLC




                                                         JEROME HLMOROUX (#32666)
                                                         557 Jefferson Street
                                                         P.O. Box 3524
                                                         Lafayette, Louisiana 70502-3524
                                                         PH: 337-233-2323
                                                         FX: 337-233-2353
                                                         EMAIL: j erome@broussard-david.com
                                                         COUNSEL FOR PLAINTIFF
                                                         GILBERT DUGAS


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        DUGAS, GILBERT                                                                                                                    %
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                                                                                                          Parish ofSt. Martin

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        ACE AMERICAN INSURANCE COMPANY- ETAL                       mi               w                     State ofLouisiana
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        TO:
    K     PILOT TRA VEL CENTERS LLC
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          2112 REES ST.                                                                                                                   I
    \     BREAUX BRIDGE, LA 70517                                                                                                         l
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    i
                                              ofST. MARTIN Parish, Louisiana.
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                        You are hereby summoned to comply with the demand contained in the PETITION ,
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        INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF DOCUMENTS ofwhich a true and correct                                             I
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X       copy (exclusive ofexhibits) accompanies this citation, or make an appearance, either byfiling a pleading or
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        otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within
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    '   fifteen (15) days after the service hereof, under penalty ofdefault.
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           WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this

        17TH day of OCTOBER, 201 7.
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                                                                         BECKY P. PATIN
                                                                         Clerk ofthe 16th Judicial District Courtfor
                                                                         St. Martin Parish, Louisiana
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                                                                         Deputy Clerk of Court                                           I
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        REQUESTED BY:                                                                                                                    I
        MR. JEROME H. MOROUX
        ATTORNEY FOR GILBERT DUGAS                                                                                                       II
                                                                Service Information
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        Received on the             day of                                   , 20       and on the            day of

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                                   , 20      served the above named party as follows:
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5       Personal Service on the party herein named                                                                                       !
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;       Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
                                                                   , a person apparently over the age ofseventeen
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}       hands of
:       years, living and residing in said domicile and whose name and other facts connected with this service, I
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=       learned by interrogating the saidperson, saidparty herein being absentfrom his/her residence at the time of
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«       said service.
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;       Parish of                                                     this              day of                           , 20
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J       Service     $
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            DVGAS, GILBERT
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           ACE AMERICAN INSURANCE COMPANY- ETAL
                                                                        w          I                       Parish ofSt. Martin
                                                                                                           State of Louisiana
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            TO:
              ACE AMERICAN INSURANCE COMPANY                                                                                                   i
              THROUGH ITS REGISTERED AGENT FOR SER VICE OF PROCESS:                                                                            I
              LOUISIANA SECRETARY OF STATE
              8585 ARCHIVES AVE.
              BATON ROUGE, LA 70809
                                                                                                                                               I
                                                                                                                                               s
                                                  ofEAST BATON ROUGE Parish, Louisiana.                                                       I
                                                                                                                                              I
                                                                                                                                              s
                                                                                                                                              I
                        You are hereby summoned to comply with the demand contained in the PETITION ,                                         §
                                                                                                                                           I
           INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF DOCUMENTS ofwhich a true and correct                                            %
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 J         copy (exclusive ofexhibits) accompanies this citation, or make an appearance, either byfiling a pleading or                     %

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 : i
           otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within
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           fifteen (15) days after the service hereof, under penalty ofdefault.
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               WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this                                         :?


            17TH day of OCTOBER, 2017.
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                                                                        BECKY P. PATIN                                                    I
                                                                        Clerk ofthe 1 6th Judicial District Courtfor                      I
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                                                                        St. Martin Parish, Louisiana                                      I
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                                                                        Deputy Clerk of Court                                             1
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           REQUESTED BY:

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           MR. JEROME H. MOROUX
           ATTORNEY FOR GILBERT DUGAS                                                                                                     i
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                                                              Service Information                                                         !
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           Received on the          day of                          20
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                                                                              and on the
                                             served the above named party as follows:
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I          Personal Service on the party herein named                                                                      •              H

t          Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the hands of
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                                                              , a person apparently over the age ofseventeen years, living and
           residing in said domicile and whose name and otherfacts connected with this service, I learned by interrogating the said       \
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%          person, saidparty herein being absentfrom his/her residence at the time ofsaid service.                                        I

I          Returned:                                                                                                                      I
r-         Parish of                                           this                day of                       , 20_                     I
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           Service      $                                                                                                                 I
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:          Mileage      $                                             Deputy Sheriff
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        DUGAS, GILBERT                                                                             bk.                         Case: 085926
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        Versus

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                                                                                                                               16th Judicial District Court
                                                                                                                               Parish of St. Martin
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i       ACE AMERICAN INSURANCE COMPANY - ET AL
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                                                                                                                               State of Louisiana             1
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?       TO:                                                                                                                                                   I
i         PROGRESSIVE SECURITY INSURANCE COMPANY
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i         THROUGH ITS REGISTERED AGENT FOR SERVICE OF PROCESS:
          CT CORPORATION SYSTEM                                                                                                                               1
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i
          3867 PLAZA TOWER DRIVE                                                                                                                              I
          BATON ROUGE, LA 70816                                                                                                                               "
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!                                             ofEAST BATON ROUGE Parish, Louisiana.                                                                           i
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                     You are hereby summoned to comply with the demand contained in the PETITION ,
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        INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF DOCUMENTS ofwhich a true and correct                                                                  )
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I       otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within                                           \
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i          WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MAR TINVILLE, LOUISIANA, on this
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         17TH day of OCTOBER, 2017.                                                                                                                           !
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|                                                                                            BECKY P. PATIN                                                   f
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                                                                                             Clerk ofthe 16th Judicial District Courtfor                      5
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                                                                                             St. Martin Parish, Louisiana
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                                                                                             Deputy Clerk of Court                                            i


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        REQUESTED BY:
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I       MR. JEROME H. MOROUX
        ATTORNEY FOR GILBERT DUGAS                                                                                                                            \
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b                               , 20      served the above named party as follows:                                                                            \
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i       Personal Service on the party herein named                                                                                              •
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?!      Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the hands of                                   i
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J       residing in said domicile and whose name and otherfacts connected with this service, I learned by interrogating the said
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i       person, saidparty herein being absentfrom his/her residence at the time ofsaid service.                                                               ,
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     Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 40 of 335 PageID #: 49



TO: Sheriff
                                         FROM. Reeky P. Patin

     East Baton Rouge Parish
                                                Clerk of Court, St. Martin Parish

     P. O. Box 3277                             P. O. Box 308, St. Martinville, LA 70582


     Baton Rouge, LA 70821-3277                 Phone: 337-394-2210      Fax: 337-394-2240




RE: SUIT NO.              85926-A   *           PROBATE NO.




                 GILBERT DUGAS



VS



  ACE AMERICAN INSURANCE CO., ET AL




       I AM ENCLOSING 2 CITATION ALONG WITH 2 TRUE COPIES OF PETITION,


INTERROGATORIES, AND REQUEST FOR PRODUCTION OF DOCUMENTS FOR SERVICES ON

ACE AMERICAN INSURANCE COMPANY THROUGH SECRETARY OF STATE AND


PROGRESSIVE SECURITY INSURANCE COMPANY THROUGH CT CORPORATION SYSTEM. I

AM ENCLOSING A CHECK IN THE AMOUNT OF $58.72 AND ANOTHER CHECK IN THE

AMOUNT OF $50.00 SECRETARY OF STATE.




Date of Notice        October 17, 2017                 Kristie Prejean
                                                     Deputy Clerk of Court
        'v
                        Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 41 of 335 PageID #: 50
         ?                                                            Citation                        )
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              DUGAS, GILBERT
                                                                                                              Case: 085926                        \
                                                                                                              Division: A
        i         Versus                                                           t-                                                             \
                                                                                                              16th Judicial District Court        i
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     'I                                                             VPfli                                     Parish ofSt. Martin
             ACE AMERICAN INSURANCE COMPANY - ET AL                                                           State of Louisiana                  \
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     |            TO:
     I              CRST EXPEDITED INC
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                   VIA LOUISIANA LONG ARM STATUTE                                                                                                 I
     i              1332 EDGEWOOD ROAD SW                                                                                                         i
                   CEDAR RAPIDS, IOWA 52406
                                                                                                                                                  I
                                                     VIA THE LOUISIANA LONG ARM STATUTE
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                             You are hereby summoned to comply with the demand contained in the PETITION ,                                       1
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             copy (exclusive ofexhibits) accompanies this citation, or make an appearance, either by filing a pleading or
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    \        otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within
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             thirty (30) days after the service hereof, under penalty ofdefault.

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                    WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this                                       I
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    i         17THdayof OCTOBER, 2017.
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                                                                           BECKY P. PAT1N
                                                                           Clerk ofthe 16th Judicial District Courtfor                       I
                                                                           St. Martin Parish, Louisiana



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                                                                           Deputy Clerk ofCourt
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             MR. JEROME H. MOROUX                                                                                                            I
             ATTORNEY FOR GILBERT DUGAS
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i            Received on the           day of                            , 20      and on the             day of                             %
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             Personal Service on the party herein named
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             Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the hands of             't
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             residing in said domicile and whose name and otherfacts connected with this service, I learned by interrogating the said
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      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 42 of 335 PageID #: 51
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TO: MR. JEROME H. MOROUX
                                           FROM: Reeky P. Pa tin

      ATTORNEY AT LAW
                                                  Clerk of Court, St. Martin Parish

      P.O. BOX 3524                               P. O. Box 308, St. Martinville, LA 70582


      LAFAYETTE, LA 70502                         Phone: 337-394-2210      Fax: 337-394-2240




RE: SUIT NO.              85926-A                 PROBATE NO.




                 GILBERT DUGAS



VS.



  ACE AMERICAN INSURANCE CO., ET AL




       I AM ENCLOSING 2 CITATION ALONG WITH 2 TRUE COPIES OF PETITION,

INTERROGATORIES, AND REQUEST FOR PRODUCTION OF DOCUMENTS FOR SERVICES ON

CRST EXPEDITED INC. AND MARK STRAUSS VIA THE LOUISIANA LONG ARM STATUTE AS

PER YOUR REQUEST.




Date of Notice        October 17, 2017                   Kristie Prejean
                                                      Deputy Clerk of Court
                       Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 43 of 335 PageID #: 52
                                                                                                            '1
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                DUGAS, GILBERT
                                                                                                                      Case: 085926
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                                                                                                                      Division: A
                Versus
                                                                                                                      lffh Judicial District Court            §

      I         ACE AMERICAN INSURANCE COMPANY - ET AL
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      I T0:MARK STRAUSS                                                                                                                                       5
      I           VIA LOUISIANA LONG ARM STATUTE                                                                                                          i
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     I          copy (exclusive of exhibits) accompanies this citation, or make an appearance, either byfiling a pleading or                             i
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    ?          otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within                               \
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                   WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MAR TINVILLE, LOUISIANA, on this                                               I
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                17TH day of OCTOBER, 201 7.
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                                                                                   BECKY P. PATIN                                                    I
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5                                                                                  St. Martin Parish, Louisiana                                      I

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'i             MR. JEROME H. MOROUX                                                                                                                  i
X              ATTORNEY FOR GILBERT DUGAS                                                                                                            i
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               Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the hands of
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               residing in said domicile and whose name and otherfacts connected with this service, I learned by interrogating the said
f              person, saidparty herein being absentfrom his/her residence at the time ofsaid service.
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Case 6:19-cv-00630-TAD-CBW
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                           Document 1-1 Filed 05/16/19 Page 44 of 335 PageID #: 53
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 Becky P. Patin
 Clerk of Court                               Ph. #337/394-2210 * 337/332-4136
 P.O. Box 308                                 Fax. #337/394-2240
 St. Martinville. La. 70582




                NEW CIVIL SUIT FILING CERTIFICATION


 STATE OF LOUISIANA
 PARISH OF ST. MARTIN

 TO:
 MR. JEROME H. MOROUX
 ATTORNEY AT LAW
 P.O. BOX 3524
 LAFAYETTE, UK 70502



 THIS CERTIFIES THAT ON THE 12TH DAY OF OCTOBER, 2017 THE BELOW
 ENTITLED CASE HAS BEEN FILED FOR RECORD IN THIS OFFICE.


                                   GILBERT DUGAS


                                     VS. # 85926

                   ACE AMERICAN INSURANCE COMPANY, ET AL

                                      DIVISION A


                              JUDGE ANTHONY THIBODEAUX



                               lildJJ. YMlJtoJ
                               DEPUTY CLER|K/)F COURT
                                  ST. MARTlKTPARISH
Case 6:19-cv-00630-TAD-CBW Document
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                              St Martin Parish Clerk ofCourt
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                                                                                    Fax Confirmation

                                      DUGAS, GILBERT                                                                                                                                          I
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                                                                                                                                     Case: 085926                                             i

                                      Versus                                                                                         Division: A

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                                                                                                                                     State of Louisiana
                                                                                                                                     Tax ID it 726001272
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                                     YOU ARE HEREBY INFORMED BY THIS FAX CONFIR
                                                                                MATION NOTICE THAT THE FOLLOWING HAS
                           ]         BEEN FILED BY FACSIMILE.



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                                     DATE FAX TRANSMISSION RECElVEDTTOTmT


                                     DESCRIPTION OF TRANSMISSION: DAMAGES
                       )

                       \ FILED ON BEHALF OF:

                                     PERSON SIGNING PLEADING: J. MOROUX                                                                                                              5
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                                     This is to acknowledge that the above describedfacsim
                                                                                           ile transmission was received and filed on the date
                                    shown above as per LA R.S. 13:850.


                  >                 The original pleading is to beforwarded within SEVEN                                                                                         0


                                                                                              (7) days, exclusive oflegal holidays, ofthis
                  j                 confirmation together with the S3. 00 transmission                                                                                           1
                                                                                       fee; SIS. 00fee for this confirmalion(WILL BE ADDED
                                    AMOUNT DUE); the correct filingfee to cover the                                                                TO
                                                                                         cost offiling the facsimile copy as well as the original
                  ;.                pleading and any balance ofcosts due. When the original
                                                                                                pleading is received, the file mark will indicate the
                  ;                 actual date it is received.


              I                     The record will contain the facsimile pleading, this confirm
                                                                                                ation and the original pleading; PLEASE ADD
                                    CASE NUMBER.




             ij                                                                                                                                                              I
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                                                                                                BECKY P. PATIN

         }
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         'i                                                                                     St. Martin Parish, Louisiana
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     :                     Confirmation faxed to number: 233.2353                                 RECEIVED AND FILED
     ;                     Date confirmation faxed: 1 0. 1 2. 1 7
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                           Amount due: $932.00


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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 46 of 335 PageID #: 55




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                                               JUSTICE.           OBTAINED -                                    Qs
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             -IcriiiTH? 11. LVIoriiisx                    Attorneys At Law                               {.UL7jzX!<2
        A Professional Law Corpwaiiw;                    55-7 JdTsrson Street                              T33?»33>2353 Fas      "
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                                                   La&ysfle. l.ourSiafiii 70502-3524-



                                                        October 16. 2017


  Via Facsimile - 337-394-224(1 .& I'.S. .Mail
  St. Martin Parish Clerk of Court
  415 St.. Martin Street
  P.O. Box 508
  St Martinvhte. LA 70582

  Re;      Gilbert Dugas versos Ace American Insurance Company* CRST Expedited- Inc., Marit
           Strauss, Pilot Travel. Centers IXC - Store #274. ABC Insurance Company, and Progressive
           Security Insurance Company
           DoekeL]%mben 85926A / 1 6* JDC / St. Martin Parish

  Deai- Clerk:


          Please find enclosed original and service copies First Supplemental and. Amending
  Petition. tygether. the original Petition on behalf of Plaintiffs, GSlbert Dugas and Rachel Dugas.

           Please: notify our office once: service has beep made on all. Defendants. .

           Additionally, please find enclosed- our fknPs check in the amount of $„*© cover the cost
  of filing and serving the above mentioned documents.

           Lastly, ).. ask (hat. you please return one: extra copy showing the. date and ti me. of filing.

           Thank: you'Tor your prompt attention and cooperation . in this matter:

           With kind regards. 1 am
                                                                           Yours- truly.


                                                                                           .s
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                                                                           JEROME 1:1. MQROUX
                                                                           ROBERT A. BR.-AHAM
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  A ttachifierif sfEnclosures




     RECEIVED TIME                  OCT. 16.   1:43PM
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          Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 47 of 335 PageID #: 56
                                           (


             GILBERT DUGAS                                             16™ JUDICIAL DISTRICT COURT

             VERSUS                                                    DOCKET NUMBER: 85926A

             ACE AMERICAN INSURANCE COMPANY,                           ST. MARTIN PARISH
             CRST EXPEDITED INC., MARK STRAUSS,
             PILOT TRAVEL CENTERS LLC - STORE
                                                                       STATE OF LOUISIANA
             #274, AND PROGRESSIVE SECURITY
             INSURANCE COMPANY



                                 FIRST SUPPLEMENTAL AND AMENDING PETITION


                      NOW INTO COURT, through undersigned counsel, comes Plaintiff, GILBERT DUGAS.


            a resident of the full age of majority in the Parish of St. Martin, State of Louisiana, who with


            respect wishes to amend the original Petition herein as follows:


                                                                  I.

                      Petitioner, RACHEL DUGAS, wife of Plaintiff, GILBERT DUGAS, wishes to be added

            as a   Plaintiff in the instant suit and to therefore incorporate the allegations set forth in the original

            Petition.


                                                                 11.

                      Petitioner, RACHEL DUGAS, also wishes to assert the following claim on their behalf:


                                                                 "7.

                      The negligence and fault the Defendants. ACE AMERICAN INSURANCE COMPANY,

            CRST EXPEDITED INC., MARK STRAUSS, PILOT TRAVEL CENTERS LLC - STORE #274,

            ABC INSURANCE COMPANY, and PROGRESSIVE SECURITY INSURANCE COMPANY,


            as enumerated above, was the proximate cause of injury and damages recoverable by Petitioner,


            RACHEL DUGAS, which damages are listed more particularly, but not exclusively, as follows:

                     A.       Mental anguish;


                     B.      Loss of consortium, society, guidance and support;

                      C.     Punitive or exemplary damages:

                      D.      Other items of damage which may be shown through discovery or at trial;

                      E.     All appropriate general and equitable relief;

                     F.      Prejudgment interest on all sums awarded from date of loss until paid;

                     G.       Post-judgment interest on all sums awarded from date ofjudgment until paid; and

                      H      All court costs and litigation costs allowed by law; and

                     I.      All other remedies available to the Plaintiff under Louisiana law.




              RECEIVED TIME         OCT. 16.    1 :43PM
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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 48 of 335 PageID #: 57



                                                            8.

                Asia result of the above described jficirtetit Peti tioner. RACHEL DliOAS, sustained serious

   and permanent injuries -which have resulted in                past and     future: physical and mental pain and


  suffering-, past and Injure loss of" enjoyment of life and past and future toss of consortium all

  entitling her U> recover a stun reason able i« she premises."

                WHEREFORE,. Petitioners,          GILBERT    DliOAS          and RACHEL             DUE1AS.   pray   that a

  certified copy of First Supplemental anil Amending Petition, 'together with the original; Petition be


  served upon Defetidaifts, ACE AMERICAN INSURANCE COMPANY; CRST EXPEDITED

  INC.. MARK STRAUSS;, PILOT IRA VKL CENTERS LLC ~ STORE 4274. ABC INSURANCE


  COMPANY, and PROGRESSIVE SECURITY INSURANCE COMPANY, .and that after due

  proceedings are had there be judgment herein in favor of Petitioners, GILBERT DUCfAS and

  RACHEL DEGAS, and -against Defendants, ACE AMERICAN INSURANCE COMPANY, CRST


  EXPEDITED INC., MARE. STRAUSS. PILOT TRAVEL CENTERS LLC                                            STORE #274. ABC

  INSURANCE COMPANY, and PROGRESSIVE SECURITY INSURANCE COMPANY Jointly,

  severally and in .so/ ich> ma sum reasonable- in (he premises together -with legal interest from, the date


  of judicial demand -until paid and for all costs of these- proceedings.




                                                                     Respectfully subm i tied .

                                                                     BROUSSARD & DAVID. LLC


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                                                                     jaoMrFfWlROUX G0266&)
                                                                     ROBERT A. BR AH AN (W3i3M>)
                                                                     .557 Jefferson Street
                                                                     P.O. Box- 3524
                                                                     Lafayette, Louisiana *70502-3 524
                                                                     PH.: .337-233-2323'
                                                                     FX: 337 - 2 fx" - 1:353
                                                                                                          wTxyy
                                                                     COUNSEL TOR Pi AINTITFR
                                                                     GILBERT QhGAS AND RACHEL OUGAX




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 49 of 335 PageID #: 58
                                                         1—




  PLEASE SERVE:


  ACE AMERICAN INSURANCE COMPANY
  Through its Registered Agent for Service of Process:
  Louisiana Secretary of State
  8585 Archives Avenue
  Baton Rouge, LA 70809


  CRST EXPEDITED INC.
  [VIA LOUISIANA LONG ARM STATUTE]
  1332 Edgewood Road SW
  Cedar Rapids, Iowa 52406


  MARK STRAUSS
  [VIA LOUISIANA LONG ARM STATUTE]
  740 Camelback Drive
  Arrnuda Dunes, CA 9220 1


  PILOT TRAVEL CENTERS LLC - STORE #274
  2112 Rees Street
  Breaux Bridge, LA 705 1 7

  PROGRESSIVE SECURITY INSURANCE COMPANY
  Through its Registered Agent for Service of Process:
  CT Corporation System
  3867 Plaza Tower Drive
  Baton Rouge, LA 708 1 6




     RECEIVED TIME     OCT. 16.   1 :43PM




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      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 50 of 335 PageID #: 59
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                                            Fax Confirma tion


DUGAS, GILBERT                                                                           Case: 085926
                                                  A               &                     Division: A
Versus                                                                                   16th Judicial District Court
                                                                                        Parish of St. Martin
ACE AMERICAN INSURANCE COMPANY- ET AL                                                   State of Louisiana
                                                       W'lllK'1
                                                                                         Tax ID # 726001272




 YOU ARE HEREBY INFORMED BY THIS FAX CONFIRMATION NOTICE THAT THE FOLLOWING HAS
BEEN FILED BY FACSIMILE.




DATE FAX TRANSMISSION RECEIVED: 10.16.17


DESCRIPTION OF TRANSMISSION: 1st. SUPPL. AMENDING PETITION

FILED ON BEHALF OF:


PERSON SIGNING PLEADING: J. MOROUX




 This is to acknowledge thai the above describedfacsimile transmission was received andfiled on the date
shown above as per LA R.S. 13:850.


The original pleading is to be forwarded within SEVEN (7) days, exclusive oflegal holidays, ofthis
confirmation together with the $5.00 transmission fee; $15.00 fee for this confirmationfWILL BE ADDED TO
AMOUNT DUE); the correctfilingfee to cover the cost offiling the facsimile copy as well as the original
pleading and any balance ofcosts due. When the original pleading is received, the file mark will indicate the
actual date it is received.


The record will contain the facsimile pleading, this confirmation and the original pleading, PLEASE ADD
CASE NUMBER.




                                                       BECKY P. PATIN
                                                       Clerk ofthe 16th Judicial District Court for
                                                       St. Martin Parish, Louisiana



                                                        Fz.s _ a.
                                                 BY:

                                                       Deputy Clerk of Court




Confirmation faxed to number: 233.2353


Date confirmation faxed : 10.16.17

Amount due: $740.00

                                                      [ FILE ]
                  Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 51 of 335 PageID #: 60
                                                                             Transmission Report

)ate/Time              10-16-2017         02:47:56 p.m.                                      Transmit HeaderText                                    St Martin Parish Clerk ofCourt
ocal ID 1             3373942240                                                             Local Name 1                                            Received SMPCOC




                                                                    This document : Confirmed
                                                          (reduced sample and details below)

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                                          ACE AMERICAS' IXM'tiANCC COAlPA^r          ETAL
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                                                                                                                                         State of Louisiana
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                                          DATE F AX TRANSMISSION RHCl-l VEI):               HI.I6.1?


                                          DESCRIPTION OF TRANSMISSION: lM. SUPPI- AMENDING PETITION

                                          PILED ON BEHALF OF:

                                          PERSON SIGNING PLEADING: J. MOR.OUX




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                                          xhown above ox per f.A R.S. 13. $50.


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                                                                                                     BECKY T. PATJN
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abbreviations:
HS: Host send                   PL: Polled local                              MP: Mailbox print                                 CP: Completed                                  TS: Terminated by system
HR: Host receive                PR: Polled remote                             RP: Report                                        FA: Fail                                       G3: Group 3

WS: Waiting send                MS: Mailbox save                              FF: Fax Forward                                   TU: Terminated by user                         EC: Error Correct
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 52 of 335 PageID #: 61

                                        BROUSSARD
                                          I DAVID      -.v.




                                        JUSTICE.                                    OBTAINED.
            Jerome H. Moroux                                        Attorneys At Law                                (337)233-2323 Telephone
       A Professional Law Corporation                               557 Jefferson Street                              (337)233-2353 Fax
                                                                   Post Office Box 3524                             (800) 337-2323 Toll Free
                                                    Lafayette, Louisiana 70502-3524



                                                                  October 16, 2017


 Via Facsimile - 337-394-2240 & U.S. Mail
 St. Martin Parish Clerk of Court
                                                                                                                            &
 415 St. Martin Street                                                                                                     $
 P.O. Box 308
 St. Martinville, LA 70582


 Re:      Gilbert Dugas versus Ace American Insurance Company, CRST Expedited Inc., Mark
          Strauss, Pilot Travel Centers LLC - Store #274, ABC Insurance Company, and Progressive
          Security Insurance Company
          Docket Number: 85926A /16th JDC / St. Martin Parish

Dear Clerk:


          Please find enclosed original and service copies First Supplemental and Amending
Petition, together, the original Petition on behalf of Plaintiffs, Gilbert Dugas and Rachel Dugas.

          Please notify our office once service has been made on all Defendants.


          Additionally, please find enclosed our firm's check in the amount of $_ to cover the cost
of filing and serving the above mentioned documents.


          Lastly, I ask that you please return one extra copy showing the date and time of filing.

          Thank you for your prompt attention and cooperation in this matter.

          With kind regards, I am
                                                                                          Yours truly,




                                                                                          JEROME H. MOROUX
                                                                                          ROBERT A. BRAHAN
 JHM:nt
 Attachments/Enclosures


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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 53 of 335 PageID #: 62



  GILBERT DUGAS                                           16™ JUDICIAL DISTRICT COURT

  VERSUS                                                  DOCKET NUMBER: 85926A

  ACE AMERICAN INSURANCE COMPANY,                         ST. MARTIN PARISH
  CRST EXPEDITED INC., MARK STRAUSS,
  PILOT TRAVEL CENTERS LLC - STORE                        STATE OF LOUISIANA
  #274, AND PROGRESSIVE SECURITY
  INSURANCE COMPANY




                      FIRST SUPPLEMENTAL AND AMENDING PETITION


             NOW INTO COURT, through undersigned counsel, comes Plaintiff, GILBERT
                                                                                   DUGAS,

  a resident of the full age of majority in the Parish of St. Martin, State of Louisiana
                                                                                         , who with

 respect wishes to amend the original Petition, herein as follows:


                                                     I.

         Petitioner, RACHEL DUGAS, wife of Plaintiff, GILBERT DUGAS, wishes to be
                                                                                  added

 as a Plaintiff in the instant suit and to therefore incorporate the allegations set forth
                                                                                           in the original

 Petition.


                                                    II.

         Petitioner, RACHEL DUGAS, also wishes to assert the following claim on their behalf:


                                                    "7.


         The negligence and fault the Defendants, ACE AMERICAN INSURANCE COMPAN
                                                                               Y,

 CRST EXPEDITED INC., MARK STRAUSS, PILOT TRAVEL CENTERS LLC
                                                             - STORE #274,

 ABC INSURANCE COMPANY, and PROGRESSIVE SECURITY INSURAN
                                                         CE COMPANY,

 as enumerated above, was the proximate cause of injury and damages recoverab
                                                                             le by Petitioner,

 RACHEL DUGAS, which damages are listed more particularly, but not exclusive
                                                                            ly, as follows:

        A.        Mental anguish;


        B.        Loss of consortium, society, guidance and support;


        C.        Punitive or exemplary damages;


        D.        Other items of damage which may be shown through discovery or at trial;

        E.        All appropriate general and equitable relief;


        F.        Prejudgment interest on all sums awarded from date of loss until paid;

        G.        Post-judgment interest on all sums awarded from date ofjudgment until paid; and

        H.        All court costs and litigation costs allowed by law; and


        I.        All other remedies available to the Plaintiff under Louisiana law.
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 54 of 335 PageID #: 63



                                                        8.

          As a result of the above described incident Petitioner, RACH
                                                                       EL DUGAS, sustained serious

  and permanent injuries which have resulted in past
                                                     and future physical and mental pain and

  suffering, past and future loss of enjoyment of life, and
                                                            past and future loss of consortium all

  entitling her to recover a sum reasonable in the premises."


         WHEREFORE, Petitioners, GILBERT DUGAS and
                                                   RACHEL DUGAS, pray that a

  certified copy of First Supplemental and Amending Petitio
                                                            n, together with the original Petition be

  served upon Defendants, ACE AMERICAN INSUR
                                             ANCE COMPANY, CRST EXPEDITED

  INC., MARK STRAUSS, PILOT TRAVEL CENTERS
                                           LLC - STORE #274, ABC INSURANCE

  COMPANY, and PROGRESSIVE SECURITY INSUR
                                          ANCE COMPANY, and that after due

 proceedings are had there be judgment herein in favor
                                                       of Petitioners, GILBERT DUGAS and

 RACHEL DUGAS, and against Defendants, ACE AMER
                                                ICAN INSURANCE COMPANY, CRST

 EXPEDITED INC., MARK STRAUSS, PILOT TRAV
                                          EL CENTERS LLC - STORE #274, ABC

 INSURANCE COMPANY, and PROGRESSIVE SECU
                                         RITY INSURANCE COMPANY, jointly,

 severally and in solido in a sum reasonable in the premis
                                                           es together with legal interest from the date

 ofjudicial demand until paid and for all costs of these procee
                                                                dings.




                                                               Respectfully submitted,


                                                               BROUSSARD & DAVID, LLC




                                                               JEROMEH. MOROUX (#32666)
                                                               ROBERT A. BRAHAN (#31390)
                                                               557 Jefferson Street
                                                               P.O. Box 3524
                                                               Lafayette, Louisiana 70502-3524
                                                               PH: 337-233-2323
                                                               FX: 337-233-2353
                                                               EMAIL: ieromc^lbroussard-david.con-)
                                                               COUNSEL FOR PLAINTIFFS
                                                               GILBERT DUGAS AND RACHEL DUGAS




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 55 of 335 PageID #: 64
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 PLEASE SERVE:


 ACE AMERICAN INSURANCE COMPANY
 Through its Registered Agent for Service of Process:
 Louisiana Secretary of State
 8585 Archives Avenue
 Baton Rouge, LA 70809


 CRST EXPEDITED INC.
 [VIA LOUISIANA LONG ARM STATUTE]
 1332 Edgewood Road SW
 Cedar Rapids, Iowa 52406


 MARK STRAUSS
 [VIA LOUISIANA LONG ARM STATUTE]
 740 Camelback Drive
 Armuda Dunes, CA 92201


 PILOT TRAVEL CENTERS LLC - STORE #274
 2112 Rees Street
 Breaux Bridge, LA 70517


 PROGRESSIVE SECURITY INSURANCE COMPANY
 Through its Registered Agent for Service of Process:
 CT Corporation System
 3867 Plaza Tower Drive
 Baton Rouge, LA 70816
            Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 56 of 335 PageID #: 65
 \-                                         'w                 Citation                      !wj                                           f
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 i    DUGAS, GILBERT                                                                                   Case: 085926
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 {      ACE AMERICAN INSURANCE COMPANY
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 *      THROUGH ITS REGISTERED AGENT FOR SERVICE OF PROCESS
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                      You are hereby summoned to comply with the demand contained in the FIRST SUPPLEMENTAL
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$     AND AMENDING PETITION ofwhich a true and correct copy (exclusive ofexhibits) accompanies this                                       I
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":i   citation, or make an appearance, either byfiling a pleading or otherwise, in the 1 6th Judicial District Court
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<i    in andfor the Parish ofSt. Martin, State ofLouisiana, within fifteen (15) days after the service hereof, under
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I        WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this
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      20th day of OCTOBER, 201 7.                                                                                                         I

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I                                                                  Clerk ofthe 16th Judicial District Courtfor                            I
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                                                                   St. Martin Parish, Louisiana
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i     JEROME H. MOROUX, ATTY. FOR GILBERT DUGAS, £T iRL                                                                                   I
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              ATTORNEY
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I     Personal Service on the party herein named                                              :    :                                      %
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      Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the                          I
      hands of                                                   , a person apparently over the age ofseventeen                           3
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I     years, living and residing in said domicile and whose name and other facts connected with this service, I                           I
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|     learned by interrogating the said person, said party herein being absentfrom his/her residence at the time of                       1
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I    DUGAS, GILBERT-ETAL                                                                        Case: 085926                    1
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     TO:                                                                                                                        l
s      MARK STRAUSS                                                                                                             1
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       740 CAMELBACK DRIVE                                                                                                      1
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       ARMUDA DUNES, CA 92201                                                                                                   I
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<      VIA LONG ARM STATUTE                                                                                                     I
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I    citation, or make an appearance, either byfiling a pleading or otherwise, in the 16th Judicial District Court              !
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!    20th day of OCTOBER, 2017.                                                                                                1
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!                                                              BECKY P. PATIN                                                  I

I                                                              Clerk ofthe 16th Judicial District Courtfor                     !
I                                                              St. Martin Parish, Louisiana                                     i
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     REQUESTED BY:                                                                                                             S
I%   JEROME MOROUX, ATTY. FOR GILBERT DUGAS, ETAL
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I    Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
\    hands of                                                         , a person apparently over the age ofseventeen
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g    years, living and residing in said domicile and whose name and other facts connected with this service, I                 I
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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 58 of 335 PageID #: 67
                                         CITATION



 GILBERT DUGAS                                    16th JUDICIAL DISTRICT COURT


 VS. N0.85926-A                                   PARISH OF ST. MARTIN


 ACE AMERICAN INSURANCE
 COMPANY, ET AL                                   STATE OF LOUISIANA



 CRST EXPEDITED INC.
 1332 EDGEWOOD ROAD SW
 CEDAR RAPIDS, IOWA 52406
 VIA LA LONG ARM STATUTE




        You are hereby summoned to comply with the demand contained in the petition of
 which a true and correct copy (exclusive of exhibits) accompanies this citation, or make an
 appearance, either by filing a pleading or otherwise, in the 16th Judicial District Court in
 and for the Parish of St. Martin, State of Louisiana, within         days after the service
 hereof, under penalty of default.


        IN WITNESS WHEREOF, Witness my official signature and seal at St. Martinville,
 St. Martin Parish, this 20TH day of OCTOBER, 2017.



                                                  BECKY P. PATIN
                                                  CLERK OF COURT
                                                  16th JUDICIAL DISTRICT
                                                  PARISH OF ST. MARTIN




                                                  By:
                                                               ieputy Clerk of Court


 REQUESTED BY:


 Attorney:     JEROME H. MOROUX, ATTY. FOR GILBERT DUGAS, ET AL




                                 SERVICE INFORMATION


 Received on the              day of                         and on the                    day
 of                            served the above named party as follows:
 PERSONAL SERVICE on the party herein named                                            .
 DOMICILIARY SERVICE on the party herein named by leaving the same at his/her
 domicile in the parish in the hands of                            , a person apparently over
 the age of seventeen years, living and residing in said domicile and whose name and other
 facts connected with this service, I learned by interrogating the said person, said party
 herein being absent from his residence at the time of said service.

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 SERVICE       $
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      Case 6:19-cv-00630-TAD-CBW
                           r-\   Document 1-1 Filed 05/16/19 Page 59 of 335 PageID #: 68



TO:    JEROME MOROUX                      FROM   Reeky P. PatinT Clerk of Court


       ATTORNEY AT LAW                           St. Martin Parish


       P. O. BOX 3524                            P. O. Box 308. St. Martinville. LA 70582

       LAFAYETTE, LA 70502                       Phone: 337-394-2210     Fax: 337-394-7772




RE: SUIT NO.            85926-A                  PROBATE NO.




          GILBERT DUGAS, ET AL



VS



      ACE AMERICAN INS. CO., ETAL




I AM ENCLOSING 2 CITATIONS ALONG WITH TRUE COPY OF FIRST SUPPLEMENTAL AND


AMENDING PETITION FOR SERVICE ON MARK STRAUSS AND CRST EXPEDITED INC.

THROUGH LA LONG ARM STATUTE.




Date of Notice     October 20, 2017                     TONI L. THERIOT
                                                      Deputy Clerk of Court
    r                  Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 60 of 335 PageID #: 69
    I                                             _              Citation                           .!
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          DUGAS, GILBERT -ETAL                                                                                                                    1
                                                                                                          Case: 085926

     II                                                                                                   Division: A                             !

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              Versus                                                                                                                              fi
                                                                                                          16th Judicial District Court            I
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                                                                                                                                                  I
     1                                                                                                    Parish ofSt. Martin
     |    ACE AMERICAN INSURANCE COMPANY -ETAL                                                                                                    i
                                                                                                          State of Louisiana
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    |     TO:                                                                                                                            *        i
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    \             PROGRESSIVE SECURITY INSURANCE COMPANY
 j                THROUGHITS REGISTERED AGENT FOR SERVICE OF PROCESS                                                                              i

 I                CT CORPORATION SYSTEM                                                                                                          I
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 I                3867 PLAZA TOWER DRIVE                                                                                                         1
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 j                BATON ROUGE, LA 70816                                                                                                       s

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                                                   ofEAST BATON ROUGE Parish, Louisiana.                                                      I •
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                  WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this
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I         20th day of OCTOBER, 201 7.
i                                                                                                                                            I
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                                                                      BECKY P. PATIN
I                                                                     Clerk ofthe 16th Judicial District Courtfor                            !
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I                                                                     St. Martin Parish, Louisiana
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3                                                               BY:                                                                          I

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                                                                      Deputy Clerk of Court
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f         REQUESTED BY:                                                                                                                      I
I         JEROME H. MOROUX, ATTY. FOR GILBERT DUGAS, ETAL                                                                                    I
I3                     ATTORNEY                                                                                                              1
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\                                                           Service Information                                                              I
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I         Received on the               day of                            , 20         and on the            day of                          I
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I                                      , 20      served the above named party as follows:                                                    1
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|         Personal Service on the party herein named                                                                                         I

|         Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the                         I
          -        -     -                                                       a person apparently over the age ofseventeen
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s         hands of
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II        years, living and residing in said domicile and whose name and otherfacts connected with this service, I
I                                                                                                                                            I
|         learned by interrogating the saidperson, saidparty herein being absentfrom his/her residence at the time of
|         said service.
I         Returned:                                                                                                                          I1
s         Parish of                                                this               day of                             , 20        .       I
I1        Service            $                                                                                                               1
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                                                  By:                                                                                        !
I         Mileage            $                                    Deputy Sheriff                                                             I
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      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 61 of 335 PageID #: 70



TO:    Sheriff
                                          FROM: Reeky P. Patin

      East Baton Rouge Parish                     Clerk of Court, St. Martin Parish

      P. O. Box 3277                             P. O. Box 308, St. Martinville, LA 70582


      Baton Rouge, LA 70821-3277                 Phone: 337-394-2210      Fax: 337-394-7772




RE: SUIT NO.               85926-A                PROBATE NO.




                 GILBERT DUGAS



VS.



       ACE AMERICAN INS. CO., ETAL




I AM ENCLOSING 2 CITATIONS ALONG WITH TRUE COPY OF FIRST SUPPLEMENTAL AND


AMENDING PETITION FOR SERVICE ON ACE AMERICAN INS. CO. THRU SEC. OF STATE AND

PROGRESSIVE SECURITY INS. CO. THRU CT CORPORATION SYSTEM. I AM ALSO

ENCLOSING $50.00 FOR SEC. OF STATE AND $58.72 FOR SERVICE.




Date of Notice         October 20, 2017                 Toni L. Theriot
                                                      Deputy Clerk of Court
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              Case 6:19-cv-00630-TAD-CBW
                                    r  - Document 1-1 Filed 05/16/19,\Page 62 of 335 PageID #: 71                               I
                                                           Citation                                                             i
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|     DUGAS, GILBERT- ETAL                                                                       Case: 085926
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 I                                                                                               Division: A                    I
*     Versus                                                                                     Iff* Judicial District Court   I
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                                                                                                 Parish ofSt Martin              1
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I     ACE AMERICAN INSURANCE COMPANY - ET AL                                                     State ofLouisiana               I
II                                                                                                                               a




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I     ra
I      PILOT TRAVEL CENTERS LLC                                                                                                  I
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i       2112 REESST.                                                                                                            I1
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II      BREAUX BRIDGE, LA 70517
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                                           ofST. MARTIN Parish, Louisiana.
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I                     You are hereby summoned to comply with the demand contained in the FIRST SUPPLEMENTAL                     f
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,     AND AMENDING PETITION ofwhich a true and correct copy (exclusive ofexhibits) accompanies this
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I%    citation, or make an appearance, either by filing a pleading or otherwise, in the 16th Judicial District Court
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t     in andfor the Parish ofSt. Martin, State ofLouisiana, within fifteen (15) days after the service hereof, under            I
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      penalty ofdefault.                                                                                                        i
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\        WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this
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!%    20th day of OCTOBER, 2017.

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                                                                BECKY P. PATIN
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                                                                Clerk ofthe 16th Judicial District Courtfor                     !
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i.                                                              St. Martin Parish, Louisiana                                    1
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                                                          BY:
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I                                                               Deputy Clerk ofCourt                                            I
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      REQUESTED BY:                                                                                                             I
      JEROME MOROUX, ATTY. FOR GILBERT DUGAS, ETAL
              ATTORNEY                                                                                                          Ii
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I                               , 20      served the above named party as follows:                                              I
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      Personal Service on the party herein named
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%     Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the                1
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I     hands of                                                        , a person apparently over the age ofseventeen
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-     years, living and residing in said domicile and whose name and other facts connected with this service, I                 I
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      learned by interrogating the said person, said party herein being absent from his/her residence at the time of            I
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1     said service.                                                                                                             %
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      Parish of                                              this             day of                            , 20

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Is.   Mileage      $                                         Deputy Sheriff

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Case 6:19-cv-00630-TAD-CBW
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                                                     02:47:0~'*~i\Page 63 of 335 PageID #: 72
                                                  St Martin Parish Clerk ofCourt                       10-16-2017             1 /1



                                                       Fax Confirmation


           DUCAS, GILBERT
                                                                                                      Case: 085926
                                                                                                      Division: A
           Versus                                                            %
                                                             fl              a;                       I6'h Judicial District Court
                                                                   5KS
           A CE AMERICAN fNtSUXANCC COMPANY- CTAL
                                                                             I                        Parish ofSt. Martin
                                                                                                      State o] Louisiana

                                                                                                      Tax ID #726001272




           YOU ARE HEREBY INFORMED BY THIS FAX CONFIRMATION NOTICE THAT THE FOLLOWING HAS
          BEEN FILED BY FACSIMILE.




          DATE FAX TRANSMISSION RECEIVED: 10.16.17


          DESCRIPTION OF TRANSMISSION: Ist. SUPPL. AMENDING PETITION

          FILED ON BEHALF OF:                                                                                                        ;*




          PERSON SIGNING PLEADING: J. MOROUX




           Thi? is to nclmowlodgc thai tho above describedfacsimile transmission was received andJilod on tho data
          shown above as per LA R.S. 13:850.


          The original pleading is to he forwarded within SEVEN (7) days, exclusive oflegal holidays, of this
          confirmation together with the $5.00 transmission fee; SI 5.00 fee for this confirmation(WILL BE ADDED TO
          AMOUNT DUE); the correct filingfee to cover the cost offiling the facsimile copy as well as the original
          pleading and any balance ofcosts due. When the original pleading is received, the file mark will indicate the
          actual date it is received.


          The record will contain the facsimile pleading, this confirmation and the original pleading, PLEASE ADD
          CASE NUMBER.




                                                                    BECKY P. PATIN
                                                                    Clerk ofthe 16"' Judicial District Court for
                                                                    St. Martin Parish, Louisiana



                                                                                   C2.
                                                             BY:

                                                                   Dcyuty Chsrk uf Cuui (




          Confirmation faxed to number: 233.2353
                                                                                         RECEIVED AND FILED

          Date confirmation faxed: 10.16.17                                                 2917 OCT 18 AH 9: L3
          Amount due: $740.00
                                                                                            'H-UTY CLERK C'F CEL-Y'
                                                                  [ FILE ]




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               Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 64 of 335 PageID #: 73
                                                                             Citation
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         DUGAS, GILBERT
                                                                                                                  Case: 085926
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                                                                                                                  Division: A
          Versus                                                                        %
     %                                                                                                            16th Judicial District Court

     i   ACE AMERICAN INSURANCE COMPANY - ET AL                          Wm                                       Parish ofSt. Martin
                                                                                                                  State ofLouisiana                   L:

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         TO:
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            PILOT TRAVEL CENTERS LLC
            2112 REES ST.                                                                                                                             I
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           BREAUX BRIDGE, LA 70517

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                                                       ofST. MARTIN Parish, Louisiana.                                                                i
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                         You are hereby summoned to comply with the demand contained in the PETITION ,
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     r   INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF DOCUMENTS ofwhich a true and correct


 ;       copy (exclusive ofexhibits) accompanies this citation, or make an appearance, either byfiling a pleading or
 i

         otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within


 •       fifteen (15) days after the service hereof, under penalty ofdefault.
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             WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this
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1         17TH day of OCTOBER, 2017.
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                                                                               BECKY P. PATIN
                                                                               Clerk ofthe 16th Judicial District Courtfor
                                                                               St. Martin Parish, Louisiana
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                                                                               Deputy Clerk of Court
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!;       REQUESTED BY:
         MR. JEROME H. MOROUX
i        ATTORNEY FOR GILBERT DUGAS                                                                                                              J



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                                                                    Service Information
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         Received on the 1 *7              day of                                  , 20 j       and on the           day of                      '%

                           .               , 20 j *~Jserved the above named party asfollows:
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i        Personal Service on the party herein named vX )T][)flPfjf                       fiOJArOtlCjc                                 WLL
i        Domiciliary Service on the party herein named by leaving the sapip at his/her dofnicile in the parish ikffhe
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         hands of                                                     , a person apparently over the age ofseventeen
         years, living and residing in said domicile and whose name and other facts connected with this service, I
;        learned by interrogating the said person, said party herein being absentfrom his/her residence at the time of
         said service.
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         Parish of                            03883 ill fHL                                     'day or -                          20
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         Service     $
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. Mileage            $         ^                                             Deputy SR§rifi~.                                                    3
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                                                    Deputy Cleric of Court
\ Total              $(5^9         •ftL              St. Martin Parish, LA                                                                       ¥
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          s           Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 65 of 335 PageID #: 74
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                DUGAS, GILBERT- ETAL
                                                                                                 Case: 085926                               !
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                                                                                                 Division: A
                                                                                                 16th Judicial District Court
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         I     ACE AMERICAN INSURANCE COMPANY - ETAL             ^Mm
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                                                                                                 Parish ofSt. Martin
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         i                                                                                       State ofLouisiana                          §
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                 JEROME HMOROUX                                                                                                          3
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        I        BROUSSARD & DAVID                                                                                                       «
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                 PO BOX 3524
                 LAFAYETTE, LA 70502
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     S         Date ofService: Thursday, October 19, 2017                                                                                I
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               Number ofService: 1                                                                                                      1
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     I         Personal/Domiciliary: PERSONAL ON PILOT TRA VEL CENTERS LLC THROUGH                                                      1
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     I         LAGRANGE (GENERAL MANAGER)
     •i                                                                                                                                 I
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     I         Issued by the Clerk ofCourt on the 24THday of OCTOBER, 201
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                                                         K  Document 1-1 Filed 05/16/19 Page 66 of 335 PageID #: 75                                                              • •:«




                                                                                                       Citation
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                           DUGAS, GILBERT
                                                                                                                                                     Case: 085926
                                                                                                                 a.
                           Versus                                                                                 |                                 Division: A

                                                                                                      wpM                                           Iff11 Judicial District Court
                           ACE AMERICAN INSURANCE COMPANY - ETAL                                                                                    Parish ofSt Martin
                                                                                                                                                    State ofLouisiana




                           TO:
             j                 ACE AMERICAN INSURANCE COMPANY
                 «;



             J
                               THROUGH ITS REGISTERED AGENT FOR SERVICE OF PROCESS:
                               LOUISIANA SECRETARY OF STATE
                 ;             8585 ARCHIVES AVE.
             \                 BATON ROUGE, LA 70809
             y




                                                                               ofEAST BATON ROUGE Parish, Louisiana.



                                             You are hereby summoned to comply with the demand contained in the PETITIO                                                                                i
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             I            INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF DOCUM
                                                                                ENTS ofwhich a true and correct

         f                copy (exclusive ofexhibits) accompanies this citation, or make an appearance,
                                                                                                        either byfiling a pleading or

         j                otherwise, in the 1 6th Judicial District Court in andfor the Parish ofSt.
                                                                                                     Martin, State ofLouisiana, within
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                         fifteen (15) days after the service hereof, under penalty ofdefault.
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                            WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE,
                                                                                            LOUISIANA, on this
                          17TH day of OCTOBER, 2017.


                                                                                                         BECKY P. PATIN
                                                                                                         Clerk ofthe 16th Judicial District Courtfor
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                                                                                                        St. Martin Parish, Louisiana                                                               I
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                                                                                                        Deputy Clerk of Court
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                         REQUESTED BY:                                                                                                                                                         s

     i                   MR. JEROME H. MOROUX                                                                                                                                                  I

     I                   ATTORNEY FOR GILBERT DUGAS                                                                                                                                           I
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                                                                                              Service Information

                         Received on the                        day of
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                                                                         served the above named party asfollows:
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     ;                   Personal Service on the party herein named                                                                                                                           :
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                      Domiciliary Service on the party herein named by leaving the same at his/her
                                                                                                   domicile in the parish in the hands of
y-                                                                     , a person apparently over the age ofseventeen years, living and
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                      residing in said domicile and whose name and otherfacts connected with this service,                                                                                   %
                                                                                                           I learned by interrogating the said
                      person, saidparty herein being absentfrom his/her residence at the time ofsaid
                                                                                                     service.                                                                                i
                                                                                                                      I made service on toe named party through the
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 ;                    Returned:
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                      Parish of                                                                this             day of     Office of the Secretary g^State on                            I
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                      Service         $                                                                                                                                                  %
                                                                                                                                       OCT 24 2017
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                      Mileage                                                  7                                           by tendering a copy of this document to
                                      $                                            tU-Ulili       Deputy Sheriff                                                                         i
                                                                                                                                KATHY SUMMERS
                      Total          s
                                                                                                                             DY. B. JAMES #0283                                          I
                                                                                                                         Deputy Sheriff, Parish of East Baton Rouge, Louisiana
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               Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 67 of 335 PageID #: 76
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     i                                                Notice of Service
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     |    DUGAS, GILBERT -ETAL                                                                                                         r-

                                                                                                   Case: 085926                        t
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     5    Versus                                                     k
                                                                                                   16th Judicial District Court        S
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          ACE AMERICAN INSURANCE COMPANY -ETAL
                                                            M                                      Parish of St. Martin
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                                                                                                   State of Louisiana

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     I TO:
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            JEROME HMOROUX
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            BROUSSARD & DA VID
     j      PO BOX 3524                                                                                                                3
            LAFAYETTE, LA 70502
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     i    Date ofService: Tuesday, October 24, 2017                                                                                    I
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          Number ofService: 1                                                                                                          I
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     \    Personal/Domiciliary: PERSONAL ON ACE AMERICAN INSURANCE COMPANY THOR UGH LOUISIANA                                          I
    I     SECRETARY OF STATE
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          Issued by the Clerk of Court on the 2ND day of NOVEMBER, 201 7.
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              Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 68 of 335 PageID #: 77
 1                                           (-                          Citation                                                                              I
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 -    DUGAS, GILBERT -ETAL                                                                                                 Case: 085926
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 ¥    Versus                                                                     mm                                        16th Judicial District Court
 \                                                                               a                                        Parish ofSt. Martin
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 |    ACE AMERICAN INSURANCE COMPANY - ET AL                            '^j|                                              State ofLouisiana
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 I      PROGRESSIVE SECURITY INSURANCE COMPANY                                                                                                                 I
 I      THROUGH ITS REGISTERED AGENT FOR SERVICE OF PROCESS
I       CT CORPORATION SYSTEM
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f       3867 PLAZA TOWER DRIVE                                                                                                                                f
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I       BATON ROUGE, LA 70816
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                                                  ofEAST BATON ROUGE Parish, Louisiana.
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I                     You are hereby summoned to comply with the demand contained in the FIRST SUPPLEMENTAL
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J     AND AND AMENDING PETITION ofwhich a true and correct copy (exclusive ofexhibits) accompanies this
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s     citation, or make an appearance, either byfiling a pleading or otherwise,                             in the 16th Judicial District Court               I
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\     in andfor the Parish ofSt. Martin, State ofLouisiana, within fifteen (15) days after the service hereof, under                                          ¥
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I     penalty ofdefault.
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?        WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this                                                                   I

!     20th day of OCTOBER, 2017.                                                                                                                              I
I                                                                            BECKY P. PATIN
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I                                                                            Clerk ofthe 16th Judicial District Courtfor                                      i
%                                                                            St. Martin Parish, Louisiana                                                     I
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                                                                             Deputy Clerk ofCourt
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II    REQUESTEDBY:                                                                                                                                            I
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%     JEROME H. MOROUX, ATTY. FOR GILBERT DUGAS, ETAL                                                                                                         I
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1             ATTORNEY
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t     Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
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¥     hands of                                                                                                                                                I
|     years, living and residing in said domicile and whose name and other facts connected with this service, I                                               I
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                Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19;-^~NPage 69 of 335 PageID #: 78
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{      DUGAS, GILBERT- ETAL                                                           Case: 085926
                                                                                      Division: A
 i     Versus                                                    &                                                   I
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       ACE AMERICAN INSURANCE COMPANY - ETAL
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       TO:
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         JEROME H MOROUX                                                                                              I
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         BROUSSARD & DAVID                                                                                            !
         PO BOX 3524                                                                                                 I
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         LAFAYETTE, LA 70502
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5      Date ofService: Thursday, October 26, 2017
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       Number ofService: 1


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       Issued by the Clerk of Court on the 2ND day ofNOVEMBER, 201 7.                                                i
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                 DUGAS, GILBERT
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                 TO:
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                   PROGRESSIVE SECURITY INSURANCE COMPANY                                                                                                         !
        >          THROUGH ITS REGISTERED AGENT FOR SERVICE OF PROCESS:
            a      CT CORPORATION SYSTEM                                                                                                                       !
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                   BATON ROUGE, LA 70816
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                                                        ofEAST BATON ROUGE Parish, Louisiana.
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                               You are hereby summoned to comply with the demand contained in the PETITION ,                                                   I

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                 INTERROGATORIES, AND REQUESTS FOR PRODUCTION OF DOCUMENTS ofwhich a true and correct


                copy (exclusive ofexhibits) accompanies this citation, or make an appearance, either by filing a pleading or                                  h
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        ;        otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within
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        5       fifteen (1 5) days after the service hereof under penalty ofdefault.

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                        WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE A T ST. MARTINVILLE, LOUISIANA, on this                                                  r.



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     ]           17TH day of OCTOBER, 2017.                                                                                                               I



                                                                                BECKY P. PATIN
                                                                                Clerk ofthe 16th Judicial District Courtfor
                                                                                St. Martin Parish, Louisiana
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                                                                                Deputy Clerk of Court
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                REQUESTED BY:
                MR. JEROME H. MOROUX
    ;           ATTORNEY FOR GILBERT DUGAS                                                                                                               'r-
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                Personal Service on the party herein named            ;
                Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the hands of
                                                                   , a person apparently over the age ofseventeen years, living and                      ,
                residing in said domicile and whose name and otherfacts connected with this service, I learned by interrogating the said                 ;;
                person, said party herein being absentfrom his/her residence at the time ofsaid service.
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                Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 71 of 335 PageID #: 80
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          ACE AMERICAN INSURANCE COMPANY - ET AL                 s>
                                                                         ¥               State of Louisiana




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            JEROME HMOROUX
  *         BROUSSARD & DA VID
 I          PO BOX 3524
      •     LAFAYETTE, LA 70502
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 i        Date ofService: Tuesday, October 24, 201 7
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i         LOUISIANA SECRETARY OF STATE
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          8585 ARCHIVES AVE.                                                                                                                                  I

!         BATON ROUGE, LA 70809
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?       citation, or make an appearance, either byfiling a pleading or otherwise, in the 1 6th Judicial District Court
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I       JEROME H. MOROUX, ATTY. FOR GILBERT DUGAS, BT (W                                                                                                      t
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I       Personal Service on the party herein named                                                              .
\       Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the                                             1
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        years, living and residing in said domicile and whose name and other facts connected with this service, I                                              !i    .
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                   DUGAS, GILBERT -ETAL                                                                                                                            I
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                    JEROME HMOROUX
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                    BROUSSARD & DAVID
             I      PO BOX 3524
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                    LAFAYETTE, LA 70502


         i        £tae ofService: Thursday, October 26, 2017
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                  Number ofService: 1
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         %        Personal/Domiciliary: PERSONAL ON ACE AMERICAN INSURANCE
                                                                           COMPANY THROUGH LOUISIANA
                  SECRETARY OF STATE


         :        Issued by the Clerk ofCourt on the 3RD day of NOVEMBER
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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 74 of 335 PageID #: 83




       CASLER, BORDELON, LAWLER & GELDER
                                   Not a Partnership, Not a Corporation
                                            Attorneys at Law
                                 11550 Newcastle Avenue, Suite 200
                                       Baton Rouge, LA 70816
                                         Fax: (866) 516-8616


  Sean P. Rabalais, Esq.                                                        SALARIED EMPLOYEES OF
                                                                                 PROGRESSIVE CASUALTY
  Direct Dial: (337) 347-0096                                                           INSURANCE COMPANY
  Email: Sean_P_Rabalais@Progressive.com
  Legal Assistant: Kandice Dimaio-Moore
  Direct Dial: (225) 663-4042
  Email: kdimaiol@progressive.com
                                                                     Of
                                                                     *M
                                        November 1, 2017                         Ny?'

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  Clerk of Court,
  16th Judicial District Court for the Parish of St. Martin
 415 S. Main Street
 P.O. Box 308
  St. Martinville, LA 70582-0308



                 RE:     Gilbert Dugas v. Ace American Insurance Company, et al
                         16th Judicial District Court for St. Martin Parish No.: 85926 - Div "A"
                         Matter/Claim No.: 165956988


 Dear Sir or Madam:


         Please find enclosed the original and a copy of defendant, Progressive Security Insurance
 Company's drawer to Petitionfor Damages and Requestfor Trial by Jury, Requestfor Notice and
 Jury Order in connection with the above referenced matter. I ask that you file the original and
 return a conformed copy to me in the self-addressed, stamped envelope provided. Also enclosed,
 please find a check in the amount of $460.00 to cover the cost of this request.

         I thank you for your assistance in this matter.

                                                         Very truly yours,




                                                           Sdanr. Rabalais
  SPR/KDM
 Enclosures                                                                  received and filed
 cc:     Jerome H. Moroux, Esq. (w/encl.)
                                                                             2011 NOV -6 AM 5=jt3

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 75 of 335 PageID #: 84




                 16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                       STATE OF LOUISIANA


                NO: 85926                                           DIVISION: "A"


                                         GILBERT DUGAS


                                             VERSUS


  ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
           PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY

                                        INSURANCE COMPANY


 FILED:
                                                      CLERK


    ANSWER TO PETITION FOR DAMAGES and REQUEST FOR TRIAL BY JURY


         NOW INTO COURT, through undersigned counsel, comes Defendant, Progressive


 Security Insurance Company, and respectfully avers to Plaintiffs Petition for Damages as follows:




                                                 1.


         The allegations of Paragraph 1 of the Petition for Damages are denied except to admit


 that Progressive Security Insurance Company is a domestic insurer licensed to do and doing


 business in the State of Louisiana.



                                                2.


        The allegations of paragraph 2 are denied for lack of sufficient information to

justify a belief therein.



                                                3.


        The allegations of paragraph 3 are denied for lack of sufficient information to

justify a belief therein.



                                                4.


        The allegations of paragraph 4 are denied for lack of sufficient information to

justify a belief therein.


                                                5.
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 76 of 335 PageID #: 85




          The allegations of paragraph 5 are denied for lack of sufficient information to


 justify a belief therein.


                                                   6.


          The allegations of paragraph 6 are denied for lack of sufficient information to

 justify a belief therein.


 AND NOW FURTHER ANSWERING, it is averred,


                                                   7.


          Defendant avers that plaintiffs damages, if any, were caused in whole or part through the


 fault of Gilbert Dugas, in the following non-exclusive particulars:



     1.      Failure to see what should have been seen, or seeing and failing to heed;


     1.      Failure to keep a proper lookout;


     2.      Last clear chance;


     3.      Failure to take evasive action in order avoid the collision; and,


     4.      Any and all other acts of negligence and/or fault which may be developed through


             discovery and which will be shown in the trial of this matter.


                                                   8.


          Defendant avers that plaintiff has failed to mitigate damages which bars or reduces any

 recovery plaintiff may have in the premises herein.



                                                   9.



          Defendant avers that various of the plaintiffs damages have been subrogated or otherwise

 extinguished and that the plaintiff lacks the right to receive compensation for those damages.


                                                  10.



          Defendant avers that there are various policies ahead of the Progressive Security Insurance

 Company policy and pleads a credit for all such underlying limits.


                                                  11.
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 77 of 335 PageID #: 86




         Defendant avers that it has or in the future may make payments under various portions of

 the applicable policy and pleads a credit for all such payments made.



                                                   12.



         Defendant requests a trial by jury.



         WHEREFORE, defendant, Progressive Security Insurance Company prays that this

 Answer to the Petition Damages be deemed good and sufficient; and that after all legal delays and


 due proceedings are had that there be judgment rendered and in favor of Progressive Security


 Insurance Company, dismissing, with prejudice, the Petition for Damages and for all other general


 and equitable relief as the circumstances may dictate.



        Defendant further prays for a trial by jury.



      CERTIFICATE OF SERVICE                     Respectfully submitted,
                                                 CASLER, BORDELON, LAWLER & GELDER
                                       <¥
  I hereby certify that I have on this \ r day
 of November, 2017, served a copy of the
 foregoing on counsel for all parties to this
 proceeding via electronic mail, facsimile       SEAN P.           ,AIS ($28410)
 and/or U. S. Mail/po^laSe pre-paid.             1 1550 Newcastle Avenue, Suite 200
                                                 Baton Rouge, LA 70816
                                                 Direct Dial: (337) 347-0096
              Sean P. Rabalais                   Fax: (866)516-8616
                                                 Attorney for Progressive Security Insurance
                                                 Company




                                    received aho filed
                                    2Bf7N0V-6 /!M 9; l{3
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 78 of 335 PageID #: 87
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                  16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                       STATE OF LOUISIANA


                 NO: 85926                                               DIVISION: "A"


                                           GILBERT DUGAS


                                                VERSUS


 ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
           PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY
                                           INSURANCE COMPANY


FILED:
                                                          CLERK


                                     REQUEST FOR NOTICE


        In accordance with LSA-CCP Article 1572, Defendant Progressive Security Insurance


Company, requests that the Court give written notice by certified mail at least ten (10) days in


advance of the date fixed for the trial or hearing of this case whether on exceptions, motions, rules


or the merits.


        Defendant requests immediate notice of all orders or judgments, whether interlocutory or


final, made or rendered in this case upon the rendition thereof as provided by LSA-CCP Articles


 1913 and 1914, including notice ofjudgment, in the event this case is taken under advisement or


if the judgment is not signed at the conclusion of the trial.


       Notice is to be mailed to or served on the above-named defendants through undersigned


counsel.


      CERTIFICATE OF SERVICE                        Respectfully submitted,
                                                    CASLER, BORDELQN, LAWLER & GELDER
 I hereby certify that I have on this Y day
 of November, 2017, served a copy of the
 foregoing on counsel for all parties to this
 proceeding via eleptrojjjc mail, facsimile         SEAN P. RABALAIS (#28410)
 and/or U. S. Mail.      itage pre-paid.            1 1550 Newcastle Avenue, Suite 200
                                                    Baton Rouge, LA 70816
                                                    Direct Dial: (337) 347-0096
                 Sean P. Rabalais                   Fax: (866)516-8616
                                                    Attorney for Progressive Security Insurance Company



                                RECEIVED and filed
                                 2017 NOV -6 AM 9; if 3


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Case 6:19-cv-00630-TAD-CBW
                      f    Document 1-1 Filed 05/16/19 \Page 79 of 335 PageID #: 88




                 16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                        STATE OF LOUISIANA

                NO: 85926                                                 DIVISION: "A"


                                           GILBERT DUGAS


                                                 VERSUS


  ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
           PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY

                                           INSURANCE COMPANY


 FILED:
                                                              CLERK


                                             JURY ORDER


         In accordance with Code of Civil Procedure, bond in the amount of $ jOf OOf) .00 is to

 be posted within (_j(p{2) days prior to trial or this matter will be placed as a bench trial at the end
 of the docket. A Juror filing fee of $150.00 is to be deposited with the Clerk of Court. The fee is


 to be deposited with the Clerk along with your request for trial date. No deposit will be given


 without said deposit. This is pursuant to R.S. 13:3049 (B)j^(a).


        St. Martinville, Louisiana, this 7 day of                               2017.




                                                 Thi              fe, AllUioiiyTnibt)    IX
                                                                  Paul J. deMahy




Requested by Defendant Progressive Security Insurance Company




                                                RECEIVED AND FILED

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                                                  r>v*       t
Becky P. Patin                      'V                   Lc Grt


                                                  1 ^             J;
Clerk of Court • St. Martin Parish
P.O. Box 308
                                                   cv.                                     (337) 394-2210 • (337) 332-4136
St. Martinville, Louisiana 70582
                                                                                                       Fax (337) 394-7772
                                                           OF     £9



                                               NOVEMBER 8, 2017


        SEAN P. RABALAIS
        ATTORNEY AT LAW
        1 1550 NEWCASTLE AVE., STE. 200
        BATON ROUGE, LA 70816



        RE: GILBERT DUGAS
             VS. # 85926-A
             ACE AMERICAN INS. CO., ET AL


       Dear MR. RABALAIS,


           Pursuant to your motion, the Court has entered an order, a copy of which is enclosed, granting
       a jury trial in the above captioned matter, conditioned upon your client posting the bond referred
       to therein within the time specified, and payment of all other sums when and as required by law.


           The bond must be on a form, as per the enclosed, which has been approved by the Court.


           Also enclosed is a copy of Rule 10.5 of this Court. You are cautioned that immediately upon
       the conclusion of the trial, regardless of the outcome, the presiding judge, pursuant to Rule 10.5,
       will enter an order, a copy of which is also enclosed, requiring your client to advance an amount
       sufficient to cover all costs related to the trial by jury within ten (10) days thereafter. You and
       your client should be prepared to comply with that order and this is to give you sufficient
       advance notice beforehand.


           Of course, as provided by Rule 10.5 and the order, your client's right to recover the amount
       advanced from the party or parties cast for costs when the judgment eventually entered herein
       becomes executory, will be reserved to you.


           Please be guided accordingly.


                                                                   Yours very truly,




                                                                   Deputy Clerk of Court




                                                Courthouse Annex
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«          DUGAS, GILBERT- ETAL                                                                                                                                                 Case: 085926
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g          ACE AMERICAN INSURANCE COMPANY - ET AL                                                                                                                               State ofLouisiana
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I            PILOT TRAVEL CENTERS LLC                                                                                                                                                                                                           1
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?            BREAUX BRIDGE, LA 70517
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I                                                               ofST. MARTIN Parish, Louisiana.                                                                                                                                                 s
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                                  You are hereby summoned to comply with the demand contained in the FIRST SUPPLEMENTAL                                                                                                                         I
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           AND AMENDING PETITION ofwhich a true and correct copy (exclusive ofexhibits) accompanies this                                                                                                                                        I
%                                                                                                                                                                                                                                          . I
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i          citation, or make an appearance, either byfiling a pleading or otherwise, in the 16th Judicial District Court                                                                                                                        I
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]          in andfor the Parish ofSt. Martin, State ofLouisiana, within fifteen (15) days after the service hereof, under
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1          penalty ofdefault.
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              WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this

j          20th day of OCTOBER, 2017.                                                                                                                                                                                                           \
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1                                                                                         BECKY P. PATIN                                                                                                                                        \
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i                                                                                         Clerk ofthe 16th Judicial District Courtfor                                                                                                           i
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                                                                                          St. Martin Parish, Louisiana                                                                                                                          Ii
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                                                                                          Deputy Clerk ofCourt                                                                                                                                  'A
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1          REQUESTED BY:
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I          JEROME MOROUX, ATTY. FOR GILBERT DUGAS, ETAL                                                                                                                                                                                         |t
1                  ATTORNEY                                                                                                                                                                                                                     1
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j                                                                              Service Information                                                                                                                                              i
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\                                              1 20 /      served the abopp named party as follows                                                                                                                                              1
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!          Domiciliary Service on the party herein namef by leaving /jhi sdile at fris/her domicile in the parish m the                                                                                                          0
\          hands of                                                                                 , a person apparently over the age ofseventeen                                                                                              %

           years, living and residing in said domicile and whose name and otherfacts connected with this service, I                                                                                                                             r


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           learned by interrogating the said person, saidparty herein being absentfrom his/her residence at the time of                                                                                                                         %

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                Case 6:19-cv-00630-TAD-CBW
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                                                                            82 of 335 PageID #: 91
                                                     Notice of Service           ' —---i



          DUGAS, GILBERT -ETAL                                n/w
                                                                                               Case: 085926
  \                                                                                            Division: A
          Versus                                                    a                          16th Judicial District Court
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                                                                                               Parish ofSt. Martin
  \       ^C£ AMERICAN INSURANCE COMPANY - £TAL
                                                                        W                      State of Louisiana




  I       TO:
            JEROME HMOROUX
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 3          BROUSSARD & DAVID                                                                                                 £
  ii
            PO BOX 3524                                                                                                       •'?



            LAFAYETTE, LA 70502                                                                                               '£

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 \        Date ofService: Monday, October 23, 2017                                                                            ?!
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      :   Personal/Domiciliary: PERSONAL ON PILOT TRA VEL CENTERS LLC THROUGH SHARLETTE
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s         Issued by the Clerk of Court on the 7TH day of NOVEMBER, 2017.

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   Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 83 of 335 PageID #: 92


                                            Degan, Blanchard & Nash
                                                  A PROFESSIONAL   LAW CORPORATION

                                                           TEXACO CENTER

                                               400   POYDRAS    STREET, SUITE   2600

                                                     NEW ORLEANS, LOUISIANA 70130

  RENEE           F.   SMITH   AULD                                                         TELEPHONE (504) 529-3333
 OF COUNSEL                                                                                  FACSIMILE (504) 529-3337
 ADMITTED IN LOUISIANA AND TEXAS
                                                                                              WRITER'S DIRECT E-MAIL
                                                                                             RSMITHAULD@DEGAN.COM




                                                        November 21, 2017

         The Honorable Becky P. Patin
         Clerk of Court
         414 St. Martin Street
        P. O. Box 308                                                                              '^7
                                                                                               .a#' ***
        St. Martinville, Louisiana 70582


                               Re:    Gilbert Dugas v. Ace American Insurance Company, et al
                                      St. Martin Parish, Cause No. 85926-A
                                      Our File No. 353-10961


        Dear Clerk Patin:


             Please find enclosed the original and one copy of Ace American Insurance Company and
        CRST Expedited, Inc. 's Answer and Affirmative Defenses to Original Petition and First
       Supplemental and Amending Petitions, and Request for Trial by Jury and Request for Notice
       which we previously fax-filed in connection with the above referenced matter. Once the original
       pleadings have been filed, please return a conformed copy of each to me using the enclosed self-
       addressed, stamped envelope. Also enclosed are the Court's fax confirmations page and our firm
       check in the amount of $325.00 in satisfaction of the Court's fax and filing fees.


             Thank you for your assistance, and please do not hesitate to contact my office should you
      have any questions regarding this filing.
                                                                      Sincerely,


                                                                      DEGAN, BLANCHARD & NASH




                                                                      Renee F. Smith Auld

      RFSA/dpw
      Enclosures
     cc: Jerome H. Moroux

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 84 of 335 PageID #: 93




             16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                         STATE OF LOUISIANA


  NO. 85926                                                                        DIVISION A


                                            GILBERT DUGAS


                                                  VERSUS


              ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
              MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                        PROGRESSIVE INSURANCE SECURITY COMPANY


  FILED:
                                                           DEPUTY CLERK



        ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, ENC.'S
          ANSWER AND AFFIRMATIVE DEFENSES TO ORIGINAL PETITION
                   AND FIRST SUPPLEMENTAL AND AMENDING PETITIONS,
                            AND REQUEST FOR TRIAL BY JURY



             NOW INTO COURT, through undersigned counsel, come Defendants, Ace American


  Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST Expedited"), which


  respond to the original Petition for Damages ("Petition") and First Supplemental and Amending


  Petition ("Amending Petition) of Plaintiffs, Gilbert Dugas ("Dugas") and Rachel Dugas, denying


  each and every allegation, except those specifically admitted, as follows:

                       ANSWER TO ORIGINAL PETITION FOR DAMAGES

                                                      1.


             Defendants, Ace American and CRST Expedited, deny the allegations in the unnumbered,

  opening paragraph of Plaintiffs Petition for lack of sufficient information to justify a belief

  therein.

                                                      2.


             The allegations contained in paragraph 1 of Plaintiff s Petition are admitted only regarding

  Ace American's status as a foreign insurance company but Defendants deny that CRST Expedited

  is licensed to do business in the State of Louisiana. Defendants deny any other allegations directed

  to them contained in Paragraph 1 . Defendants further deny the remaining allegations of paragraph




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 85 of 335 PageID #: 94




                                                                               t to justify a belief as
  1 directed to other defendants for lack of knowledge or information sufficien


  to the truth of the matters alleged.




                                                      3.

                                                                                    nts are denied.
           The allegations of paragraph 2 of Plaintiffs Petition directed to Defenda

                                                                            to other Defendants for
  Defendants further deny the remaining allegations of Paragraph 2 directed

                                                                              matters alleged.
  lack of knowledge or information to justify a belief as to the truth of the

                                                     4.


           The allegation contained in paragraph 3 of Plaintiff s Petition are denied.

                                                      5.

                                                                                   require a response
           The allegations contained in paragraph 4 of Plaintiff s Petition do not

                                                                        deny the allegations of
  from the Defendants. Out of abundance of caution, however, Defendants

                                                                                  ion to justify a belief
  paragraph 4 of the Petition directed to another Defendants for lack of informat


  as to the truth of the matters alleged.

                                                      6.


            The allegations contained in paragraph 5 of Plaintiff s Petition are denied.

                                                      7.

                                                                                            a response
            The allegations contained in paragraph 6 of Plaintiff s Petition do not require

                                                                            state legal
  from Defendants, Ace American and CRST Expedited, to the extent that they

                                                                                      of paragraph
   conclusions. Out of abundance of caution, however, Defendants deny the allegations

   6 for lack of sufficient information to justify a belief therein.

                                                      8.


            The unnumbered prayer for relief does not require a response from Defendants. To the

   extent an answer is deemed required, Defendants deny the allegations in the prayer for relief.
                                                      9.


            Ace American and CRST Expedited deny all allegations in the Petition for Damages that

   have not previously been admitted, qualified, or denied.




                                                       2
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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19'""NPage 86 of 335 PageID #: 95




           ANSWER TO PLAINTIFFS' FIRST SUPPLEMENTAL AND AMENDING
                                   PETITION FOR DAMAGES


                                                  10.


          Defendants, Ace American and CRST Expedited, deny the unnumbered opening paragraph


 of Plaintiffs' First Supplemental and Amending Petition for lack of information sufficient to justify


 a belief therein.


                                                  11.


          The allegations contained in paragraph I of Plaintiffs' Supplemental and Amending


 Petition do not require a response from Defendants. To the extent an answer is deemed required,


 Defendants deny the allegations contained in paragraph I of Plaintiff's Supplemental and


 Amending Petition.


                                                  12.


          The allegations contained in paragraph II of Plaintiffs' Supplemental and Amending


 Petition do not require a response from Defendants. To the extent an answer is deemed required,


 Defendants deny the allegations contained in paragraph II of Plaintiffs' Supplemental and

 Amending Petition.

                                                 13.


          The allegations contained in paragraph II - 7 of Plaintiffs' Supplemental and Amending

 Petition directed to Defendants are denied for lack of information sufficient to justify a belief

 therein. The remaining allegations directed to other Defendants are denied for lack of information

 to justify a belief therein.

                                                 14.


          The allegations contained in paragraph II - 8 of Plaintiffs' Supplemental and Amending

 Petition are denied.

                                                 15.


          The unnumbered prayer for relief does not require a response from Defendants. To the

 extent an answer is deemed required, Defendants deny the allegations in the prayer for relief.




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 87 of 335 PageID #: 96




                                                    16.


            Ace American and CRST Expedited deny all allegations in the Supplemental and


 Amending Petition for Damages that have not been previously admitted, qualified, or denied.


                                     AFFIRMATIVE DEFENSES


           AND NOW, as and for their Affirmative Defenses, Defendants, Ace American and CRST


 Expedited, respectfully plead as follows:


                                  FIRST AFFIRMATIVE DEFENSE


           Plaintiffs failed to state a cause of action and/or a right of action for which relief may be


 granted against Ace American and CRST Expedited.


                                SECOND AFFIRMATIVE DEFENSE


           Ace American and CRST Expedited acted with due care at all times.


                                 THIRD AFFIRMATIVE DEFENSE


           Ace American and CRST Expedited, at all times, complied with all applicable laws,


 regulations, and standards.


                                FOURTH AFFIRMATIVE DEFENSE


           Ace American and CRST Expedited are free from any and all negligence.


                                 FIFTH AFFIRMATIVE DEFENSE


           Plaintiffs' alleged damages did not result, in whole or in part, from any action on behalf of

 Ace American and CRST Expedited.


                                 SIXTH AFFIRMATIVE DEFENSE


           Ace American and CRST Expedited did not owe any duty to Plaintiffs. Alternatively, Ace

 American and CRST Expedited did not breach any duties owed to Plaintiffs. Alternatively, any

 breach of duty owed by Ace American and CRST Expedited to Plaintiffs was not the proximate

 cause of the injuries and damages alleged in the Petitions.

                               SEVENTH AFFIRMATIVE DEFENSE


           Ace American and CRST Expedited aver that the alleged injuries and damages, if any,

 were caused in whole or in part, by the Plaintiffs' own errors, acts, decisions, omissions,

 negligence, assumption of the risk and/or fault. Such errors, acts, omissions, negligence, and/or



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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 \ Page 88 of 335 PageID #: 97




  fault should operate to completely bar recovery against Defendants, or in the alternative, to reduce


 any recovery against Defendants.


                               EIGHTH AFFIRMATIVE DEFENSE


          Defendants aver that Plaintiffs failed to take appropriate action to mitigate their damages.

                                NINTH AFFIRMATIVE DEFENSE


          Plaintiffs' alleged damages, if any, were caused, in whole or in part, by the errors, acts,


 omissions, negligence, and/or fault of third parties for whom Defendants are not responsible in


 whole or in part.    Such errors, omissions, negligence, and/or fault should operate completely to


 bar recovery against Ace American and CRST Expedited or, alternatively, to reduce any recovery


 against Ace American and CRST Expedited.


                                TENTH AFFIRMATIVE DEFENSE


          Plaintiffs' alleged damages, if any, were caused by, or aggravated by, preceding,


 superseding, independent, and/or intervening causes for which Ace American and CRST


 Expedited are not responsible in whole or in part, and such causes operate to bar recovery


 completely against Defendants or, alternatively, to reduce any recovery against Defendants.

                             ELEVENTH AFFIRMATIVE DEFENSE


          Defendants deny that any medical condition or injuries claimed by Plaintiffs were caused

 by the accident sued upon herein and further avers that any such conditions were pre-existing or

 otherwise unrelated to the accident sued upon herein.


                              TWELFTH AFFIRMATIVE DEFENSE


          Plaintiffs' claims are barred by the doctrines of waiver, estoppel and/or unclean hands.

                            THIRTEENTH AFFIRMATIVE DEFENSE


          Plaintiffs' claims are barred by accord and satisfaction, res judicata, prescription,

 preemption, abandonment, laches, and/or the applicable statutes of limitation.

                           FOURTEENTH AFFIRMATIVE DEFENSE


          Plaintiffs suffered no losses, and, therefore, the doctrine ofdamnum absque injuria applies.

                             FIFTEENTH AFFIRMATIVE DEFENSE

           To the extent that Ace American and CRST Expedited are found to have any liability to

  Plaintiffs in this suit, which liability Defendants absolutely deny, Ace American and CRST

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 89 of 335 PageID #: 98




  Expedited are entitled to contribution and/or indemnity from third parties for any damages that


  Ace American and CRST Expedited are compelled to pay Plaintiffs as well as attorneys' fees and


  costs incurred by them in defending this suit.


                             SIXTEENTH AFFIRMATIVE DEFENSE


          Further pleading in the alternative, Defendants show that they are entitled to a credit or


  offset of any sums paid to Plaintiffs by any persons, firm, or insurer liable to Plaintiffs for all or


  any portion of Plaintiffs' damages, if any.


                           SEVENTEENTH AFFIRMATIVE DEFENSE


          Plaintiffs' right to recovery is barred or diminished as a result of a pre-existing medical

  condition; an exaggeration of symptoms; lack of medical causation and/or; lack of proximate


  causation.


                           EIGHTEENTH AFFIRMATIVE DEFENSE


          Defendants submit that the sole and/or proximate cause of the subject accident was the


  fault and/or negligence on the part of the Plaintiffs, Gilbert Dugas and Rachel Dugas.


                            NINETEENTH AFFIRMATIVE DEFENSE


          Defendants submit that the sole and/or proximate cause of the subject accident was the

  fault and/or negligence on the part of the Plaintiffs, Gilbert Dugas and Rachel Dugas.

                            TWENTIETH AFFIRMATIVE DEFENSE


          The Policy contains a number of terms, conditions, limitations, and exclusions. To the

  extent any of these exclusions apply, no insurance is afforded.

                          TWENTY-FIRST AFFIRMATIVE DEFENSE

          Plaintiffs have made fraudulent claims against the Defendants.

                        TWENTY-SECOND AFFIRMATIVE DEFENSE


          Ace American and CRST Expedited hereby give notice that they intend to rely on such

  other defenses as may become available by law or during discovery and hereby reserve their rights

  to amend their answer to assert such defenses.

                          TWENTY-THIRD AFFIRMATIVE DEFENSE


          Ace American and CRST Expedited adopt all defenses, which have been filed or will be

  filed by other parties, as if copied herein in extenso, to the extent that such defenses are not

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 90 of 335 PageID #: 99




  inconsistent with Ace American's and CRST Expedited's defenses, and re-urge and reserve the


  right to urge those affirmative defenses at the appellate level.


                          TWENTY-FOURTH AFFIRMATIVE DEFENSE


            Defendants respectfully plead any and all other defenses and/or affirmative defenses


  available to them under applicable law and respectfully reserve the right to supplement and/or


  amend their answer and affirmative defenses as may be necessary upon discovery, review of


  additional documents, and the development of other pertinent facts.

                                           JURY DEMAND


            Ace American and CRST Expedited are entitled to and demand a trial by jury on all issues


  herein.


            WHEREFORE,        Ace American Insurance        Company and CRST Expedited, Inc.,


  Defendants, pray that this Answer and Affirmative Defenses to Plaintiff's original Petition for

  Damages and Plaintiffs' First Supplemental and Amending Petition for Damages be deemed good

  and sufficient and that, after due proceeding are had, there be judgment rendered in their favor and

  against Plaintiffs, Gilbert Dugas and Rachel Dugas, dismissing Plaintiffs' suit with prejudice and

  at Plaintiffs' cost and for all other relief which may be just and equitable as provided by law.

  Further, Defendants pray for a trial by jury.


                                                  Respectfully Submitted:


                                                  DEGAN, BLANCHARD & NASH




                                                  SIDNEY W. DEGAN, III (LSBA #4840)
                                                  REtfEE F. SMITH AULD (LSBA #23568)
                                                  400 Poydras Street, Suite 2600
                                                  New Orleans, Louisiana 70130
                                                  Telephone: (504) 529-3333
                                                  Facsimile: (504) 529-3337
                                                  Email: sdegan@degan.com
                                                         rsmithauld@degan.com
                                                  Attorneysfor Defendants,
                                                  Ace American Insurance Company and
                                                  CRST Expedited, Inc.



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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page
                            i.                         \
                                                            91 of 335 PageID #: 100




                                  CERTIFICATE OF SERVICE


           I hereby certify that the above and foregoing has been served upon all known parties of
  record via United States mail, properly addressed and postage pre-paid on this 17th dav^of
  November, 2017.


                                                                     Efri. SMITH AULj




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 92 of 335 PageID #: 101



   GILBERT DUGAS                                      16TH JUDICIAL DISTRICT COURT

   VS. # 85926 PARISH OF ST. MARTIN


  ACE AMERICAN INSURANCE CO., ET AL                   STATE OF LOUISIANA




                                            JURY ORDER

                Considering the request for trial by jury, IT IS ORDERED that this matter

  be tried before a jury and that mover, ACE AMERICAN INSURANCE COMPANY("ACE


  AMERICAN") AND CRST EXPEDITED, INC. ("CRST EXPEDITED"), is ordered to post


  bond in the amount of $10,000.00, said bond to be posted within 60 days from the


  receipt of Notice of Fixing of this case for trial on the merits, as well as posting the jury


  filing fee in the amount of $150.00 as required in SENATE BILL NO. 212, ACT NO.


  302, copy of which is attached hereto, and such other amounts when and as required


  by law.
                                                 <r
                St. Martinville, LA, this
                                            <k    day of
                                                                 0^
                                                                                       20   /z

                                                                       JUDj


                                                              Vincent J. Borne




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                                                                NOV 2 7 2017

                                                            Deputy Clerk of
                                                             St. Martjm Parish, LA
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 93 of 335 PageID #: 102
                                                                              A




            16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                         STATE OF LOUISIANA


  NO. 85926                                                                       DIVISION A


                                             GILBERT DUGAS


                                                    VERSUS


              ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
              MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                          PROGRESSIVE INSURANCE SECURITY COMPANY



  FILED:
                                                           DEPUTY CLERK




         ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, INC.'S
                           REQUEST FOR NOTICE



            Pursuant to Articles 1572, 1913, and 1914 of the Louisiana Code of Civil Procedure,


  undersigned counsel for Defendants, Ace American Insurance Company and CRST Expedited,

  Inc., request written notice by mail at least ten (10) days in advance of all trial dates, dates of

  arguments or hearings (whether on merits or otherwise), signing of any final judgment, rendition

  of any interlocutory orders, judgments, or decrees and any and all formal steps taken by the parties,

  the Judge, or any member of the Court in the above-entitled and numbered cause.




                                                    Respectfully Submitted:


                                                    DEGAN, BLANCHARD & NASH




                                                             W. DEGAN, III (LSBA #4840)
                                                    RENEE   F. SMITH AULD (LSBA #23568)
                                                    400 Poydras Street, Suite 2600
                                                    New Orleans, Louisiana 70130
                                                    Telephone: (504) 529-3333
                                                    Facsimile: (504) 529-3337
                                                    Attorneysfor Defendants,
                                                    Ace American Insurance Company and
                                                    CRST Expedited, Inc.
                          RECEIVED AND FILED
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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 94 of 335 PageID #: 103




                                CERTIFICATE OF SERVICE

                                                                            all known parties of
        I hereby certify that the above and foregoing has been served upon
                                                                  pre-pai d on  this 17th day of
 record via United States mail, properly addressed and postage
 November, 2017.




                                                                         SMITH AULD




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Becky P. Patin                                     i x              i       r
Clerk of Court • St. Martin Parish
P.O. Box 308
                                                          vJfe®,                                  (337) 394-2210 -(337) 332-4136
St. Martinville, Louisiana 70582                                                                              Fax (337) 394-7772




                                                    November 29, 2017

           Ms. Renee F. Smith Auld
           Attorney at Law
           400 Poydras Street, Suite 2600
           New Orleans, La 70130




           RE: Gilbert Dugas
                VS. # 85926-A
                Ace American Insurance Company, et al


          Dear Ms. Auld,


              Pursuant to your motion, the Court has entered an order, a copy of which is enclosed,
                                                                                                    granting
          a jury trial in the above captioned matter, conditioned upon your client posting
                                                                                           the bond referred
          to therein within the time specified, and payment of all other sums when and
                                                                                         as required by law.

              The bond must be on a form, as per the enclosed, which has been approved
                                                                                       by the Court.

              Also enclosed is a copy of Rule 10.5 of this Court. You are cautioned that immediat
                                                                                                  ely upon
          the conclusion of the trial, regardless of the outcome, the presiding judge, pursuant
                                                                                                to Rule 10.5,
          will enter an order, a copy of which is also enclosed, requiring your client to
                                                                                          advance an amount
          sufficient to cover all costs related to the trial by jury within ten (10) days thereafter
                                                                                                     . You and
          your client should be prepared to comply with that order and this is to give you
                                                                                               sufficient
          advance notice beforehand.


            Of course, as provided by Rule 10.5 and the order, your client's right to recover
                                                                                               the amount
         advanced from the party or parties cast for costs when the judgment eventuall
                                                                                         y entered herein
         becomes executory, will be reserved to you.


             Please be guided accordingly.


                                                                          Yours very truly,




                                                                          Deputy Clerk gn Court




                                                   Courthouse Annex
    Case 6:19-cv-00630-TAD-CBW
                           c   Document 1-1 Filed 05/16/19 Page 96 of 335 PageID #: 105
                          Keogh,~Cox & Wilson, Ltd.

    KE GH                 701 Main Street, Baton Rouge, LA 70802
                          P.O. Box 1151, Baton Rouge, LA 70821


     COX                  P 225 383 3796 F 225 343 9612
                          keoghcox.com




                                                                                      JOHN P. WOLFF, III, Partner
                                                                                           iwolff@keoqhcox.com




                                                December 7, 2017


                                                 VIA U.S. MAIL           , i    ~

      Hon. Becky P. Patin
      16th JDC Clerk of Court
      P. O. Box 308
      St. Martinville, LA 70582


             RE:    Gilbert Dugas v. Ace American Insurance Company, et al.
                    Docket No.: 85,926-A; 16th Judicial District Court; Parish of St. Martin
                    Our File No.: 40.1728927

      Dear Clerk:


             Please find enclosed an original plus one copy of a Requestfor Notice of Trial Date,
      Etc. for filing in the referenced matter. Our check in the amount of $75.00 is also enclosed
      for the filing fee. Please return a file-stamped copy and paid receipt to us in the stamped,
      self-addressed envelope provided.


            Thank you for your assistance.


                                                                 Very truly yours,


                                                                 KEOGH, COX & WILSON, LTD.




                                                                 JOHN P. WOLFF, III
     JPW/msk
     Enclosures


     cc (w/encl.): Jerome Moroux (Via Email)
                                                 RECEIVED AND FILED

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Case 6:19-cv-00630-TAD-CBW
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  GILBERT DUGAS                                       NUMBER 85,926         SECTION "A"

         VERSUS                                       16th JUDICIAL DISTRICT COURT

  ACE AMERICAN INSURANCE CO.,
  CRST EXPEDITED, INC., MARK      *                   PARISH OF ST. MARTIN
  STRAUSS, PILOT TRAVEL CENTERS,
  LLC - STORE #274 and PROGRESSIVE
  INSURANCE COMPANY                           *       STATE OF LOUISIANA
               REQUEST FOR NOTICE OF TRIAL DATE, ETC.

         To the Clerk ofthe 1 6th Judicial District Court, within and for the Parish of St. Martin,

  State of Louisiana:


         PLEASE TAKE NOTICE that John P. Wolff, III of the law firm of KEOGH, COX


  & WILSON, LTD., does hereby request written notice of the date of the trial of the above


  matter as well as notice of hearings (whether on merits or otherwise), orders, judgments and


 interlocutory decrees, and any and all formal steps taken by the parties herein, the Judge or


 any member of the Court , as provided in Louisiana Code of Civil Procedure, particularly


 Article 1572, 1913 and 1914.


                                                     Respectfully Submitted,



                                             BY:
                                                                           ug-
                                                     JOHN P. WOLF         ^1, Bar #14504
                                                     KEOGH, COX*          WILSON, LTD.
                                                     701 Main Street
                                                     Post Office Box 1151
                                                     Baton Rouge, Louisiana 70821
                                                     Telephone: (225) 383-3796
                                                    Facsimile: (225) 343-9612
                                                    Email: jwolff@keoghcox.com


                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that the above and foregoing has been served this day upon all
 known counsel ofrecord by placing a copy in the United States Mail, properly addressed and
 postage prepaid, and/or by electronic transmission and/or facsimile transmission.
        Baton Rouge, Louisiana, this      (ft* day of December, 2017.

                                                                        RECEIVED AND FILED

                                     JOHN P. WOLFF, III                  Z9I70ECII All              J f
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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 98 of 335 PageID #: 107
                      Keoghv-^ox & Wilson, Ltd.

KEOGH                 701 Main Street, Baton Rouge, LA 70802
                      P.O. Box 1151, Baton Rouge, LA 70821

 COX                  P 225 383 3796 F 225 343 9612
                      keoghcox.com

                                                                                   JOHN P. WOLFF, III, Partner
                                                                                          iwolff@keoqhcox.com
                                                                                   CHAD A. SULLIVAN, Partner
                                                                                      csullivan@keoghcox.com
                                                                                    TORI S. BOWLING, Partner
                                                                                      tbowlino@keoqhcox.com
                                                                                  RICHARD W. WOLFF, Partner
                                                                                         rwolff@keoqhcox.com



                                             January 30, 2018
                                             VIA U.S. MAIL


  Hon. Becky P. Patin
   16th JDC Clerk of Court
  P. O. Box 308
  St. Martinville, LA 70582


         RE:     Gilbert Dugas v. Ace American Insurance Company, er'al.
                 Docket No.: 85,926-A; 16th Judicial District Court; Parish of St. Martin
                 Our File No.: 40.1728927


  Dear Clerk:


         Please find enclosed an original plus one copy of an Answer to Petitionfor Damages
  and First Supplemental and Amending Petitionfor Damages, with Jury Order, for
                                                                                     filing in
  the referenced matter on behalf of Pilot Travel Centers, LLC and Ace America
                                                                               n
  Insurance Company, as Insurer for Pilot Travel Centers, LLC. Our check in
                                                                            the amount
  of $250 is also enclosed to cover the filing fees. Please return a file-stamped copy and paid
  receipt (or copy of ledger report indicating our payment of $2501 to us in the
                                                                                 stamped,
  self-addressed envelope provided.


         Thank you for your assistance.


                                                             Very truly yours,
                                                             KEOGH, COX & WILSON, LTD.




                                                             JOHN P. WOLFF, III
                                                             CHAD A. SULLIVAN
                                                             TORI S. BOWLING        n
                                                                                        M4D FN-EB
                                                                                                             c
                                                             RICHARD W. WOLRECEN^
 JPW:dw
 Enclosures
 cc(w/enc):     Jerome Moroux - ierome@broussard-david.com
                                                                                          m * 26             c
                Renee F Smith Auld, Esq. - rsmithauld@degan.com
                Sean P. Rabalais, Esq. - Sean_P_Rabalais@progressive.com
Case 6:19-cv-00630-TAD-CBW
                       r   Document 1-1 Filed 05/16/19 Page 99 of 335 PageID #: 108




 GILBERT DUGAS                                        NUMBER 85,926        SECTION "A"

 VERSUS                                               16th JUDICIAL DISTRICT COURT

 ACE AMERICAN INSURANCE CO.,
 CRST EXPEDITED, INC., MARK    51                     PARISH OF ST. MARTIN
 STRAUSS, PILOT TRAVEL CENTERS,
 LLC - STORE #274 and PROGRESSIVE
 INSURANCE COMPANY                           "        STATE OF LOUISIANA


                 ANSWER TO PETITION FOR DAMAGES
               AND FIRST SUPPLEMENTAL AND AMENDING
                            PETITION FOR DAMAGES

        NOW INTO COURT, through undersigned counsel, come Defendants, PILOT


TRAVEL CENTERS, LLC (referred to in Petition as Pilot Travel Centers, LLC-Store


#274), and ACE AMERICAN INSURANCE COMPANY, as Insurer for Pilot Travel


Centers, LLC, who, in answer to plaintiffs original Petition for Damages and First


Supplemental and Amending Petition for Damages, respectfully represent:


                                      FIRST DEFENSE


       The Petition fails to state a claim upon which relief may be granted.


                                    SECOND DEFENSE


                                      (Non-Conformity)


       The Petition fails to conform with the requirements of Code of Civil Procedure,


Article 893.


                                     THIRD DEFENSE


                                      (Motion to Strike)


       Defendants move to strike all allegations of in solido liability.


                  ANSWER TO PETITION FOR DAMAGES


                                                 1.


       To the extent that the allegations ofparagraph 1 ofthe plaintiff s Petition relate to the

alleged fault and/or negligence of defendants herein, said allegations are denied. In all other
 Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 100 of 335 PageID #:
                                      109




 respects, said allegations are denied for lack of sufficient information to justify a belief


 therein.


                                                    2.


           To the extent that the allegations ofparagraph 2 of the plaintiffs Petition relate to the


alleged fault and/or negligence of defendants herein, said allegations are denied. In all other


respects, said allegations are denied for lack of sufficient information to justify a belief


therein.


                                                   3.


           To the extent that the allegations of paragraph 3 of the plaintiff s Petition relate to the


alleged fault and/or negligence of defendants herein, said allegations are denied. In all other


respects, said allegations are denied for lack of sufficient information to justify a belief


therein.


                                                   4.


       To the extent that the allegations ofparagraph 4 of the plaintiffs Petition relate to the


alleged fault and/or negligence of defendants herein, said allegations are denied. In all other


respects, said allegations are denied for lack of sufficient information to justify a belief


therein.


                                                   5.


       The allegations of paragraph 5 of the plaintiffs Petition are denied.


                                                   6.


       To the extent that the allegations ofparagraph 6 of the plaintiff s Petition relate to the

alleged fault and/or negligence of defendants herein, said allegations are denied. In all other

respects, said allegations are denied for lack of sufficient information to justify a belief

therein.




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 Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 101 of 335 PageID #:
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       ANSWER TO FIRST SUPPLEMENTAL AND AMENDING PETTTTON


                                                  I.

           To the extent that the allegations of paragraph I of the plaintiffs First Supplemental


 and Amending Petition relate to the alleged fault and/or negligence of defendants herein, said


 allegations are denied. In all other respects, said allegations are denied for lack of sufficient


information to justify a belief therein.


                                                 II.


                            (purporting to add Paragraph 7 to Petition)


        To the extent that the allegations of paragraph II of the plaintiffs First Supplemental


and Amending Petition, purporting to add Paragraph 7 to the original Petition, relate to the


alleged fault and/or negligence of defendants herein, said allegations are denied. In all other


respects, said allegations are denied for lack of sufficient information to justify a belief


therein.


                                                II.


                           (purporting to add Paragraph 8 to Petition)


       The allegations of paragraph II of the plaintiffs First Supplemental and Amending


Petition, purporting to add Paragraph 8 to the original Petition, are denied.


                              AFFIRMATIVE DEFENSES


                                                1.


       In further answer to the plaintiffs Petition for Damages and First Supplemental and


Amended Petition for Damages herein, it is affirmatively alleged that the incident sued upon


occurred as a result of Plaintiffs contributory and/or comparative negligence/fault, said


negligence/fault operating to completely bar, or alternatively, to substantially mitigate

recovery by Plaintiff or on Plaintiffs behalf herein; said negligence/fault being comprised


of the following non-exclusive, particularized acts, among others, to be more fully shown at


                                               -3-
 Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 102 of 335 PageID #:
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 the time of trial, to-wit:


        A.      Failure to maintain control of vehicle;


        B.      Failure to keep a proper lookout;


        C.      Failure to act with due care;


        D.      Failure to mitigate damages; and


        E.      In general, failure to do what should have been done and to see what
                should have been seen in order to avoid the accident made subject of
                this suit.


                                                2.


        In further answer to the Petitions herein, it is affirmatively alleged that the incident


sued upon occurred as a result of the negligence and/or fault of third persons or parties
                                                                                          for

whom defendants herein are not liable.


                          DEMAND FOR TRIAL BY JURY


       Defendants, PILOT TRAVEL CENTERS, LLC and ACE AMERICAN INSURANCE


COMPANY, as Insurer for Pilot Travel Centers, LLC, are entitled to and request a trial
                                                                                       by

jury on all issues triable by jury on both the main and any incidental demands.


       WHEREFORE, premises considered, Defendants, PILOT TRAVEL CENTERS,


LLC and ACE AMERICAN INSURANCE COMPANY, as Insurer for Pilot Travel Centers,


LLC, respectfully pray that their Answer to the plaintiffs Petition for Damages and
                                                                                    First

Supplemental and Amending Petition for Damages be deemed good and sufficient and
                                                                                 that

after all legal delays and due proceedings are had herein, there be judgment in Defendan
                                                                                         ts'

favor, dismissing Plaintiffs demands at Plaintiffs sole cost and prejudice; Defendants


further pray for a trial byjury on all issues triable byjury on both the main and any incidental

demands.


       AND FOR ALL GENERAL AND EQUITABLE RELIEF, ETC.




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 Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 103 of 335 PageID #:
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                                      112




                                          RESPECTFULLY SUBMITTED,


                                   BY:
                                          JOHN P. WOLFF,                 14504)
                                          CHAD A. SULLIVAN (#27657)
                                          TORI S. BOWLING (#30058)
                                          RICHARD W. WOLFF (#34844)
                                          KEOGH, COX & WILSON, LTD.
                                          701 Main Street (70802)
                                          Post Office Box 1151
                                          Baton Rouge, Louisiana 70821
                                          Telephone: (225) 383-3796
                                          Telecopier: (225) 343-9612
                                          Email: iwolff@keoghcox.com
                                                 csullivan@keoghcox.com
                                                 tbowling@keoghcox . com
                                                 rwolff@keoghcox.com


                                          Pilot Travel Centers, LLC and Ace American
                                          Insurance Company, as Insurerfor Pilot Travel
                                          Centers, LLC



                            CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that the above and foregoing has been served this day upon all

known counsel of record by placing a copy in the United States Mail, properly addressed and

postage prepaid, and/or by electronic transmission and/or facsimile transmission.

      Baton Rouge, Louisiana, this           day of           KjuJjlJ]            ,2018.
                                                                         t

                                  JOHN P. WJ          , III




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Case 6:19-cv-00630-TAD-CBW
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                                     113                                 )




    GILBERT DUGAS
                                                    NUMBER 85,926              SECTION "A"

VERSUS                                              16™ JUDICIAL DISTRICT COURT

ACE AMERICAN INSURANCE CO.,
CRST EXPEDITED, INC., MARK                 "        PARISH OF ST. MARTIN
STRAUSS, PILOT TRAVEL CENTERS,
LLC - STORE #274 and PROGRESSIVE
INSURANCE COMPANY                          "        STATE OF LOUISIANA




                                     JURY ORDER


        Considering the foregoing;


        IT IS HEREBY ORDERED that Defendants, PILOT TRAVEL
                                                           CENTERS, LLC

and ACE AMERICAN INSURANCE COMPANY, as Insure
                                              r for Pilot Travel Centers,

LLC, be entitled to a trial by jury on all issues triable by jury on
                                                                     both the main demand and

any    incidental    demand      upon     posting       a     bond     in      the     amount   of

$                                        within             days of Notice of Trial.

       Baton Rouge, Louisiana, this            day of                        , 2018.




                                          HONORABLE ANTHONY THIBODEAUX
                                          Judge, 16th Judicial District Court




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   Case 6:19-cv-00630-TAD-CBW
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Becky P. Patin                          114         ''    I-eOreffier

                                                                        $
Clerk of Court • St. Martin Parish
P.O. Box 308
St. Martinville, Louisiana 70582                                                           (337) 394-2210 • (337) 332-4136
                                                                                                       Fax (337) 394-7772
                                                         % OF c9


                                                  February 2, 2018

        Mr. John P. Wolff, III
        Attorney at Law
        P.O. Box 1151
        Baton Rouge, La 70821



        RE: Gilbert Dugas
            VS. # 85926-A
            Ace American Insurance Co., et al


       Dear Mr. Wolff,


           Pursuant to your motion, the Court has enter
                                                        ed an order, a copy of which is enclosed, grant
       a jury trial in the above captioned matter,                                                      ing
                                                   conditioned upon your client posting the bond
                                                                                                 referred
       to therein within the time specified, and paym
                                                      ent of all other sums when and as required
                                                                                                  by law.

          The bond must be on a form, as per the enclo
                                                       sed, which has been approved by the Cour
                                                                                                t.

         Also enclosed is a copy of Rule 10.5 of this
                                                          Court. You are cautioned that immediately
      the conclusion of the trial, regardless of the                                                    upon
                                                       outcome, the presiding judge, pursuant to Rule
      will enter an order, a copy of which is also                                                       10.5,
                                                      enclosed, requiring your client to advance
                                                                                                   an amount
      sufficient to cover all costs related to the trial
                                                         by jury within ten (10) days thereafter. You
                                                                                                       and
      your client should be prepared to comply
                                                   with that order and this is to give you suffic
                                                                                                  ient
      advance notice beforehand.
                                                                    '

         Of course, as provided by Rule 1 0.5 and the
                                                       order, your client's right to recover the amou
                                                                                                      nt
      advanced from the party or parties cast for
                                                  costs when the judgment eventually entered
                                                                                                 herein
      becomes executory, will be reserved to you.


          Please be guided accordingly.


                                                                 Yours veiy truly,




                                                                 DeputV/Clerk of Court




                                              Courthouse Annex
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 106 of 335 PageID #:
                                     115


 GILBERT DUGAS                                     16TH JUDICIAL DISTRICT COURT

VS. # 85926-A                                      PARISH OF ST. MARTIN

ACE AMERICAN INSURANCE CO.,
CRST EXPEDITED, INC., MARK
STRAUSS, PILOT TRAVEL CENTERS,
 LLC-STORE #274 AND PROGRESSIVE
 INSURANCE COMPANY                                 STATE OF LOUISIANA




                                          JURY ORDER

              Considering the request for trial by jury, IT IS ORDERED that this matter


be tried before a jury and that mover, PILOT TRAVEL CENTERS, LLC (referred to in


Petition as Pilot Travel Centers, LLC-Store #274) and ACE AMERICAN


INSURANCE COMPANY, as insurer for Pilot Travel Centers, LLC, is ordered to post


bond in the amount of $10,000.00, said bond to be posted within 60 days from the

receipt of Notice of Fixing of this case for trial on the merits, as well as posting the jury

filing fee in the amount of $150.00 as required in SENATE BILL NO. 212, ACT NO.


302, copy of which is attached hereto, and such other amounts when and as required

by law.


              St. Martinville, LA, this    1    day of \~cip                        , 20



                                                                    JUDGE


                                                                  LEWIS H. PITMAN, JR.




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                Case 6:19-cv-00630-TAD-CBW
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                                                               Degan, Blanchard & Nash
                                                                    A   PROFESSIONAL   LAW   CORPORATION

                                                                              TEXACO CENTER
                                                                  400   POYDRAS    STREET, SUITE      2600

                                                                        NEW ORLEANS, LOUISIANA 70130       .

           RENEE F. SMITH                AULD                                                                      TELEPHONE (504) 529-3333
           OF COUNSEL
                                                                                                                    FACSIMILE (504) 529-3337
           ADMITTED IN LOUISIANA AND TEXAS                                                                           WRITER'S DIRECT E-MAIL
                                                                                                                    RSMITHAULD@DEGAN.COM



                                                                            February 8,2017

                VIA FACSIMILE (337) 394-2240
                The Honorable Becky P. Patin
                Clerk of Court
               414 St. Martin Street
               P. O. Box 308
               St. Martinville, Louisiana 70582

                                         Re:            Gilbert Dugas v. Ace American Insurance Company, et al
                                                        St. Martin Parish, Cause No. 85926-A
                                                        Our File No. 353-10961

               Dear Clerk Patin:


                        Please find attached for fax filing Defendants ' Motion to Compel Plaintiffs ' Discovery
               Responses and Deposition Testimony and Defendants ' Memorandum in Support of Motion to
               Compel Plaintiffs ' Discovery Responses and Deposition Testimony in connection with the above
               referenced matter. After filing each into the record, please forward to us via fax the amount due
               for filing fees. We will forward the originals and all fees to you within the next seven days,
               pursuant to L.S.A.-R.S. 13:850.


                     Thank you for your assistance with this request.                                Should you have any questions or
              concerns, please do not hesitate to contact us.


                                                                                             Sincerely,

                                                                                             DEGAN, BLANCHAJRD & NASH




                                                                                             Ren^e F. Smith Auld

              RFSA/dpw
              Attachments
              cc:          Jerome H. Moroux (Via US Mail)
                           John Wolff, HI                    (Via US Mail and email iwolff@keoeJicox.coml
                           Sean P. Rabalais                  (Via US Mail and email Sean P Rabalais@progressive.com)




         {002685 18.DQC;J}


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                                     DEGAN, BLANCHARD & NASH
                                                                  Suite 2600, Texaco Center
                                                                        400 Poydras Street
                                                              New Orleans, Louisiana 70130
                                                                 Telephone: (504) 529-3333
                                                                  Facsimile: (504) 529-3337



                                                    FACSIMILECOVERSHEET

                 TO:                                                                     FAX NO.:                (337) 394-2240
                 Clerk of Court

                 16th Judicial District Court
                 Parish of St. Martin
             I
             DATE:              February 8, 20 1 8                                      FROM: Denise Wade

             REFERENCE:                     353-10961                                   PAGES (Including Cover Sheet)
             i



             FACSIMILE MESSAGE:
                           Please file the attached for fax filing.


                       -)f Please note that there is one service for Lafayette Parish                                           and
                           2 services in East Baton Rouge Parish.                                   #

                                                                      CONFIDENTIALITY NOTICE

            This facsimile transmission (and/or the documents accompanying it) may contain confidential information belonging to the sender which is
            protected by the attorney-client privilege. The information is intended only for the use of the individual or entity named above. If you are not die
            intended recipient, you are hereby notified that any disclosure, copying, distribution or the taking of any action in reliance on the contents of this
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            of the documents.


            If there is any problem receiving this message, please call (504) 529-3333. Facsimile sent by Denise Wade.




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                              16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                       STATE OF LOUISIANA


                NO. 85926                                                                   DIVISION A


                                                         GILBERT DUGAS


                                                             VERSUS


                               ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                               MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                        PROGRESSIVE SECURITY INSURANCE COMPANY


                FILED:
                                                                     DEPUTY CLERK



                                                  DEFENDANTS' MOTION TO COMPEL
                             PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY




                             NOW INTO COURT, through undersigned counsel, come Defendants, Ace American


               Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST Expedited"), which


               move this Honorable Court for an Order requiring Plaintiffs, Gilbert Dugas and Rachael Dugas, to


               respond to Interrogatories and Requests for Production of Documents propounded upon them on


               December 7, 2018 in accordance with the Louisiana Code of Civil Procedure. The time allowed

               to respond to the discovery has lapsed, but the Plaintiffs have failed to respond.     Moreover,


               Defendants move this Honorable Court for and Order compelling Plaintiffs to be deposed within

               a month of the hearing on this matter.


                             WHEREFORE, Defendants, Ace American Insurance Company and CSRT Expedited,

               Inc, pray for an Order compelling Plaintiffs, Gilbert Dugas and Rachael Dugas, to respond fully,

               completely and without objection to all outstanding discovery, to be deposed within a month, and

               to pay for all expenses and attorney's fees incurred in connection with this motion as provided by

               Louisiana Code of Civil Procedure Article 1469. Further, Defendants pray that Plaintiffs' claims

               be dismissed, if they fail to comply with the court's Order.




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                                                              Respectfully Submitted:


                                                              DEGAN, BLANCHARD & NASH




                                                              S.        ;Y W. DEGAN, III (LSBA #4840)
                                                                       ;E F. SMITH AULD (LSBA #23568)
                                                              400 Poydras Street, Suite 2600
                                                              New Orleans, Louisiana 70130
                                                              Telephone: (504) 529-3333
                                                              Facsimile: (504) 529-3337
                                                              Email: sdegan@degan.com
                                                                       rsmithauld@degan.com
                                                              Attorneysfor Defendants,
                                                              Ace American Insurance Company and
                                                              CRST Expedited, Inc.




                                                 CERTIFICATE OF SERVICE


                        I hereby certify that the above and foregoing has been served upon all known parties of
                 record via United States mail, properly addressed and postage pre-paid on this 8th day ofFebruary,
                 2018.


                                                                                a
                                                                                     :E F. SMITH AULD




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                           16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                        STATE OF LOUISIANA


                  NO. 85926                                                                    DIVISION A


                                                           GILBERT DUGAS


                                                                VERSUS


                            ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                            MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                  PROGRESSIVE SECURITY INSURANCE COMPANY


                  FILED:


                                                       RULE TO SHOW CAUSE


                           Considering the foregoing Motion to Compel Discovery and Depositions filed by


                  Defendants, Ace American Insurance Company and CSRT Expedited;


                           IT IS ORDERED that Plaintiffs, Gilbert Dugas and Rachael Dugas, show cause on the


                               day of                     , 2018 at                a.m./p.m. why they should not be


                 compelled to respond to the Interrogatories and Request for Production of Documents of


                 Defendants, Ace American Insurance Company and CSRT Expedited, previously propounded,


                 why they should not be compelled to be deposed with a month, and why sanctions of expenses and

                 attorney's fees for failure to comply with said discovery requests should not be awarded.


                           St. Martinsville, Louisiana, this              day of         , 2018.




                                                          JUDGE


                 PLEASE SERVE:


                 Gilbert Dugas and Rachel Dugas, Plaintiffs
                 Through counsel of record
                 Jerome H. Moroux
                 557 Jefferson Street
                 Lafayette, Louisiana 70502-3524


                 Pilot Travel Centers, LLC — Store #274, Defendant
                 Through its counsel of record
                 John Wolff, III
                 Keogh, Cox & Wilson, Ltd.
                 701 Main St.
                 Baton Rouge, Louisiana 70802

                 Please also see next page for additional service directions.

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                  Progressive Security Insurance Company
                  Sean P. Rabalais
                  Casler, Bordelon, Lawler and Gelder
                  1 1550 Newcastle Ave., Suite 200
                  Baton Rouge Louisiana 70816




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                          16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                     STATE OF LOUISIANA

                 NO. 85926                                                                    DIVISION A

                                                        GILBERT DUGAS


                                                             VERSUS


                           ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                           MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                         PROGRESSIVE INSURANCE SECURITY COMPANY

                FILED:
                                                                     DEPUTY CLERK



                         DEFENDANTS' MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
                         PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY


                MAY IT PLEASE THE COURT:


                         The Defendants, Ace American Insurance Company ("Ace American") and CRST


                Expedited, Inc. ("CRST Expedited"), file this Memorandum in Support oftheir Motion to Compel,


                as the Plaintiffs, Gilbert Dugas and Rachael Dugas have failed to respond to Defendants' First Set

                of Interrogatories and First Request for Production of Documents. Additionally, Plaintiffs have


               failed to provide Defendants with dates in which they are available to be deposed.




                                I.         BRIEF FACTUAL AND PROCEDURAL BACKGROUND

                         This lawsuit arises out of an accident that occurred, on October 31, 2016, when Gilbert

               Dugas's vehicle was allegedly struck by a vehicle driven by Mark Strauss at a Pilot Travel Center

               in Breaux Bridge, Louisiana. Plaintiff, Rachael Dugas, has a made a claim for loss of consortium

               in an Amended Petition. Plaintiff, Gilbert Dugas, filed this lawsuit on October 12, 20 1 7.

                         Defendants, Ace American and CRST Expedited, filed an Answer to Plaintiffs' original

               Petition for Damages and First Supplemental and Amending Petition on November 27, 2017.




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                           On December 7, 2017, Defendants propounded their First Set of Interrogatories and First


                  Request for Production of Documents to Plaintiffs, Gilbert Dugas1 and Rachael Dugas,2 in order


                 to better understand their alleged injuries and damages.3


                            On January 1 1, 201 8, Defendants reminded Plaintiffs that their discovery responses were


                 due and scheduled a Rule 10.1 Conference for January 16,2018 at 3:00 p.m.4 On January 11,2018,

                 a Rule 1 0. 1 discovery conference call was initiated by undersigned counsel, but was sent to counsel


                 for plaintiffs' voicemail. Undersigned counsel left a voicemail message regarding the discovery,


                 but never received a call back.


                          Considering south Louisiana experienced a hard freeze on January 16, 2018, counsel for


                 Defendants forward correspondence to counsel for Plaintiffs on January 24, 2018 to schedule a

                 second Rule 10.1 conference for January 31, 2018 at 3:00 p.m.5 Again, when the undersigned


                attempted to contact counsel for Plaintiffs on January 31, 2018, counsel for Plaintiff was


                unavailable for the call.


                          Moreover, counsel for Ace American and CSRT Expedited sent emails to counsel for


                Plaintiff on January 8, 20 1 8 and January 1 8, 201 8 asking counsel for the Gilberts for dates in which


                the Plaintiffs could be available to be deposed.6 To date, however, counsel for the Plaintiffs have

                not provided the undersigned with any dates in which the Gilberts can be deposed.


                          Out of a professional courtesy to the Plaintiffs and in the interests ofjudicial economy, the


                undersigned forwarded correspondence to counsel for Plaintiffs via U.S. mail and email and to his


               assistant via email on February 1, 201 8 as a final attempt to remedy these issues. Defense counsel's

               correspondence indicated that if a representative ofthe Gilberts did not contact the undersigned by

               the close of business on February 2, 2018 to at least discuss the resolution of the Plaintiffs'




               1 See Exhibit 1, Defendants' First Set of Interrogatories to Gilbert Dugas (and accompanying correspondence) and
               Exhibit 2, Defendants' Request for Production of Documents to Plaintiff, Gilbert Dugas attached hereto in globo).
               1 See Exhibit 3, Defendants' First Set of Interrogatories to Rachael Dugas and Exhibit 4, Defendants' Request for
               Production of Documents to Plaintiff., Rachael Dugas attached hereto in globo).
               3 On January 2, 2018, Plaintiff, Gilbert Dugas provided Defendants with responses to Requests for Admission,
               which were propounded on December 13, 2017. However, Plaintiffs have not responded to Defendants'
               Interrogatories and Requests for Production.
               4 See Exhibit 5, Defendants correspondence of January 1 1, 2018 to counsel for Plaintiff scheduling a Rule 10.1
               conference for January 16, 2018, attached hereto in globo.
               s See Exhibit 6, Defendants' correspondence of January 24, 2018 to counsel for Plaintiff scheduling a Rule 10.1 for
               January 3 1 , 20 1 8, attached hereto in globo.
               6 See Exhibit 7, 8, and 9 Defendants' correspondence ofJanuary 8, 20 1 8 and January 1 8, 20 1 8 to counsel for Plaintiff,
               attached hereto in globo.

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                    discovery and depositions that the Defendants would have no option but to file a Motion to

                    Compel.7 As of the date of filing this Motion to Compel, Plaintiffs have not responded to

                    Defendants' Interrogatories and Request for Production of Documents. In addition, Plaintiffs have

                   not agreed on a date to have their deposition taken live.




                                                        II.      LAW AND ARGUMENT

                            Louisiana Code of Civil Procedure articles 1458 and 1462 make it mandatory that


                   responses to Interrogatories and Request for Production of Documents or objections thereto be


                  provided within thirty (30) days. Louisiana Code of Civil Procedure article 1469 provides that the


                  failure to respond timely subjects the non-responding party to payment of attorneys' fees and court


                  costs associated with the filing of a Motion to Compel. In addition, article 1437 of the Louisiana


                  Code of Civil Procedure provides that "after the commencement of the action, any party may take


                  the testimony of any person, including a party by deposition upon oral examination."


                           The Code provides for sanctions as a means of encouraging the parties to comply with

                  discovery rules.8 The first level of sanctions applies when the party from whom discovery is

                 sought does not respond; if the party refuses to "play the game," immediate sanctions can be


                 imposed.9 Examples of this kind of conduct include a party's failure to appear at his or her

                 deposition after proper notice, or a failure to respond to Interrogatories or a Request for Production


                 or inspection of documents and things. The court, on motion, may strike the claim or defense,

                 dismiss the action or grant a judgment by default, or may impose lesser penalties such as deeming

                the matter at issue admitted or prohibiting the recalcitrant party from introducing evidence on the

                matter.10

                           Discovery rules require timely responses to Interrogatories, Motions to Produce or Inspect,

                and Requests for Admission.11 Failure to timely respond to discovery demands automatically




                7 See Exhibit 10, Defendants' correspondence of February 1, 2018 to counsel for Plaintiff, attached hereto in globo.

                8 1 La. Civ. L. Treatise, Civil Procedure § 9.12.
                9 Id
                i0 Id
                11 21 La. Civ. L. Treatise, Louisiana Lawyering § 4.2.

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                   results in certain adverse consequences.12 Moreover, the discovery articles of the Louisiana Code

                   of Civil Procedure allow Plaintiffs to be deposed.13

                            Counsel for Defendants found it necessary to file this motion so the discovery process can


                  begin. Considering at least two other co-defendants are involved in this matter, the schedules of


                  several attorneys will have to be consulted to set the depositions of the Plaintiffs. As such, counsel


                  for Defendants wish to obtain dates that the Plaintiffs can be deposed so that their testimony can


                  be scheduled at the convenience of all of the parties.


                           Lastly, Defendants request that the court dismiss Plaintiffs' claim if they do not participate


                  in the discovery process, as ordered by this court.




                                                             in.     CONCLUSION


                           Defendants submit that Plaintiffs have failed to answer their discovery requests within the


                 time delays allowed by law. Further, Plaintiffs have not responded to the Defendants' wish to take


                 the Plaintiffs' depositions live.


                           Defendants need the requested information so that they develop defenses and move


                 forward in the resolution of this matter.           Undersigned counsel for Defendants submits that


                 discovery cannot be completed because Plaintiffs have failed or refused to provide responses to


                 discovery and to make offers to schedule the Plaintiffs' deposition testimony.


                           As such, Defendants, Ace American Insurance Company and CRST Expedited, Inc.,

                respectfully request that this Honorable Court compel Plaintiffs to respond to Defendants'

                discovery requests, and award reasonable attorney fees and court costs associated with filing this

                Motion to Compel.




                12 Id.
                13 Louisiana Code of Civil Procedure article 1437.

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                                                      RULE 10.1 CERTIFICATE

                             As set forth in Exhibits to the attached Memorandum in Support of Motion
                                                                                                      to Compel
                    Plaintiffs' Discovery Responses and Deposition Testimony, Defendants scheduled
                                                                                                   a Rule 10.1
                    Conferences with Counsel for Plaintiff on January 16, 2019 and, January 3 1, 2018
                                                                                                       but counsel for
                    Plaintiffs did not participate in the Rule 10.1 conference. On February 1, 2018,
                                                                                                           counsel for
                    Defendants forwarded correspondence to counsel for Plaintiffs, to request a returned
                                                                                                         phone call by
                    February 2, 2018 to discuss the resolution of the outstanding discovery. The correspon
                                                                                                           dence
                    informed counsel that a Motion to Compel would be filed if a conference was
                                                                                                not conducted by
                    February 2, 20 1 8. To date, the Plaintiffs have not responded to the Defendants'
                                                                                                      discovery and has
                    not made arrangements for the scheduling of the Plaintiffs' depositions.
                                                                                        *




                                                                            vy m


                                                                            jbnee F. Smith Auld




                                                                 Respectfully Submitted:


                                                                 DEGAN, BLANCHARD & NASH




                                                                  1
                                                                SIDNEY W. DEGAN, III (LSBA #4840)
                                                                RENEEF. SMITH AULD (LSBA #23568)
                                                                400 Poydras Street, Suite 2600
                                                                New Orleans, Louisiana 70130
                                                                Telephone: (504) 529-3333
                                                                Facsimile: (504) 529-3337
                                                                Email: sdegan@degan.com
                                                                       rsmithauld@degan.com
                                                                Attorneys for Defendants,
                                                                Ace American Insurance Company and
                                                                CRST Expedited, Inc.




                                                  CERTIFICATE OF SERVICE

                         I hereby certify that the above and foregoing has been served upon all known parties
                                                                                                                 of
                 record via United States mail, properly addressed and postage pre-paid on this 8th day ofFebrua
                                                                                                                ry,
                 2018.




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                                                   Degan, Blanchard & Nash
                                                        A PROFESSIONAL LAW CORPORATION

                                                                    TEXACO CENTER
                                                      400       POYDRAS   STREET. SUITE   2600

                                                            NEW ORLEANS. LOUISIANA 70130
          RENEE F.          SMITH AULD
          OF COUNSEL                                                                                TELEPHONE (504) 529-3333
          ADMITTED IN LOUISIANA AND TEXAS                                                            FACSIMILE (504) 529-3337
                                                                                                      WRITER'S DIRECT E-MAIL
                                                                                                     RSMITHAULD@DEGAN.COM



                                                                  December 7, 2017

              Jerome H. Moroux
              557 Jefferson Street
              P.O. Box 3524
              Lafayette, LA 70502-3524


                                   Re:      Gilbert Dugas v. Ace American Insurance Company, et al
                                            St. Martin Parish, Cause No. 85926-A
                                            Our File No. 353-10961

              Dear Mr. Moroux:


                           Please find enclosed Ace American Insurance Company and CRST Expedited, Inc. 's
              Interrogatories and Request for Production of Documents to Plaintiffs, Gilbert Dugas and
              Rachael Dugas in the above referenced matter. Please respond to defendants' discovery within
              the applicable time delays. Pursuant to the Local Rules, we are retaining the originals in our file.


                     In addition, please forward to us all pleadings, notices, or discovery forwarded to you by
              counsel for Pilot Travel Centers.

                           Should you have any questions, please do not hesitate to contact our office.


                                                                              Sincerely,


                                                                              DEGAN, BLAN<         & NASH




                                                                             Rende F. Smith Auld

           RFSA/dpw
           Enclosures




                                                                   exhibit
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                                                                                                            353-10961
                             16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                        STATE OF LOUISIANA

                          NO. 85926                                                                    DIVISION A

                                                            GILBERT DUGAS

                                                                  VERSUS

                             ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                             MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                         PROGRESSIVE INSURANCE SECURITY COMPANY

                      FILED:
                                                                             DEPUTY CLERK



                          ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, INC.'S
                                                   FIRST SET OF INTERROGATORIES
                                                   TO PLAINTIFF. GILBERT DUGAS


                     TO:       Gilbert Dugas
                               through his attorney of record,
                               Jerome H. Moroux
                               557 Jefferson Street
                               P.O. Box 3524
                               Lafayette, LA 70502-3524



                               NOW        INTO     COURT,   through    undersigned   counsel,   come   Defendants,


                     Defendants, Ace American Insurance Company ("Ace American") and CRST Expedited,

                     Inc. ("CRST Expedited"), which propounds these Interrogatories to Plaintiff, Gilbert


                     Dugas, pursuant to Article 1457, et seq., of the Louisiana Civil Code of Procedure. These

                     Interrogatories are to be answered separately and fully in writing, under oath, and such

                    answers are to be signed by the person making them and served upon the attorneys of

                    record for defendants within thirty (30) days of service of the Interrogatories. These

                    Interrogatories shall be deemed continuing, so as to require supplemental answers in

                    accordance with Article 1428 of the Louisiana Code of Civil Procedure.

                                                            DEFINITIONS


                              In the following Interrogatories:


                              "YOU" or "YOUR" shall mean Gilbert Dugas, including any and all
                              representatives or other persons acting on your behalf.




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                                "IDENTIFY" and "IDENTIFICATION", when used with respect to an
                                individual, means to state his or her lull name, telephone number, present
                               or last known address, and present or last known place of employment.


                               "DOCUMENT" or "IDENTIFICATION", when used with reference to a
                               document, means to state the type of document (e.g. contract, chart, lease,
                               memorandum, telegram, etc.) or some other means of identifying its
                               location and custodian, the date thereon, if any, and the identity of the
                               party or parties whose name or names appear thereon, or in lieu thereof,
                               you may attach to your answers a copy of each such document


                               "ACCIDENT" and "INJURIES" refers to the alleged accident and injuries
                               set forth by the claimant as forming the basis of this lawsuit.


                      INTERROGATORY NO. lr


                               Please state your full name, current residence address, cell phone number, date of

                      birth; social security number, present marital status and names and ages of all children.


                      INTERROGATORY NO. 2:


                              Please state the name, address and telephone number of anyone from whom a


                     statement, whether written, oral, recorded or otherwise, has been obtained by you or on


                     your behalf relating, in any way, to the accident alleged in your Petition and the date such


                     statement was taken, the dates and places such statements were taken, who took said


                     statements and those having custody of said statements.

                     INTERROGATORY NO. 3:


                              Please describe in detailed narrative form the incident set forth in the Petition,

                     including how the incident occurred, where you were traveling from, where you were en

                     route to, and the facts leading up to the incident

                     INTERROGATORY NO. 4:


                             Please list and describe each and every injury and damage you allege to have

                    received during or as a result of the accident or occurrence sued upon, including but not

                    1imitf.fl to those injuries and damages listed in your Petition for Damages, listing such

                    injuries and damages, with particularity, along with indicating when each symptom was

                    first noted and the length of time the injury and/or symptom continued.

                    INTERROGATORY NO. 5:


                             Please state whether as a result of the alleged accident or occurrence which forms

                    the basis of your Petition, if you were disabled in any way, and, if so, please explain in


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                       detail, the nature, extent and duration of such disability and whether you applied for


                       disability with a governmental agency, basis for your disability application, and the status


                       of that application.        Please also respond as to whether you applied for disability as a

                       result of another accident or injury. When were you assigned disability status?


                      INTERROGATORY NO. 6:


                                Please state the names, addresses and specialty of all doctors, counselors,


                      therapists, mental health professionals, chiropractors, and any and all other persons who


                      have rendered any type of health care, physical therapy, or mental health care treatment

                      to you as a result of the injuries and complaints you claim to have received as a result of


                      the accident or occurrence sued upon, including the dates of treatment, treatment


                      rendered, costs of each treatment and a description of any and all surgeries performed;


                      and, if you are not currently receiving medical services and/or treatment, please give the

                      date you last consulted a physician for the injuries allegedly resulting from the accident


                     or occurrence sued upon, and the name and address of each such physician.


                     INTERROGATORY NO. 7:


                               Please list all injuries and illnesses you have experienced at any time prior to or

                     subsequent to the incident described in your Petition which required hospitalization or


                     outpatient procedures, and please provide a brief synopsis of each accident and/or

                     incident including the dates of any and all hospitalizations, accidents, injuries and

                     illnesses; date of any inpatient or outpatient surgical procedure(s) performed; name of

                     hospital and/or medical center where you were treated; purpose of hospitalization;

                    whether injury or illness was aggravated by the incident described in your Petition; and,

                    all other persons who examined you or rendered any health treatment including mental

                    health treatment to you in connection with those accidents, injuries and/or illnesses,

                    giving the address and specialty of such persons.

                    INTERROGATORY NO. 8:


                              Please state the name and address of each physician who treated you for any

                    purpose for the past ten (10) years through the present




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                          INTERROGATORY NO. 9:


                                      Please state the name and address of each pharmacy that has filled prescriptions

                          for you during the past ten (10) years through the present.


                          INTERROGATORY NO. 10:


                                      Please state whether you have ever made a claim for any personal injury or

                          whether you have ever been involved in any lawsuit either prior to or subsequent to the

                          incident which is the subject matter of this lawsuit. If so, please provide a brief narrative


                      description of the claim, the injuries received, the disposition of the claim, and the name

                      and address of any attorney(s) representing you, the court to which it was lodged and the


                      docket number to which it was assigned.


                      INTERROGATORY NO. 11;

                                     For every individual contacted and/or retained whom Plaintiff anticipates may be


                     called as an expert witness in the trial of this matter: (a) state the expert's full name and

                     current or last known address and telephone number; (b) specify the expert's area
                                                                                                       of

                     expertise and qualifications; (c) identity the subject matter on which the witness will

                     testify; (d) set forth the conclusions and opinions of the witness and the basis therefore;

                     and (e) identify all reports rendered by the expert.


                    INTERROGATORY NO. 12:


                                    Please identify each and every exhibit, demonstrative aid or other document that

                    you intend to introduce as evidence or show to the jury or other finder of fact at trial of

                    this matter.


                   INTERROGATORY NO. 13:


                                    List each item of damages which you claim, itemizing all charges, expenses and

                   losses, including income and property damage, paid or incurred by you, stating to whom

                   paid or owed, and attach to your response copies of all bills or estimates relating thereto.

                   As to each item of damage which you claim, state its dollar value, how it is calculated,

                   and the date it was incurred or is expected to be incurred, including but not limited to,

                  doctors' bills, x-rays, hospital expenses, nursing expenses, medical expenses, surgical

                  apparatus, and/or diagnostic tests.




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                     INTERROGATORY NO. 14:


                             Please identify all passengers in your vehicle at the time of the accident, if any,

                     their current residence address, telephone number, length of time known, and reason for


                     their presence in your vehicle on October 3 1, 2016.


                     INTERROGATORY NO. 15:


                             Please state the name and address of all employers by whom you were employed


                     at the time of the incident and for five years preceding this incident, as well as stating for

                    whom you have worked since the incident, specifying the nature of your employment


                    with each, the dates of your employment and the reason for your separation, if applicable,

                    from each employer.


                    INTERROGATORY NO. 16:


                            If you are claiming loss of past, present and/or future earnings from employment


                    as a result of this accident, please state the total amount of such loss and method of


                    computation, the date(s) you were absent from your employment and the date you first


                    returned to work after the accident If you missed any days of work as a result of the

                    accident at issue, please list the names and addresses of your Human Resources Directors


                    and your immediate supervisory at your place of employment.


                   INTERROGATORY NO. 17:


                            If you are claiming loss of future earning capacity as a result of this accident,

                   please state a detailed basis for your claim of loss of future earning capacity, total amount


                   of such loss and method of computation.


                   INTERROGATORY NO. 18:


                           Please list and identify all prior auto accidents in which you have been involved in

                   through the present and describe each accident, the location of the accident, the

                   approximate month and year of each accident and whether you were cited by the

                   investigating police officer for each accident.     Did you file a suit as a result of the

                   accident? If so, who was your attorney?




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                            INTERROGATORY NO. 19:


                                    Please describe all serious permanent injuries that you allege you suffered from


                            the automobile accident on October 31, 2016 as set forth in your Petition for Damages.

                            INTERROGATORY NO. 20:


                                    Please describe the basis for your contentions in paragraph 3 of the Petition that


                            Mark Strauss was negligent and caused an accident

                            INTERROGATORY NO. 21:


                                   Please    indicate whether you,    your representatives,    attorneys,    etc.,   are   in

                            possession of any photographs, maps, plans, drawings, etc., of the location of the alleged


                        accident and/or surrounding areas, the alleged injuries sustained by plaintiff or of any


                        other matters or things involved in the alleged accident.


                        INTERROGATORY NO. 22:

                                  Please describe the nature and severity of all of the injuries you have listed in

                       paragraph 5 of your Petition.        Please also list the physicians you have seen for each

                       injury.



                       INTERROGATORY NO. 23:


                                  Please describe the loss of enjoyment of life alleged in paragraph 5 of your


                       Petition, including all activities you are unable to perform because of this alleged

                       incident

                      INTERROGATORY NO. 24:


                                  Please describe the basis for your contention 5 in paragraph II of your Petition

                      that you have incurred medical expenses, past and future loss of earnings and loss of

                      earning capacity

                      INTERROGATORY NO. 25:


                                 Have you ever been a plaintiff or defendant in any other criminal or civil suit?

                     INTERROGATORY NO. 26:

                                 What actions, if any, did you take to try to avoid the accident at issue?




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                       INTERROGATORY NO. 27:


                              State the amount reported as earned income in your income tax returns for each of

                       the past five years preceding the occurrence, and for any full year subsequent to the

                       occurrence, and the District in which the returns were filed, and attach copies of your


                      returns to these answers.

                      INTERROGATORY NO. 28:


                             If you used or consumed by any means any alcoholic beverages, sedatives,


                      tranquilizers, illegal drugs or prescribed medications within 72 hours preceding this


                      accident, identify the nature and amount of each, and state when and where obtained and


                      consumed.


                      INTERROGATORY NO. 29;


                             List all fact and expert witnesses to this matter, regardless of whether or you plan


                     to call them at trial and describe in detail the topic areas and substance of their testimony.


                     INTERROGATORY NO. 30:


                             State what part of the vehicle in which you were situated was damaged and, if it


                     was estimated or repaired, the name and address of the person who performed such

                     estimate or repairs, the dates of such work and the cost thereof. If such vehicle is


                     unrepaired, state the address and the hour at which it may be seen.


                     INTERROGATORY NO. 31;



                            Please list and describe all insurance policies of any nature or kind, which provide

                     or may provide insurance coverage for the accident or events described in the original

                    Petition for Damages of plaintiff.

                    INTERROGATORY NO. 32:



                            Please list any activities and hobbies (such as running, jogging, gardening,

                    jogging, exercising fishing., bowling, hunting, softball, weight lifting, etc.) that you can

                    no longer participate in as a result of the accident at issue. Please also list the extent that

                    your participation is limited. (Hence, please list all activities, even if you have been only

                    slightly hampered from participating in such activities as a result of the accident at issue.)




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                          Please also list the names and addresses of persons who have participated in such


                          activities and hobbies with you both before and after the accident at issue.


                          INTERROGATORY NO. 33:


                                      Please state whether you were inside or outside of your car when your vehicle was


                          struck. Please describe which part of Mark Strauss's came into contact with your vehicle.



                                      These Interrogatories shall be deemed continuing so as to require supplemental

                      answers if you or your attorneys obtain further information between the time answers are

                      served and the time of trial.



                                                                 Respectfully Submitted:

                                                                 DEGAN, BLANCj              &NAS.p

                                                                                                   /



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                                                                           W. DEGAN, HI (LSBA #4804)
                                                                 RENEE F. SMITH AULD (LSBA #23568)
                                                                 400 Poydras Street, Suite 2600
                                                                 New Orleans, Louisiana 70130
                                                                 Telephone: (504) 529-3333
                                                                 Facsimile: (504) 529-3337
                                                                 E-mail: sdegan@degan.com
                                                                          rsmith@degan.com
                                                                Attorneysfor Defendants, ACE American
                                                                Insurance Company, and CAST Expedited, Inc,



                                                        CERTIFICATE OF SERVICE


                                  I hereby certify that a copy of the above and foregoing pleading has been served

                   upon all parties of record via either facsimile transmission or by placing same in the

                   United States Mail, properly addressed and postage pre-paid on this 7th day of

                   December, 2017.



                                                                                 /   RENEE F. SMITH AULD




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                                                                                                                       353-10961
                              16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                             STATE OF LOUISIANA

                           NO. 85926
                                                                                                               DIVISION A

                                                              GILBERT DUGAS

                                                                    VERSUS

                              ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                              MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                           PROGRESSIVE INSURANCE SECURITY COMPANY

                           FILED:

                                                                               DEPUTY CLERK



                            ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, INC.'S
                               REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF,
                                                              GILBERT DUGAS

                       TO:      Gilbert Dugas
                                through his attorney of record,
                                Jerome H. Moroux
                                557 Jefferson Street
                                P.O. Box 3524
                                Lafayette, LA 70502-3524

                                NOW INTO COURT, through undersigned counsel, comes Defendant, Fort


                      Worth Carrier Corporation, and pursuant to Articles 1461 and 1462 of the Louisiana

                      Code of Civil Procedure propounds the following Requests for Production of Documents

                      to Plaintiff, Gilbert Dugas, requiring a response within the time delays allowed by law.

                               These Requests for Production of Documents are continuing in nature. It is


                     requested that all documents and things requested herein be produced at the Law Offices

                     of Degan, Blanchard & Nash, 400 Poydras Street, Suite 2600, New Orleans, Louisiana

                     70130.


                                                              DEFINITIONS


                              The following definitions shall apply throughout this set of Requests for

                     Production of Documents and shall be adopted by you in responding thereto:

                              A.       "Person" shall mean any natural person, partnership, firm association,
                                       corporation, or other business or governmental or legal entity.

                              B.       "You" or "yours" means Gilbert Davis and your representatives and shall
                                       further     embrace   and   include   your       attorneys,   agents,       servants,


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                                        representatives, private investigators, and others, who are in a position or
                                        may have obtained information for or on behalf of you or who are acting
                                        or purporting to act on their behalf.


                               C.       "Documents" shall mean the original (or copy if the original is not
                                        available) and each non-identical copy (whether non-identical because of
                                        alterations,      attachments,       blanks,
                                                                             comments, notes, underlying or
                                       otherwise) or any writing or record, however described, whether account,
                                       agreement, amendment, article, authorization, bank advise or similar
                                       notice transfer, bank statement, bill, bill of lading, blueprint, book, charge,
                                       chart, check, contract, correspondence, deposit slip, diary, drawing, entry,
                                       estimate, or cost-to-complete estimate, film, financial statement, graph,
                                       instruction, internal document, invoice, journal, ledger or subsidiary
                                       ledger, letter, memorandum, minutes, notes, notebook, plan, photocopy,
                                       photograph, projection, publication, purchase order, record, recording,
                                       report, schedule, scrapbook, sketch, specification, speech, tape, telegram,
                                       telex, transcript, voucher, or any other written, typed, or recorded material
                                       of any other nature whatsoever and all retrievable data (whether encarded,
                                       taped or coded electrostatically, electromagnetically or otherwise) in you
                                       possession, custody or control, or known to you, wherever the document is
                                       located, however produced or reproduced, whether draft or final version.

                              D.       "Pertains" shall mean concerns, relates to, or is connected with the subject
                                      incident in any manner.


                              E.      "Identify" when used in reference to:


                                      (1)        a natural person, shall mean to state the person's full name and last
                                                 known address and telephone number.


                                      (2)        a business or governmental entity not a natural person, shall mean
                                                 to state the entity's full name, principal activities, state of legal
                                                 creation, address and telephone number of its principal place of
                                                 business.


                                      (3)        a document, shall mean to state the document's description (e.g.,
                                                 letter, memorandum, report, etc.), title, date, author, and present
                                                 location.

                                     (4)         communication or statement, shall mean to state the date of
                                                 occurrence, place of occurrence substance, each person by whom
                                                 the communication was made, and each person who was present
                                                 when the communication was made.


                            F.       "Address" shall mean the street number, street, post office box, city and
                                     state of subject person, business or other entity.



                                      REQUESTS FOR PRODUCTION OF DOCUMENTS

                    REQUEST FOR PRODUCTION NO. 1:

                            Please provide any and all medical records and reports from any healthcare

                   provider, including but not limited to hospital records, doctor, chiropractor, physical

                   therapy, psychological and counseling records, reports, notes, charts and bills pertaining



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                            to your alleged injuries and/or treatment or examination of the injuries alleged by you as


                            a result of the incident described in your Petition.


                           REQUEST FOR PRODUCTION NO. 2:


                                   Please produce any and all medical and pharmaceutical bills paid or incurred by


                           you in connection with the incident which forms the basis of this lawsuit, inr.hifHng but


                           not limited to, doctors' bills, x-rays, hospital expenses, nursing expenses, medical


                           expenses, surgical apparatus, and/or diagnostic tests.


                           REQUEST FOR PRODUCTION NO. 3:

                                   Please produce each exhibit, demonstrative aid, document or other object or video


                           which you intend to introduce as an exhibit or show to the jury or other finder of feet


                           during the trial of this matter or in support of your claim.

                           REQUEST FOR PRODUCTION NO. 4:

                                  Please    provide   any   and   all   statements,   whether   recorded,   oral,   written,

                       transcribed, or of any other nature, which are in the possession of you or your attorneys,

                       that bear any relation to the alleged injury.


                       REQUEST FOR PRODUCTION NO. 5:


                                  Please produce copies of any and all incident, accident and/or police reports in


                       any way relating to the alleged injury which is the subject matter of this litigation.

                           REQUEST FOR PRODUCTION NO. 6:


                                 Please produce copies of any and all reports, records and documentation from

                      expert witnesses which you intend to call during discovery or at trial that you have

                      consulted with relating to the subject matter of this litigation.

                      REQUEST FOR PRODUCTION NO. 7:


                                 Please produce any and all photographs, videos, DVD's and/or digital facsimiles

                      taken of any party, location anchor object as a result of the circumstances leading up to

                      the accident or resulting in the alleged injuries of the plaintiff and/or which are relevant

                     to the accident or occurrence sued upon.




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                       REQUEST FOR PRODUCTION NO. 8:


                              Please produce any and all investigative data of whatsoever nature pertaining to


                       the accident and alleged injury which is the subject matter of this litigation.


                      REQUEST FOR PRODUCTION NO. 9:


                              Please produce copies of any and all documents, including but not limited to

                      invoices and receipts, which relate to your claim in the Petition for Damages that you


                      have incurred rental expenses as a result of the accident or occurrence sued upon.

                      REQUEST FOR PRODUCTION NO. 10;


                              Please produce copies of any and all documents, including invoices, receipts


                      and/or appraisals, which relate to your claim in the Petition for Damages that you


                      incurred property damages as a result of the accident or occurrence sued upon.


                      REQUEST FOR PRODUCTION NO. 11:


                              Please produce copies of any and all photographs, maps, plans, drawings, or any


                     other document which shows the location of the alleged accident and/or surrounding


                     areas, the alleged injuries sustained by plaintiff or of any other matters or things involved


                     in the alleged accident

                     REQUEST FOR PRODUCTION NO. 12:


                             Please produce copies of any and all documents which relate to your contention in


                     your Petition that you suffered painful and serious injuries.


                     REQUEST FOR PRODUCTION NO. 13:


                             Please produce copies of any and all documents which relate to your allegations

                     in paragraph 3 of your Petition for Damages.


                    REQUEST FOR PRODUCTION NO. 14:


                             Please produce copies of any and all documents which relate to your allegations

                    in paragraph 4 of your Petition for Damages.

                    REQUEST FOR PRODUCTION NO, 15:

                             Please produce copies of any and all documents which relate to your allegations

                    in paragraph 4 of your Petition for Damages.




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                           REQUEST FOR PRODUCTION NO. 16:


                                      Please produce copies of any and all documents which relate to your allegations

                           in paragraph 6 of your Petition for Damages.

                           REQUEST FOR PRODUCTION NO. 17:



                                      Please produce a certified copy of the policy(s) booklets) and applicable


                       declaration sheet(s) for your personal liability policy, uninsured/underinsured motorist


                       policy, and/or any and all policies identified by you in response to Interrogatory No. 3 1 .


                       REQUEST FOR PRODUCTION NO. 18:


                                     Please execute the attached HIPPA/Medical Authorization form, Authorization to

                      Disclose Protected Health Information Pursuant to 45 CFR 164.508, and Authorization to


                      Disclose Protected Psychiatric, Psychotherapy, Counseling, Psychology and/or Heath


                      Information Pursuant to 45 CFR 164.508.

                      REQUEST FOR PRODUCTION NO. 19;

                                     Please execute the attached Form 4506 Request for Copy of Tax Return.


                     REQUEST FOR PRODUCTION NO. 20:


                                     Please   execute     the   attached   Authorization   for   Release   of Employment

                     Information and Records.


                     REQUEST FOR PRODUCTION NO. 21:


                                 Please execute the attached request for Social Security Administration Consent


                    for Release of Information (Form Approved OMB NO. 0960-0566) and Social Security

                    Administration Release for Social Security Earnings Information (OMB No. 0960-0525).

                    REQUEST FOR PRODUCTION NO. 22:


                                Please execute the attached Louisiana Department of Health Authorization to

                    Release or Obtain Health Information.


                    REQUEST FOR PRODUCTION NO. 23;


                                Please attach correspondence or any documentation indicating that you receive

                   social security disability benefits.




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                      REQUEST FOR PRODUCTION NO. 24:


                              Please produce a copy of each and every writing, document or other physical


                      evidence referred to, described or identified in your answers or responses to any of the


                      Interrogatories,   contemporaneously   propounded   to   you   with   these   Requests   for

                     Production of Documents, which has not been produced in response to a Request for

                     Production above.




                                                         Respectfully Submitted:


                                                         BEGAN, BLANCHARD & NAi




                                                         "SlDNEW. £>EGAN, ni (LSBA #4804)
                                                                  F. SMITH AULD (LSBA #23568)
                                                         400 Poydras Street, Suite 2600
                                                         New Orleans, Louisiana 70130
                                                         Telephone: (504) 529-3333
                                                         Facsimile: (504) 529-3337
                                                         E-mail: sdegan@degan.com
                                                                   rsmith@degan.com
                                                         Attorneysfor Defendants, ACE American
                                                         Insurance Company, and CRST Expedited, Inc.




                                                    CERTIFICATE OF SERVICE


                            I hereby certify that a copy of the above and foregoing pleading has been served

                    upon all parties of record via either facsimile transmission or by placing same in the

                   United States Mail, properly addressed and postage pre-paid on this 7th day of

                   December, 2017.




                                                                               RENEE F. SMITH AULD




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                                                                                                           353-10961
                                  16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                                 STATE OF LOUISIANA

                           NO. 85926                                                                 DIVISION A

                                                                    GILBERT DUGAS

                                                                           VERSUS

                                       ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                                   MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                                 PROGRESSIVE INSURANCE SECURITY -COMPANY

                           FILED:
                                                                                    DEPUTY CLERK



                            ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, INC.'S
                                                          FIRST SET OF INTERROGATORIES
                                                          TO PLAINTIFF. RACHAEL DUGAS


                           TO:          Rachael Dugas
                                       through her attorney of record,
                                       Jerome H. Moroux
                                       557 Jefferson Street
                                       P.O. Box 3524
                                       Lafayette, LA 70502-3524


                                       NOW INTO COURT, through undersigned counsel, come Defendants, Ace


                       American Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST


                       Expedited"),pursuant to Article 1457, et seq., of the Louisiana Civil Code of Procedure.

                       These Interrogatories are to be answered separately and fully in writing, under oath, and

                      such answers are to be signed by the person making them and served upon the attorneys


                      of record for defendant within thirty (30) days of service of the Interrogatories.    These


                      Interrogatories shall be deemed continuing, so as to require supplemental answers in

                      accordance with Article 1428 of the Louisiana Code of Civil Procedure.

                                                                    DEFINITIONS:


                                       In the following Interrogatories:

                                       "YOU" or "YOUR" shall mean RACHAEL DUGAS including any and all

                      representatives or other persons acting on your behalf.

                                       "IDENTIFY" and "IDENTIFICATION", when used with respect to an individual,

                     means to state his or her full name, telephone number, present or last known address, and

                                                                                          EXHIBIT
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                                            Transmission Report

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R: Host receive                PR: Polled remote                                    RP: Report                                      FA: Fail                                             G3: Group 3
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                                        SI MARTIN PARISH CLERK OF COURT


                                         DEGAN, BLANCHARD & NASH
                                                                      Suite 2600, Texaco Center
                                                                               400 Poydras Street
                                                                  New Orleans, Louisiana 70130
                                                                     Telephone: (504) 529-3333
                                                                     Facsimile: (504) 529-3337



                                                       FACSIMILECOVERSHEET

                 TO:
                                                                                             FAX NO.:                (337) 394-2240
                 Clerk of Court

                 16th Judicial District Court
                 Parish of St. Martin


                 DATE:              F ebruary 8, 20 1 8                                     FROM: Denise Wade

                REFERENCE:                     353-10961                                    PAGES (Including Cover Sheet)


                FACSIMILE MESSAGE:
                               Please file the attached for fax filing


                           -)f Please note that there is one service for Lafavette Parish and
                               2 services in East Baton Rouge Parish .                                  ^

                                                                             CONFIDENTIALITY NOTICE

               This facsimile transmission (and/or the documents accompanying it) may contain confidential information belonging
                                                                                                                                              to the sender which is
               protected hy the attorney-client privilege. The information is intended only for the use of the individual or entity
                                                                                                                                     named above. If you are not the
               intended recipient, you are hereby notified that any disclosure, copying, distribution or the taking of any action in
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               Ifthere is any problem receiving this message, please call (S04) 529-3333. Facsimile sent by Denise Wade.




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                                                       Degan, Blanchard & Nash
                                                            a professional law corporation

                                                                      TEXACO CENTER
                                                          400   P O YD R AS   STREET, SUITE    2600
                                                                NEW ORLEANS, LOUISIANA 70130
              RENEE         F.   SMITH AULD
              OF COUNSEL                                                                               TELEPHONE (504) 529-3333
              ADMITTED IN LOUISIANA AND TEXAS                                                           FACSIMILE {504) 529-3337
                                                                                                         WRITER'S DIRECT E-MAIL
                                                                                                       RSMITHAULD@DEGAN.COM



                                                                    February 8, 2017

                   VIA FACSIMILE (337) 394-2240
                  The Honorable Becky P. Patin
                  Clerk of Court
                  414 St. Martin Street
                  P. O. Box 308
                  St. Martinville, Louisiana 70582


                                      Re:       Gilbert Dugas v. Ace American Insurance Company, et al
                                                St. Martin Parish, Cause No. 85926-A
                                                Our File No. 353-10961

                 Dear Clerk Patin:


                         Please find, attached for fax filing Defendants ' Motion to Compe
                                                                                             l Plaintiffs ' Discovery
                Responses and Deposition Testimony and Defendants ' Memora
                                                                                   ndum in Support of Motion to
                Compel Plaintiffs ' Discovery Responses and Deposition Testimo
                                                                                  ny in connection with the above
                referenced matter. After filing each into the record, please forward
                                                                                      to us via fax the amount due
                for filing fees. We will forward the originals and all fees to
                                                                                 you within the next seven days,
                pursuant to L.S.A.-R.S. 13:850.


                       Thank you for your assistance with this request.                   Should you have any questions or
                concerns, please do not hesitate to contact us.


                                                                                  Sincerely,

                                                                                 DEGAN, BLANCHARD & NASH




                                                                                 Ren6e F. Smith Auld

               RFSA/dpw
               Attachments
               cc:          Jerome H. Moroux (Via US Mail)
                            John Wolff, III  (Via US Mail and email iwolff@keoghcox.comJ
                            Sean P. Rabalais        (Via US Mail and email Sean P Rabalais@progressive.com)




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                           16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                      STATE OF LOUISIANA


                   NO. 85926                                                                   DIVISION A


                                                            GILBERT DUGAS


                                                               VERSUS


                            ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                            MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                        PROGRESSIVE SECURITY INSURANCE COMPANY


                   FILED:
                                                                        DEPUTY CLERK



                                         DEFENDANTS* MOTION TO COMPEL
                          PLAINTIFFS* DISCOVERY RESPONSES AND DEPOSITION TESTIMONY



                           NOW INTO COURT, through undersigned counsel, come Defendants, Ace American


                   Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST Expedited"), which


                   move this Honorable Court for an Order requiring Plaintiffs, Gilbert Dugas and Rachael Dugas, to

                   respond to Interrogatories and Requests for Production of Documents propounded upon them on


                   December 7, 2018 in accordance with the Louisiana Code of Civil Procedure. The time allowed

                   to respond to the discovery has lapsed, but the Plaintiffs have failed to respond.     Moreover,


                   Defendants move this Honorable Court for and Order compelling Plaintiffs to be deposed within

                   a month of the hearing on this matter.

                           WHEREFORE, Defendants, Ace American Insurance Company and CSRT Expedited,

                   Inc, pray for an Order compelling Plaintiffs, Gilbert Dugas and Rachael Dugas, to respond fully,

                   completely and without objection to all outstanding discovery, to be deposed within a month, and

                   to pay for all expenses and attorney's fees incurred in connection with this motion as provided by

                   Louisiana Code of Civil Procedure Article 1469. Further, Defendants pray that Plaintiffs' claims

                   be dismissed, if they fail to comply with the court's Order.




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                                                                      Respectfully Submitted:


                                                                      DEGAN, BLANCHARD & NASH



                                                                               -Jfr \
                                                                      S.           Y W. DEGAN, III (LSBA #4840)
                                                                                 E F. SMITH AULD (LSBA #23568)
                                                                      400 Poydras Street, Suite 2600
                                                                      New Orleans, Louisiana 70130
                                                                      Telephone: (504) 529-3333
                                                                      Facsimile: (504) 529-3337
                                                                      Email: sdegan@degan.com
                                                                                  rsmithauld@degan.com
                                                                      Attorneysfor Defendants,
                                                                      Ace American Insurance Company and
                                                                      CRST Expedited, Inc.




                                                              CERTIFICATE OF SERVICE


                           I hereby certify that the above and foregoing has been served upon all known parties of
                 record via United States mail, properly addressed and postage pre-paid on this 8th day ofFebruary,
                  2018.



                                                                                           tENEE F. SMITH AULD




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                                   16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                             STATE OF LOUISIANA


                    NO. 85926                                                                            DIVISION A

                                                                   GILBERT DUGAS


                                                                       VERSUS


                                        ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                                    MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                                  PROGRESSIVE SECURITY INSURANCE COMPANY

                   FILED:


                                                           RULE TO SHOW CAUSE


                                   Considering the foregoing Motion to Compel Discovery and Depositions filed by


                   Defendants, Ace American Insurance Company and CSRT Expedited;

                                   IT IS ORDERED that Plaintiffs, Gilbert Dugas and Rachael Dugas, show cause on the


                                         day of                    2018 at                a.m./p.m. why they should not be


                   compelled to respond to the Interrogatories and Request for Production of Documents of


                  Defendants, Ace American Insurance Company and CSRT Expedited, previously propounded,


                  why they should not be compelled to be deposed with a month, and why sanctions of expenses and


                  attorney's fees for failure to comply with said discovery requests should not be awarded.


                               St. Martinsville, Louisiana, this                 day of        ^ 2018.




                                                              JUDGE


                  PLEASE SERVE:


                  Gilbert Dugas and Rachel Dugas, Plaintiffs
                  Through counsel of record
                  Jerome H. Moroux
                  557 Jefferson Street
                  Lafayette, Louisiana 70502-3524


                  Pilot Travel Centers, LLC — Store #274, Defendant
                  Through its counsel of record
                  John Wolff; HI
                  Keogh, Cox & Wilson, Ltd.
                  701 Main St.
                 Baton Rouge, Louisiana 70802


                 Please also see next page for additional service directions.

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                    Progressive Security Insurance Company
                    Sean P. Rabalais
                    Casler, Bordelon, Lawler and Gelder
                    1 1550 Newcastle Ave., Suite 200
                    Baton Rouge Louisiana 70816




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                           16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                      STATE OF LOUISIANA


                   NO. 85926                                                                   DIVISION A


                                                         GILBERT DUGAS


                                                              VERSUS


                            ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                            MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                          PROGRESSIVE INSURANCE SECURITY COMPANY


                  FILED:
                                                                      DEPUTY CLERK



                          DEFENDANTS' MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
                          PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY


                  MAY IT PLEASE THE COURT:


                          The Defendants, Ace American Insurance Company ("Ace American") and CRST


                  Expedited, Inc. ("CRST Expedited"), file this Memorandum in Support oftheir Motion to Compel,


                  as the Plaintiffs, Gilbert Dugas and Rachael Dugas have failed to respond to Defendants' First Set


                  of Interrogatories and First Request for Production of Documents. Additionally, Plaintiffs have


                  failed to provide Defendants with dates in which they are available to be deposed.




                                I.           BRIEF FACTUAL AND PROCEDURAL BACKGROUND


                          This lawsuit arises out of an accident that occurred, on October 31, 2016, when Gilbert


                  Dugas's vehicle was allegedly struck by a vehicle driven by Mark Strauss at a Pilot Travel Center


                  in Breaux Bridge, Louisiana. Plaintiff, Rachael Dugas, has a made a claim for loss of consortium

                 in an Amended Petition. Plaintiff, Gilbert Dugas, filed this lawsuit on October 12, 2017.

                          Defendants, Ace American and CRST Expedited, filed an Answer to Plaintiffs' original

                 Petition for Damages and First Supplemental and Amending Petition on November 27, 2017.




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                             On December 7, 2017, Defendants propounded their First Set of Interrogatories and First


                   Request for Production of Documents to Plaintiffs, Gilbert Dugas1 and Rachael Dugas,2 in order


                   to better understand their alleged injuries and damages.3


                              On January 1 1 , 201 8, Defendants reminded Plaintiffs that their discovery responses were


                   due and scheduled a Rule 10.1 Conference for January 16,2018 at3:00 p.m.4 On January 11,2018,


                   a Rule 1 0.1 discovery conference call was initiated by undersigned counsel, but was sent to counsel


                   for plaintiffs' voicemail. Undersigned counsel left a voicemail message regarding the discovery,


                   but never received a call back.


                            Considering south Louisiana experienced a hard freeze on January 16, 2018, counsel for


                   Defendants forward correspondence to counsel for Plaintiffs on January 24, 2018 to schedule a

                   second Rule 10.1 conference for January 31, 2018 at 3:00 p.m.5 Again, when the undersigned

                   attempted to contact counsel for Plaintiffs on January 31, 2018, counsel for Plaintiff was


                   unavailable for the call.


                            Moreover, counsel for Ace American and CSRT Expedited sent emails to counsel for


                   Plaintiff on January 8, 20 1 8 and January 1 8, 20 1 8 asking counsel for the Gilberts for dates in which


                   the Plaintiffs could be available to be deposed.6 To date, however, counsel for the Plaintiffs have

                   not provided the undersigned with any dates in which the Gilberts can be deposed.

                            Out of a professional courtesy to the Plaintiffs and in the interests ofjudicial economy, the


                   undersigned forwarded correspondence to counsel for Plaintiffs via U.S. mail and email and to his

                   assistant via email on February 1, 2018 as a final attempt to remedy these issues. Defense counsel's

                   correspondence indicated that ifa representative of the Gilberts did not contact the undersigned by

                   the close of business on February 2, 2018 to at least discuss the resolution of the Plaintiffs'




                   1 See Exhibit 1, Defendants' First Set of Interrogatories to Gilbert Dugas (and accompanying correspondence) and
                   Exhibit 2, Defendants' Request for Production of Documents to Plaintiff Gilbert Dugas attached hereto in globo).
                   2 See Exhibit 3, Defendants' First Set of Interrogatories to Rachael Dugas and Exhibit 4, Defendants' Request for
                   Production of Documents to Plaintiff., Rachael Dugas attached hereto in globo).
                   3 On January 2, 2018, Plaintiff Gilbert Dugas provided Defendants with responses to Requests for Admission,
                   which were propounded on December 13, 2017. However, Plaintiffs have not responded to Defendants'
                   Interrogatories and Requests for Production.
                  4 See Exhibit 5, Defendants correspondence of January 11, 2018 to counsel for Plaintiff scheduling a Rule 10.1
                  conference for Januaiy 16, 2018, attached hereto in globo.
                   5 See Exhibit 6, Defendants' correspondence of January 24, 2018 to counsel for Plaintiff scheduling a Rule 10.1 for
                   January 31, 2018, attached hereto in globo.
                   6 1See Exhibit 7, 8, and 9 Defendants' correspondence ofJanuary 8, 2018 and January 18, 2018 to counsel for Plaintiff
                   attached hereto in globo.

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                     discovery and depositions that the Defendants would have no option but to file a Motion to


                     Compel.7 As of the date of filing this Motion to Compel, Plaintiffs have not responded to

                     Defendants' Interrogatories and Request for Production ofDocuments. In addition, Plaintiffs have

                     not agreed on a date to have their deposition taken live.




                                                           II.        LAW AND ARGUMENT


                              Louisiana Code of Civil Procedure articles 1458 and 1462 make it mandatory that

                    responses to Interrogatories and Request for Production of Documents or objections thereto be


                    provided within thirty (30) days. Louisiana Code of Civil Procedure article 1469 provides that the


                    failure to respond timely subj ects the non-responding party to payment of attorneys' fees and court


                    costs associated with the filing of a Motion to Compel. In addition, article 1437 of the Louisiana


                    Code of Civil Procedure provides that "after the commencement of the action, any party may take


                    the testimony of any person, including a party by deposition upon oral examination."


                             The Code provides for sanctions as a means of encouraging the parties to comply with


                    discovery rules.           The first level of sanctions applies when the party from whom discovery is


                   sought does not respond; if the party refuses to "play the game," immediate sanctions can be

                   imposed.9 Examples of this kind of conduct include a party's failure to appear at his or her

                   deposition after proper notice, or a failure to respond to Interrogatories or a Request for Production

                   or inspection of documents and things. The court, on motion, may strike the claim or defense,

                   dismiss the action or grant a judgment by default, or may impose lesser penalties such as deeming

                   the matter at issue admitted or prohibiting the recalcitrant party from introducing evidence on the

                   matter.10

                             Discovery rules require timely responses to Interrogatories, Motions to Produce or Inspect,

                   and Requests for Admission.11 Failure to timely respond to discovery demands automatically




                   7 See Exhibit 10, Defendants' correspondence of February 1, 2018 to counsel for Plaintiff , attached hereto in globo.

                  8 1 La. Civ. L. Treatise, Civil Procedure § 9.12.
                  9 Id
                   10 Id
                   11 21 La. Civ. L. Treatise, Louisiana Lawyering § 4.2.

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                      results in certain adverse consequences.12 Moreover, the discovery articles of the Louisiana Code

                     of Civil Procedure allow Plaintiffs to be deposed.13


                             Counsel for Defendants found it necessary to file this motion so the discovery process can


                     begin. Considering at least two other co-defendants are involved in this matter, the schedules of


                     several attorneys will have to be consulted to set the depositions of the Plaintiffs. As such, counsel


                     for Defendants wish to obtain dates that the Plaintiffs can be deposed so that their testimony can

                     be scheduled at the convenience of all of the parties.


                             Lastly, Defendants request that the court dismiss Plaintiffs' claim if they do not participate


                     in the discovery process, as ordered by this court.




                                                               in.      CONCLUSION

                             Defendants submit that Plaintiffs have failed to answer their discovery requests within the


                    time delays allowed by law. Further, Plaintiffs have not responded to the Defendants' wish to take

                    the Plaintiffs' depositions live.


                            Defendants need the requested information so that they develop defenses and move


                    forward in the resolution of this matter.           Undersigned counsel for Defendants submits that

                    discovery cannot be completed because Plaintiffs have failed or refused to provide responses to

                    discovery and to make offers to schedule the Plaintiffs' deposition testimony.

                            As such, Defendants, Ace American Insurance Company and CRST Expedited, Inc.,

                    respectfully request that this Honorable Court compel Plaintiffs to respond to Defendants'

                    discovery requests, and award reasonable attorney fees and court costs associated with filing this

                    Motion to Compel.




                   12 Id
                   13 Louisiana Code of Civil Procedure article 1437.

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                                                      RULE 10.1 CERTIFICATE

                             As set forth in Exhibits to the attached Memorandum in Support of Motion to Compel
                     Plaintiffs' Discovery Responses and Deposition Testimony, Defendants scheduled a Rule 10. 1
                     Conferences with Counsel for Plaintiff on January 16, 2019 and, January 3 1, 2018 but counsel for
                     Plaintiffs did not participate in the Rule 10.1 conference.   On February 1, 2018, counsel for
                    Defendants forwarded correspondence to counsel for Plaintiffs, to request a returned phone call by
                    February 2, 2018 to discuss the resolution of the outstanding discovery. The correspondence
                    informed counsel that a Motion to Compel would be filed if a conference was not conducted by
                    February 2, 201 8. To date, the Plaintiffs have not responded to the Defendants' discovery and has
                    not made arrangements for the scheduling of the Plaintiffs' depositions.      ^



                                                                            f7 .
                                                                            ienee F. Smith Auld




                                                                 Respectfully Submitted:


                                                                 DEGAN, BLANCHARD & NASH



                                                                  \ XL
                                                                 SIDNEY^. DEGAN, Iff (LSBA #4840)
                                                                RENE^F. SMITH AULD (LSBA #23568)
                                                                400 Poydras Street, Suite 2600
                                                                New Orleans, Louisiana 70130
                                                                Telephone: (504) 529-3333
                                                                Facsimile: (504) 529-3337
                                                                Email: sdegan@degan.com
                                                                        rsmithauld@degan.com
                                                                Attorneysfor Defendants,
                                                                Ace American Insurance Company and
                                                                CRST Expedited, Inc.




                                                    CERTIFICATE OF SERVICE

                           I hereby certify that the above and foregoing has been served upon all known parties of
                   record via United States mail, properly addressed and postage pre-paid on this 8th day ofFebruary,
                   2018.




                                                                                                           n




                                                                             ^/RENEE F. SMITH AULD




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                                                    Degan, Blanchard & Nash
                                                          A PROFESSIONAL LAW CORPORATION

                                                                    TEXACO CENTER
                                                        400   POYORAS    STREET. SUITE   26O0

                                                              NEW ORLEANS, LOUISIANA 70130
          RENEE        F.    SMITH   AULD
                                                                                                     TELEPHONE (504) 529-3333
          OF COUNSEL
                                                                                                      FACSIMILE (504) 529-3337
          ADMITTED IN LOUISIANA AND TEXAS
                                                                                                       WRITER'S DIRECT E-MAIL
                                                                                                     RSMITHAULD@DEGAN.COM




                                                                  December 7, 2017

              Jerome H. Moroux
              557 Jefferson Street
              P.O. Box 3524
              Lafayette, LA 70502-3524


                                     Re:      Gilbert Dugas v. Ace American Insurance Company, et al
                                              St. Martin Parish, Cause No. 85926-A
                                              Our File No. 353-10961


              Dear Mr. Moroux:


                    Please find enclosed Ace American Insurance Company and CRST Expedited, Inc. 's
             Interrogatories and Request for Production of Documents to Plaintiffs, Gilbert Dugas and
             Rachael Dugas in the above referenced matter. Please respond to defendants' discovery within
             the applicable time delays. Pursuant to the Local Rules, we are retaining the originals in our file.

                            In addition, please forward to us all pleadings, notices, or discovery forwarded to you by
             counsel for Pilot Travel Centers.


                            Should you have any questions, please do not hesitate to contact our office.


                                                                              Sincerely,


                                                                              DEGAN, BLAN<          & NASH




                                                                              Rende F. Smith Auld


             RFSA/dpw
             Enclosures




                                                                    EXHIBIT

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        FILED ON BEHALF OF: Ace American Ins

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                                     Degan, Blanchard & Nash
                                           A   PROFESSIONAL   LAW CORPORATION

                                                     TEXACO CENTER
                                         400   POYDRAS    STREET, SUITE    2600

                                               NEW ORLEANS, LOUISIANA 70130

  RE NEE   F.   SMITH   AULD
                                                                                           TELEPHONE (504) 529-3333
  OF COUNSEL
                                                                                            FACSIMILE (504) 529-3337
  ADMITTED IN LOUISIANA AND TEXAS
                                                                                             WRITER'S DIRECT E-MAIL
                                                                                            RSMITHAULD@DEGAN.COM



                                                   February 9, 2017

     The Honorable Becky P. Patin
     Clerk of Court
     414 St. Martin Street
     P. O. Box 308
     St. Martinville, Louisiana 70582


                        Re:    Gilbert Dugas v. Ace American msurti                    jy, etal
                               St. Martin Parish, Cause No. 85ff26-A
                               Our File No. 353-10961

     Dear Clerk Patin:

            Please find enclosed the original and five copies of Defendants' Motion to Compel
    Plaintiffs' Discovery Responses and Deposition Testimony and Defendants' Memorandum
                                                                                                   in
    Support ofMotion to Compel Plaintiffs ' Discovery Responses and Deposition Testimony which
    we previously fax-filed in connection with the above referenced matter. Once the original
    pleading has been filed, please return a conformed copy to me using the enclosed self-addressed,
    stamped envelope. Also enclosed are the Court's fax confirmation page and our firm check
                                                                                                  in
    the amount of $560.00 in satisfaction of the Court's fax and filing fees.

           Thank you for your assistance, and please do not hesitate to contact my office should you
    have any questions regarding this filing.


                                                                Sincerely,

                                                                DEGAN, BLANCHARD & NASH




                                                                Renee F. Smith Auld

    RFSA/dpw
    Enclosures




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          16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                     STATE OF LOUISIANA


 NO. 85926                                                                   DIVISION A


                                          GILBERT DUGAS


                                              VERSUS


           ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
           MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                 PROGRESSIVE SECURITY INSURANCE COMPANY


 FILED:
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                            DEFENDANTS' MOTION TO COMPEL
        PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY



          NOW INTO COURT, through undersigned counsel, come Defendants, Ace American


 Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST Expedited"), which


 move this Honorable Court for an Order requiring Plaintiffs, Gilbert Dugas and Rachael Dugas, to


 respond to Interrogatories and Requests for Production of Documents propounded upon them on

 December 7, 2018 in accordance with the Louisiana Code of Civil Procedure. The time allowed


 to respond to the discovery has lapsed, but the Plaintiffs have failed to respond.     Moreover,


 Defendants move this Honorable Court for and Order compelling Plaintiffs to be deposed within

 a month of the hearing on this matter.

          WHEREFORE, Defendants, Ace American Insurance Company and CSRT Expedited,

 Inc, pray for an Order compelling Plaintiffs, Gilbert Dugas and Rachael Dugas, to respond fully,

 completely and without objection to all outstanding discovery, to be deposed within a month, and

 to pay for all expenses and attorney's fees incurred in connection with this motion as provided by

 Louisiana Code of Civil Procedure Article 1469. Further, Defendants pray that Plaintiffs' claims

  be dismissed, if they fail to comply with the court's Order.




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                                              Respectfully Submitted:


                                              DEGAN, BLANCHARD & NASH




                                              S.        Y W. DEGAN, III (LSBA #4840)
                                                      EE F. SMITH AULD (LSBA #23568)
                                              400 Poydras Street, Suite 2600
                                              New Orleans, Louisiana 70130
                                              Telephone: (504) 529-3333
                                              Facsimile: (504) 529-3337
                                              Email: sdegan@degan.com
                                                     rsmithauld@degan.com
                                              Attorneysfor Defendants,
                                              Ace American Insurance Company and
                                              CRST Expedited, Inc.




                                 CERTIFICATE OF SERVICE


         I hereby certify that the above and foregoing has been served upon all known parties of
 record via United States mail, properly addressed and postage pre-paid on this 8th day ofFebruary,
 2018.


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                                                                       EE F.' SMITH AULD




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          16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                       STATE OF LOUISIANA


 NO. 85926                                                                          DIVISION A


                                          GILBERT DUGAS


                                               VERSUS


           ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
           MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                      PROGRESSIVE SECURITY INSURANCE COMPANY


 FILED:


                                      RULE TO SHOW CAUSE


          Considering the foregoing Motion to Compel Discovery and Depositions filed by


 Defendants, Ace American Insurance Company and CSRT Expedited;

          IT IS ORDERED that Plaintiffs, Gilbert Dugas and Rachael Dugas, show cause on the
                                                                                 OA <JL
 2Q            day of                    .,2018 at       f0,00      a.:                         should notice

 compelled to respond to the Interrogatories and Request for Production of Documents of

 Defendants, Ace American Insurance Company and CSRT Expedited, previously propounded,


 why they should not be compelled to be deposed with a month, and why sanctions of expenses and

 attorney's fees for failure to comply with said discovery requests should not be awarded.

          St. Martinsville, Louisiana, this          day qf^                     2018



                                               Z

                                               GE
                                                         'Anthony Thiboderiux
 PLEASE SERVE:


 Gilbert Dugas and Rachel Dugas, Plaintiffs
 Through counsel of record
 Jerome H. Moroux
 557 Jefferson Street
 Lafayette, Louisiana 70502-3524


 Pilot Travel Centers, LLC - Store #274, Defendant
 Through its counsel of record
 John Wolff, III
 Keogh, Cox & Wilson, Ltd.
 701 Main St.
                                                                          received and filed
 Baton Rouge, Louisiana 70802
                                                                          2018 FEB, 1 2
                                                                             /          *   /      i'   .
 Please also see next page for additional service directions.

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Progressive Security Insurance Company
Sean P. Rabalais
Casler, Bordelon, Lawler and Gelder
1 1550 Newcastle Ave., Suite 200
Baton Rouge Louisiana 70816




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               16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                         STATE OF LOUISIANA


      NO. 85926                                                                   DIVISION A


                                            GILBERT DUGAS


                                                 VERSUS


                 ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                           PROGRESSIVE INSURANCE SECURITY COMPANY


     FILED:
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             DEFENDANTS' MEMORANDUM IN SUPPORT OF MOTION TO COMPEL
             PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY


     MAY IT PLEASE THE COURT:


               The Defendants, Ace American Insurance Company ("Ace American") and CRST


     Expedited, Inc. ("CRST Expedited"), file this Memorandum in Support of their Motion to Compel,


     as the Plaintiffs, Gilbert Dugas and Rachael Dugas have failed to respond to Defendants' First Set

     of Interrogatories and First Request for Production of Documents. Additionally, Plaintiffs have

     failed to provide Defendants with dates in which they are available to be deposed.




                      I.    BRIEF FACTUAL AND PROCEDURAL BACKGROUND

              This lawsuit arises out of an accident that occurred, on October 31, 2016, when Gilbert

     Dugas' s vehicle was allegedly struck by a vehicle driven by Mark Strauss at a Pilot Travel Center

     in Breaux Bridge, Louisiana. Plaintiff, Rachael Dugas, has a made a claim for loss of consortium

     in an Amended Petition. Plaintiff, Gilbert Dugas, filed this lawsuit on October 12, 2017.

              Defendants, Ace American and CRST Expedited, filed an Answer to Plaintiffs' original

     Petition for Damages and First Supplemental and Amending Petition on November 27, 2017.




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           On December 7, 2017, Defendants propounded their First Set of Interrogatories and First


 Request for Production of Documents to Plaintiffs, Gilbert Dugas ' and Rachael Dugas,3 in order


 to better understand their alleged injuries and damages.3


             On January 1 1, 2018, Defendants reminded Plaintiffs that their discovery responses were


 due and scheduled a Rule 10.1 Conference for January 1 6, 20 1 8 at 3 :00 p.m.4 On January 1 1 , 20 1 8,


 a Rule 1 0. 1 discovery conference call was initiated by undersigned counsel, but was sent to counsel


 for plaintiffs' voicemail. Undersigned counsel left a voicemail message regarding the discovery,


 but never received a call back.


          Considering south Louisiana experienced a hard freeze on January 16, 2018, counsel for


 Defendants forward correspondence to counsel for Plaintiffs on January 24, 2018 to schedule a


 second Rule 10.1 conference for January 31, 2018 at 3:00 p.m.5 Again, when the undersigned


 attempted to contact counsel for Plaintiffs on January 31, 2018, counsel for Plaintiff was


 unavailable for the call.


          Moreover, counsel for Ace American and CSRT Expedited sent emails to counsel for


Plaintiff on January 8, 20 1 8 and January 1 8, 20 1 8 asking counsel for the Gilberts for dates in which


the Plaintiffs could be available to be deposed.6 To date, however, counsel for the Plaintiffs have

not provided the undersigned with any dates in which the Gilberts can be deposed.


          Out of a professional courtesy to the Plaintiffs and in the interests ofjudicial economy, the


undersigned forwarded correspondence to counsel for Plaintiffs via U.S. mail and email and to his


assistant via email on February 1, 2018 as a final attempt to remedy these issues. Defense counsel's

correspondence indicated that if a representative of the Gilberts did not contact the undersigned by

the close of business on February 2, 2018 to at least discuss the resolution of the Plaintiffs'




1 See Exhibit 1, Defendants' First Set of Interrogatories to Gilbert Dugas (and accompanying correspondence) and
Exhibit 2, Defendants' Request for Production of Documents to Plaintiff, Gilbert Dugas attached hereto in globo).
2 See Exhibit 3, Defendants' First Set of Interrogatories to Rachael Dugas and Exhibit 4, Defendants' Request for
Production of Documents to Plaintiff, Rachael Dugas attached hereto in globo).
3 On January 2, 2018, Plaintiff, Gilbert Dugas provided Defendants with responses to Requests for Admission,
which were propounded on December 13, 2017. However, Plaintiffs have not responded to Defendants'
Interrogatories and Requests for Production.
4 See Exhibit 5, Defendants correspondence of January 1 1 , 20 1 8 to counsel for Plaintiff scheduling a Rule 10.1
conference for January 16, 2018, attached hereto in globo.
5 See Exhibit 6, Defendants' correspondence of January 24, 2018 to counsel for Plaintiff scheduling a Rule 10.1 for
January 31, 2018, attached hereto in globo.
6 See Exhibit 7, 8, and 9 Defendants' correspondence ofJanuary 8, 20 1 8 and January 1 8, 20 1 8 to counsel for Plaintiff,
attached hereto in globo.

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  discovery and depositions that the Defendants would have no option but to file a Motion to


  Compel.7 As of the date of filing this Motion to Compel, Plaintiffs have not responded to

 Defendants' Interrogatories and Request for Production of Documents. In addition, Plaintiffs have

 not agreed on a date to have their deposition taken live.




                                        II.         LAW AND ARGUMENT


          Louisiana Code of Civil Procedure articles 1458 and 1462 make it mandatory that

 responses to Interrogatories and Request for Production of Documents or objections thereto be


 provided within thirty (30) days. Louisiana Code of Civil Procedure article 1469 provides that the


 failure to respond timely subjects the non-responding party to payment of attorneys' fees and court


 costs associated with the filing of a Motion to Compel. In addition, article 1437 of the Louisiana


 Code of Civil Procedure provides that "after the commencement of the action, any party may take


 the testimony of any person, including a party by deposition upon oral examination."


          The Code provides for sanctions as a means of encouraging the parties to comply with


discovery rules.88      The first level of sanctions applies when the party from whom discovery is


sought does not respond; if the party refuses to "play the game," immediate sanctions can be


imposed.9 Examples of this kind of conduct include a party's failure to appear at his or her

deposition after proper notice, or a failure to respond to Interrogatories or a Request for Production

or inspection of documents and things. The court, on motion, may strike the claim or defense,

dismiss the action or grant a judgment by default, or may impose lesser penalties such as deeming

the matter at issue admitted or prohibiting the recalcitrant party from introducing evidence on the

matter.10

         Discovery rules require timely responses to Interrogatories, Motions to Produce or Inspect,

and Requests for Admission.11 Failure to timely respond to discovery demands automatically




7 See Exhibit 10, Defendants' correspondence ofFebruary 1, 2018 to counsel for Plaintiff, attached hereto in globo.

8 1 La. Civ. L. Treatise, Civil Procedure § 9.12.
9 Id
10 Id.
11 21 La. Civ. L. Treatise, Louisiana Lawyering § 4.2.

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 158 of 335 PageID #:
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 results in certain adverse consequences.12 Moreover, the discovery articles of the Louisiana Code

 of Civil Procedure allow Plaintiffs to be deposed.13

          Counsel for Defendants found it necessary to file this motion so the discovery process can


 begin. Considering at least two other co-defendants are involved in this matter, the schedules of


 several attorneys will have to be consulted to set the depositions of the Plaintiffs, As such, counsel


 for Defendants wish to obtain dates that the Plaintiffs can be deposed so that their testimony can


 be scheduled at the convenience of all of the parties.


          Lastly, Defendants request that the court dismiss Plaintiffs' claim if they do not participate


 in the discovery process, as ordered by this court.




                                            III.     CONCLUSION


         Defendants submit that Plaintiffs have failed to answer their discovery requests within the

time delays allowed by law. Further, Plaintiffs have not responded to the Defendants' wish to take


the Plaintiffs' depositions live.


         Defendants need the requested information so that they develop defenses and move

forward in the resolution of this matter.            Undersigned counsel for Defendants submits that

discovery cannot be completed because Plaintiffs have failed or refused to provide responses to

discovery and to make offers to schedule the Plaintiffs' deposition testimony.


         As such, Defendants, Ace American Insurance Company and CRST Expedited, Inc.,

respectfully request that this Honorable Court compel Plaintiffs to respond to Defendants'

discovery requests, and award reasonable attorney fees and court costs associated with filing this

Motion to Compel.




12 Id.
13 Louisiana Code of Civil Procedure article 1437.

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                                   RULE 10.1 CERTIFICATE


          As set forth in Exhibits to the attached Memorandum in Support of Motion to Compel
 Plaintiffs' Discovery Responses and Deposition Testimony, Defendants scheduled a Rule 10.1
 Conferences with Counsel for Plaintiff on January 16, 2019 and, January 31, 2018 but counsel for
 Plaintiffs did not participate in the Rule 10.1 conference. On February 1, 2018, counsel for
 Defendants forwarded correspondence to counsel for Plaintiffs, to request a returned phone call by
 February 2, 2018 to discuss the resolution of the outstanding discovery. The correspondence
 informed counsel that a Motion to Compel would be filed if a conference was not conducted by
 February 2, 201 8. To date, the Plaintiffs have not responded to the Defendants' discovery and has
 not made arrangements for the scheduling of the Plaintiffs' depositions.         -



                                                     IjC&-

                                                             enee F. Smith Auld




                                              Respectfully Submitted:


                                              DEGAN, BLANCHARD & NASH




                                              s:             . DEGAN, III (LSBA #4840)
                                              RENEE F. SMITH AULD (LSBA #23568)
                                              400 Poydras Street, Suite 2600
                                             New Orleans, Louisiana 70130
                                              Telephone: (504) 529-3333
                                             Facsimile: (504) 529-3337
                                             Email: sdegan@degan.com
                                                     rsmithauld@degan.com
                                             Attorneysfor Defendants,
                                             Ace American Insurance Company and
                                             CRST Expedited, Inc.




                                CERTIFICATE OF SERVICE


        I hereby certify that the above and foregoing has been served upon all known parties of
record via United States mail, properly addressed and postage pre-paid on this 8th day ofFebruary,
2018.




                                                                    :NEE F. SMITH KULD




                                         RECEIVED AND FILED

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      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 160 of 335 PageID #:
                                           169




                                                                                                    353-10961
                    16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN




                                      Degan, Blanchard & Nash
                                            A PROFESSIONAL LAW CORPORATION

                                                       TEXACO CENTER
                                          400   POYDRAS    STREET. SUITE   2600

                                                NEW ORLEANS, LOUISIANA 70130

 RENEE     F.   SMITH AULD                                                             TELEPHONE (504) 529-3333
 OF COUNSEL                                                                             FACSIMILE (504) 529-3337
 ADMITTED IN LOUISIANA AND TEXAS                                                         WRITER'S DIRECT E-MAIL
                                                                                        RSMITHAULD@DEGAN.COM




                                                     December 7, 2017

     Jerome H. Moroux
     557 Jefferson Street
     P.O. Box 3524
     Lafayette, LA 70502-3524


                        Re:    Gilbert Dugas v. Ace American Insurance Company, et al
                               St. Martin Parish, Cause No. 85926-A
                               Our File No. 353-10961


    Dear Mr. Moroux:


                Please find enclosed Ace American Insurance Company and CRST Expedited, Inc. 's
    Interrogatories and Request for Production of Documents to Plaintiffs, Gilbert Dugas and
    Rachael Dugas in the above referenced matter. Please respond to defendants' discovery within
    the applicable time delays. Pursuant to the Local Rules, we are retaining the originals in our file.


                In addition, please forward to us all pleadings, notices, or discovery forwarded to you by
    counsel for Pilot Travel Centers.

                Should you have any questions, please do not hesitate to contact our office.

                                                                 Sincerely,


                                                                 DEGAN, BLANJ          &NASH




                                                                 Ren6e F. Smith Auld


   RFSA/dpw
    Enclosures




                                                       EXHIBIT
                                                 1
                                                          I
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                "IDENTIFY" and "IDENTIFICATION", when used with respect to an
                individual, means to state his or her full name, telephone number, present
                or last known address, and present or last known place of employment.


               "DOCUMENT" or "IDENTIFICATION", when used with reference to a
               document, means to state the type of document (e.g. contract, chart, lease,
               memorandum, telegram, etc.) or some other means of identifying its
               location and custodian, the date thereon, if any, and the identity of the
               party or parties whose name or names appear thereon, or in lieu thereof,
               you may attach to your answers a copy of each such document.


               "ACCIDENT" and "INJURIES" refers to the alleged accident and injuries
               set forth by the claimant as forming the basis of this lawsuit.

      INTERROGATORY NO. 1:

               Please state your full name, current residence address, cell phone number, date of


      birth; social security number, present marital status and names and ages of all children.


      INTERROGATORY NO. 2:


              Please state the name, address and telephone number of anyone from whom a


     statement, whether written, oral, recorded or otherwise, has been obtained by you or on


     your behalf relating, in any way, to the accident alleged in your Petition and the date such


     statement was taken, the dates and places such statements were taken, who took said


     statements and those having custody of said statements.

     INTERROGATORY NO. 3:


             Please describe in detailed narrative form the incident set forth in the Petition,


    including how the incident occurred, where you were traveling from, where you were en


    route to, and the facts leading up to the incident.


    INTERROGATORY NO. 4:


             Please list and describe each and every injury and damage you allege to have

    received during or as a result of the accident or occurrence sued upon, including but not

    limited to those injuries and damages listed in your Petition for Damages, listing such

    injuries and damages, with particularity, along with indicating when each symptom was

    first noted and the length of time the injury and/or symptom continued.


    INTERROGATORY NO. 5:


            Please state whether as a result of the alleged accident or occurrence which forms

   the basis of your Petition, if you were disabled in any way, and, if so, please explain in



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        detail, the nature, extent and duration of such disability and whether you applied for

       disability with a governmental agency, basis for your disability application, and the status

       of that application.   Please also respond as to whether you applied for disability as a

       result of another accident or injury. When were you assigned disability status?


       INTERROGATORY NO. 6;


                Please state the names, addresses and specialty of all doctors, counselors,


       therapists, mental health professionals, chiropractors, and any and all other persons who

      have rendered any type of health care, physical therapy, or mental health care treatment

      to you as a result of the injuries and complaints you claim to have received as a result of


      the accident or occurrence sued upon, including the dates of treatment, treatment


      rendered, costs of each treatment and a description of any and all surgeries performed;


      and, if you are not currently receiving medical services and/or treatment, please give the

      date you last consulted a physician for the injuries allegedly resulting from the accident


      or occurrence sued upon, and the name and address of each such physician.


     INTERROGATORY NO. 7:


              Please list all injuries and illnesses you have experienced at any time prior to or

     subsequent to the incident described in your Petition which required hospitalization or

     outpatient procedures, and please provide a brief synopsis of each accident and/or

     incident including the dates of any and all hospitalizations, accidents, injuries and

     illnesses; date of any inpatient or outpatient surgical procedure(s) performed; name of

    hospital and/or medical center where you were treated; purpose of hospitalization;


    whether injury or illness was aggravated by the incident described in your Petition; and,


    all other persons who examined you or rendered any health treatment including mental

    health treatment to you in connection with those accidents, injuries and/or illnesses,

    giving the address and specialty of such persons.

    INTERROGATORY NO. 8:


            Please state the name and address of each physician who treated you for any

   purpose for the past ten (10) years through the present.




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       INTERROGATORY NO. 9;


                 Please state the name and address of each pharmacy that has filled prescriptions

       for you during the past ten (10) years through the present.


       INTERROGATORY NO. 10:


                Please state whether you have ever made a claim for any personal injury or


      whether you have ever been involved in any lawsuit either prior to or subsequent to the

      incident which is the subject matter of this lawsuit. If so, please provide a brief narrative


      description of the claim, the injuries received, the disposition of the claim, and the name

      and address of any attorney(s) representing you, the court to which it was lodged and the


      docket number to which it was assigned.

      INTERROGATORY NO. 11:


               For every individual contacted and/or retained whom Plaintiff anticipates may be

     called as an expert witness in the trial of this matter: (a) state the expert's full name and


     current or last known address and telephone number; (b) specify the expert's area of

     expertise and qualifications; (c) identity the subject matter on which the witness will

     testify; (d) set forth the conclusions and opinions of the witness and the basis therefore;

     and (e) identify all reports rendered by the expert.

     INTERROGATORY NO. 12:


               Please identify each and every exhibit, demonstrative aid or other document that


     you intend to introduce as evidence or show to the jury or other finder of fact at trial of

    this matter.

    INTERROGATORY NO. 13:


              List each item of damages which you claim, itemizing all charges, expenses and

    losses, including income and property damage, paid or incurred by you, stating to whom

    paid or owed, and attach to your response copies of all bills or estimates relating thereto.

    As to each item of damage which you claim, state its dollar value, how it is calculated,

    and the date it was incurred or is expected to be incurred, including but not limited to,

    doctors' bills, x-rays, hospital expenses, nursing expenses, medical expenses, surgical

    apparatus, and/or diagnostic tests.




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      INTERROGATORY NO. 14;


               Please identify all passengers in your vehicle at the time of the accident, if any,

     their current residence address, telephone number, length of time known, and reason for


     their presence in your vehicle on October 31, 2016.


     INTERROGATORY NO. 15:


               Please state the name and address of all employers by whom you were employed

     at the time of the incident and for five years preceding this incident, as well as stating for


     whom you have worked since the incident, specifying the nature of your employment


     with each, the dates of your employment and the reason for your separation, if applicable,


     from each employer.


     INTERROGATORY NO. 16:


               If you are claiming loss of past, present and/or future earnings from employment


     as a result of this accident, please state the total amount of such loss and method of

     computation, the date(s) you were absent from your employment and the date you first

    returned to work after the accident. If you missed any days of work as a result of the

    accident at issue, please list the names and addresses of your Human Resources Directors

    and your immediate supervisory at your place of employment.

    INTERROGATORY NO. 17:


              If you are claiming loss of future earning capacity as a result of this accident,

    please state a detailed basis for your claim of loss of future earning capacity, total amount

    of such loss and method of computation.

    INTERROGATORY NO. 18;


              Please list and identify all prior auto accidents in which you have been involved in

    through the present and describe each accident, the location of the accident, the

    approximate month and year of each accident and whether you were cited by the

    investigating police officer for each accident. Did you file a suit as a result of the

    accident? If so, who was your attorney?




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     INTERROGATORY NO. 19:


              Please describe all serious permanent injuries that you allege you suffered from


     the automobile accident on October 31, 2016 as set forth in your Petition for Damages.


     INTERROGATORY NO. 20:


              Please describe the basis for your contentions in paragraph 3 of the Petition that


     Mark Strauss was negligent and caused an accident.

     INTERROGATORY NO. 21:


              Please indicate whether you,       your representatives,    attorneys, etc., are in

     possession of any photographs, maps, plans, drawings, etc., of the location of the alleged

     accident and/or surrounding areas, the alleged injuries sustained by plaintiff or of any


     other matters or things involved in the alleged accident.

     INTERROGATORY NO. 22:


              Please describe the nature and severity of all of the injuries you have listed in

    paragraph 5 of your Petition.       Please also list the physicians you have seen for each

    injury.



    INTERROGATORY NO. 23:


              Please describe the loss of enjoyment of life alleged in paragraph 5 of your

    Petition, including all activities you are unable to perform because of this alleged

    incident.


    INTERROGATORY NO. 24:


              Please describe the basis for your contention 5 in paragraph II of your Petition

    that you have incurred medical expenses, past and future loss of earnings and loss of

    earning capacity

    INTERROGATORY NO. 25;


              Have you ever been a plaintiff or defendant in any other criminal or civil suit?

    INTERROGATORY NO. 26:


              What actions, if any, did you take to try to avoid the accident at issue?




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                    n      Document 1-1 Filed 05/16/19 Page 166 of 335 PageID #:
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    INTERROGATORY NO. 27:

               State the amount reported as earned income in your income tax returns for each of

                                                                                nt to the
    the past five years preceding the occurrence, and for any full year subseque

                                                                                     of your
     occurrence, and the District in which the returns were filed, and attach copies


    returns to these answers.


     INTERROGATORY NO. 28:


              If you used or consumed by any means any alcoholic beverages, sedatives,

                                                                                     this
    tranquilizers, illegal drugs or prescribed medications within 72 hours preceding

                                                                                          and
     accident, identify fire nature and amount of each, and state when and where obtained


     consumed.


     INTERROGATORY NO. 29;


              List all fact and expert witnesses to this matter, regardless of whether or you plan

                                                                                                  .
     to call them at trial and describe in detail the topic areas and substance of their testimony


     INTERROGATORY NO. 30:


               State what part of the vehicle in which you were situated was damaged and, if it

     was estimated or repaired, the name and address of the person who performed such

     estimate or repairs, the dates of such work and the cost thereof. If such vehicle is

     unrepaired, state the address and the hour at which it may be seen.


     INTERROGATORY NO. 31:



               Please list and describe all insurance policies of any nature or kind, which provide

     or may provide insurance coverage for the accident or events described in the original

     Petition for Damages of plaintiff.

     INTERROGATORY NO. 32:


               Please list any activities and hobbies (such as running, jogging, gardening,

     jogging, exercising fishing, bowling, hunting, softball, weight lifting, etc.) that you can

     no longer participate in as a result of the accident at issue. Please also list the extent that

     your participation is limited. (Hence, please list all activities, even if you have been only

      slightly hampered from participating in such activities as a result of the accident at issue.)


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     Please also list the names and addresses of persons who have participated in such


     activities and hobbies with you both before and after the accident at issue.


     INTERROGATORY NO. 33:



              Please state whether you were inside or outside of your car when your vehicle was

     struck. Please describe which part of Mark Strauss' s came into contact with your vehicle.


              These Interrogatories shall be deemed continuing so as to require supplemental


     answers if you or your attorneys obtain further information between the time answers are

     served and the time of trial.


                                          Respectfully Submitted:


                                          DEGAN, BLANC]               & NAS^I
                                                                            //
                                                                          i-W

                                          s:     W. DEGAN, HI (LSBA #4804)
                                          RENEE F. SMITH AULD (LSBA #23568)
                                          400 Poydras Street, Suite 2600
                                          New Orleans, Louisiana 70 1 3 0
                                          Telephone: (504) 529-3333
                                          Facsimile: (504) 529-3337
                                          E-mail: sdegan@degan.com
                                                  rsmith@degan.com
                                          Attorneysfor Defendants, ACE American
                                          Insurance Company, and CRST Expedited, Inc.



                                     CERTIFICATE OF SERVICE


              I hereby certify that a copy of the above and foregoing pleading has been served

    upon all parties of record via either facsimile transmission or by placing same in the

    United States Mail, properly addressed and postage pre-paid on this 7th day of

    December, 2017.



                                                                 RENEE F. SMITH AULD




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                                                                                           353-10961
           16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                         STATE OF LOUISIANA


      NO. 85926                                                                        DIVISION A


                                          GILBERT DUGAS

                                                VERSUS

            ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
           MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                      PROGRESSIVE INSURANCE SECURITY COMPANY

     FILED:
                                                            DEPUTY CLERK



       ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, INC.'S
              REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF,
                                          GILBERT DUGAS


     TO:      Gilbert Dugas
              through his attorney of record,
              Jerome H. Moroux
              557 Jefferson Street
              P.O. Box 3524
              Lafayette, LA 70502-3524


              NOW INTO COURT, through undersigned counsel, comes Defendant, Fort


    Worth Carrier Corporation, and pursuant to Articles 1461 and 1462 of the Louisiana


    Code of Civil Procedure propounds the following Requests for Production of Documents


    to Plaintiff, Gilbert Dugas, requiring a response within the time delays allowed by law.

             These Requests for Production of Documents are continuing in nature. It is

    requested that all documents and things requested herein be produced at the Law Offices

    of Degan, Blanchard & Nash, 400 Poydras Street, Suite 2600, New Orleans, Louisiana

    70130.


                                           DEFINITIONS


             The following definitions shall apply throughout this set of Requests for

    Production of Documents and shall be adopted by you in responding thereto:

             A.      "Person" shall mean any natural person, partnership, firm association,
                     corporation, or other business or governmental or legal entity.

             B.      "You" or "yours" means Gilbert Davis and your representatives and shall
                     further   embrace    and   include   your   attorneys,   agents,    servants,

                                                                       EXHIBIT
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                     representatives, private investigators, and others, who are in a position or
                     may have obtained information for or on behalf of you or who are acting
                     or purporting to act on their behalf.


              C.     "Documents" shall mean the original (or copy if the original is not
                     available) and each non-identical copy (whether non-identical because of
                     alterations,   attachments,       blanks,   comments,   notes,   underlying   or
                     otherwise) or any writing or record, however described, whether account,
                     agreement, amendment, article, authorization, bank advise or similar
                     notice transfer, bank statement, bill, bill of lading, blueprint, book, charge,
                     chart, check, contract, correspondence, deposit slip, diary, drawing, entry,
                    estimate, or cost-to-complete estimate, film, financial statement, graph,
                    instruction, internal document, invoice, journal, ledger or subsidiary
                    ledger, letter, memorandum, minutes, notes, notebook, plan, photocopy,
                    photograph, projection, publication, purchase order, record, recording,
                    report, schedule, scrapbook, sketch, specification, speech, tape, telegram,
                    telex, transcript, voucher, or any other written, typed, or recorded material
                    of any other nature whatsoever and all retrievable data (whether encarded,
                    taped or coded electrostatically, electromagnetically or otherwise) in you
                    possession, custody or control, or known to you, wherever the document is
                    located, however produced or reproduced, whether draft or final version.


             D.     "Pertains" shall mean concerns, relates to, or is connected with the subject
                    incident in any manner.


             E.     "Identify" when used in reference to:


                    (1)     a natural person, shall mean to state the person's full name and last
                            known address and telephone number.


                    (2)     a business or governmental entity not a natural person, shall mean
                            to state the entity's full name, principal activities, state of legal
                            creation, address and telephone number of its principal place of
                            business.


                    (3)     a document, shall mean to state the document's description (e.g.,
                            letter, memorandum, report, etc.), title, date, author, and present
                            location.


                    (4)     communication or statement, shall mean to state the date of
                            occurrence, place of occurrence substance, each person by whom
                            the communication was made, and each person who was present
                            when the communication was made.

            F.      "Address" shall mean the street number, street, post office box, city and
                    state of subject person, business or other entity.


                    REQUESTS FOR PRODUCTION OF DOCUMENTS

   REQUEST FOR PRODUCTION NO. 1;

            Please provide any and all medical records and reports from any healthcare

   provider, including but not limited to hospital records, doctor, chiropractor, physical

   therapy, psychological and counseling records, reports, notes, charts and bills pertaining


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      to your alleged injuries and/or treatment or examination of the injuries alleged by you as


      a result of the incident described in your Petition.


      REQUEST FOR PRODUCTION NO. 2:


               Please produce any and all medical and pharmaceutical bills paid or incurred by


      you in connection with the incident which forms the basis of this lawsuit, including but


     not limited to, doctors' bills, x-rays, hospital expenses, nursing expenses, medical


     expenses, surgical apparatus, and/or diagnostic tests.


     REQUEST FOR PRODUCTION NO. 3:


               Please produce each exhibit, demonstrative aid, document or other object or video

     which you intend to introduce as an exhibit or show to the jury or other finder of fact


     during the trial of this matter or in support of your claim.


     REQUEST FOR PRODUCTION NO. 4;


              Please   provide   any   and   all   statements,   whether recorded,   oral,   written,

     transcribed, or of any other nature, which are in the possession of you or your attorneys,


    that bear any relation to the alleged injury.

    REQUEST FOR PRODUCTION NO. 5;


              Please produce copies of any and all incident, accident and/or police reports in

    any way relating to the alleged injury which is the subject matter of this litigation.

     REQUEST FOR PRODUCTION NO. 6:


             Please produce copies of any and all reports, records and documentation from

    expert witnesses which you intend to call during discovery or at trial that you have

    consulted with relating to the subject matter of this litigation.

    REQUEST FOR PRODUCTION NO. 7:

             Please produce any and all photographs, videos, DVD's and/or digital facsimiles

    taken of any party, location and/or object as a result of the circumstances leading up to

    the accident or resulting in the alleged injuries of the plaintiff and/or which are relevant

    to the accident or occurrence sued upon.




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     REQUEST FOR PRODUCTION NO. 8:


              Please produce any and all investigative data of whatsoever nature pertaining to


    the accident and alleged injury which is the subject matter of this litigation.


    REQUEST FOR PRODUCTION NO. 9:


              Please produce copies of any and all documents, including but not limited to


    invoices and receipts, which relate to your claim in the Petition for Damages that you

    have incurred rental expenses as a result of the accident or occurrence sued upon.

    REQUEST FOR PRODUCTION NO. 10:


              Please produce copies of any and all documents, including invoices, receipts


    and/or appraisals, which relate to your claim in the Petition for Damages that you


    incurred property damages as a result of the accident or occurrence sued upon.


    REQUEST FOR PRODUCTION NO. 11:


              Please produce copies of any and all photographs, maps, plans, drawings, or any


    other document which shows the location of the alleged accident and/or surrounding

    areas, the alleged injuries sustained by plaintiff or of any other matters or things involved

    in the alleged accident.

    REQUEST FOR PRODUCTION NO. 12:


              Please produce copies of any and all documents which relate to your contention in

    your Petition that you suffered painful and serious injuries.

    REQUEST FOR PRODUCTION NO. 13:

              Please produce copies of any and all documents which relate to your allegations

    in paragraph 3 of your Petition for Damages.

    REQUEST FOR PRODUCTION NO. 14:

              Please produce copies of any and all documents which relate to your allegations

    in paragraph 4 of your Petition for Damages.

    REQUEST FOR PRODUCTION NO. 15:

              Please produce copies of any and all documents which relate to your allegations

     in paragraph 4 of your Petition for Damages.




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     REQUEST FOR PRODUCTION NO. 16;


               Please produce copies of any and all documents which relate to your allegations


     in paragraph 6 of your Petition for Damages.


     REQUEST FOR PRODUCTION NO. 17:



               Please produce a certified copy of the policy(s) booklets) and applicable


     declaration sheet(s) for your personal liability policy, uninsured/underinsured motorist


     policy, and/or any and all policies identified by you in response to Interrogatory No. 31.


     REQUEST FOR PRODUCTION NO. 18:


              Please execute the attached HIPPA/Medical Authorization form, Authorization to


    Disclose Protected Health Information Pursuant to 45 CFR 164.508, and Authorization to


    Disclose Protected Psychiatric, Psychotherapy, Counseling, Psychology and/or Heath

    Information Pursuant to 45 CFR 164.508.


    REQUEST FOR PRODUCTION NO. 19:


              Please execute the attached Form 4506 Request for Copy of Tax Return.

    REQUEST FOR PRODUCTION NO. 20:

              Please   execute   the   attached   Authorization   for   Release   of Employment

    Information and Records.


    REQUEST FOR PRODUCTION NO. 21:


              Please execute the attached request for Social Security Administration Consent

    for Release of Information (Form Approved OMB NO. 0960-0566) and Social Security

    Administration Release for Social Security Earnings Information (OMB No. 0960-0525).

    REQUEST FOR PRODUCTION NO. 22:

              Please execute the attached Louisiana Department of Health Authorization to

    Release or Obtain Health Information.

    REQUEST FOR PRODUCTION NO. 23:

              Please attach correspondence or any documentation indicating that you receive

    social security disability benefits.




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     REQUEST FOR PRODUCTION NO. 24:


              Please produce a copy of each and every writing, document or other physical

     evidence referred to, described or identified in your answers or responses to any of the

     Interrogatories,   contemporaneously   propounded   to       you   with   these   Requests   for


     Production of Documents, which has not been produced in response to a Request for

     Production above.




                                         Respectfully Submitted:

                                         DEGAN, BLANCHARD & NA!



                                                   Q   y r    >            ,
                                         tflDNEW. DEGAN, III (LSBA #4804)
                                                  F. SMITH AULD (LSBA #23568)
                                          400 Poydras Street, Suite 2600
                                         New Orleans, Louisiana 70130
                                         Telephone: (504) 529-3333
                                         Facsimile: (504) 529-3337
                                         E-mail: sdegan@degan.com
                                                 rsmith@degan.com
                                         Attorneysfor Defendants, ACE American
                                         Insurance Company, and CRST Expedited, Inc.




                                 CERTIFICATE OF SERVICE


             I hereby certify that a copy of the above and foregoing pleading has been served

    upon all parties of record via either facsimile transmission or by placing same in the

    United States Mail, properly addressed and postage pre-paid on this 7th day of

    December, 2017.




                                                                  RENEE F. SMITH AULD




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                                                                                   353-10961
         16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                     STATE OF LOUISIANA

    NO. 85926                                                                 DIVISION A


                                        GILBERT DUGAS


                                                VERSUS


         ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
         MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                    PROGRESSIVE INSURANCE SECURITY COMPANY

    FILED:.
                                                         DEPUTY CLERK



      ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, INC.'S
                    FIRST SET OF INTERROGATORIES
                     TO PLAINTIFF. RACHAEL DUGAS


   TO:      Rachael Dugas
            through her attorney of record,
            Jerome H. Moroux
            557 Jefferson Street
            P.O. Box 3524
            Lafayette, LA 70502-3524

            NOW INTO COURT, through undersigned counsel, come Defendants, Ace

   American Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST

   Expedited"),pursuant to Article 1457, et seq., of the Louisiana Civil Code of Procedure.

   These Interrogatories are to be answered separately and fully in writing, under oath, and

   such answers are to be signed by the person making them and served upon the attorneys

   of record for defendant within thirty (30) days of service of the Interrogatories. These

   Interrogatories shall be deemed continuing, so as to require supplemental answers in

   accordance with Article 1428 of the Louisiana Code of Civil Procedure.

                                         DEFINITIONS:


            In the following Interrogatories:

            "YOU" or "YOUR" shall mean RACHAEL DUGAS including any and all

   representatives or other persons acting on your behalf.

            "IDENTIFY" and "IDENTIFICATION", when used with respect to an individual,

   means to state his or her full name, telephone number, present or last known address, and
                                                                  EXHIBIT


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     present or last known place of employment.


              "DOCUMENT"       or   "IDENTIFICATION",        when   used with reference to     a


     document, means to state the type of document (e.g. contract, chart, lease, memorandum,

     telegram, etc.) or some other means of identifying its location and custodian, the date


     thereon, if any, and the identity of the party or parties whose name or names appear

     thereon, or in lieu thereof, you may attach to your answers a copy of each such document.


              "ACCIDENT" and "INJURIES" refers to die alleged accident and injuries set

     forth by the claimant as forming the basis of this lawsuit.


             "Petition" shall mean original Petition for Damages ("Petition") and/or First


     Supplemental and Amending Petition for Damages ("Amending Petition").


     INTERROGATORY NO. 1:


             Please state your full name, current residence address, cell phone number, date of


    birth, social security number, present marital status, date of marriage, and names and ages


    of all children.

    INTERROGATORY NO. 2:


             Please state the name, address and telephone number of anyone from whom a

    statement, whether written, oral, recorded or otherwise, has been obtained by you or on

    your behalf relating, in any way, to the accident alleged in your Petition and the date such

    statement was taken, the dates and places such statements were taken, who took said

    statements and those having custody of said statements.

    INTERROGATORY NO. 3:


             Please describe in detailed narrative form the incident set forth in the your

    Petition and Amending Petition, including how the incident occurred, where Gilbert

    Dugas was traveling from, where he was en route to, and the facts leading up to the

    incident. Were you in the vehicle with Gilbert Dugas when the accident occurred? If so,

    where were you sitting?




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     INTERROGATORY NO. 4:

              Please list and describe each and every injury and damage that you allege you,


    Rachael Gilbert, received during or as a result of the accident or occurrence sued upon,


    including but not limited to those injuries and damages listed in your Petition and


    Amended Petition, listing such injuries and damages, with particularity, along with

    indicating when each symptom was first noted and the length of time the injury and/or


    symptom continued.


    INTERROGATORY NO. 5:


              Please state the names, addresses and specialty of all doctors, counselors,

    therapists, mental health professionals, chiropractors, and any and all other persons who


    have rendered any type of health care, physical therapy, or mental health care treatment

    to you, as a result of the injuries and complaints you claim to have received as a result of


    the accident or occurrence sued upon, including the dates of treatment, treatment


    rendered, costs of each treatment and a description of any and all surgeries performed;

    and, if you are not currently receiving medical services and/or treatment, please give the

    date you last consulted a physician for the injuries allegedly resulting from the accident

    or occurrence sued upon, and the name and address of each such physician.

    INTERROGATORY NO. 6:


              Please list all injuries and illnesses you and/, have experienced at any time prior to

    or subsequent to the incident described in your Petition for Damages, which required

    hospitalization or outpatient procedures, and please provide a brief synopsis of each

   accident and/or incident including the dates of any and all hospitalizations, accidents,

    injuries and illnesses; date of any inpatient or outpatient surgical procedure(s) performed;

    name of hospital and/or medical center where you were treated; purpose of

   hospitalization; whether injury or illness was aggravated by the incident described in your

    Petition and Amending Petition; and, all other persons who examined you or rendered

    any health treatment including mental health treatment to you in connection with those

    accidents, injuries and/or illnesses, giving the address and specialty of such persons.




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     INTERROGATORY NO. 7:


              Please state the name and address of each physician who treated you, for any

     purpose for the past ten (10) years through the present.


     INTERROGATORY NO. 8:

              Please state the name and address of each pharmacy that has filled prescriptions


     for you, during the past ten (10) years through the present.

     INTERROGATORY NO. 9:


              Please state whether you have ever made a claim for any personal injury or

     whether you have ever been involved in any lawsuit either prior to or subsequent to the


     incident which is the subject matter of this lawsuit. If so, please provide a brief narrative


     description of the claim, the injuries received, the disposition of the claim, and the name

     and address of any attorney(s) representing you. the court to which it was lodged and the


    docket number to which it was assigned.


    INTERROGATORY NO. 10:


             For every individual contacted and/or retained whom Plaintiffs, individually,

    anticipates may be called as an expert witness in the trial of this matter: (a) state the

    expert's full name and current or last known address and telephone number; (b) specify

    the expert's area of expertise and qualifications; (c) identity the subject matter on which

    the witness will testify; (d) set forth the conclusions and opinions of the witness and the


    basis therefore; and (e) identify all reports rendered by the expert.

    INTERROGATORY NO. 11:


             Please identify each and every exhibit, demonstrative aid or other document that

    you intend to introduce as evidence or show to the jury or other finder of fact at trial of

   this matter.


            Please identify all passengers in the vehicle at the time of the accident, if any,

   their current residence address, telephone number, length of time known, and reason for

   their presence in the vehicle.




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     INTERROGATORY NO. 12:

            Set forth with particularity the services, companionship, consortium, jobs, duties,

    and household chores rendered by your spouse to you after the incident complained of in


    the complaint.


    INTERROGATORY NO. 13:

            Set forth with particularity the services, companionship, consortium, jobs, duties,


    and household chores lost by you as alleged in the complaint.


    INTERROGATORY NO. 14:


            During the period of your marriage before the incident referred to in the

    complaint, how many hours per week did you spend in the presence of your spouse,


    excluding sleeping time, and how were these hours spent?


   INTERROGATORY NO. 15:


            Did you take vacations with your spouse during any period before to the incident


   complained of in the complaint? If so, give dates and places of these vacations.

   INTERROGATORY NO. 16:


            Did you take a vacation with your spouse during the year before the incident


   complained of in the complaint? If so, where did you go and for how long a period.

   INTERROGATORY NO. 17:


           During the period of your marriage after the incident referred to in the complaint,


   how many hours per week have you spend in the presence of your spouse, excluding

   sleeping time, and how were these hours spent?

   INTERROGATORY NO. 18:


           Did you take a vacation with your spouse any time after the incident complained

   of in the complaint? If so, where did you go and for how long a period.

   INTERROGATORY NO. 19:


           Before the incident complained of in the complaint, did you participate in any

   activities, including leisure activities, with your spouse, other than activities addressed in

   previous interrogatories? If so, for each activity, state:

           a.      A description of the activity.




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             b.     The number of hours for each of the 12 months before the incident

                    complained of in the complaint that you participated in the activity

                    with your spouse.

    INTERROGATORY NO. 20:

             After the incident complained of in the complaint, have you continued to

    participate in any of the activities referred to in the preceding interrogatories alone or


    with a person other than your spouse? If so, for each activity, state:


             a.     A description of the activity.

             b.     The number of hours for each of the 12 months after the incident

                    that you participated in the activity by yourself or with a person

                    other than your spouse.

             c.     The name and address of each person other than yourself that participated

                    with you in the activity.

    INTERROGATORY NO. 21:


            Is there any activity, not referred to above, in which you and your spouse


    participated together before the incident complained of in the complaint which you claim

    has been limited or terminated because of alleged injury suffered in the incident

   complained of in the complaint? If so, for each activity, state:

            a.      A description of the activity.

            b.      The alleged injury which caused the termination or limitation.

            c.      The extent to which such activity is limited, i.e., totally or partially.

            d.      Whether your spouse will be able to resume such activity at a
                    future time, and, if so, when.

   INTERROGATORY NO. 22:


            Do you claim that the alleged injuries suffered by your spouse in the incident

   complained of in the complaint terminated or limited your sexual relations with your

   spouse? If so, state in what manner the alleged injuries terminated or limited such

   relations.

    INTERROGATORY NO. 23:


            Did you engage in sexual relations with your spouse during the 12 month before

   the incident complained of in the complaint? If so, state the frequency of such relations,

   in times per month, over this period.




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     INTERROGATORY NO. 24:


              Have you engaged in sexual relations with your spouse after the incident

     complained of in the complaint? If so, state the frequency of such relations for each of the

     months since the incident complained of in the complaint.


    INTERROGATORY NO. 25:

              Have you and your current spouse ever lived physically apart or been separated


    for longer than one week at any time during the course of your marriage? If so, state:

              a.     The date(s) of any such separations);

              b.     The duration of any such separations);

              c.     Where your spouse lived during any such separation(s);

              d.     Where you lived during any such separation(s); and

              e.     The specific reason for any such separation(s).

     INTERROGATORY NO. 26:


             During the course of your marriage have you ever physically abused your spouse?

    If so, state:


             a.      The date(s) and time(s) when any such physical abuse occurred;

             b.      The specific type of physical abuse for each such occurrence;

             c.      The specific nature of any type of injuries suffered by your spouse as a

                     result of each such incident of physical abuse; and

             d.      Whether any such injuries where permanent in nature and the extent of

                     their permanency.

    INTERROGATORY NO. 27:


             During the course of your marriage has your spouse ever physically abused you?

    If so, state:


             a.      The date(s) and time(s) when any such physical abuse occurred;
             b.      The specific type of physical abuse for each such occurrence;

             c.      The specific nature of any type of injuries suffered by you as a
                     result of each such incident of physical abuse; and

             d.      Whether any such injuries where permanent in nature and the
                     extent of their permanency.




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     INTERROGATORY NO. 28;


            ^During the course of your marriage to your current spouse have you or your


     spouse ever sought marriage counseling, or counseling of any type concerning your


     marriage to your current spouse? If so, state:


              a.     The date(s) and time(s) when any counseling occurred;

             b.      The specific type of counseling sought;

             c.      The duration of any such counseling;

             d.      The specific reason(s) for seeking such counseling; and

             e.      The names and address of all counselors you or your spouse

                     consulted with for any such counseling.

     INTERROGATORY NO. 29:


             During the course of your marriage have law enforcement officials ever been

     summoned to your place of residence as a result of a domestic dispute? If so, state:

             a.      The date(s) and time(s) when any such events occurred;

             b.      The   specific      reason   why   law   enforcement   officials   were

                     summoned each time;

             c.      The name and address of each law enforcement agency summon to

                     any such dispute; and

             d.      Die result of any such occurrence.

    INTERROGATORY NO. 30:


             During the course of your marriage to your current spouse have you ever had an


    extramarital affair? If so, state:

            a.       The date(s) and time(s) when such affair(s) occurred; and

            b.       The duration of any such affair(s).

    INTERROGATORY NO. 31:


             With regard to your claim for consortium, describe the evidence that you will

    introduce at trial to prove loss of love and affection.

    INTERROGATORY NO. 32:


             With regard to your claim for consortium, describe the evidence that you will

    introduce at trial to prove loss of financial support.




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     INTERROGATORY NO. 33:


              With regard to your claim for consortium, describe the evidence that you will


     introduce at trial to prove impairment of sexual relations.


     INTERROGATORY NO. 34;


             With regard to your claim for consortium, describe the evidence that you will

     introduce at trial to prove loss of material services, loss of society and companionship.

    INTERROGATORY NO. 36


             State the name and address of any physician, counselor, or other health care

    provider who has rendered any treatment or services to you for injury/damage sustained

    as part of this claim for loss of consortium.

                                          Respectfully Submitted:


                                          DEGAN, BLANCHARD & NA!



                                                    &
                                          SjDMEYM. DEGAN, III (LSBA #4804)
                                          RENNET. SMITH AULD (LSBA #23568)
                                          400i\>ydras Street, Suite 2600
                                         New Orleans, Louisiana 70130
                                         Telephone: (504) 529-3333
                                         Facsimile: (504) 529-3337
                                         E-mail: sdegan@degan.com
                                                 rsmith@degan.com
                                         Attorneysfor Defendants,
                                         ACE American Insurance Company, and
                                          CRST Expedited, Inc.



                                 CERTIFICATE OF SERVICE


            I hereby certify that a copy of the above and foregoing pleading has been served

   upon all parties of record via either facsimile transmission or by placing same in the

   United States Mail, properly addressed and postage pre-paid on this 7th day of

   December, 2017.


                                                                   -W

                                                                        :ef. SMITH AULD




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                                                                                               353-10961
         16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                            STATE OF LOUISIANA


    NO. 85926                                                                               DIVISION A

                                               GILBERT DUGAS

                                                      VERSUS

           ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
          MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                          PROGRESSIVE INSURANCE SECURITY COMPANY

   FILED:
                                                                 DEPUTY CLERK



      ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED, INC.'S
              FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                    TO PLAINTIFF. RACHAEL DUGAS



   TO:        Rachael Dugas
              through her attorney of record,
              Jerome H. Moroux
              557 Jefferson Street
             P.O. Box 3524
             Lafayette, LA 70502-3524




             NOW INTO COURT, through undersigned counsel, comes Defendants, Ace

   American Insurance Company and CRST Expedited, Inc., and pursuant to Articles 1461

   and 1462 of the Louisiana Code of Civil Procedure propounds the following Requests for

  Production of Documents to Plaintiff, Rachael Dugas, requiring a response within the

  time delays allowed by law.


             These Requests for Production of Documents are continuing in nature. It is

  requested that all documents and things requested herein be produced at the Law Offices

  of Degan, Blanchard & Nash, 400 Poydras Street, Suite 2600, New Orleans, Louisiana

  70130.

                                                DEFINITIONS


            The following definitions shall apply throughout this set of Requests for

  Production of Documents and shall be adopted by you in responding thereto:

            A.            "Person" shall mean any natural person, partnership, firm association,
                          corporation, or other business or governmental or legal entity.

                                                       EXHIBIT
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             B.         "You" or "yours" means Rachael Dugas and your representatives and
                        shall further embrace and include your attorneys, agents, servants,
                        representatives, private investigators, and others, who are in a position or
                        may have obtained information for or on behalf of you or who are acting
                        or purporting to act on their behalf.


             C.         "Documents" shall mean the original (or copy if the original is not
                        available) and each non-identical copy (whether non-identical because of
                       alterations, attachments, blanks, comments, notes, underlying or
                       otherwise) or any writing or record, however described, whether account,
                       agreement, amendment, article, authorization, bank advise or similar
                       notice transfer, bank statement, bill, bill of lading, blueprint, book, charge,
                       chart, check, contract, correspondence, deposit slip, diary, drawing, entry,
                       estimate, or cost-to-complete estimate, film, financial statement, graph,
                       instruction, internal document, invoice, journal, ledger or subsidiary
                       ledger, letter, memorandum, minutes, notes, notebook, plan, photocopy,
                       photograph, projection, publication, purchase order, record, recording,
                       report, schedule, scrapbook, sketch, specification, speech, tape, telegram,
                       telex, transcript, voucher, or any other written, typed, or recorded material
                       of any other nature whatsoever and all retrievable data (whether encarded,
                       taped or coded electrostatically, electromagnetically or otherwise) in you
                       possession, custody or control, or known to you, wherever the document is
                       located, however produced or reproduced, whether draft or final version.

            D.         "Pertains" shall mean concerns, relates to, or is connected with the subject
                       incident in any maimer.


            E.         "Identify" when used in reference to:


                       (1)     a natural person, shall mean to state the person's full name and last
                               known address and telephone number.


                       (2)     a business or governmental entity not a natural person, shall mean
                               to state the entity's full name, principal activities, state of legal
                               creation, address and telephone number of its principal place of
                               business.


                       (3)     a document, shall mean to state the document's description (e.g.,
                               letter, memorandum, report, etc.), title, date, author, and present
                               location.


                       (4)    communication or statement, shall mean to state the date of
                              occurrence, place of occurrence substance, each person by whom
                              the communication was made, and each person who was present
                              when the communication was made.

           F.          "Address" shall mean the street number, street, post office box, city and
                       state of subject person, business or other entity.

                                             DEFINITIONS:


           In the following Interrogatories:

           "YOU" or "YOUR" shall mean RACHAEL DUGAS including any and all
   representatives or other persons acting on your behalf.

           "IDENTIFY" and "IDENTIFICATION", when used with respect to an individual,

   means to state his or her full name, telephone number, present or last known address, and

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   present or last known place of employment


             "DOCUMENT"               or   "IDENTIFICATION",      when used with reference to a


   document, means to state the type of document (e.g. contract, chart, lease, memorandum,


   telegram, etc.) or some other means of identifying its location and custodian, the date


   thereon, if any, and the identity of the party or parties whose name or names appear


   thereon, or in lieu thereof, you may attach to your answers a copy of each such document

             "ACCIDENT" and "INJURIES" refers to the alleged accident and injuries set


   forth by the claimant as forming the basis of this lawsuit.

             "Petition" shall mean original Petition for Damages ("Petition") and/or First


   Supplemental and Amending Petition for Damages ("Amending Petition").

                                                 Definitions


             As used herein, either in the definitions or in the requests themselves:


             A.           The term "person" shall mean all natural and civil persons and includes
                          any individual, association, corporation, partnership, firm, joint venture or
                          any other business or legal entity; and includes any governmental or quasi-
                          governmental branch, department, bureau or agency.


             B.           The term "document" shall mean any written, printed, non-printed, typed,
                          photocopies, photographic, reproduced and graphic matter of any kind or
                          character and any recorded or stored information, however produced or
                          reproduced, (1) in your possession or control or (ii) known to you to exist,
                          including (without limiting the generality of the foregoing), affidavits,
                          agreements, books, calendars, communications, contracts, correspondence,
                          desk pads, diaries, diary or calendar entries, ledgers and ledger entries,
                          lists, memoranda, minutes and minute entries, notes, printouts, records of
                          meetings, conferences and telephone or other conferences, conversations
                          or communications, reports, statements, studies,     telegrams, teletypes
                          and/or work papers, and information stored in computers or other data
                          storage or processing equipment, or in magnetic or electronic media,
                          microfilm or microfiche or other form which can be retrieved or printed
                          out or reduced to readable form through proper programming, decoding or
                          processing, together with the necessary instructions for understanding,
                          using or reproducing same.


             C.           The term "document" also includes originals and all copies of documents
                          containing   notes, notations,   comments,     observations,    remarks,
                          underscoring, marks made for emphasis,   highlighting,  or attention and
                          encircling, relating or referring in any way to the subject matter of these
                          requests.


             D.           The terms "you" and "your" shall mean Rachael Dugas, and every
                          individual who, because acting as your representative, in the investigation
                          or preparation of this action of this action and your agents, attorneys,
                          investigators and representatives having knowledge of any matter which is
                          subject of this discovery pleadings who can furnish information.

             E.           The term "act" shall mean any act occurrence, occasion, meeting,
                          transaction, or conduct.



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             F.           "Identify" in connection with a "document" means to:


                          (1)    State the type of document (letter, memorandum, etc.); state the
                                 date of the document; the name and address of its author; the name
                                 and address of the person to whom the document was addressed;
                                 the names and addresses of all persons to whom copies of the
                                 document were to have been sent and the business affiliation of all
                                 such persons as of the date of the document, and, further, if the
                                 document is an agreement or contract, state the names of each
                                 party to the agreement or contract, the date on which it was entered
                                 into, the place where it was confected, its terms and/or conditions,
                                 the present location of an original copy thereof, the name and
                                 address of its custodian and the contents thereof. If the agreement
                                 or contract has been amended or supplemented, this must be stated
                                 and the above information furnished on each such amendment or
                                 supplement.


                         (2)     State whether you or anyone acting in your behalf are in
                                 possession of the original copy and identify the person having
                                 custody. If you do not possess die original, state (a) who does, and
                                 (b) the location and custodian of any copy of the original. In lieu
                                 of "identifying" any document, a copy thereof may be supplied, if
                                 you sufficiently relate the supplied copy to the pertinent inquiry
                                 therein.


             G.          "Identify" in connection with a "person" means to:


                         (1)     State the person's name, title, present address, if known, or past
                                 address if the present address is not known, telephone number,
                                 present business affiliations, title and position; and

                         (2)     State the person's relationship to you, his present employer and his
                                 employer at the time the person identified acquired information
                                 sought from such persons.


            H.           "Identify" in connection with a "partnership or corporation" means to:

                         (1)    State its full name, its state of organization or incorporation, and its
                                principal place of business; and

                         (2)    State the partnership or corporation's relationship to you.

            I.           "Identify" in connection with a person other than an individual,
                         partnership or corporation, means to state the person's official name, the
                         person's organization's form and the person's present address.

            J.           "Identify" in connection with any "act" shall mean to set forth the event or
                         events constituting such an act, its location, the date and person
                         participating, present or involved, and to identify documents relating or
                         referring in any way thereto; when used in reference to any oral
                         conversation, or discussion, it shall mean, in addition to the foregoing, to
                         set forth the substance of what was said, when, where, by and to whom.

            K.           "Describe" or "specify" mean:

                         (1)    Describe fully and in detail by reference to underlying facts rather
                                than reference to ultimate facts or conclusions of fact or law;

                         (2)    Particularize as to time, place and participants; and


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                          (3)    Set forth all relevant facts necessary to a complete understanding
                                 of the act, process, event, or thing in question.


              L.          Words herein of any gender shall be deemed to include all other genders
                          and the singular be deemed to encompass the plural.


              M.          The term "and" means both the conjunctive "and" and the disjunctive "or"
                          and the words "and/or."



                          REQUESTS FOR PRODUCTION OF DOCUMENTS



   REQUEST FOR PRODUCTION NO. 1:


              A copy of each and every document or other tangible item you anticipate


   introducing into evidence at the time of the trial in the captioned matter.


   REQUEST FOR PRODUCTION NO. 2:


              A copy of each and every document you anticipate introducing into evidence to


   prove your allegations of loss of love and affection


   REQUEST FOR PRODUCTION NO. 3:


             A copy of each and every document you anticipate introducing into evidence to

   prove your allegations of loss of financial support.


   REQUEST FOR PRODUCTION NO. 4:


             A copy of each and every document you anticipate introducing into evidence to

   prove your allegations of impairment of sexual relations.

   REQUEST FOR PRODUCTION NO. 5:


             A copy of each and every document you anticipate introducing into evidence to

  prove your allegations of loss of material services.

  REQUEST FOR PRODUCTION NO. 6:


             A copy of each and every document you anticipate introducing into evidence to

  prove your allegations of loss of society and companionship

  REQUEST FOR PRODUCTION NO. 7:

            A copy of any and all reports, office notes, correspondence and other documents

  from any and all physician, counselor, or other health care provider who has rendered any

  treatment or services to you for injury/damage sustained as part of this claim for loss of




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   consortium. (Completion and execution of the attached authorization will satisfy this


   Request for Production.)


   REQUEST FOR PRODUCTION NO. 8:

           A list of all expenses incurred by you and paid for you out of your own pocket as


   a result of your claims for loss of consortium.


   REQUEST FOR PRODUCTION NO. 9;


           Copies of all safety and operating rules, regulations, recommendations, etc. which

   you contend were violated by this defendant and which contributed to or caused your

   alleged loss of consortium.

   REQUEST FOR PRODUCTION NO. 10:


           A full and complete legible copy of all reports rendered by experts retained by

   you, your attorneys or other representatives concerning your claims for loss of

   consortium.


   REQUEST FOR PRODUCTION NO. 11:


           Please produce a copy of each and every writing, document or other physical

  evidence referred to, described or identified in your answers or responses to any of the

  Interrogatories, contemporaneously propounded to you with these Requests for

  Production of Documents, which has not been produced in response to a Request for

  Production above.




                                        Respectfully Submitted:

                                        DEGAN, BLANCHARD & NASH




                                       ^SJDTNEY W. DEGAN, III (LSBA #4804)
                                        KENJzEF. SMITH AULD (LSBA #23568)
                                       4wPoydras Street, Suite 2600
                                       New Orleans, Louisiana 70 1 30
                                        Telephone: (504) 529-3333
                                        Facsimile: (504) 529-3337
                                        E-mail: sdegan@degan..com
                                                rsmith@degan.com
                                       Attorneysfor Defendants,
                                       ACE American Insdurance Company, and
                                        CRST Expedited, ImCElYED        AND FILED
                                                           28IB FEB 12 AM 9
                                                                               : kS


  {0025 1739JDOCX;!}
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 189 of 335 PageID #:
                          'W-*
                                     198




                                 CERTIFICATE OF SERVICE

             I hereby certify that a copy of the above and foregoing pleading has been served


   upon all parties of record via either facsimile transmission or by placing same in the

   United States Mail, properly addressed and postage pre-paid on this 7th day of


   December, 2017.




                                                              RENEE F. SMITH AULD




  (0025 1739.DOCX;! }
       Case 6:19-cv-00630-TAD-CBW
                          o       Document 1-1 Filed 05/16/19 Page 190 of 335 PageID #:
                                            199

                                    Degan, Blanchard &NASH
                                          A PROFESSIONAL LAW CORPORATION

                                                   TEXACO CENTER
                                       400   POYDRAS    STREET. SUITE   2600

                                             NEW ORLEANS. LOUISIANA 70130

RENEE F. SMITH AULD                                                                  TELEPHONE (504) 529-3333
OF COUNSEL                                                                            FACSIMILE (504) 529-3337
ADMITTED IN LOUISIANA AND TEXAS                                                        WRITER'S DIRECT E-MAIL
                                                                                      RSMITHAULD@DEGAN.COM




                                                 January 11, 2018

       VIA US. MAIL AND EMAIL
       Jerome H. Moroux
       557 Jefferson Street
       P.O. Box 3524
       Lafayette, LA 70502-3524

                      Re:     Gilbert Dugas v. Ace American Insurance Company, et al
                             St. Martin Parish, Cause No. 85926-A
                              Our File No. 353-10961


       Dear Jerome:
 f ,




              As of today's date, our office has not received any response regarding the Interrogatories
       and Request for Production of Documents we previously forwarded to your clients, Gilbert
       Dugas and Rachael Dugas on December 7, 2017. Pursuant to Rule 10.1 we are scheduling a
       telephone discovery conference to be initiated by our office on Tuesday, January 16, 2018 at
       3:00 p^iii.


              If this date and time is not convenient for you, please contact our office immediately, and
       we will select another mutually convenient date and time. Should you choose not to participate '
       in the 10.1 conference, we will be left with no other option but to file a Motion to Compel
       Discovery.

              Considering we have learned who will be representing Pilot Travel Centers and
       Progressive Security Insurance Company, please contact the plaintiffs and obtain dates they are
       available to be deposed.

              Lastly, it is my understanding that Mr. Strauss has not been served, to date. Please
       contact me once you have received the green card from Mr. Strauss and we will file a timely
       Answer.

                                                              Sincerely,


                                                              DEGAN, BLANCHARD & N




                                                              Rende F. Smith Auld

       RFSA/dpw                                                                          EXHIBIT
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    Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 191 of 335 PageID #:
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                                 Degan, Blanchakd &Nash       RATION
                                      A PROFESSIONAL LAW CORPO

                                                TEXACO CENTER
                                                     STREET, SUITE   2600
                                    400   POYDRAS

                                          NEW ORLEANS, LOUISIANA 70130

                                                                                    TELEPHONE (504). 529-3333
RENEE F. SMITH AULD                                                                  FACSIMILE (504) 529-3337
OF COUNSEL                                                                            WRITER'S DIRECT E-MAIL
                          TEXAS
ADMITTED IN LOUISIANA AND                                                            RSM1THAULD@DEGAN.COM




                                               January 24, 2018


   VIA US. MAIL AND EMAIL
   Jerome H. Moroux
   557 Jefferson Street
   P.O. Box 3524
   Lafayette, LA 70502-3524

                                                                         any, et al
                      Re:   Gilbert Dugas v. Ace American Insurance Comp
                            St. Martin Parish, Cause No. 85926 -A
                            Our File No. 353-10961


   Dear Jerome:

                                                         Company and CRST Expedited, Inc. 's
             Please find enclosed Ace American Insurance
                                                    ction ofDocuments in the above referenced
   Responses to Interrogatories and Requestfor Produ
   matter.

                                                                response regarding the Interrogatories
            As of today's date, our office has not received any
                                                            ously forwarded to your clients, Gilbert
    and Request for Production of Documents we previ
                                                            Moreover, we have requested dates that
    Dugas and Rachael Dugas on December 7, 2017.
                                                         occasions, but have not obtained a response.
    Plaintiffs are available to be deposed on several
                                                               conference pursuant to. Rule 10.1 to be
    Accordingly, we are scheduling a telephone discovery
                                                      31, 2018 at 3:00 p.m.
    initiated by our office on Wednesday, January

                                                                    contact our office immediately, and
           If this date and time is not convenient for you, please
                                                                  Should you choose not to participate
    We will select another mutually convenient date and time.
                                                               option but to file a Motion to Compel
    in the 10.1 conference, we will be left with no other
    Discovery and Depositions.

                                                                   been served, to date. Please
           Lastly, it is my understanding that Mr. Strauss has not
                                                               Strauss and we will file a timely
    contact me once you have received the green card from Mr.
    Answer.

                                                              Sincerely,


                                                              DEGAN, BLANCHARD & NASH



                                                                                                     EXHIBIT
                                                               Renee F. Smith Auld             I

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  Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 192 of 335 PageID #:
                                       201




Jerome H. Moroux
January 24, 2018
Page 2 of2




RPSA/dpw
Encl.


cc: John Wolff, III
    Sean Rabalais
          Case 6:19-cv-00630-TAD-CBW
                             r^-     Document 1-1 Filed 05/16/19 Page 193 of 335 PageID #:
                             \
                                               202
 Renee Smith Auld

 From:                               Renee Smith Auld
 Sent:                               Monday, January 8, 2018 1:48 PM
 To:                                 'Sean P Rabalais'; jerome@broussard-david.com'
 Cc:                                 "Chad Sullivan"; Tori Bowling"; 'Richard Wolff"; 'Caryn Schoeffler"; "natalie@broussard-
                                     david.com"; Denise Wade; "John Wolff"
 Subject:                            RE: Gilbert Dugas v. Ace American Ins. Co., et al / Docket No. 85,926-A / 16th Judicial
                                     District Court / Our File No.: 40.1728926



 Sean:


 I am in the process of requesting it.


Jerome:


Could you please contact the plaintiffs and advise us of dates they are available to be deposed?




From: Sean P Rabalais [mailto:SEAN_P_RABALAIS@progressive.com]
Sent: Monday, January 8, 2018 1:40 PM
To: Renee Smith Auld <rsmithauld@degan.com>; John Wolff <jwolff@keoghcox.com>
Cc: Chad Sullivan <csullivan@keoghcox.com>; Tori Bowling <tbowling@keoghcox.com>; Richard Wolff
<rwolff@keoghcox.com>; Caryn Schoeffler <caryn@keoghcox.com>; jerome@broussard-david.com; natalie@brous
                                                                                                        sard-
david.com; Denise Wade <dwade@degan.com>
Subject: RE: Gilbert Dugas v. Ace American Ins. Co., et al / Docket No. 85,926-A / 16th Judicial District Court
                                                                                                                / Our File
No.: 40.1728926


Renee,
Greetings. I will update my parties screen to add you.


Can you please email me the applicable Ace American declarations sheet?


Kindly,
Sean Rabalais
Attorney for Progressive as UM/UIM carrier


From: Renee Smith Auld fmailto:rsmithauld@degan.com1
Sent: Monday, January 08, 2018 1:30 PM
To: John Wolff <iwolff@keoghcox.com>; Sean P Rabalais <SEAN P RABALAIS@progressive.com>
Cc: Chad Sullivan <csullivan@keoghcox.com>; Tori Bowling <tbowling@keoghcox.com>: Richard Wolff
<rwolff@keoghcox.com>; Caryn Schoeffler <carvn@keoghcox.com>: ierome@broussard-david.com: natalie@brous
                                                                                                        sard-
david.com: Denise Wade <dwade@degan.com>
Subject: RE: Gilbert Dugas v. Ace American Ins. Co., et al / Docket No. 85,926-A / 16th Judicial District Court / Our File
No.: 40.1728926


Dear John and Sean:




                                                              l
                                                                                          yy
                  Case 6:19-cv-00630-TAD-CBW
                                      I,     Document 1-1 Filed 05/16/19 Page 194 of 335 PageID #:
                                                                 203 Insurance Company ( as the insurer for CSRT), and
        Degan, Blanchard & Nash represenTCSRT Expedited, ACE American
        Mark Strauss in the matter. We have attached the Answer and Request for Notice that we have filed. To
                                                                                                              date,
        Mr. Strauss has not been served.


        We will forward the remaining correspondence and discovery propounded to the plaintiff to you in another
                                                                                                                 email.


        Please also forward any pleadings, discovery, and correspondence you have prepared in connection to this
                                                                                                                 matter.

        Thank you.


        Renee F. Smith Auld
       Of Counsel
        Degan, Blanchard & Nash
       400 Poydras Street, Suite 2600
       New Orleans, Louisiana 70130
       Telephone: (504) 529-3333 ext. 289
       Facsimile: (504) 529-3337
       Email: rsmithauld@degan.com
       Website: www.degan.com




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      From: Donna Whittington fmailto:donnaw@keoghcox.com)
      Sent: Monday, January 8, 2018 11:38 AM
     To: ierome@broussard-david.com: natalie@broussard-david.com: rsmithauld@degan.com: dwade@dega
                                                                                                   n.com
     Cc: John Wolff <iwolff@keoghcox.com>; Chad Sullivan <csullivan@keoghcox.com>: Tori Bowling
     <tbowling@keoghcox.com>: Richard Wolff <rwolff@keoghcox.com>: Caryn Schoeffler <carvn@keoghcox.com>
     Subject: Gilbert Dugas v. Ace American Ins. Co., et al / Docket No. 85,926-A / 16th Judicial District Court / Our File No.:
     40.1728926


     Sent via email only; no hard copy to follow. Reply to ALL and include John Wolff on all emails. Please direct
                                                                                                                   all
     communication on this file directly to John Wolff.


     Counselors,


     Please see attached correspondence from John Wolff, dated 1/8/18. Additionally,
     please note the following counsel and paralegal to be copied on all emails to us
     regarding this matter:


                  John P. Wolff, III, Esq. (lead counsel) - iwolff@keoqhcox.com

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          Case 6:19-cv-00630-TAD-CBW
                             n-      Document 1-1 Filed 05/16/19 Page 195 of 335 PageID #:
          Chad A. Sullivan,
                                               204
                                        Izsq. - csullivan@keoqhcox.com
          Tori S. Bowling, Esq. - tbowlinq@keoqhcox.com
          Richard W. Wolff, Esq. - rwolff@keoqhcox.com
          and Caryn Schoeffler (paralegal) - carvn@keoqhcox.com



Thank you.

Donna 'Wfiittvngton
LegaCAssistant to John T. "WolffIII
Keogh, Cox & Wilson, Ltd.
701 Main Street, Baton Rouge, LA 70802
P.O. Box 1151, Baton Rouge, LA 70821
P 225 383 3796
F 225 343 9612
donnaw(a)keoahcox.com


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         Case 6:19-cv-00630-TAD-CBW
                             n      Document 1-1 Filed 05/16/19 Page 196 of 335 PageID #:
                                              205
 Renee Smith Auld

 From:                              Renee Smith Auld
Sent:                               Thursday, January 18, 2018 12:04 PM
To:                                 "Natalie Theriot'
Cc:                                 'jerome@broussard-david.com'; "Sean P Rabalais"; "jwolff@keoghcox.com"
Subject:                            FW: Gilbert Dugas and Rachael Dugas v. CRST, et al.
Attachments:                        ACE policy for CRST (Part 1) (00262849xAFF 14j.pdf; ACE policy for CRST (Part 2)
                                    (00262848xAFF14).pdf



Please try opening this. It is a scanned version of the policy.


Also, can you please provide dates that the Plaintiffs are available to be deposed?


Thank you.




From: Natalie Theriot [mailto:Natalie@broussard-david.com1
Sent: Thursday, January 18, 2018 11:20 AM
To: Renee Smith Auld <rsmithauld@degan.com>
Cc: Jerome Moroux <ierome@broussard-david.com>
Subject: RE: Gilbert Dugas and Rachael Dugas v. CRST, et al.
Importance: High


Ms. Auld,


Can you provide die document password for the policy? I am trying to combine it with the other
documents you provided and it is requiring a password. Thanks!


Thank you,


Natalie Theriot
Paralegal to Jerome H. Moroux
BROUSSARD & DAVID, LLC
557 Jefferson Street
P.O. Box 3524
Lafayette, LA 70502
337-233-2323 - Phone
337-233-2353 - Fax
natalie@broussard-david.com




From: Renee Smith Auld [mailto:rsmithauld@degan.com1
Sent: Tuesday, January 16, 2018 12:09 PM
To: Sean P Rabalais <SEAN P RABALAIS@progressive.com>; iwolff@keoghcox.com
Cc: Jerome Moroux <ierome@broussard-david.com>; Natalie Theriot <Natalie@broussard-david.com>: Denise Wade
<dwade@degan.com>
Subject: RE: Gilbert Dugas and Rachael Dugas v. CRST, et al.


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                                                        'I '>
          Case 6:19-cv-00630-TAD-CBW
                              (
                                     Document 1-1 Filed 05/16/19I Page 197 of 335 PageID #:
 Sean:                                         206

 Thank you for your materials. I received the ACE dec page and ACE policy late last week. See attached.




 Renee F. Smith Auld
 Of Counsel
 Degan, Blanchard & Nash
400 Poydras Street, Suite 2600
 New Orleans, Louisiana 70130
Telephone: (504) 529-3333 ext. 289
 Facsimile: (504) 529-3337
 Email: rsmithauld@degan.com
Website: www.degan.com




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distribution or the taking of any action in reliance on the contents of this information is strictly prohibited.




From: Sean P Rabalais fmailto:SEAN P RABALAIS@progressive.com1
Sent: Tuesday, January 16, 2018 11:59 AM
To: Renee Smith Auld <rsmithauld@degan.com>; iwolff@keoghcox.com
Cc: ierome@broussard-david.com: Natalie@broussard-david.com: Denise Wade <dwade@degan.com>
Subject: RE: Gilbert Dugas and Rachael Dugas v. CRST, et al.


Renee,
Greetings. Attached is my client Progressive (as UM/UIM carrier's Answer, Discovery to plaintiff and applicable
Progressive declarations sheet. Before you asked me for all of the below materials, I requested (on January 8th) that you
forward the applicable Ace American Insurance Company declarations sheet. I see where you advised that on January 8th
that you requested it.   I don't see where I have received that from you. Please forward that to me.


Kindly,
Sean Rabalais
Attorney for Progressive


From: Renee Smith Auld fmailto:rsmithauld@degan.com1
Sent: Tuesday, January 16, 2018 11:15 AM
To: iwolff@keoghcox.com: Sean P Rabalais <SEAN P RABALAIS@progressive.com>
Cc: ierome@broussard-david.com: Natalie@broussard-david.com: Denise Wade <dwade@degan.com>
Subject: Gilbert Dugas and Rachael Dugas v. CRST, et al.


Dear John and Sean:



                                                               2
        Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 198 of 335 PageID #:
                                    c
I recently requested that you send*t5 me all of your pleadings207
                                                                                      J
                                                               and discovery thatyou have prepared to date in the
case.   While I know it may take a few days to provide me with all of your discoverable file materials, please
                                                                                                               forward
your Answer to me via email as soon as possible. (Please also let me know if you have not
                                                                                          filed it yet.)


I plan to speak with Jerome later today about this matter, and wish to open dates the plaintiffs
                                                                                                 are available to be
deposed then. I will share possible dates of their depositions as soon as I obtain them.


Renee F. Smith Auld
Of Counsel
Degan, Blanchard & Nash
400 Poydras Street, Suite 2600
New Orleans, Louisiana 70130
Telephone: (504) 529-3333 ext. 289
Facsimile: (504) 529-3337
Email: rsmithauld@degan.com
Website: www.degan.com




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*           Case 6:19-cv-00630-TAD-CBW
                                r      Document 1-1 Filed 05/16/19
                                                                 \
                                                                   Page 199 of 335 PageID #:
                                                 208
    Renee Smith Auld

    From:                             Renee Smith Auld
    Sent:                             Monday, January 8, 2018 2:01 PM
    To:                               'jerome@broussard-david.com'
    Cc:
                                      'natalie@broussard-david.com'
    Subject:                          Gilbert Dugas v. ACE, CSRT, et al.



    Jerome:


    I should have ACE and CSRT's discovery to you by the end of the week.


    Please let us know when the plaintiffs are available to be deposed.




    Renee F. Smith Auld
    Of Counsel
    Degan, Blanchard & Nash
400 Poydras Street, Suite 2600
    New Orleans, Louisiana 70130
Telephone: (504) 529-3333 ext. 289
Facsimile: (504) 529-3337
Email: rsmithauld@degan.com
Website: www.degan.com




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                                                          EXHIBIT




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£   »      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 200 of 335 PageID #:
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                                                       TEXACO CENTER
                                           400   P 0 YD RAS   STREET, SUITE   2600

                                                 NEW ORLEANS, LOUISIANA 70130


        RENEE F. SMITH AULD                                                             TELEPHONE (504) 529-3333
        OF COUNSEL                                                                       FACSIMILE (504) 529-3337
        ADMITTED IN LOUISIANA AND TEXAS                                                   WRITER'S DIRECT E-MAIL
                                                                                         RSMITHAULD@DEGAN.COM



                                                     February 1, 2018

           VIA U.S. MAIL AND
          EMAIL: \erome(a)broussard-david. com
          Jerome H. Moroux
          557 Jefferson Street
          P.O. Box 3524
          Lafayette, LA 70502-3524


                          Re:    Gilbert Dugas v. Ace American Insurance Company, et al
                                 St. Martin Parish, Cause No. 85926-A
                                 Our File No. 353-10961

          Dear Jerome:


                 As you recall, I have previously set a Rule 10.1 Conference on January 16, 2018 and
          January 31, 2018 to discuss when Defendants can expect to receive your discovery responses and
          when the Plaintiffs are available to be deposed. In the letters I sent to you on January 11, 2018
          and January 24, 2018 to schedule the conferences, I asked that you would contact me ahead of
          time if you were not available for the 10. 1 conferences.

                  Please contact me by the close of business on Friday, February 2, 2018 so we can resolve
          your clients' outstanding discovery and the scheduling of the Plaintiffs' depositions. If I do not
          hear from you by then, we will be left with no other option but to file a Motion to Compel.
          Discovery and Depositions.


                 Thank you for your assistance with this matter.

                                                                   Sincerely,


                                                                   DEGAN, BLANCHARD & NASH




                                                                  Rende F. Smith Auld



         RFSA/dpw
         cc: Natalie Broussard (via email : natalie(a).broussard-david com)

                                                              EXHIBIT


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              I       ACE AMERICAN INSURANCE COMPANY- ETAL                                                                                                       I
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              I                                                                                                  State of Louisiana                              I
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              %        YOU ARE HEREBY INFORMED BY THIS FAX CONFIRMATION NOTICE
                                                                               THAT THE FOLLOWING HAS                                                            I
              I       BEEN FILED BY FACSIMILE.                                                                                                                  &
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            f        DATE FAX TRANSMISSION RECEIVED: 2.8.18
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          |          DESCRIPTION OF TRANSMISSION: motion to compel w/3                                                                                         I
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                     FILED ON BEHALF OF: Ace American Ins
          If.                                                                                                                                                i
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                     PERSON SIGNING PLEADING: R. Auld                                                                                                        \
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         |            This is to acknowledge that the above describedfacsimile transmis                                                                    f,
                                                                                        sion was received andftled on the date
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         |           shown above as per LA R.S. 13:850.                                                                                                    t
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        |            The original pleading is to beforwarded within SEVEN (7) days, exclusive oflegal                                                      t
                                                                                                         holidays, ofthis                                  1
        |            confirmation together with the $5. 00 transmissionfee; $15. 00feefor this confirm
                                                                                                       ationfWILL BE ADDED TO                             1
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        |           AMOUNT DUE); the correctfilingfee to cover the cost offiling
                                                                                  the facsimile copy as well as the original
     f              pleading and any balance ofcosts due. When the original pleadin                                                                       I
                                                                                    g is received, the file mark will indicate the
     I               actual date it is received.                                .
                                                                                                                                                         !
     I                                                                                                                                                   I
      I              The record will contain the facsimile pleading, this confirmation                                                                   I
      I                                                                                and the original pleading, PLEASE ADD
     II              CASE NUMBER.                                                                                                                     t
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                                                                              BECKY P. PATIN                                                         I
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    t                                                                         Clerk ofthe 16th Judicial District Courtfor
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         .*    DUGAS, GILBERT- ETAL
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         |     ACE AMERICAN INSURANCE COMPANY - ET AL
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                 GILBERT DUGAS AND RACHEL DUGAS, PLAINTIFFS                                                                                       I
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         ?       THROUGH COUNSEL OF RECORD
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         I       MR. JEROME H. MOROUX                                                                                                             l
         1
                 ATTORNEY AT LAW                                                                                                                  I
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         3       557 JEFFERSON ST.
         f       LAFAYETTE, LA 70502
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                                              ofLAFAYETTE Parish, Louisiana.                                                                      2

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                         are hereby cited to show cause in the District Court Room, at the Courthouse, 415 S. Main St., St.                       I

              Martinville, Louisiana, on the 27TH day ofMARCH, 2018 at 10:00o'clock A.M. why the rule issued by this                              1
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              Court under date ofFEBRUARY 14, 2018, a certified copy whereofis hereto attached, should not be made
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     i                                                                 Deputy Clerk of Court, St. Martin Parish, LA.
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    h         REQUESTED BY:                                                                                                                   I
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              RENEE F.SMITH
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    ;s        ATTORNEY FOR ACE AMERICAN INS. CO. AND CRST EXPEDITED, INC.                                                                     i

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1                                     _, 20     served the above namedparty as follows:                                                   I
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              Personal Service on the party herein named
i             Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the                  1
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              hands of
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                                                                          a person apparently over the age ofseventeen
              years, living and residing in said domicile and whose name and other facts connected with this service, I                   I
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              learned by interrogating the saidperson, saidparty herein being absentfrom his/her residence at the time of                 i
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      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 203 of 335 PageID #:
                                           212              }




 TO: Sheriff
                                          FROM: Becky P. Patin

      Lafayette Parish
                                                 Clerk of Court, St. Martin Parish

      P. O. Box 3508
                                                 P. O. Box 308, St. Martinville, LA 70582

      Lafayette, LA 70502-3508                   Phone: 337-394-2210         Fax: 337-394-2240




 RE: SUIT NO.            85926-A                 PROBATE NO.




           GILBERT DUGAS, ETAL



VS.



       ACE AMERICAN INS. CO., ETAL




       I AM ENCLOSING A CITATION RULE ALONG WITH
                                                 A TRUE COPY OF MOTION TO

COMPEL AND ETC. FOR SERVICE ON GILBERT
                                       DUGAS AND RACHEL DUGAS THROUGH

JEROME MOROUX. UPON RECEIPT SHOWING
                                    SERVICE THEREOF, TOGETHER WITH YOUR

BILL, WE SHALL REMIT.




Date of Notice      February 15, 2018                  Kristie Prejean
                                                     Deputy Clerk of Court
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                                     Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 204 of 335 PageID #:                                               p-xp

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                               TO:                                                                                                                                          1
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                     ^           PILOT TRA VEL CENTERS LLC-STORE #2 74, DEFENDANT
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                     I           THROUGH ITS COUNSEL OF RECORD                                                                                                          I

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                     •S
                                 M?. JOHN WOLFF, III                                                                                                                    I
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                     •I          ATTORNEY AT LAW                                                                                                                        g
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                     t           701 MAIN ST.               .                                                                                                           4
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                     |           BATON ROUGE, LA 70802
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                 I                                              of EAST BATON ROUGE Parish, Louisiana.
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                 !                   Low are hereby cited to show cause in the District Court
                                                                                              Room, at the Courthouse, 415 S. Main St., St.
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                 S            Martinville, Louisiana, on the 27TH day ofMARCH, 2018 at
                 I                                                                     10:00o'clock A.M. why the rule issued by this                                    I
                              Court under date ofFEBRUARY 14, 2018, a certified copy whereo                                                                            i
                 \            absolute.
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         !                   RENEEF. SMITH                                                                                                                     I
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     |                       Domiciliary Service on the party herein named by leaving
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    |                        hands of
                                                                                        , a person apparently over the age ofseventeen                     t
    |                     years, living and residing in said domicile and whose name and                                                                   %
                                                                                         other facts connected with this service, I
    |                     learned by interrogating the said person, said party herein                                                                      I
                                                                                      being absentfrom his/her residence at the time of                    1
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             s1      PROGRESSIVE SECURITY INSURANCE COMPANY                                                                                         %
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          I          MR. SEAN P. RABALAIS                                                                                                           I
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             l       ATTORNEY AT LAW                                                                                                                1I
          I          11550 NEWCASTLE AVE, SUITE 200
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          I          BATON ROUGE, LA 70816
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                                                  ofEAST BATON ROUGE Parish, Louisiana.                                                             i
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          I              You are hereby cited to show cause in the District Court Room, at the Courthouse, 415 S. Main St., St.
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                   Martinville, Louisiana, on the 27TH day ofMARCH, 2018 at lO.OOo'clock A.M. why the rule issued by this                           I
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         »         Court under date ofFEBRUARY 14, 2018, a certified copy whereof is hereto attached, should not be made                            1
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     I                                                                  Deputy Clerk of Court, St. Martin Parish, LA.                           I
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                  RENEEF. SMITH
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                  ATTORNEY FOR ACE AMERICAN INS. CO. AND CRST EXPEDITED, INC.                                                                   I
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                  Personal Service on the party herein named                                                                                t
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 I                hands of                                                   , a person apparently over the age ofseventeen                1
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 |                years, living and residing in said domicile and whose name and other facts connected with this service, I
 I                learned by interrogating the said person, saidparty herein being absentfrom his/her residence at the time of             I
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       Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 206 of 335 PageID #:
                                            215


 TO: Sheriff
                                           FROM: Reeky P. Patin

       East Baton Rouge Parish
                                                  Clerk of Court, St. Martin Parish

       P. O. Box 3277
                                                  P. O. Box 308, St. Martinville, LA 70582

       Baton Rouge, LA 70821-3277                 Phone: 337-394-2210         Fax: 337-394-2240




 RE: SUIT NO.             85926-A                 PROBATE NO.




            GILBERT DUGAS, ET AL



 VS.



        ACE AMERICAN INS. CO., ETAL




        I AM ENCLOSING 2 CITATION RULES ALONG WITH
                                                   2 TRUE COPIES OF MOTION TO

COMPEL AND ETC. FOR SERVICES ON PILOT TRAV
                                           ELERS CENTER LLC THROUGH JOHN

WOLFF, III AND PROGRESSIVE SECURITY INSUR
                                          ANCE COMPANY THROUGH SEAN

RABALAIS. I AM ENCLOSING A CHECK IN THE AMOU
                                             NT OF $52.32.




Date of Notice      February 15, 2018
                                                        Kristie Prejean
                                                      Deputy Clerk of Court
                  I            Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 207 of 335 PageID #:
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                  1          MR. JEROME H MOROUX                                                                                                                   1
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                  %          ATTORNEY AT LAW                                                                                                                     I
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                             PO BOX 3524                                                                                                                         i
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                  5          LAFAYETTE, LA 70502                                                                                                                 I
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                  S          MR. SEAN P. RABALAIS
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              |              ATTORNEYAT LAW                                                                                                                    f
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              1              11550 NEWCASTLE AVE., SUITE 200                                                                                                   I
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              i              BA TON ROUGE, LA 7081 6                                                                                                          I
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              I           MS. RENEE F. SMITH A ULD
             i            ATTORNEY AT LAW                                                                                                                     I
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             I            400 POYDRAS ST., SUITE 2600                                                                                                         I
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             |            NEW ORLEANS, LA 70130                                                                                                               I
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             •;           MR. JOHN P. WOLFF, III                                                                                                              I

             jj           ATTORNEYAT LAW
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            |             P.O. BOX 1151                                                                                                                      1
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                               NOTICE IS HEREBY GIVEN that the above captioned and numbered matter                                                        I
                                                                                                   has been setfor trial on the
         I             DEFENDANTS' MOTION TO COMPEL, PLAINTIFFS' DISCOVERY RESPON
                                                                                               SES AND DEPOSITION                                         I
         I             TESTIMONY on MARCH 27, 2018 ,at 10:00 o'clock A.M. at the Courthouse,
         I                                                                                   415 S. Main St., St. Martinville                             I
                       Louisiana, before Judge ANTHONY THIBODEAUX as a 13THfixing.                                                                        I
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         I                     Uniform Rules requires that you file for all exceptions, motions and motion for                                            %
                                                                                                               summary judgments a pre-                   |
         !              trial memorandum at leastfifteen (15) calendar days before the hearing. Oppositio
                                                                                                             n memorandums shall be                       i
        If             filed at least eight (8) calendar days before the hearing. Any reply memoran
                                                                                                     dums must be received by Judge
        I               and all parties before 4:00 p.m. on a day that allows one (1) full work day before                                               I
        I                                                                                                  the hearing.                                  i
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     I                         Failure to file and distribute the memorandum outlined shall subject saidpart
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                                                                                                            y to the assessment ofcosts               |
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                       by the Court or to be otherwise disciplined.                                                                                   i
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    X                         Rule 8.3 requires the attorneyfor Plaintiff to notify the Docket Clerk and the Trial                                    I
     \                                                                                                             Judge when a case that             ^
                       is fixedfor trial is settled or continued by mutual agreement.                                                                 I
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     5                        ST. MARTINVILLE, LOUISIANA, this 15THday of FEBRUARY, 2018.
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           i        MR. SEAN P. RABALAIS                                                                                                                             l
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           f        ATTORNEY AT LAW                                                                                                                                 I
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         i              Tom are hereby cited to show cause in the District Court Room, at the Courthouse, 415 S. Main St., St.                                      I
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                  Martinville, Louisiana, on the 27TH day ofMARCH, 2018 at 10:00o'clock A.M. why the rule issued by this                                         I
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     '           RENEE F.SMITH                                                                                                                                 t
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     |           ATTORNEY FOR ACE AMERICAN INS. CO. AND CRST EXPEDITED, INC.                                                                                   I
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»                hands of                                                        , a person apparently over the age ofseventeen                             I
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         I              PILOT TRAVEL CENTERS LLC-STORE #274, DEFENDANT                                                                                      1
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         I              THROUGH ITS COUNSEL OF RECORD                                                                                                       I
         *                                                                                                                                                  I
         I              MR. JOHN WOLFF, III
         J                                                                                                                                                  I
         i              ATTORNEY AT LAW                                                                                                                     i

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    !             ATTORNEY FOR ACE AMERICAN INS. CO. AND CRST EXPEDITED, INC.                                                                       i
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         '       THROUGH ATTY JOHN WOLFF, III (BRITTANY)
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     I       THROUGH COUNSEL OF RECORD                                                                                                              t
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     1       MR JEROME H. MOROUX                                                                                                                    I
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     |       ATTORNEY AT LAW                                                                                                                        I

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I         JEROME H. MOROUX                                                                                                                   1

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                                                   Degan, Blanchard & Nash
                                                         A   PROFESSIONAL LAW   CORPORATION

                                                                   TEXACO CENTER
                                                       400   POYDRAS    STREET, SUITE     2600

                                                             NEW ORLEANS, LOUISIANA 70130

             RENEE F . SMITH AULD
             OF COUNSEL                                                                            TELEPHONE (504) 529-3333
             ADMITTED IN LOUISIANA AND TEXAS                                                        FACSIMILE (504) 529-3337
                                                                                                     WRITER'S DIRECT E-MAIL
                                                                                                    RSMITHAULD@DEGAN.COM



                                                                  March 19, 2017

                 VIA FACSIMILE <337) 394-2240
                 The Honorable Becky P. Patin
                 Clerk of Court
                 414 St. Martin Street
                 P. O. Box 308
                 St Martinville, Louisiana 70582


                                   Re:       Gilbert Dugas v. Ace American Insurance Comp
                                                                                          any, et al
                                             St. Martin Parish, Cause No. 85926-A
                                             Our File No. 353-10961

                Dear Clerk Patin:


                      Please find attached for fax filing Defendants ' Motio
                                                                              n to Continue and Re~Set Hearing
               with Date on Motion to Compel Plaintiffs ' Disco
                                                                  very Responses and Deposition Testimony with
               Date in connection with the above referenced matter
                                                                      . After filing each into the record, please
               forward to us via fax the amount due for filing fees.
                                                                     We will forward the originals and all fees to
               you within the next seven days, pursuant to L.S.A.
                                                                  -R.S. 13:850.

                           Thank you for your assistance with this request.
                                                                                       Should you have any questions or
               concerns, please do not hesitate to contact us.


                                                                             Sincerely,

                                                                             DEGAN, BLANCHARD & NASH




                                                                            Renee F. Smith Auld

               RFSA/dpw
              Attachments
              cc:          Jerome H. Moroux (Via US Mail)
                           John Wolff, III   (Via US Mail and email jwolff@keoghcox.com)
                           Sean P. Rabalais  (Via US Mail and email Sean_P_Rabalais@progre
                                                                                           ssive.com)
                           The Honorable Anthony Thibodeaux (via facsimile
                                                                           (866) 831-0418




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                                          DEGAN, BLANCHARD & NASH
                                                                    400 Poydras Street, Suite 2600
                                                                    New Orleans, Louisiana 70130
                                                                      Telephone: (504) 529-3333
                                                                       Facsimile: (504) 529-3337



                                                         FACSIMILECOVERSHEET

                  TO:
                                                                                               FAX NO.:                (337) 394-2240
                  Clerk of Court

                  16th Judicial District Court
                 Parish of St Martin


                 DATE:               March 19,2018                                            FROM: Denise Wade

                 REFERENCE:                      353-10961                                    PAGES (Including Cover Sheet)


                FACSIMILE MESSAGE:
                                Please file the attached for fax filing-


                                Please note that there is one service for Lafayette Parish and
                                1 service in Orleans Parish     and 1 service in East Baton Rouge Parish.

                                                                           CONFIDENTIALITY NOTICE

                This facsimile transmission (and/or the documents accompanying it) may
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                             16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                       STATE OF LOUISIANA

                   NO. 85926
                                                                                              DIVISION A

                                                          GILBERT DUGAS


                                                               VERSUS

                              ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                              MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                        PROGRESSIVE SECURITY INSURANCE COMPANY

                  FILED:
                                                                       DEPUTY CLERK



                                         DEFENDANTS' MOTION TO CONTINUE AND
                                    RE-SET HEARING WITH DATE ON MOTION TO COMPEL
                            PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY
                                                    WITH DATE




                            NOW INTO COURT, through undersigned counsel, come Defendants, Ace American


                 Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST Expedited"), which


                 move this Honorable Court for an Order to continue and re-set the Motion to Compel the Plaintiffs'


                 Discovery Responses and Depositions, which is currently scheduled for March 27, 2018 and to


                reschedule it for May 1 1, 2018.


                            Plaintiffs, Gilbert Dugas ("Mr. Dugas") and Rachael Dugas ("Mrs. Dugas") provided Ace


                American and CRST Expedited with responses to their discovery on March 6, 2018, but the


                Plaintiffs' answers were insufficient, nonresponsive, and evasive. Hence, the Plaintiffs' responses


                do not provide Defendants with enough information to be able to adequately prepare to depose the

                Plaintiffs.


                            WHEREFORE, Defendants, Ace American Insurance Company and CSRT Expedited,

                Inc., pray for an Order compelling Plaintiffs, Gilbert Dugas and Rachael Dugas, to respond fully

                and completely by proving responsive, non-evasive, and accurate answers and without objection


                to all outstanding discovery. Moreover, Defendants pray that Plaintiffs be deposed within a month,

               an<
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               as provided by Louisiana Code of Civil Procedure Article 1469. "Defendants pray that Plaintiffs'
                                                                                v"



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                  claims be dismissed, if they fail to comply with the court's Order. Further, Defendant
                                                                                                         s pray and

                  that the hearing scheduled for March 27, 2018 be reset for the court's next available
                                                                                                        rule date.




                                                               Respectfully Submitted:


                                                               DEGAN, BLANC                & NASH

                                                                                            ?
                                                                          £
                                                               SIDNgY W. DEGAN, III (LSBA #4840)
                                                               RENEE F. SMITH AULD (LSBA #23568)
                                                               400 Poydras Street, Suite 2600
                                                               New Orleans, Louisiana 70130
                                                               Telephone: (504) 529-3333
                                                               Facsimile: (504) 529-3337
                                                              Email: sdegan@degan.com
                                                                     rsmithauld@degan.com
                                                              Attorneys for Defendants,
                                                              Ace American Insurance Company and
                                                               CRST Expedited, Inc.




                                                 CERTIFICATE OF SERVICE

                        I hereby certify that the above and foregoing has been served upon all known parties
                                                                                                                of
                record via United States mail, properly addressed and postage pre-paid on this 19 th day
                                                                                                         of March,
                2018.




                                                                                            SMITH AULD




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                             16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                            STATE OF LOUISIANA


                    NO. 85926                                                                    DIVISION A

                                                              GILBERT DUGAS


                                                                     VERSUS

                              ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                              MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                            PROGRESSIVE SECURITY INSURANCE COMPANY

                    FILED:


                                                           RULE TO SHOW CAUSE


                             Considering the foregoing Motion to Continue and Re-Set Hearing With Date on Motion

                   to Compel Plaintiffs' Discovery Responses and Disposition Testimony filed by Defendants, Ace


                   American Insurance Company and CSRT Expedited;


                             IT IS ORDERED that Plaintiffs, Gilbert Dugas and Rachael Dugas, show cause on the 1 1th


                   day of May, 20 1 8 at                         a.m./p.m. or ^       day of                   2018


                   at                         a.m./p.m. why they should not be compelled to provide responsive, non-

                   evasive, and accurate answers to the Interrogatories and Request for Production of Documents of


                   Defendants, Ace American Insurance Company and CSRT Expedited, previously propounded,

                   why they should not be compelled to be deposed with a month, and why sanctions of expenses and

                   attorney's fees for failure to comply with said discovery requests should not be awarded.

                             St. Martinsville, Louisiana, this              day of         ,2018.




                                                             JUDGE


                   PLEASE SERVE:


                   Gilbert Dugas and Rachel Dugas, Plaintiffs
                   Through counsel of record
                   Jerome H. Moroux
                   557 Jefferson Street
                   Lafayette, Louisiana 70502-3524




                   Please also see next page for additional service directions.

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                   Pilot Travel Centers, LLC - Store #274, Defendant
                   Through its new counsel of record            <
                   Thomas J. Cortazzo
                   Baldwin, Haspel, Burke & Mayer, LLC
                   1 100 Poydras St., Suite 3600
                   New Orleans, LA 70163



                   Progressive Security Insurance Company, Defendant
                   Through its counsel of record
                   Sean P. Rabalais
                  Casler, Bordelon, Lawler and Gelder
                   1 1550 Newcastle Ave., Suite 200
                  Baton Rouge Louisiana 708 16




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                            16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                                      STATE OF LOUISIANA


                  NO. 85926                                                                    DIVISION A


                                                         GILBERT DUGAS


                                                               VERSUS


                             ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                            MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                                     PROGRESSIVE SECURITY INSURANCE COMPANY


                  FILED:
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                            DEFENDANTS' MEMORANDUM IN SUPPORT OF MOTION
                     TO CONTINUE AND RE-SET HEARING WITH DATE ON MOTION TO COMPEL
                           PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY




                  MAY IT PLREASE THE COURT:


                           The Defendants, Ace American Insurance Company ("Ace American") and CRST


                  Expedited, Inc. ("CRST Expedited"), file this Memorandum in Support of its Motion to Continue


                  and Re-Set Hearing With Date on its Motion to Compel Plaintiffs' Discovery Responses and


                 Deposition Testimony because Defendants need to have a better understanding of the allegations


                 of Plaintiffs, Gilbert Dugas ("Mr. Dugas") and Rachael Dugas ("Mrs. Dugas"), so that Defendants


                 can be in a position to defend this matter.


                                                        CURRENT STATUS


                           Defendants wish to continue the Motion to Compel Plaintiffs' Discovery Responses and


                 Deposition Testimony currently scheduled for Tuesday, March 27, 2018 and request the hearing

                 be rescheduled for Friday, May 11, 2018 at 10:00 a.m. or until the court's next available court

                 date.


                           Although Plaintiffs provided Ace American and CRST Expedited with responses to their

                 discovery on March 6, 2018, the Plaintiffs' answers were grossly insufficient, nonresponsive, and

                 evasive. For example, in five of the responses to the 33 interrogatories, Mr. Gilbert responded "See

                 Breaux Bridge Police Department Report" instead of responding to valid and discoverable




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                   questions requesting information about how the accident occurred, where Mr. Gilbert was


                   traveling from and where Mr. Gilbert was going to, and whether he was in the vehicle when the


                  accident occurred.1 Other questions asked for Mr. Gilbert to describe why the tortfeasor                          was


                  negligent and which part of the tortfeasor's vehicle came into contact with his vehicle. Instead of


                  providing Defendants with additional information about how the accident occurred—and


                  specifically where he was when the alleged incident occurred~Mr. Gilbert refused to provide


                  Defendants with direct or meaningful answers.

                           Moreover, in 1 1 of his responses to Defendants' interrogatories, Mr. Gilbert answered by


                  stating "Please refer to medical and billing records for dates of treatment, treatment given, and


                  diagnosis/prognosis." Mr. Gilbert also refused to list his anticipated witnesses and exhibits for use

                  at trial and merely responded "This information will be provided in accordance with this Court's


                  Scheduling Order."


                           Mr. Gilbert also assumes that Defendants have copies of all relevant insurance policies of


                 Plaintiffs.        The Gilberts quipped "Defendants are already in possession of the requested


                 information" when Defendants requested copies of the Gilberts' applicable insurance policies.


                 However, as this court is aware, insurance policies are discoverable under Louisiana Code of


                 Procedure Article 1423.2

                           Similarly, Mrs. Gilbert's discovery responses were just as useless as those provided by Mr.


                 Gilbert. In particular, Mr. Gilbert stated in 10 of her answers that.the requested discovery would




                 1 Mr. Gilbert responded "Please refer to the Breaux Bridge Police Department Police Report" to the following
                 interrogatories:
                 INTERROGATORY NO. 2:
                 Please state the name, address and telephone number of anyone from whom a statement, whether written, oral,
                 recorded or otherwise, has been obtained by you or on your behalf relating, in any way, to the accident alleged in your
                 Petition and the date such statement was taken, the dates and places such statements were taken, who took said
                 statements and those having custody of said statements.
                 INTERROGATORY NO. 3:
                 Please describe in detailed narrative form the incident set forth in the Petition, including how the incident occurred,
                 where you were traveling from, where you were en route to, and the facts leading up to the incident.
                 INTERROGATORY NO. 14:
                 Please identify all passengers in your vehicle at the time of the accident, if any, their current residence address,
                 telephone number, length of time known, and reason for their presence in your vehicle on October 31, 2016.
                 INTERROGATORY NO. 20:
                 Please describe the basis for your contentions in paragraph 3 of the Petition that Mark Strauss was negligent and
                 caused an accident.
                 INTERROGATORY NO. 33:
                Please state whether you were inside or outside of your car when your vehicle was struck. Please describe which part
                of Mark Strauss's came into contact with yo.ur vehicle.
                2 See C.C.P. Art. 1423.

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                  "be provided in accordance with this Court's Scheduling Order."
                                                                                  Moreover, she simply responded

                  "Not applicable" to inquiries regarding her prior or subsequent
                                                                                  injuries or illnesses and treating

                  physicians. Considering Mrs. Gilbert is making a claim for loss of consorti
                                                                                              um, Defendants are

                  entitled to be provided with a description of any prior and subsequent
                                                                                         injuries and medical history,

                  so that Defendants can adequately prepare for Mrs. Gilbert's depositio
                                                                                         n. Similarly, Mrs. Gilbert

                 responded "Plaintiff recalls none" to 1 5 of the 35 interrogatories, even
                                                                                           though it is very likely that

                 Mrs. Gilbert had some knowledge of the information requested.


                                                         LAW AND ARGUMENT

                            The Gilberts have failed to provide Defendants with sufficient response
                                                                                                    s to their discovery

                 to place them on notice of the allegations made against them and the
                                                                                      specific nature and severity

                 of their alleged damages.        Moreover, while Defendants plan to depose the Plaintiffs in the near

                future, the Plaintiffs' responses do not provide Defendants with enough
                                                                                        information to be able to

                adequately prepare for the depositions of the Gilberts. The Louisian
                                                                                     a Code of Civil Procedure

                allows broad discovery and states that:




                           Parties may obtain discovery regarding any matter, not privileged, which
                                                                                                        is
                           relevant to the subject matter involved in the pending action, whether
                                                                                                        it
                           relates to the claim or defense of the party seeking discovery or to the
                                                                                                    claim
                           or defense of any other party, including the existence, description,
                                                                                                nature,
                           custody, condition, and location of any books, documents, or other
                                                                                              tangible
                           things and the identity and location of persons having knowledge of
                                                                                                 any
                           discoverable matter. It is not ground for objection that the informa
                                                                                                tion
                           sought will be inadmissible at the trial if the information sought
                                                                                              appears
                           reasonably calculated to lead to the discovery of admissible evidence.3


                           Louisiana law is well established that ohr discovery statutes are to
                                                                                                be liberally and broadly

               construed to achieve their intended objectives. Further, the basic
                                                                                  objectives of the discovery

               process are to afford all parties fair opportunity to obtain facts pertinen
                                                                                           t to litigation, to discover

              true facts and compel disclosure of these facts wherever they may
                                                                                be found, to assist litigants in

              preparing their cases for trial, to narrow and clarify basic issues between
                                                                                          parties, and to facilitate

              and expedite legal process by encouraging settlement or abandon
                                                                              ment of less then meritorious

              claims.4


              3 C.C.P. Article 1422.
              * Hodges v. Southern Farm Bureau Cos. Ins. Co., 433 So.2d 125, 129 (La.
                                                                                      1983).

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                            Considering Mr. and Mrs. Gilbert have failed to provide
                                                                                    Defendants with any meaningful

                  responses to their discovery, Defendants request that
                                                                        their Motion to Compel Discovery and

                  Depositions currently scheduled for Tuesday, March 27,
                                                                         2018 be re-set to be heard on the next

                  available rule date so that the Plaintiffs can have additio
                                                                              nal time to cure the defects of their

                 insufficient, evasive, and nonresponsive discovery respon
                                                                           ses.

                           Based upon the foregoing, Defendants wish the deposi
                                                                                tions of the Plaintiffs remain as a

                 component of the rescheduled Motion to Compel.


                           In correspondence to counsel for Plaintiffs, Defend
                                                                               ants have requested that Mr. Gilbert

                 provide responsive answers to interrogatories 2, 3, 4,
                                                                        5, 6, 7, 8, 9, 10, 11, 12, 14, 19, 20, 22, 23,

                 24, 26, 29, and 32 and that Mrs. Gilbert provide responsive
                                                                             answers to interrogatories 3, 4, 5, 6,

                7, 8, 10, 12, 13, 15, 16, 18, 19, 20, 21, 22, 23, 24, 25, 26,
                                                                              27, 28, 29, 30, 31, 32, 33, 34 and 36.

                                                          CONCLUSION

                           Based upon the forgoing, Defendants wish to continu
                                                                               e the Motion to Compel Discovery

                Responses and Deposition Testimony currently rescheduled
                                                                         for March 27, 2017 to May 1 1, 2018.

                Defendants wish to resolve the motion to compel to allow
                                                                         the Plaintiffs additional time to provide

               the Defendants with adequate responses so that this
                                                                   issue could be cured without the need to

               proceed before this Honorable Court.




                                                              Respectfully Submitted:

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                                                              DEGAN, BLANCHARD & N                      H
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                                                              SfOME^W. DEGAN, III (LSBA #4840)
                                                              RENEE F. SMITH AULD (LSBA #23568)
                                                              400 Poydras Street, Suite 2600
                                                              New Orleans, Louisiana 70130
                                                              Telephone: (504) 529-3333
                                                              Facsimile: (504) 529-3337
                                                              Email: sdegan@degan.com
                                                                     rsmithauld@degan. com
                                                             Attorneysfor Defendants,
                                                             Ace American Insurance Company and
                                                             CRST Expedited, Inc.




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                                                  CERTIFICATE OF SERVICE

                         I hereby certify that the above and foregoing has been served upon all known
                                                                                                          parties of
                  record via United States mail, properly addressed and postage pre-paid on this
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                  2018.


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                 |     Versus                                                                                                                                 1
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                        YOU ARE HEREBY INFORMED BY THIS FAX CONFIRMATION NOTICE                                                                            1
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         |            shown above as per LA R.S. 13:850.
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         |            The original pleading is to be forwarded within SEVEN (7) days, exclusive oflegal
                                                                                                        holidays, ofthis
         |            confirmation together with the $5.00 transmission fee; $15.00fee for this confirmation(WILL BE
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        |            pleading and any balance ofcosts due. When the original pleading is received, the file                                           I
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        I             actual date it is received.                                                                                                     t


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                                                                            Clerk ofthe 16th Judicial District Courtfor
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              BALDWIN                                                THOMAS J. CORTAZZO
                                                                      *Also an American Arbitration Association ®

              HASPEL                                                  Certified Mediator



              BURKE                                                  Writer's Direct Information
                                                                     Direct Fax: 504.293.5613

                lYER            LLC
                                                                     tc0rta2z0@bhbmlaw.cotn

              LAW OFFICES


                                            March 20, 2018



 Becky P. Patin, Clerk
 16th Judicial District Court
 Parish of St. Martin
 P.O. Box 308
 St. Martinville, LA 70582-0308


                Re:      Gilbert Dugas v. Ace American Insurance Company, et al.
                          16th JDC, No. 85926, Division A
                         Our File No. 016230-012 / 68230


 Dear Ms. Patin:


        I enclose an original and two copies of a Motion to Substitute Counsel of Record on
 behalf of defendants Pilot Travel Centers LLC and Ace American Insurance Company. Would
 you please present the Motion to the Judge for signing and return a date-stamped and conformed
 copy to me and to John P. Wolff, III, in the envelopes provided. I also enclose this firm's check
 payable to the Clerk in the amount of $100.00 in payment of the filing fee.


        Thank you for your assistance.


                                               Sincerely,


                                                 ~~Jm\
                                               THOMAS J. CORTAZZO


 TJC/blb
 Enclosures


 c:     John P. Wolff, III (via e-mail: iwolff@keoehcox.com: w/encl.)
        Mr. Jerome H. Moroux (via e-mail: i erome@broussard-david.com: w/encl.)
        Mr. Sean P. Rabalais (via e-mail: Sean P Rabalais@Progressive.com: w/encl.)
        Ms. Renee F. Smith Auld (via e-mail: rsmithauld@degan.com: w/encl.)
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iir                   1 100 POYDRAS STREET - SUITE 3600    NEW ORLEANS, LA
                           PHONE 504.569.2900 FAX 504.569.2099 ww.bhbmlaw.com
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     GILBERT DUGAS                                         16th JUDICIAL DISTRICT COURT

     VERSUS                                                DOCKET NO. 85926         DIVISION A

     ACE AMERICAN INSURANCE COMPANY,                       ST. MARTIN PARISH
     CRST EXPEDITED INC., MARK STRAUSS,
     PILOT TRAVEL CENTERS LLC - STORE                      STATE OF LOUISIANA
     #274, AND PROGRESSIVE SECURITY
     INSURANCE COMPANY




                       MOTION TO SUBSTITUTE COUNSEL OF RECORD


              NOW INTO COURT come defendants Pilot Travel Centers LLC (referred to in the


    Petition as Pilot Travel Centers LLC - Store #274) and Ace American Insurance Company, as


    Insurer for Pilot Travel Centers LLC, and move this Court for an Order substituting Thomas J.


    Cortazzo, Alex S. Aughtry and the law firm of Baldwin Haspel Burke & Mayer, LLC, in place of


    John P. Wolff, III, Chad A. Sullivan, Tori S. Bowling, Richard W. Wolff and the law firm of


    Keogh, Cox & Wilson, Ltd., as counsel of record for defendants Pilot Travel Centers LLC and


    Ace American Insurance Company, as insurer of Pilot     "Q\    iters    , in this action.



                                                  SRECTFUhLWSUBMITTED:




                                              JQHNT. WOLFF, HI (#14504)
                                              CHAD A. SULLIVAN (#27657)
                                              TORI S. BOWLING (#30058)
                                              RICHARD W. WOLFF (#34844)
                                              KEOGH, COX & WILSON, LTD.
                                              701 Main Street (70802)
                                              P.O. Box 1151
                                              Baton Rouge, LA     70821
                                              Telephone: (225) 383-3796
                                              Facsimile:   (225) 343-9612
                                              Email: jwolff@keoghcox.com
                                                     csullivan@keoghcox.com
                                                     tbowling@keoghcox.com
                                                     rwolff@keoghcox.com




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  Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/191 Page 229 of 335 PageID #:
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                                                  THOMAS J. COrJTA£ZO, TX (#18174)
                                                  ALEX S. AUG IITRY (#37019)
                                                  BALDWIN HASPEL BURKE & MAYER, LLC
                                                  Energy Centre - Suite 3600
                                                  1 100 Poydras Street
                                                  New Orleans, LA 70163
                                                  Telephone: (504) 569-2900
                                                  Facsimile:   (504) 569-2099


                                                  Attorneys for defendants Pilot Travel Centers
                                                  LLC and Ace American Insurance Company, as
                                                  insurer of Pilot Travel Centers LLC




                                               ORDER



            Considering the foregoing Motion to Substitute Counsel of Record,


            IT IS ORDERED that the Motion is granted and Thomas J. Cortazzo, Alex S. Aughtry


   and the law firm of Baldwin Haspel Burke & Mayer, LLC, are substituted and enrolled as


   counsel of record for defendants Pilot Travel Centers LLC and Ace American Insurance


   Company, as insurer of Pilot Travel Centers LLC, in place of John P. Wolff, III, Chad A.


   Sullivan, Tori S. Bowling, Richard W. Wolff and the law firm of Keogh, Cox & Wilson, Ltd.


            St. Martinville, Louisiana, this              of                            /~)




                                                                         JUDGE
                                                               Suzanne M. deMahy



                                     CERTIFICATE OF SERVICE


            I hereby certify that a copy of the foregoing pleading has been served on all parties
  through their counsel of record via e-qiail and by depositing same in tjre U.S. Mail, postage
  prepaid and properly addressed, this         day of Marcl ,2018.

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                                      CERTIFICATE



 GILBERT DUGAS                                      STATE OF LOUISIANA

 Vs. NO.      85926-A                                16th JUDICIAL DISTRICT COURT

 ACE AMERICAN INSURANCE COMPANY,                    PARISH OF ST. MARTIN
 ET AL



        THIS IS TO CERTIFY that on MARCH 26, 2018, Notice of the signing of the MOTION


 TO SUBSTITUTE COUNSEL OF RECORD AND ORDER in this case was mailed to all parties


 and/or counsel interested therein.


        WITNESS my hand at St. Martinville, Louisiana, on MARCH 26, 201 8.


                                                    CLERK OF COURT


                                                    BY:
                                                          DEPUTY CLERK OF COURT


 MR. JEROME H. MOROUX
 ATTORNEY AT LAW
 P.O. BOX 3524
 LAFAYETTE, LA 70502


 MR. SEAN P. RABALAIS
 ATTORNEY AT LAW
 1 1550 NEWCASTLE AVENUE, SUITE
 200
 BATON ROUGE, LA 70816


 MS. RENEE F. SMITH AULD
 ATTORNEY AT LAW
 400 POYDRAS STREET, SUITE 2600
 NEW ORLEANS, LA 70130


 MR. JOHN P. WOLFF, HI
 MR. CHAD A. SULLIVAN
 MS. TORI S. BOWLING
 MR. RICHARD W. WOLFF
 ATTORNEYS AT LAW
 P.O. BOX 1151
 BATON ROUGE, LA 70821


 MR. THOMAS J. CORTAZZO, T.A.
 MR. ALEX S. AUGHTRY
 ATTORNEYS AT LAW
 ENERGY CENTRE-SUITE 3600
 1100 POYDRAS STREET
 NEW ORLEANS, LA 70163
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 231 of 335 PageID #:
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      CASLER, BORDELON, LAWLER & GELDER
                              Not a Partnership, Not a Corporation
                                      Attorneys at Law
                         4000 S. Sherwood Forest Boulevard, Suite 303
                                     Baton Rouge, LA 70816
                                       Fax: (866) 516-8616

Sean P. Rabalais, Esq.                                                             SALARIED EMPLOYEES OF
                                                                                    PROGRESSIVE CASUALTY
Direct Dial: (337) 347-0096
                                                                                      INSURANCE COMPANY
Email: Sean_P_Rabalais@Progressive.com
Legal Assistant: Kandice Dimaio-Moore
Direct Dial: (225) 663-4042
Email: kdimaiol@progressive.com


                                       March 22, 2018


Clerk of Court,
16th Judicial District Court for the Parish of St. Martin
415 S. Main Street
                                                                              M%
P.O. Box 308
St. Martinville, LA 70582-0308


               RE:     Gilbert Dugas v. Ace American Insurance Company, et al
                       1 6th Judicial District Court for St. Martin Parish
                       No.: 85926 - Division "A"
                       Matter/Claim No.: 165956988

Dear Sir or Madam:


        Enclosed please find a Notice of Change of Address for filing in relation to the above
referenced matter. Please file same and return a conformed copy to my office in the stamped
envelope provided herein. It is my understanding that there are enough funds on the docket to
cover the cost of this request. Please contact my office if additional funds are needed.


       I thank you in advance for your assistance with this matter.


                                                      Very         y yours.



                                                             XL.



                                                      Angelina Hingle for Sean P. Rabalais
/AMH
Enclosures
cc:    Jerome H. Moroux, Esq.(w/enclosure)                           RfietaVS) AND FILED
       John P. Wolff, Esq, (w/enclosure)
       Renee F. Smith Auld, Esq. (w/enclosure)
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               16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                    STATE OF LOUISIANA


       NO. 85926                                                              DIVISION: "A"


                                       GILBERT DUGAS


                                            VERSUS


 ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
      PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY
                                   INSURANCE COMPANY


FILED:


                             NOTICE OF CHANGE OF ADDRESS


TO:     ALL PARTIES


        PLEASE NOTE the change of address for Sean P. Rabalais:


                Casler, Bordelon, Lawler & Gelder
               4000 S. Sherwood Forest Boulevard, Suite 303
               Baton Rouge, LA 70816


        This change of address is effective immediately.


      CERTIFICATE OF SERVICE                     Respectfully sjjhmitted,


I hereby certify that I have on this 21 day of
March, 2018, served a copy of the foregoing
on counsel for all parties to this proceeding    SEAN P. RABALAIS (LSBA # 28410)
by mailing a copy of same by electronic          CASLER, BORDELON, LAWLER & GELDER
mail, U. S. Mail, postage^pre-paid and/or        4000 S. Sherwood Forest Boulevard, Suite 303
transmitting via facsitfuT                       Baton Rouge, LA 70816
                                                 Direct Dial: (337) 347-0096
                                                 Fax: (866) 516-8616
              Sean P. Rabalais                   Attorney for defendant, Progressive Security
                                                 Insurance Company




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                                 Degan, Blanchard & Nash
                                          A PROFESSIONAL LAW CORPORATION

                                                    TEXACO CENTER
                                        400   POYDRAS    STREET, SUITE   2600

                                              NEW ORLEANS, LOUISIANA 70130

  RENEE F. SMITH AULD
                                                                                           TELEPHONE         (504) 529-3333
  OF COUNSEL
                                                                                               FACSIMILE (504) 529-3337
  ADMITTED IN LOUISIANA AND TEXAS
                                                                                                WRITER'S DIRECT E-MAIL
                                                                                           RSMITHAULD@DEGAN.COM



                                                   March 22, 2017

     The Honorable Becky P. Patin
     Clerk of Court
     414 St. Martin Street                                                          \
     P. O. Box 308
     St. Martinville, Louisiana 70582                                                      %                    A




                   Re:    Gilbert Dugas v. Ace American Insurance Company, eti
                          St. Martin Parish, Cause No. 85926-A
                           Our File No. 353-10961

     Dear Clerk Patin:

            Please find enclosed the original and one copy of Defendants ' Motion to Continue and
    Re-Set Hearing with Date on Motion to Compel Plaintiffs ' Discovery Responses and Deposition
    Testimony with Date which we previously fax-filed in connection with the above referenced
    matter. Once the original pleading has been filed, please return a conformed copy
                                                                                      to me using
    the enclosed self-addressed, stamped envelope. Also enclosed are the Court's fax confirmati
                                                                                                on
    page and our firm check in the amount of $535.00 in satisfaction of the Court's fax
                                                                                        and filing
    fees.


           Thank you for your assistance, and please do not hesitate to contact my office should you
    have any questions regarding this filing.


                                                              Sincerely,

                                                              DEGAN, BLANCHARD & NASH



                                                                               "V



                                                              Renee F. Smith Auld

    RFSA/dpw
   Enclosures




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          16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                     STATE OF LOUISIANA


 NO. 85926                                                                     DIVISION A


                                         GILBERT DUGAS


                                              VERSUS


           ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
           MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                       PROGRESSIVE SECURITY INSURANCE COMPANY

 FILED:
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                          DEFENDANTS' MOTION TO CONTINUE AND
                     RE-SET HEARING WITH DATE ON MOTION TO COMPEL
        PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY
                                           WITH DATE




          NOW INTO COURT, through undersigned counsel, come Defendants, Ace American


 Insurance Company ("Ace American") and CRST Expedited, Inc. ("CRST Expedited"), which


 move this Honorable Court for an Order to continue and re-set the Motion to Compel the Plaintiffs'


 Discovery Responses and Depositions, which is currently scheduled for March 27, 2018 and to

 reschedule it for May 1 1, 2018.


         Plaintiffs, Gilbert Dugas ("Mr. Dugas") and Rachael Dugas ("Mrs. Dugas") provided Ace


 American and CRST Expedited with responses to their discovery on March 6, 2018, but the


 Plaintiffs' answers were insufficient, nonresponsive, and evasive. Hence, the Plaintiffs' responses

 do not provide Defendants with enough information to be able to adequately prepare to depose the

 Plaintiffs.


         WHEREFORE, Defendants, Ace American Insurance Company and CSRT Expedited,

 Inc., pray for an Order compelling Plaintiffs, Gilbert Dugas and Rachael Dugas, to respond fully

 and completely by proving responsive, non-evasive, and accurate answers and without objection

 to all outstanding discovery. Moreover, Defendants pray that Plaintiffs be deposed within a month,

 and that Plaintiffs pay for all expenses and attorney's fees incurred in connection with this motion

 as provided by Louisiana Code of Civil Procedure Article 1469. 'Defendants pray that Plaintiffs'


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  claims be dismissed, if they fail to comply with the court's Order. Further, Defendants pray and


  that the hearing scheduled for March 27, 2018 be reset for the court's next available rule date.




                                                Respectfully Submitted:


                                               DEGAN, BLANC                & NASH




                                               SID       W. DEGAN, III (LSBA #4840)
                                               RENEE F. SMITH AULD (LSBA #23568)
                                               400 Poydras Street, Suite 2600
                                               New Orleans, Louisiana 70130
                                               Telephone: (504) 529-3333
                                               Facsimile: (504) 529-3337
                                               Email: sdegan@degan.com
                                                       rsmithauld@degan.com
                                               Attorneysfor Defendants,
                                               Ace American Insurance Company and
                                               CRST Expedited, Inc.




                                  CERTIFICATE OF SERVICE


        I hereby certify that the above and foregoing has been served upon all known parties of
record via United States mail, properly addressed and postage pre-paid on this 19 th day of March,
2018.




                                                                    NEE F. SMITH AULD




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              16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                           STATE OF LOUISIANA


  NO. 85926
                                                                                     DIVISION A

                                                GILBERT DUGAS


                                                    VERSUS

               ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
               MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                          PROGRESSIVE SECURITY INSURANCE COMPANY


 FILED:


                                         RULE TO SHOW CAUSE


             Considering the foregoing Motion to Continue and Re-Set Hearing With Date on Motion


 to Compel Plaintiffs' Discovery Responses and Disposition Testimony filed by Defendants, Ace


 American Insurance Company and CSRT Expedited;


            IT IS ORDERED that Plaintiffs, Gilbert Dugas and Rachael Dugas, show cause on the 1 1th
                         G-0 o-
 day of May, 2018^at              ^ Q 0O        a.m./p.m. or           day of                     , 2018

 at / 0 OO                  a.myp.m^v^'fhey^hould not be compelled to provide responsive, non-
 evasive, and accurate answers to the Interrogatories and Request for Production of Documents of


Defendants, Ace American Insurance Company and CSRT Expedited, previously propounded,


why they should not be compelled to be deposed with a month, and why sanctions of expenses and


attorney's fees for failure to comply with said discovery requests should not be awarded.


            St. Martinsville, Louisiana, thi:              day of          , 2018.




                                                UDG/i


PLEASE SERVE:                                               Suzanne M. deMahy

Gilbert Dugas and Rachel Dugas, Plaintiffs1
Through counsel of record
Jerome H. Moroux
557 Jefferson Street
Lafayette, Louisiana 70502-3524


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Please also see next page for additional service directions.
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 Pilot Travel Centers, LLC - Store #274, Defendant
 Through its new counsel of record
 Thomas J. Cortazzo
 Baldwin, Haspel, Burke & Mayer, LLC
 1 100 Poydras St., Suite 3600
 New Orleans, LA 70163



 Progressive Security Insurance Company, Defendant
 Through its counsel of record
 Sean P. Rabalais
 Casler, Bordelon, Lawler and Gelder
 11550 Newcastle Ave., Suite 200
 Baton Rouge Louisiana 70816




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                16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                         STATE OF LOUISIANA


     NO. 85926                                                                     DIVISION A


                                             GILBERT DUGAS


                                                  VERSUS

                 ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                 MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-STORE #274, AND
                       PROGRESSIVE SECURITY INSURANCE COMPANY


     FILED:
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                DEFENDANTS' MEMORANDUM IN SUPPORT OF MOTION
        TO CONTINUE AND RE-SET HEARING WITH DATE ON MOTION TO COMPEL
           PLAINTIFFS' DISCOVERY RESPONSES AND DEPOSITION TESTIMONY




     MAY IT PLREASE THE COURT:


               The Defendants, Ace American Insurance Company ("Ace American") and CRST


     Expedited, Inc. ("CRST Expedited"), file this Memorandum in Support of its Motion to Continue


    and Re-Set Hearing With Date on its Motion to Compel Plaintiffs' Discovery Responses and


    Deposition Testimony because Defendants need to have a better understanding of the allegations


    of Plaintiffs, Gilbert Dugas ("Mr. Dugas") and Rachael Dugas ("Mrs. Dugas"), so that Defendants


    can be in a position to defend this matter.


                                           CURRENT STATUS


              Defendants wish to continue the Motion to Compel Plaintiffs' Discovery Responses and

    Deposition Testimony currently scheduled for Tuesday, March 27, 2018 and request the hearing


    be rescheduled for Friday, May 11, 2018 at 10:00 a.m. or until the court's next available court


    date.


              Although Plaintiffs provided Ace American and CRST Expedited with responses to their


    discovery on March 6, 2018, the Plaintiffs' answers were grossly insufficient, nonresponsive, and

    evasive. For example, in five of the responses to the 33 interrogatories, Mr. Gilbert responded "See


    Breaux Bridge Police Department Report" instead of responding to valid and discoverable




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 questions requesting information about how the accident occurred, where Mr. Gilbert was


 traveling from and where Mr. Gilbert was going to, and whether he was in the vehicle when the


 accident occurred.1 Other questions asked for Mr. Gilbert to describe why the tortfeasor was

 negligent and which part of the tortfeasor's vehicle came into contact with his vehicle. Instead of


 providing Defendants with additional information about how the accident occurred—and


 specifically where he was when the alleged incident occurred—Mr. Gilbert refused to provide


 Defendants with direct or meaningful answers.


          Moreover, in 11 of his responses to Defendants' interrogatories, Mr. Gilbert answered by


 stating "Please refer to medical and billing records for dates of treatment, treatment given, and


 diagnosis/prognosis." Mr. Gilbert also refused to list his anticipated witnesses and exhibits for use

 at trial and merely responded "This information will be provided in accordance with this Court's


 Scheduling Order."


          Mr. Gilbert also assumes that Defendants have copies of all relevant insurance policies of


Plaintiffs.        The Gilberts quipped "Defendants are already in possession of the requested


information" when Defendants requested copies of the Gilberts' applicable insurance policies.


However, as this court is aware, insurance policies are discoverable under Louisiana Code of


Procedure Article 1423.2

         Similarly, Mrs. Gilbert's discovery responses were just as useless as those provided by Mr.


Gilbert. In particular, Mr. Gilbert stated in 10 of her answers that the requested discovery would




1 Mr. Gilbert responded "Please refer to the Breaux Bridge Police Department Police Report" to the following
interrogatories:
INTERROGATORY NO. 2:
Please state the name, address and telephone number of anyone from whom a statement, whether written, oral,
recorded or otherwise, has been obtained by you or on your behalf relating, in any way, to the accident alleged in your
Petition and the date such statement was taken, the dates and places such statements were taken, who took said
statements and those having custody of said statements.
INTERROGATORY NO. 3:
Please describe in detailed narrative form the incident set forth in the Petition, including how the incident occurred,
where you were traveling from, where you were en route to, and the facts leading up to the incident.
INTERROGATORY NO. 14:
Please identify all passengers in your vehicle at the time of the accident, if any, their current residence address,
telephone number, length of time known, and reason for their presence in your vehicle on October 31, 2016.
INTERROGATORY NO. 20:
Please describe the basis for your contentions in paragraph 3 of the Petition that Mark Strauss was negligent and
caused an accident.
INTERROGATORY NO. 33:
Please state whether you were inside or outside of your car when your vehicle was struck. Please describe which part
of Mark Strauss 's came into contact with your vehicle.
2 See C.C.P. Art. 1423.

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Case 6:19-cv-00630-TAD-CBW
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   "be provided in accordance with this Court's Scheduling Order." Moreover, she simply responded


   "Not applicable" to inquiries regarding her prior or subsequent injuries or illnesses and treating


  physicians. Considering Mrs. Gilbert is making a claim for loss of consortium, Defendants
                                                                                            are

  entitled to be provided with a description of any prior and subsequent injuries and medical history,


  so that Defendants can adequately prepare for Mrs. Gilbert's deposition. Similarly, Mrs. Gilbert


  responded "Plaintiff recalls none" to 15 of the 35 interrogatories, even though it is very likely
                                                                                                    that

  Mrs. Gilbert had some knowledge of the information requested.


                                          LAW AND ARGUMENT

             The Gilberts have failed to provide Defendants with sufficient responses to their discovery


 to place them on notice of the allegations made against them and the specific nature and severity


 of their alleged damages. Moreover, while Defendants plan to depose the Plaintiffs in the
                                                                                           near

 future, the Plaintiffs' responses do not provide Defendants with enough information to be
                                                                                           able to

 adequately prepare for the depositions of the Gilberts. The Louisiana Code of Civil Procedure


 allows broad discovery and states that:




            Parties may obtain discovery regarding any matter, not privileged, which is
            relevant to the subject matter involved in the pending action, whether it
            relates to the claim or defense of the party seeking discovery or to the claim
            or defense of any other party, including the existence, description, nature,
            custody, condition, and location of any books, documents, or other tangible
            things and the identity and location of persons having knowledge of any
            discoverable matter. It is not ground for objection that the information
            sought will be inadmissible at the trial if the information sought appears
            reasonably calculated to lead to the discovery of admissible evidence.3



            Louisiana law is well established that our discovery statutes are to be liberally and broadly


construed to achieve their intended objectives. Further, the basic objectives of the discovery


process are to afford all parties fair opportunity to obtain facts pertinent to litigation, to discover


true facts and compel disclosure of these facts wherever they may be found, to assist litigants in

preparing their cases for trial, to narrow and clarify basic issues between parties, and to facilitate

and expedite legal process by encouraging settlement or abandonment of less then meritorious

claims.4


3 C.C.P. Article 1422.
4 Hodges v. Southern Farm Bureau Cos. Ins. Co., 433 So.2d 125, 129 (La. 1983).

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 241 of 335 PageID #:
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             Considering Mr. and Mrs. Gilbert have failed to provide Defendants with any meaningfu
                                                                                                  l

  responses to their discovery, Defendants request that their Motion to Compel Discovery
                                                                                         and

  Depositions currently scheduled for Tuesday, March 27, 2018 be re-set to be heard on
                                                                                       the next

  available rule date so that the Plaintiffs can have additional time to cure the defects
                                                                                          of their

  insufficient, evasive, and nonresponsive discovery responses.


            Based upon the foregoing, Defendants wish the depositions of the Plaintiffs remain
                                                                                               as a

  component of the rescheduled Motion to Compel.


            In correspondence to counsel for Plaintiffs, Defendants have requested that Mr.
                                                                                            Gilbert

 provide responsive answers to interrogatories 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 19, 20,
                                                                                               22, 23,

 24, 26, 29, and 32 and that Mrs. Gilbert provide responsive answers to interrogato
                                                                                    ries 3, 4, 5, 6,

 7, 8, 10, 12, 13, 15, 16, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34
                                                                                              and 36.

                                           CONCLUSION

            Based upon the forgoing, Defendants wish to continue the Motion to Compel Discovery


 Responses and Deposition Testimony currently rescheduled for March 27, 2017 to May
                                                                                    11, 2018.

 Defendants wish to resolve the motion to compel to allow the Plaintiffs additional time to
                                                                                            provide

 the Defendants with adequate responses so that this issue could be cured without
                                                                                  the need to

 proceed before this Honorable Court.




                                                Respectfully Submitted:


                                                DEGAN, BLANCHARD & NASH



                                                  (T
                                                          . DEGAN, III (LSBA #4840)
                                               RENEE F. SMITH AULD (LSBA #23568)
                                               400 Poydras Street, Suite 2600
                                               New Orleans, Louisiana 70130
                                               Telephone: (504) 529-3333
                                               Facsimile: (504) 529-3337
                                               Email: sdegan@degan.com
                                                       rsmithauld@degan.com
                                               Attorneys for Defendants,
                                               Ace American Insurance Company and
                                               CRST Expedited, Inc.

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 242 of 335 PageID #:
                     p               251




                                 CERTIFICATE OF SERVICE

          I hereby certify that the above and foregoing has been served upon all known parties of
  record via United States mail, properly addressed and postage pre-paid on this 19th day ofMarch,
  2018.




                                                                     ;e f. smith auld




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                 Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 ! Page 243 of 335 PageID #:
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  MARCH      27,    2018




     STATE       OF LOUISIANA
                                                                                                       PARISH      OF   ST.   MARTIN




     THE    COURT MET      THIS     DAY,   THE   HONORABLE,          ANTHONY       THIBODEAUX         JUDGE   PRESIDING.        ALSO    PRESENT WAS
  THE      COURT   REPORTER,        KATHLEEN     HEBERT .          THE    MINUTE    CLERK ON        THIS    DAY WAS      GABRIELLE     NOEL.




 Case      # :     085926                               GILBERT          DUGAS,    ET   AL

                                                        VERSUS


                                                        ACE AMERICAN            INSURANCE      COMPANY,       ET   AL




 THIS      MATTER    CAME      UP   THIS   DAY   FOR    MOTION       TO   COMPEL.        NO   PARTIES       WERE   PRESENT     NOR   REPRESENTED   BY
 COUNSEL.          THE   LAW    CLERK ADVISED          THAT       THERE   WAS     A MOTION     TO   CONTINUE       FILED.




 I                                                            ,   DEPUTY    CLERK       OF   COURT,    DO   HEREBY      CERTIFY   THAT   THE   ABOVE
 IS A" TRUE AND CORRECT MI                  E    EXTRACT.




Page Number: 1
 1          Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 244 of 335 PageID #:
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 i                                                253Case for Trial
                                   Notice of Fixing                                                                               I
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 I    DUGAS, GILBERT -ETAL
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 |    ACE AMERICAN INSURANCE COMPANY - ET AL                                                                                      I
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         GILBERT DUGAS AND RACHEL DUGAS, PLAINTIFFS
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         THROUGH COUNSEL OF RECORD,
 1
 I      JEROME H. MOROUX
 1                                                                                                                                I
        ATTORNEY AT LAW
        557 JEFFERSON STREET

 i      LAFAYETTE, LA 70502-3524
        (TO BE SERVED THROUGH SHERIFF'S OFFICE)
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I
 $      PILOT TRA VEL CENTERS, LLC-STORE#274, DEFENDANT                                                                           I
|       THORUGH ITS NEW COUNSEL OF RECORD,                                                                                        I
|       THOMAS J. CORTAZZO
|       ATTORNEY AT LAW
|       1100 POYDRAS STREET, SUITE 3600                                                                                          I
|       NEW ORLEANS, LA 70163                                                                                                    |
I       (TO BE SERVED THROUGH SHERIFF'S OFFICE)
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I       PROGRESSIVE SECURITY INSURANCE COMPANY, DEFENDANT
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I       THROUGH ITS COUNSEL OF RECORD,                                                                                           I
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        SEAN P. RABALAIS                                                                                                         t
i
I       ATTORNEY AT LAW
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1       4000 S. SHERWOOD FOREST BOULEVARD, SUITE 303

I
        BATON ROUGE, LA 70816                                                                                                    1
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I       (TO BE SERVED THROUGH SHERIFF' OFFICE)                                                                                   1
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        Ml SIDNEY W DEGAN, II
I
I       MS. RENEE F. SMITH A ULD
1       ATTORNEYS AT LAW                                                                                                         1
1
-1      400 POYDRAS STREET, SUITE 2600
I
1       NEW ORLEANS, LA 70130
                                                                                                                                 1
I           NOTICE IS HEREBY GIVEN that the above captioned and numbered matter has been setfor trial on the                     §
p     MOTION TO COMPEL PLAINTIFFS' DISCOVERY REPONSES AND DISPOSITION TESTIMONY FILED BY                                         i
                                                                                                                                 I
j     DEFENDANTS, ACE AMERICAN INSURANCE COMPANYAND CRST EXPEDITED on MAY 11, 2018, at 1 0: 00                                   I
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|     o'clock A.M. at the Courthouse, 415 S. Main St., St. Martinville Louisiana, before Judge ANTHONY                           I
                                                                                                                                 I
I     THIBODEAUX as a 11THfixing, or on JUNE 25, 2018, at 10:00 o 'clock A.M. as the Courthouse, 415 S. Main                     Ip

I     St., St. Martinville, Louisiana, before Judge ANTHONY THIBODEAUX as a 1STfixing.                                           ^
f                                                                                                                                1
|            Uniform Rules requires that youfile for all exceptions, motions and motion for summaryjudgments a pre-              ^I
|     trial memorandum at leastfifteen (15) calendar days before the hearing. Opposition memorandums shall be                    |
\     filed at least eight (8) calendar days before the hearing. Any reply memorandums must be received by Judge                 |
jj     and all parties before 4:00 p.m. on a day that allows one (1) full work day before the hearing.                           1

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|           Failure to file and distribute the memorandum outlined shall subject said party to the assessment ofcosts            |
I     by the Court or to be otherwise disciplined.                                                                               I*
j                                                                                             _                                  I
I           Rule 8. 3 requires the attorneyfor Plaintiffto notify the Docket Clerk and the Trial Judge when a case that          1

|     is fixedfor trial is settled or continued by mutual agreement.
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I           ST. MARTINVILLE, LOUISIANA, this 28TH day ofMARCH, 2018.                                                             f
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I                                                                     BECKY P. PATIN
                                                                      Clerk of Court                                             I
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1                                                                     St. Martin Parish                                          I
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TO: Sheriff
                                          FROM: Reeky P. Patin

      Lafayette Parish
                                                 Clerk of Court, St. Martin Parish

      P. O. Box 3508                             P. O. Box 308, St. Martinville, LA 70582


      Lafayette, LA 70502-3508                   Phone: 337-394-2210      Fax: 337-394-2240




RE: SUIT NO.                 85926               PROBATE NO.




                 GILBERT DUGAS



VS.



  ACE AMERICAN INSURANCE CO., ET AL




        I AM ENCLOSING (1) NOTICE OF FIXING CASE FOR TRIAL, ALONG WITH TRUE COPIES


OF THE MOTION TO CONTINUE AND RE-SET HEARING. FOR SERVICE ON GILBERT DUGAS

AND RACHEL DUGAS THROUGH THEIR ATTORNEY, JEROME H. MOROUX. UPON RECEIPT

SHOWING SERVICE THEREOF, TOGETHER WITH YOUR BILL, WE SHALL REMIT.




Date of Notice           March 28, 2018                 Jordan Currier
                                                      Deputy Clerk of Court
                           n-
      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 246 of 335 PageID #:
                                           255


TO: Sheriff
                                          FROM: Becky P. Patin

      Orleans Parish
                                                 Clerk of Court, St. Martin Parish

      421 Loyola Ave.                            P. O. Box 308, St. Martinville, LA 70582


      New Orleans, LA 701 12                     Phone: 337-394-2210     Fax: 337-394-2240




RE: SUIT NO.                85926                PROBATE NO.




                 GILBERT DUGAS



VS.



  ACE AMERICAN INSURANCE CO., ET AL




        I AM ENCLOSING (1) NOTICE OF FIXING CASE FOR TRIAL, ALONG WITH TRUE COPIES

OF THE MOTION TO CONTINUE AND RE-SET HEARING. FOR SERVICE ON PILOT TRAVEL


CENTERS, LLC THROUGH ITS NEW COUNSEL OF RECORD, THOMAS J. CORTAZZO. UPON

RECEIPT SHOWING SERVICE THEREOF, TOGETHER WITH YOUR BILL, WE SHALL REMIT.




Date of Notice          March 28, 2018                  Jordan Currier
                                                      Deputy Clerk of Court
      Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 247 of 335 PageID #:
                                           256


TO: Sheriff
                                          FROM: Reeky P. Patin

      East Baton Rouge Parish
                                                 Clerk of Court, St. Martin Parish

      P. O. Box 3277                             P. O. Box 308, St. Martinville, LA 70582


      Baton Rouge, LA 70821-3277                 Phone: 337-394-2210     Fax: 337-394-2240




RE: SUIT NO.               85926                 PROBATE NO.




                 GILBERT DUGAS



VS.



 ACE AMERICAN INSURANCE CO., ET AL




        I AM ENCLOSING (1) NOTICE OF FIXING CASE FOR TRIAL, ALONG WITH TRUE COPIES


OF THE MOTION TO CONTINUE AND RE-SET HEARING. FOR SERVICE ON PROGRESSIVE

SECURITY INSURANCE COMPANY THROUGH ITS COUNSEL OF RECORD, SEAN P.


RABALAIS. I AM ALSO ENCLOSING A CHECK IN THE AMOUNT OF $28.96, FOR SERVICE.




Date of Notice         March 28, 2018                   Jordan Currier
                                                      Deputy Clerk of Court
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 248 of 335 PageID #:
                     n               257

 HE! BALDWIN                                                         THOMAS J. CORTAZZO

 I HASPEL
                                                                     *Also an American Arbitration Association ®
                                                                     Certified Mediator



 B BURKE                                                             Writer's Direct Information
                                                                     Direct Fax: 504.293.5613

 M$fAYER                        LLC
                                                                     tcortazzo@bhbmlaw.com

 ^^^LAWOFHCES
                                           March 28, 2018



 Becky P. Patin, Clerk
 16th Judicial District Court
Parish of St. Martin
 P.O. Box 308
 St. Martinville, LA 70582-0308


                Re:      Gilbert Dugas v. Ace American Insurance Company, et al.
                         16th JDC, Parish of St. Martin, No. 85926, Division A
                         Our File No. 016230-012 / 68230


Dear Ms. Patin:


        I enclose an original and one copy of a Request for Written Notice on behalf of
defendants Pilot Travel Centers LLC and Ace American Insurance Company. Would you please
file the original in the record of the above-referenced action and return a date-stamped copy to
me in the envelope provided. I understand we have sufficient funds on account to cover the
filing fee.


        Thank you for your assistance.


                                              Sincerely,




                                              THOMAS J. CORTAZZO


TJC/blb
Enclosures


c:      Mr. Jerome H. Moroux (via e-mail: i erome@broussard-david.com; w/encl.)
        Mr. Sean P. Rabalais (via e-mail: Sean P Rabalais@Progressive.com: w/encl.)
        Ms. Renee F. Smith Auld (via e-mail: rsmithauld@degan.com: w/encl.)


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W7"
                   1100 POYDRAS STREET - SUITE 3600    NEW ORLEANS, LA 70163
                       PHONE 504.569.2900 FAX 504.569.2099 www.bhbmlaw.com
Case 6:19-cv-00630-TAD-CBW
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 GILBERT DUGAS                                            16th judicial district court

 VERSUS                                                  DOCKET NO. 85926          DIVISION A

 ACE AMERICAN INSURANCE COMPANY,                         ST. MARTIN PARISH
 CRST EXPEDITED INC., MARK STRAUSS,
 PILOT TRAVEL CENTERS LLC - STORE                        STATE OF LOUISIANA
 #274, AND PROGRESSIVE SECURITY
 INSURANCE COMPANY



                             REQUEST FOR WRITTEN NOTICE


          NOW INTO COURT, through undersigned counsel, come defendants Pilot Travel


 Centers LLC (referred to in the Petition as Pilot Travel Centers LLC - Store #274) and Ace


 American Insurance Company, as Insurer for Pilot Travel Centers LLC, and in accordance with


 the provisions of Articles 1571 and 1572 of the Louisiana Code of Civil Procedure, requests that


the Clerk of this Honorable Court provide written notice by mail at least 10 days in advance of


any date fixed for any trial or hearing in this cause, whether on exceptions, rules, motions or the


amendments thereof, and written notice of the signing of any final judgment and/or the rendition


of any interlocutory order or judgment in this proceeding, as provided for in Louisiana Code of


Civil Procedure Articles 1913 and 1914.



                                             RESPECT FULLY SUBMITTED:


                                                  Tf/M
                                             THOMAS J. CORTAZZO,T.A. (#18174)
                                             ALEX S. AUGHTRY (#37019)
                                             BALDWIN HASPEL BURKE & MAYER, LLC
                                             Energy Centre - Suite 3600
                                             1 100 Poydras Street
                                             New Orleans, LA 70163
                                             Telephone: (504) 569-2900
                                             Facsimile: (504) 569-2099


                                             Attorneys for defendant
                                             Pilot Travel Centers LLC



                                CERTIFICATE OF SERVICE


         I hereby certify that a copy of the foregqing pleading has been served on all parties
through their counsel of record via e-mail, this^JQ   day of March, 3,0 1 8 .



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         p                GILBERT DUGAS AND RACHEL DUGAS, PLAINTIFFS
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         I                THROUGH COUNSEL OF RECORD,                                                                                                                                                                  I
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         |                JEROME H.MOROUX                                                                                                                                                                             1
         |                ATTORNEY AT LAW
      |                   557 JEFFERSON STREET                                                                                                                                                                     I
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      I                   LAFAYETTE, LA 70502-3524                                                                                                                                                                 %
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                          PILOT TRAVEL CENTERS, LLC-STORE#274, DEFENDANT                                                                                                                                          I
      I                                                                                                                                                                                                           I
      |                   THORUGH ITS NEW COUNSEL OF RECORD,                                                                                                                                                      I
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      I                  THOMAS J. CORTAZZO                                                                                                                                                                       1
      |                  ATTORNEYAT LAW                                                                                                                                                                           I
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      |                  1100 POYDRAS STREET, SUITE 3600                                                                                                                                                          1
      |                  NEW ORLEANS, LA 70163                                                                                                                                                                    I
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      |                   (TO BE SERVED THROUGH SHERIFF'S OFFICE)                                                                                                                     9                           1
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      !
      I                  PROGRESSIVE SECURITY INSURANCE COMPANY, DEFENDANT                                                                                                                     </                 1
      "                  THROUGH ITS COUNSEL OF RECORD,                                                                                                               A.             A              y


                         SEAN P. RABALAIS                                                                                                                                     pfcB^                 r
      I                  ATTORNEY AT LAW                                                                                                                                                                          i
      i
      I                  4000 S. SHERWOOD FOREST BOULEVARD, SUITE 303                                                                                                          fcpR   02^           Ef3j I
      i                  BATON ROUGE, LA 70816                                                                                                                                                                    I
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     i                   (TO BE SERVED THROUGH SHERIFF' OFFICE)                                                                                                                                                   1

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                        MR. SIDNEY W. DEGAN, II
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     1                  MS. RENEEF. SMITH AULD
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                        ATTORNEYS AT LAW                                                                                                                                                                          i

     \                  400 POYDRAS STREET, SUITE 2600                                                                                                                                                        i
     |                  NEW ORLEANS, LA 70130                                                                                                                                                                     i
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  j                                                                                                                                                                                                           |
  |                                NOTICE IS HEREBY GIVEN that the above captioned and numbered matter has been setfor trial on the                                                                           f
  I              MOTION TO COMPEL PLAINTIFFS' DISCOVERY REPONSES AND DISPOSITION TESTIMONY FILED BY
  f|             DEFENDANTS, ACE AMERICAN INSURANCE COMPANY AND CRST EXPEDITED on MAY 11, 201 8, at 10:00
                                                                                                                                                                                                              s'
                                                                                                                                                                                                              1
  |              o'clock A.M. at the Courthouse, 415 S. Main St., St. Martinville Louisiana, before Judge ANTHONY
 |               THIBODEAUX as a 11THfixing, or on JUNE 25, 2018, at 10:00 o 'clock A.M. as the Courthouse, 415 S. Main                                                                                       %
 |               St., St. Martinville, Louisiana, before Judge ANTHONY THIBODEAUX as a 1STfixing.
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 II
                        Uniform Rules requires that you file for all exceptions, motions and motion for summaryjudgments a pre-                                                                               %
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 |               trial memorandum at leastfifteen (15) calendar days before the hearing. Opposition memorandums shall be                                                                                      I
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 |             filed at least eight (8) calendar days before the hearing. Any reply memorandums must be received by Judge                                                                                     I
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 I              and all parties before 4:00 p.m. on a day that allows one (1) full work day before the hearing.
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                                   Failure to file and distribute the memorandum outlined shall subject said party to the assessment ofcosts                                                                  §
 f              by the Court or to be otherwise disciplined.
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 I                                 Rule 8.3 requires the attorneyfor Plaintiffto notify the Docket Clerk and the Trial Judge when a case that
 1              is fixedfor trial is settled or continued by mutual agreement.
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                                   ST. MARTINVILLE, LOUISIANA, this 28THday ofMARCH, 2018.
 I£
                                  SHERIFF'S RETURN
 1                          LAFAYETTE PARISH SHERIFF DEPT.
 I
 |
                                                                                 £? T/o BECKY P. PATIN
 1
)fTE SERVED                                                       y/3           2Q/££
                                                                                          Clerk of Court
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          1             GILBERT DUGAS AND RACHEL DUGAS, PLAINTIFFS                                                                                                                                        I
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          |             THROUGH COUNSEL OF RECORD,                                                                                                                                                        I
          I             JEROME H. MOROUX
          I            ATTORNEY AT LAW                                                                                                                                                                    I
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          |             557 JEFFERSON STREET                                                                                                                                                           I
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          |            LAFAYETTE, LA 70502-3524                                                                                                                                                        I
          |             (TO BE SERVED THROUGH SHERIFF'S OFFICE)

          |            PILOT TRA VEL CENTERS, LLC-STORE#274, DEFENDANT
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      I                 THORUGH ITS NEW COUNSEL OF RECORD,                                                                                                                                             1
      I                 THOMAS J. CORTAZZO                                                                                                                                                             1
      \                ATTORNEY AT LAW                                                                                                                                                                 1
      I                1100 POYDRAS STREET, SUITE 3600                                                                                                                                                 I
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      1                PROGRESSIVE SECURITY INSURANCE COMPANY, DEFENDANT                                                                                                   CT'5
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      |                THROUGH ITS COUNSEL OF RECORD,
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      i                SEAN P. RABALAIS
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                      ATTORNEY AT LAW                                                                                                                                                                  I
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     I                MS. RENEE F. SMITHAULD                                                                                                                                                          I
     I                ATTORNEYS AT LAW                                                                                                                                                                I
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     I                          NOTICE IS HEREBY GIVEN that the above captioned and numbered matter has been setfor trial on the                                                                      I
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     p             MOTION TO COMPEL PLAINTIFFS' DISCOVERY REPONSES AND DISPOSITION TESTIMONY FILED BY                                                                                                 t
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                   DEFENDANTS, ACE AMERICAN INSURANCE COMPANYAND CRST EXPEDITED on MAY 11, 201 8, at 1 0: 00                                                                                       1
 |                 o'clock A.M. at the Courthouse, 415 S. Main St., St. Martinville Louisiana, before Judge ANTHONY
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 I                 THIBODEAUX as a 11THfixing, or on JUNE 25, 2018, at 10:00 o 'clock A.M. as the Courthouse, 415 S. Main                                                                          1
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 I                 St., St. Martinville, Louisiana, before Judge ANTHONY THIBODEAUX as a 1STfixing.                                                                                                I
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 \                              Uniform Rules requires that you file for all exceptions, motions and motion for summary judgments a pre-                                                          1
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 I                  trial memorandum at leastfifteen (15) calendar days before the hearing. Opposition memorandums shall be
                   filed at least eight (8) calendar days before the hearing. Any reply memorandums must be received by Judge                                                                      1
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                    and all parties before 4:00 p.m. on a day that allows one (1) full work day before the hearing.                                                                               I
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                               Failure to file and distribute the memorandum outlined shall subject saidparty to the assessment of costs                                                          *
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I                  by the Court or to be otherwise disciplined.

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i                              Rule 8.3 requires the attorneyfor Plaintiffto notify the Docket Clerk and the Trial Judge when a case that                                                         f
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                   is fixedfor trial is settled or continued by mutual agreement.                                                                                                                 *!
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|             GILBERT DUGAS AND RACHEL DUGAS, PLAINTIFFS
I             THROUGH COUNSEL OF RECORD,                                                                                                                                                   1
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              ATTORNEY AT LAW
              557 JEFFERSON STREET
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|             PILOT TRA VEL CENTERS, LLC-STORE#274, DEFENDANT                                                                                                                              I
|             THORUGHITS NEW COUNSEL OF RECORD,                                                                                                                               c?           I
I             THOMAS J. CORTAZZO                                                                                                                                              Cl-
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1             SEAN P. RABALAIS                                                                                                                                                             I
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I             ATTORNEY AT LAW                                                                                                                                                              I
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|             MR. SIDNEY W DEGAN, II                                                                                                                                                       t

I             MS. RENEE F. SMITH A ULD                                                                                                                                                     Is
I             ATTORNEYS AT LAW                                                                                                                                                             I
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I         DEFENDANTS, ACE AMERICAN INSURANCE COMPANYAND CRST EXPEDITED on MAY 11, 2018, at 10:00                                                                                           I
|         o'clock A.M. at the Courthouse, 415 S. Main St., St. Martinville Louisiana, before Judge ANTHONY                                                                                 f
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I THIBODEAUXas a 11THfixing, or on JUNE 25, 2018, at 10:00 o 'clock A.M. as the Courthouse, 415 S. Main                                                                                    |
|         St., St. Martinville, Louisiana, before Judge ANTHONY THIBODEAUXas a 1STfixing.                                                                                                  f.
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I          and all parties before 4:00 p.m. on a day that allows one (1) full work day before the hearing.                                                                                 I
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                   Rule 8.3 requires the attorneyfor Plaintiffto notify the Docket Clerk and the Trial Judge when a case that                                                               |
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                   ST. MARTINVILLE, LOUISIANA, this 28TH day ofMARCH, 2018.                                                                                                                     '/r




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             ATTY SEAN P. RABALAIS (KAYLEE)
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MAY     11,    2018




    STATE     OF LOUISIANA                                                                             PARISH      OF   ST.   MARTIN




- THE    COURT    MET    THIS     DAY,   THE    HONORABLE,           ANTHONY       THIBODEAUX      JUDGE      PRESIDING.        ALSO    PRESENT WAS
THE     COURT    REPORTER,        KATHLEEN      HEBERT.         THE       MINUTE    CLERK ON      THIS      DAY WAS      GABRIELLE     NOEL.




Case     #:      085926                              GILBERT          DUGAS,       ET   AL


                                                     VERSUS


                                                    ACE        AMERICAN       INSURANCE         COMPANY,      ET   AL




THIS    MATTER        CAME   UP   THIS   DAY    FOR MOTION           TO   COMPEL.        NO    PARTIES      WERE   PRESENT     NOR    REPRESENTED   BY
COUNSEL.         THE    LAW CLERK ADVISED           THAT       THE    PARTIES      WILL       SUBMIT   A CONSENT         JUDGMENT.




        LP
I                                                          ,    DEPUTY CLERK OF COURT,                 DO    HEREBY     CERTIFY      THAT   THE ABOVE
IS   A TRUE AND         CORRECT     MINUTE     EXTRACT.




Page Number: 1
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               Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 257 of 335 PageID #:
   06/20/2018 10:37 FAX       50452( 37             266                                @0002/0002




                                                  Degan, Blanchard & Nash
                                                        A   PROFESSIONAL LAW       CORPORATION

                                                                  TEXACO CENTER
                                                     400    POYDRAS    STREET,       SUITE   2600

                                                            NEW ORLEANS. LOUISIANA 70130
             RENEE F, SMITH        AULD
             OF COUNSEL                                                                             TELEPHONE (504) 529-3333
            ADMITTED IN LOUISIANA AND TEXAS                                                          FACSIMILE (504) 529-3337
                                                                                                      WRITER'S DIRECT E-MAIL
                                                                                                    RSMITHAULD@DEGAN.COM



                                                                  June 20, 2018

                 VIA U.S. MAIL AND FACSIMILE 866-831-0418
                 The Honorable Anthony Thibodeaux
                 16th Judicial District Court, Parish of St. Martin
                 Judge, Division A
                 415 S. Main St., Suite 214
                 P.O. Box 367
                 St. Maxtinville, Louisiana 70582-0367


                Attention : Jennifer Bostick


                                   Re:    Gilbert Dugas v. Ace American Insurance Company, et al
                                          St. Martin Parish, Cause No. 85926-A
                                           Our File No. 353-10961


                Dear Judge Thibodeaux:


                     Please take Ace American Insurance Company and CRST Expedited, Inc.'s
                                                                                                      Motion to
                Compel in Dugas off of the court's docket, which is currently scheduled for
                                                                                            June 25, 2018. The
                Defendants wish to continue the hearing without date, as the Plaintiffs, Gilbert
                                                                                                 Dugas and
                Rachael Dugas, have provided them with adequate discovery responses and have
                                                                                             agreed to have
                their depositions taken on July 17, 2018.


                           Should you have any questions, please have a member of your staff contact us.


                                                                               Sincerely,


                                                                               DEGAN, BLANCHARD & NASH


                                                                               1

                                                                            Renee F. Smith Auld



               RFSA/dpw
               cc:         Jerome H. Moroux (via facsimile)
                           Sean Rabalais (via email)
                           Tom Cortazzo (via email)
                           Becky Patin, Clerk of Court (via facsimile)




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                                         DEGAN, BLANCHARD & NASH
                                                                   400 Poydras Street, Suite 2600
                                                                   New Orleans, Louisiana 70130
                                                                      Telephone: (504) 529-3333
                                                                      Facsimile: (504) 529-3337



                                                        FACSIMILECOVER SHEET

                  TO:       Becky Patin, Clerk of Court                                       FAX NO.:                (337) 394-2240
                   16th Judicial District Court
                  Parish of St. Martin



                  DATE:              June 20, 2018                                            FROM: Renee Smith Auld

                  REFERENCE:                     353-10961                                   PAGES (Including Cover Sheet)


                 FACSIMILE MESSAGE:
                                 Please see attached.




                                                                           CONFIDENTIALITY NOTICE

                 This facsimile transmission (and/or the documents accompanying it) may contain confidential information belonging to the sender which is
                 protected by the attorney-client privilege. The information is intended only for the use of the individual or entity named above. If you are not the
                 intended recipient, you are hereby notified that any disclosure, copying, distribution or the taking of any action in reliance on the contents of this
                 information is strictly prohibited. If you have received this transmission in error, please immediately notify us by telephone to arrange for a return
                 of the documents.


                 If there is any problem receiving this message, please call (504) 529-3333. Facsimile sent by Denise Wade.




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|               Versus                                                                                16th Judicial District Court
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                ACE AMERICAN INSURANCE COMPANY- ETAL                                                  State ofLouisiana
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                                                                       BECKY P. PATIN
                                                                       Clerk ofthe 16th Judicial District Courtfor                                 I
        1                                                              St. Martin Parish, Louisiana




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Abbreviations:
HS: Host send                  PL: Polled local                                     MP: Mailbox print                                    CP: Completed                                         TS: Terminated by system
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                                   Degan, Blanchard & Nash
                                         A   PROFESSIONAL   LAW   CORPORATION

                                                   TEXACO CENTER
                                      400    POYDRAS    STREET, SUITE             2600

                                             NEW ORLEANS, LOUISIANA 70130

 RENEE F. SMITH AULD
                                                                                         TELEPHONE (504) 529-3333
 OF COUNSEL
                                                                                         FACSIMILE (504) 529-3337
 ADMITTED IN LOUISIANA AND TEXAS
                                                                                          WRITER'S DIRECT E-MAIL
                                                                                         RSMITHAULD@DEGAN.COM



                                                   June 22, 2018


     VIA U.S. MAIL AND FACSIMILE 337-394-2240
     "SbesHMQEable BeckyPatin
    415 S. Main St., Suite 110
     St. Martinville, LA 70582


                     Re:    Gilbert Dugas v. Ace American Insurance Company, et al
                            St. Martin Parish, Cause No. 85926-A
                             Our File No. 353-10961


    Dear Clerk Patin:


          We are in receipt of your fax confirmation regarding Ace American Insurance Company
    and CRST Expedited, Inc.' s Motion to ReSet Motion to Compel in the above referenced matter.


              Please take Ace American Insurance Company and CRST Expedited, Inc.'s Motion to
    Compel in Dugas off of the court's docket, which is currently scheduled for June 25, 2018 before
    Judge Thibodeaux. The Defendants wish to continue the hearing without date, as the Plaintiffs,
    Gilbert Dugas and Rachael Dugas, have provided Defendants with adequate discovery responses.
    Moreover, the Plaintiffs have agreed to be deposed on July 17, 2018.


              Should you have any questions, please have a member of your staff contact us.


                                                                  Sincerely,


                                                                  DEGAN, BLANCHARD & NASH


                                                                       ,"2   A,




                                                                  Renee F. Smith Auld



   RFSA/dpw
    cc:      Jerome H. Moroux (via facsimile)
             Sean Rabalais (via email)
             Tom Cortazzo (via email)
             The Honorable Anthony Thibodeaux (via facsimile)




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 Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 263 of 335 PageID #:
                                      272

                                  Degan, Blanchard & Nash
                                        A   PROFESSIONAL   LAW CORPORATION

                                                  TEXACO CENTER
                                     400    POYDRAS    STREET. SUITE     2600

                                            NEW ORLEANS, LOUISIANA 70130


RENEE F. SMITH AULD                                                                   TELEPHONE (504) 529-3333
OF COUNSEL                                                                             FACSIMILE (504) 529-3337
ADMITTED IN LOUISIANA AND TEXAS                                                         WRITER'S DIRECT E-MAIL
                                                                                       RSMITHAULD@DEGAN.COM




                                                  June 27, 2017


    The Honorable Becky P. Patin
    Clerk of Court
    414 St. Martin Street                                         f"8
    P. O. Box 308
    St. Martinville, Louisiana 70582

                    Re:     Gilbert Dugas v. Ace American Insurance Company, et al
                           St. Martin Parish, Cause No. 85926-A
                            Our File No. 353-10961


    Dear Clerk Patin:

          Please find enclosed the enclosed the Court's fax confirmation page and our firm check in
   the amount of $32.00 in satisfaction of the Court's fax and filing fees for a request that the
   6/25/18 hearing be removed from the docket in the above referenced matter.

             Thank you for your assistance, and please do not hesitate to contact my office should you
   have any questions regarding this filing.


                                                               Sincerely,

                                                               DEGAN, BLANCHARD & NASH




                                                               Renee F. Smith Auld


   RFSA/dpw
   Enclosures




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                                   DEGAN, BLANCHARD & Nash
                                         A PROFESSIONAL LAW CORPORATION

                                                            TEXACO CENTER
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                                            NEW ORLEANS, LOUISIANA 70130

 RENEE F. SMITH AULD                                                                                      TELEPHONE               (504) 529-3333
 OF COUNSEL                                                                                                FACSIMILE (504) 529-3337
 ADMITTED IN LOUISIANA AND TEXAS                                                                            WRITER'S DIRECT E-MAIL
                                                                                                          RSMITHAULD@DEGAN.COM



                                                            June 20, 2018


     VIA U.S. MAIL AND FACSIMILE 866-831-0418
    The Honorable Anthony Thibodeaux
     16th Judicial District Court, Parish of St. Martin
    Judge, Division A
    415 S. Main St, Suite 214
    P.O. Box 367
    St. Martinville, Louisiana 70582-0367


    Attention : Jennifer Bostick


                    Re:    Gilbert Dugas v. Ace American Insurance Company, et al
                           St. Martin Parish, Cause No. 85926-A
                           Our File No. 353-10961


    Dear Judge Thibodeaux:


          Please take Ace American Insurance Company and CRST Expedited, Inc.'s Motion to
    Compel in Dugas off of the court's docket, which is currently scheduled for June 25, 2018. The
    Defendants wish to continue the hearing without date, as the Plaintiffs, Gilbert Dugas and
    Rachael Dugas, have provided them with adequate discovery responses and have agreed to have
   their depositions taken on July 17, 2018.


             Should you have any questions, please have a member of your staff contact us.

                                                                       Sincerely,


                                                                       DEGAN, BLANCHARD & NASH                                /I




                                                                       Renee F. Smith Auld



   RFSA/dpw
   cc:      Jerome H. Moroux (via facsimile)
            Sean Rabalais (via email)
            Tom Cortazzo (via email)
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         I         OFFICE FOR PROPER FILING. THANKS

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 I
                                                                         BECKY P. PATIN
 I                                                                       Clerk ofthe 16th Judicial District Courtfor
                                                                         St. Martin Parish, Louisiana




                                                                  BY:

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             BALDWIN                                                   THOMAS J. CORTAZZO
                                                                       *Also an American Arbitration Association ®

             HASPEL                                                    Certified Mediator



             BURKE                                                     Writer's Direct Information
                                                                       Direct Fax: 504.293.5613

               lYER LLC                                                tcortazzo@bhbmlaw.com

             LAW OFFICES

                                             July 30, 2018
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Becky P. Patin, Clerk
16th Judicial District Court
Parish of St. Martin
P.O. Box 308
St. Martinville, LA 70582-0308


               Re:      Gilbert Dugas v. Ace American Insurance Company, et al.
                        16th JDC, Parish of St. Martin, No. 85926, Division A
                        Our File No. 016230-012 / 68230


Dear Ms. Patin:


       I enclose an original and two copies of a Motion for Leave to File Amended Answer,
Order and Incorporated Memorandum in Support with proposed Amended Answer on behalf of
defendants Pilot Travel Centers LLC and Ace American Insurance Company. Would you please
present the Motion, Order and Amended Answer to the Judge for signing and return a date-
stamped and conformed copy to me in the envelope provided. Then please arrange for service of
the Motion, Order and Amended Answer with the Sheriffs Office. I enclose this firm's check in
the amount of $275.00 in payment of the filing and service fees.


       Thank you for your assistance.


                                                  Sincerely,




                                                  THOMAS J. CORTAZZO


TJC/blb
Enclosures


c:     Mr. Jerome H. Moroux (via e-mail: i erome@broussard-david.com & U.S. Mail; w/encl.)
       Mr. Sean P. Rabalais (via e-mail: Sean P Rabalais@Progressive.com & U.S.Mail;


       Ms. Renee F. Smith Auld (via e-mail: rsmithauld@degan.com & lj^^MN;^/encl^
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                     1100 POYDRAS STREET - SUITE 3600 NEW ORLEANS, LA 701$£?UJ XisfpfpA i? W
                        PHONE 504.569.2900   FAX 504.569.2099   ww.bhbmlaw.com          j1 f




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 GILBERT DUGAS                                            16th JUDICIAL DISTRICT COURT

VERSUS                                                    DOCKET NO. 85926         DIVISION A

ACE AMERICAN INSURANCE COMPANY,                           ST. MARTIN PARISH
CRST EXPEDITED INC., MARK STRAUSS,
PILOT TRAVEL CENTERS LLC - STORE                          STATE OF LOUISIANA
#274, AND PROGRESSIVE SECURITY
INSURANCE COMPANY




                MOTION FOR LEAVE TO FILE AMENDED ANSWER. ORDER AND
                 INCORPORATED MEMORANDUM IN SUPPORT OF MOTION

          NOW INTO COURT, through undersigned counsel, come defendants Pilot Travel


Centers LLC (erroneously named in the Petitions "Pilot Travel Centers LLC-Store #274") and


Ace American Insurance Company and respectfully pray for execution of the below Order


granting Leave of Court to file the attached Amended Answer into the record of this lawsuit.


Pilot and Ace seek to amend their original Answer to the original Petition and First Supplemental


and Amending Petition. The Amended Answer relates to the facts and circumstances already at


issue in this action and will cause no delay in the proceedings.    Under the law, the Court has


broad discretion to grant leave to amend and should do so barring exceptional circumstances.


          Trial Courts have broad discretion to grant leave to amend.     See, e.g., Broussard v.


Breaux, 412 So.2d 176, 180 (La. App. 3rd Cir.), writ denied, 416 So.2d 115 (1982). The situation

must be very uncommon to justify denying a motion for leave to amend pleadings, particularly


where the amendment would promote justice and not cause delay. General Elec. Co. v. Dugas,


526 So.2d 854, 858 (La. App. 1st Cir. 1988); Glass v. Stewart, 133 So. 787 (La. App. 1931). The

Louisiana Supreme Court has stated that a policy of liberal amendment is contemplated under


Louisiana law. Giron v. Lee Housing Auth, 393 So.2d 1267, 1270 (La. 1981); Dugas, 526 So.2d

at 858. There is no reason to deny the Motion for Leave to file the Amended Answer in this

instance.


          Justice will be promoted by permitting the amendment in this case because it will enable

complete resolution of all issues in the lawsuit. The proceeding will not be delayed in any way

by filing the Amended Answer. The Amended Answer adds no new issues to the case. Written

discovery is still on-going, and no depositions have yet been taken.      The Amended Answer



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 simply adds additional affirmative defenses which are based on facts already at issue in the


 lawsuit which defenses were omitted from the initial Answer filed by movants' previous counsel.


 The question in the litigation, before and after the Amended Answer is filed, are the same:


 Whether plaintiff Gilbert Dugas was injured in any accident at Pilot's facility as he has


 described.     Pilot and Ace have always denied the allegations against them.       They also stated

 numerous Affirmative Defenses in their original Answer.              Included among those defenses,

 defendants urged comparative fault, complete bar to recovery, failure to mitigate and fault of


 other persons. By the Amended Answer, Pilot and Ace wish to explicitly (1) add that plaintiffs


alleged injuries are not related to the alleged incident and are not caused by any act or omission

of Pilot/Ace because evidence obtained through discovery has revealed that plaintiff did indeed


sustain injuries and incur medical costs unrelated to any accident he alleged in this lawsuit; (2)


reference defenses that were asserted and available to other defendants; and (3) reserve the right


to assert a claim under Louisiana Code of Civil Procedure Article 863 based on evidence that


supports such a claim, all of which is consistent with the defenses urged in the original Answer.


          For the foregoing reasons, defendants respectfully urge that the below Order be entered,


granting Leave of Court to file the attached Amended Answer and deeming the pleading filed.



                                               RESPECTFULLY SUBMITTED:


                                                      $
                                               THOMAS J. CORT             iZO, "RAI (#18174)
                                              ALEX S. AUGHTRY (#37019)
                                              BALDWIN HASPEL BURKE & MAYER, LLC
                                              Energy Centre - Suite 3600
                                               1 100 Poydras Street
                                              New Orleans, LA         70163
                                              Telephone: (504) 569-2900
                                              Facsimile:      (504)569-2099


                                              Attorneys for defendants Pilot Travel Centers
                                              LLC and Ace American Insurance Company



                                 CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing pleading has been served on all parties
through their counsel of record, via e-mail and by placing same in the U.S. Mail, postage prepaid       ..
and properly addressed, this^Y        day of July, 201 8/ j       ^       /j    I

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                                              ORDER

            Considering the foregoing Motion for Leave to File Amended Answer and Incorporat
                                                                                             ed

  Supporting Memorandum,


            IT IS HEREBY ORDERED that the foregoing Motion for Leave is granted, Leave
                                                                                       is

 granted to file the Amended Answer, and the Amended Answer is hereby deemed filed.


            St. Martinville, Louisiana, this 3L. day of A6c^(X.0"V , 2018.


                                                                     JUDGE


                                                              LEWIS H. PITMAN, JR.
 PLEASE SERVE:


 Plaintiffs Gilbert and Rachel Dugas
 through their counsel of record:
 Mr. Jerome H. Moroux
 Broussard & David, LLC
 557 Jefferson Street
 Lafayette, LA 70501




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 GILBERT DUGAS                                                16th JUDICIAL DISTRICT COURT

 VERSUS                                                       DOCKET NO. 85926           DIVISION A

 ACE AMERICAN INSURANCE COMPANY,                              ST. MARTIN PARISH
 CRST EXPEDITED INC., MARK STRAUSS,
 PILOT TRAVEL CENTERS LLC - STORE                             STATE OF LOUISIANA
 #274, AND PROGRESSIVE SECURITY
 INSURANCE COMPANY




                                         AMENDED ANSWER


           The Answer of defendants Pilot Travel Centers LLC (erroneously named in the Petitions


 "Pilot Travel Centers LLC-Store #274") and Ace American Insurance Company is hereby


 amended and supplemented as follows:


                                                     I.

           The following Affirmative Defenses and reservations are added:


                                                     3.


           Plaintiffs have failed to mitigate, minimize or abate their damages.


                                                     4.


           The injuries of which plaintiffs complain, if any, are not related to the alleged incident


and/or not caused by any act or omission of Pilot or its insurer.


                                                     5.


           Pilot hereby incorporates and asserts all defenses that were asserted or would otherwise


be available to any other current or future defendant.


                                                    6.


           Pilot reserves the right to file additional exceptions, answers, affirmative defenses, third-


party claims, reconventional claims or cross-claims such as the facts may later disclose and

require.


                                                    7.


          Pilot reserves the right to assert claims under Louisiana Code of Civil Procedure Article

863 for the assertion in the Petitions of false claims and allegations.




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                                              RESPECTFULLY SUBMITTED:



                                             THIOMAS J. CORTAZZOI/T.A. (#18174)
                                             ALEX S. AUGHjTRY (#37019)
                                             BALDWIN HASPEL BURKE & MAYER, LLC
                                             Energy Centre - Suite 3600
                                             1 100 Poydras Street
                                             New Orleans, LA   70163
                                             Telephone: (504) 569-2900
                                             Facsimile:   (504) 569-2099


                                             Attorneys for defendants Pilot Travel Centers
                                             LLC and Ace American Insurance Company



                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing pleading has been served on all parties
 through their counsel of record wia e-mail and by placing same in the U.S. Mail, postage prepaid
 and properly addressed, this^wN^ day of July, 2018.




 PLEASE SERVE:


Plaintiffs Gilbert and Rachel Dugas
through their counsel of record:
Mr. Jerome H. Moroux
Broussard & David, LLC
557 Jefferson Street
Lafayette, LA 70501




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             PLAINTIFFS GILBERT AND RACHEL DUGAS                                                                                           I
             THROUGH THEIR COUNSEL OF RECORD:                                                                                              £

    |        MR. JEROME H. MOROUX                                                                                                          I
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    |        BROUSSARD & DAVID, LLC
    f 557 JEFFERSON STREET                                                                                                                 1
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TO: Sheriff
                                           FROM: Reeky P. Patin

      Lafayette Parish
                                                  Clerk of Court, St. Martin Parish

      P. O. Box 3508                              P. O. Box 308, St. Martinville, LA 70582


      Lafayette, LA 70502-3508                    Phone: 337-394-2210     Fax: 337-394-2240




RE: SUIT NO.                 85926                PROBATE NO.




                 GILBERT DUGAS



VS.



  ACE AMERICAN INSURANCE CO., ET AL




        I AM ENCLOSING (1) CERTIFICATE, ALONG WITH TRUE COPIES OF MOTION TO LEAVE


TO FILE AMENDED ANSWER. FOR SERVICE ON GILBERT DUGAS AND RACHEL DUGAS


THROUGH THEIR COUNSEL OF RECORD, MR. JEROME H. MOROUX. UPON RECEIPT


SHOWING SERVICE THEREOF, TOGETHER WITH YOUR BILL, WE SHALL REMIT.




Date of Notice           August 3, 2018                 Jordan Currier
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            I*     THOMAS J. CORTAZZO
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            I       BALDWIN HASPEL BURKE & MAYER, LLC                                                                                           I
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            I       1100 POYDRAS ST., STE 3600                                                                                                  I
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                 Date ofService: Monday, August 06, 2018                                                                                       1
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                                                                                                                             Thomas J. Cartazzo
                                                                                                                  400 Poydras Street. -Suite 1300
                                                                                                                  New Ct leans, Louisiana 70130
                                                                                                              Tom.Cortazzo@tewisbrisbois.ccim
                                       BRISBOIS                                                                             Direct: 504.272 2789

               LEWIS BRISBOIS BISGAARD St SMITH LLP




              August 17, 2018
                                                                                                                       A



              VIA FACSIMILE- (337)394-2240
              Becky Patin
              Clerk of Court, I6lb JDC
              St. Martin Parish
             P. O. Box 308
              St. Martinville, LA 70582

                            Re:        Gilbert Dugas v. Ace American Insurance Co., et al
                                        16* JDC, St. Martin Parish, Case No. 85926, Div. "A"

             Dear Ms. Patin:


                    Attached please find Ex Parte Motion to Withdraw and Substitute Counsel of Record and
             proposed Order. We are fax filing on behalf of Defendants, Pilot Travel Centers, LLC and Acc
             American Insurance Company.                     The original and three (3) copies will be forwarded to you, along
             with our firm's check in payment of all fees associated with this filing, within the delays allowed by
             law.


                        Should you have any questions, or need anything further, please do not hesitate to contact
             me.




                                                                            Sincerely,
                                                                                                 /I




                                                                            Thomas J. Cortazzo of t
                                                                            LEWIS BRISBOIS B1S0AARD & SMITH LLP

             TJC/rrm


             Enclosures


            cc: Alex S. Aughiry (via email)
                   Jerome II. Moronx (via email)



      ARIZONA * CALIFORNIA • COLORADO - CONNECTICUT • FLORIDA • GEORGIA                               ILLINOIS • INDIANA - KANSAS - KENTUCKY
       LOUISIANA             MARYLAND              MASSACHUSETTS   •   MISSOURI   *   NEVADA     NEW JERSEY        •   NEW MEXICO    •   NEW YORK
       NORTH CAROLINA             -    OHIO    •   OREGON    PENNSYLVANIA         RHODE ISLAND   -    TEXAS   *   WASHINGTON     •   WEST VIRGINIA
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                                      16TH JUDICIAL DISTRICT COURT .FOE THE PARISH OF ST, MARTIN


                                                                  STATE OF LOUISIANA

                                  NO: 85S26                                                                   DIV.; 4A"

                                                                    GILBERT DUGAS


                                                                             VS.

                                      ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
                                      MARK STRAUSS, PILOT TRAVEL CENTERS, LLC-- STORE #274, AND
                                                 PROGRESSIVE SECURITY INSURANCE COMPANY


                            FILED:.
                                                                                   DEPUTY CLERK


                                                           EX PARTE MOTION TO WITHDRAW AND
                                                             SUBSTITUTE COUNSEL OF RECORD

                                  NOW INTO COURT, through undersigned counsel, comes Defendants. Pilot
                                                                                                       Travel

                            Centers LLC (erroneously named in the Petitions "Pilot Travel Centers LLC-Store #274'")
                                                                                                                    and

                        Ace American Insurance Company ("Defendants'"), representing that Thomas L
                                                                                                   Cortazzo, Alex

                        S. Aughtry and the law firm of Baldwin Haspel Bucke & Mayer, LLC have appeared
                                                                                                       as counsel

                        for Defendants and that Defendants desire to substitute Thomas J, Cortazzo,
                                                                                                    Dakota K.

                        Chenevcri and James V. King, Hi and the lav firm of Lewis Brisbois Bisgaard & Smith, LLP,
                                                                                                                  as

                        its counsel of record and respectfully request that this Honorable Court , enter an Order
                                                                                                                  permitting

                        die withdrawal of Alex S. Aughtry and the law finn of Baldwin Haspel Burke &
                                                                                                     Mayer, LLC,

                        and the substitution of Dakota K. Cherjevcrt and James V. King, SI! and the law finn
                                                                                                             of Lewis

                       Brisbois Bisgaard & Smith, LLP, as counsel of record for Defendants with Thomas J.
                                                                                                          Cortazzo

                       remaining as counsel, now with the Lewis Brisbois Bisgaard & Smith.. LLP.

                       Respectfully submitted,
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                       BALDWIN HASPEL BURKE & MAYER,                         LEWIS BRISBOIS BISGAARD & SMITH
                       LLC                    ..-''""A--—                    LLP     V                I
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                       ACEX:i AUGHTRY (#37019)                               THOMAS 1 CORTAZZO, !LA„ (#18174)
                       Energy fcentro - 36th Floor                           DAKOTA K. CHEN EVERT (#37969)
                      1 100 Poydras Street        .                          james v. king, m'tmws)
                      New Orleans, Louisiana 70163                           400 Pcydras Street, Suite 2000
                      Telephone; (504) 569-2900                              New Orleans, LA 701 30
                       Facsimile: (504) 569-2099                             Telephone.- (504) 322-4100
                                                                             facsimile; (504) 754-7569




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                                                     16:51:21 CDT        15047547569 From: office New Orleans




                                                                 CERTIFICATE OF SERVICE

                              i hereby certify that a copy of the above and foregoing pleading has been served on all


                  counsel of record via e-mail and US Mail properly addressed and posted prepaid, this*              I   day

                  of August, 20 IB.
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                                                                            ORDER


                              Considering the Ex Parte Morion to Withdraw and Substitute Counsel of Record tiled by


                  Defendants, Pilot Travel Centers LLC (erroneously named hi hie Petitions "Pilot Travel Centers


                  LLC-Store £274") and Ace American Insurance Company;

                             IT IS ORDERED that the Motion is GRANTED, and that Alex S. Aughtry and the law


                  firm of Baldwin Haspcl Burke & Mayer, LLC, be and hereby are withdrawn and Dakota K.


                  Chenevert (La. Bar #17069), James V, King, III (La. Bar #36106) and the law lima of Lewis


                  Brisbois Bisgaard & Smith, LLP, be and hereby are substituted as counsel of record for Pilot

                 Travel Centers LLC                      (erroneously named in the Petitions "Pilot Travel Centers LLC-Store


                 #274") and Ace American Insurance Company, with Thomas J. Cortazzo remaining as counsel


                 of record for Defendants, now at Lewis Brisbois Bisgaard & Smith, LLP.

                             St. Martinville, Louisiana, this                      day of              ,2018.




                                                                           ANTHONY THIBODEAUX, JUDGE




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        §3    DUGAS, GILBERT -ETAL
                                                                                                      Case: 085926                             I

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        I     Versus
                                                                                                      Division: A                              I
                                                                                                      16th Judicial District Court
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        §     ACE AMERICAN INSURANCE COMPANY -ETAL                                                    State ofLouisiana
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                                                                    Clerk ofthe 16th Judicial District Courtfor
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                                                                         FILED ON BEHALF OF: PILOT TRAVEL CENTERS

                                                                         PERSON SIGNING PLEADING: THOMAS CORTAZZO



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       Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 282 of 335 PageID #:
                             r              291
                                                                                                                      Thomas J. Cortazzo



      AX LEWIS                                                                                              400 Poydras Street, Suite 1300
                                                                                                            New Orleans, Louisiana 70130


    <L' BRISBOIS                                                                                        Tom.Cortazzo@lewisbrisbois.com
                                                                                                                      Direct: 504.272.2789

     LEWIS BRISBOIS BISGAARD & SMITH LLP




                                                                                      SW       ' i
    August 23, 201 8




    VIA FEDERAL EXPRESS
    Becky Patin, Clerk of Court
    1 6th JDC, St. Martin Parish
    415 St. Martin Street
    St. Martinville, LA 70582


                Re:       Gilbert Dugas v Ace American Insurance Co., et al
                          16th JDC, St. Martin Parish, Case no. 85926, Div. "A"

    Dear Ms. Patin:


            Enclosed please find the original and three copies of the Ex Parte Motion to Withdraw and
    Substitute Counsel of Record and proposed Order which has been fax filed. Also attached is the
    Facsimile Filing Receipt of Transmission and a firm check in the amount of $125.00. Please return
    a conformed copy in the enclosed self-addressed, stamped envelope.


                If you have any questions, please do not hesitate to contact us.


                                                                    Sincerely,




                                                                    Thomas J. Cortazzo of     0       '
                                                                    LEWIS BRISBOIS BISGAARD & SMITH LLP

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    Enclosures




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               16TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. MARTIN


                                          STATE OF LOUISIANA

           NO: 85926                                                                    DIV.: "A"


                                            GILBERT DUGAS


                                                  VS.


                ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED, INC.,
               MARK STRAUSS, PILOT TRAVEL CENTERS, LLC - STORE #274, AND
                            PROGRESSIVE SECURITY INSURANCE COMPANY

   FILED:
                                                          DEPUTY CLERK


                                   EX PARTE MOTION TO WITHDRAW AND
                                    SUBSTITUTE COUNSEL OF RECORD


               NOW INTO COURT, through undersigned counsel, comes Defendants, Pilot Travel


   Centers LLC (erroneously named in the Petitions "Pilot Travel Centers LLC-Store #274") and

   Ace American Insurance Company ("Defendants"), representing that Thomas J. Cortazzo, Alex


   S. Aughtry and the law firm of Baldwin Haspel Burke & Mayer, LLC have appeared as counsel

   for Defendants and that Defendants desire to substitute Thomas J. Cortazzo, Dakota K.

   Chenevert and James V. King, III and the law firm of Lewis Brisbois Bisgaard & Smith, LLP, as

   its counsel of record and respectfully request that this Honorable Court enter an Order permitting

   the withdrawal of Alex S. Aughtry and the law firm of Baldwin Haspel Burke & Mayer, LLC,


   and the substitution of Dakota K Chenevert and James V. King, III and the law firm of Lewis

   Brisbois Bisgaard & Smith, LLP, as counsel of record for Defendants with Thomas J. Cortazzo

   remaining as counsel, now with the Lewis Brisbois Bisgaard & Smith, LLP.


   Respectfully submitted,

   BALDWIN HASPEL BURKE & MAYER,                       LEWIS BRISBOIS BISGAARD & SMITH
   LLC                                                 LLP


           1
                     GHTRY (#37019)
   Energy Centre - 36th Floor
                                                             X-
                                                       THOMAS J. CORTAfcZO, t.A. (#18174)
                                                       DAKOTA K. CHENEVERT J(#37069)
   1 100 Poydras Street                                JAMES V. KING, ni/(#36106)
   New Orleans, Louisiana 70163                        400 Poydras Street, Suite 2000
   Telephone: (504) 569-2900                           New Orleans, LA 70130
   Facsimile: (504) 569-2099                           Telephone: (504) 322-4100
                                                       Facsimile: (504)754-7569



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                                        CERTIFICATE OF SERVICE


           I hereby certify that a copy of the above and foregoing pleading has been served on all

 counsel of record via e-mail and US Mail properly addressed and posted prepaid, this
                                                                                                day

 of August, 2018.




                                                   ORDER


           Considering the Ex Parte Motion to Withdraw and Substitute Counsel of Record filed by


 Defendants, Pilot Travel Centers LLC (erroneously named in the Petitions "Pilot Travel Centers


 LLC-Store #274") and Ace American Insurance Company;


           IT IS ORDERED that the Motion is GRANTED, and that Alex S. Aughtry and the law


 firm of Baldwin Haspel Burke & Mayer, LLC, be and hereby are withdrawn and Dakota K.


 Chenevert (La. Bar #37069), James V. King, III (La. Bar #36106) and the law firm of Lewis


 Brisbois Bisgaard & Smith, LLP, be and hereby are substituted as counsel of record for Pilot


Travel Centers LLC              (erroneously named in the Petitions "Pilot Travel Centers LLC-Store


#274") and Ace American Insurance Company, with Thomas J. Cortazzo remaining as counsel

of record for Defendants, now at Lewis Brisbois Bisgaard & Smith, LLP.
                                                                                      r
          St. Martinville, Louisiana, this                  day of 'ly        2018.




                                                            ttlMi HIBODEAEB^ JUDGE

                                                                jzanne M. deMahy




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                                           CERTIFICATE



 GILBERT DUGAS                                             STATE OF LOUISIANA

 Vs. NO.      85926                                        16th JUDICIAL DISTRICT COURT

 ACE AMERICAN INSURANCE COMPANY,                           PARISH OF ST. MARTIN
 ETAL



        THIS IS TO CERTIFY that on AUGUST 27, 2018, Notice of the signing of the EX


 PARTE MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL OF RECORD in this case


 was mailed to all parties and/or counsel interested therein.


        WITNESS my hand at St. Martinville, Louisiana, on AUGUST 27, 2018.


                                                           CLERK OF COURT


                                                           BY:
                                                                 deputy^Lerk of court



 MR. JOHN P. WOLFF, m
 ATTORNEY AT LAW
 P.O. BOX 1151
 BATON ROUGE, LA 70821


 MR. SIDNEY W. DEGAN, m
 MS. RENEEF. SMITH AULD
 ATTORNEYS AT LAW
 400 POYDRAS STREET, SUITE 2600
NEW ORLEANS, LA 70130


 MR. SEAN P. RABALAIS
ATTORNEY AT LAW
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BOULEVARD, SUITE 303
BATON ROUGE, LA 70816


 MR. ALEX S. AUGHTRY
ATTORNEY AT LAW
ENERGY CENTRE-36TH FLOOR
 1100 POYDRAS STREET
NEW ORLEANS, LA 70163


 MR. THOMAS J. CORTAZZO, T.A.
 MR. DAKOTA K. CHENEVERT
MR. JAMES V. KING, III
ATTORNEYS AT LAW
 400 POYDRAS STREET, SUITE 2000
NEW ORLEANS, LA 70130
                       Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 287 of 335 PageID #:
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                                                    2018-09-19 15:51             15047547569 From: office New Orleans




                                                                                                                               Thomas J. Ccrtazzo
                                                                                                                     400 Poydras Street, Suite 1300
                                                                                                                     New Orleans, Louisiana 70130
                                                                                                                 Tom..Cortazzo@lewisbrisbois,Gom
                                           BRISBOIS                                                                            Direct: 504.272.27S9

                       LEWIS BRISBOIS BiSGAARD & SMITH LLP




                      September 19, 2018                                                                                                    1 3230.03




                      Via Facsimile: (3371394-2240
                      Becky Patin
                      Clerk ofl 6* JDC                                                                                    M
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                      St. Martin Parish
                      P. O. Box 308                                                                                            iS
                      St. Martin vide. LA 70582


                               Re:          Gilbert Dugas v. Ace American Insurance Company, el al
                                            10th JDC, St. Martin Parish, No. 85926, Div. A

                      Dear Ms. Patin:


                             Enclosed please find the Motion for and Judgment of Dismissal Without Prejudice. We are
                     fax filing on. behalf of Defendant, Pilot Travel Centers, LLC and Ace American Insurance
                     Company. The original and three copies will be forwarded to you, along with our firm's check in
                     payment of all fess associated with this filing, within the delays allowed by law.


                               Thank you and should you have any questions, please do not hesitate to contact me.


                                                                                Sincerely.
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                                                                                Thomas J. Ccrtazzo of
                                                                                                      /
                                                                                LEWIS BRISBOIS BISGAARD & SMITH LLP


                     TJC/rrm


                     Enclosures


                     cc:       Ail counsel of record (via email)




                 ARIZONA * CALIFORNIA             COLORADO * CONNECTICUT • FLORIDA          GEORGIA * ILLINOIS • INDIANA • KANSAS ' KENTUCKY
                 LOUISIANA      MARYLAND           •       MASSACHUSETTS   MISSOURI   •   NEVADA     NEW JERSEY      •   NEW L-SBOCO    »   NEW YORK
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                            GILBERT DUGAS
                                                                                         16th judicial district court
                            VERSUS
                                                                                         ROCKET NO. 85926    DIVISION A

                            ACE AMERICAN INSURANCE COMPANY,                              ST. MARTIN PARISH
                            CRST EXPEDITED INC., MARK STRAUSS,
                            PILOT TRAVEL CENTERS LLC - STORE
                                                                                     STATE OF LOUISIANA
                            #274, AND PROGRESSIVE SECURITY" "
                            INSURANCE COMPANY



                                  MOTION FOR AND JUDGMENT OK DISMI
                                                                   SSAL WITHOUT PREJUDICE

                                   NOW COME Plaintiffs, Gilbert Dugas and Rachel Dugas,
                                                                                        through undersigned counsel.

                           and move to dismiss all petitions and claims against
                                                                                Pilot. Travel Centers LLC (erroneously

                           named in the Petitions "Pilot Travel Centers LLC-S
                                                                              tore #274") and Ace American Insurance

                           Company as insurer of Pilot Travel Centers LLC. ONLY
                                                                                , preserving all rights to proceed against

                           all other defendants and parties in the above-entitled
                                                                                  and numbered cause, without prejudice.

                           each party to bear their own costs:


                                  IT IS ORDERED, ADJUDGED AND DECREED
                                                                      that all plaintiffs' petitions and

                           claims asserted against Pilot Travel Centers LLC
                                                                            and Ace American Insurance Company as

                           insurer of Pilot Travel Centers LLC, ONLY,
                                                                             in the above-entitled and numbered cause arc

                           hereby DISMISSED WITHOUT PREJUDICE, each
                                                                    party ro bear their own costs, reserving ail

                       rights of plaintiffs against all other defendants and parties
                                                                                     .

                                 JUDGMENT READ, RENDERED AND SIGNED
                                                                    at St. Martinvilie, Louisiana, on

                       litis         day of                         2018.




                                                                       ANTHONY THSBODEAUX, JUDGE

                       Respectfully submitted.


                      .Brouxsard & David, LLC
                      557 Jefferson Street
                      P. O. Box 3524
                      Lafayette, LA 70502-3524

                      By:
                                Jerome 1 l>Mbroux
                                 Robert A. Brahan
                                ATTORNEYS FOR PLAINTIFFS




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                                                                          TH.OI&AS J. CORT.4ZZO, 'LAI (#18174)
                                                                          DAKOTA K. CKENVERT (#37069)
                                                                          JAMES V. KING (#36106)
                                                                          LEWIS RRISBOfS BiSCAAJRD & SMITH, LLP
                                                                          400 Poydras Street, Ste. 1300
                                                                          1 1 00 Poydras Street
                                                                         New Orleans, 1, A 70130
                                                                         Telephone: (504) 322-4100
                                                                          Facsimile:     (504) 754-7569


                                                                         Attorneys for defendants Pilot Travel Centers
                                                                         LLC and Ace American Insurance Company



                                                            CLKTifiCATE OF SERVICE

                                   i hereby certify that a copy of the foregoing pleadin
                                                                                             g has been served on all parties
                            through their counsel of recorcl yE) e-muil and by placuig
                                                                                        same in the ITS. Mali, postage prepaid
                            and properly addressed, this |^\ V 1. day of September,'
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                            PLEASE SERVE:                                                      •i
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                            Plaintiffs Gilbert and Rachel Dugas
                            through their counsel of record;
                            Mr, Jerome H . Moroux
                        Broussard & David, 1J.C
                        557 Jefferson Street
                        Lafayette, I..A 70501




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                                                              PERSON SIGNING PLEADING:             IOMAS CORTA2ZO

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                                            ;                                                                      Clerk of the I6'n Judicial District Court for
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       Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 292 of 335 PageID #:
                                            301

                                                                                                           Thomas J. Cortazzo


      AX LEWIS                                                                                  400 Poydras Street, Suite 1 300
                                                                                                New Orleans, Louisiana 70130


     <L' BRISBOIS                                                                           Tom.Cortazzo@lewisbrisbois.com
                                                                                                          Direct: 504.272.2789
     LEWIS BRISBOIS BISGAARD & SMITH LLP




     September 25, 2018
                                                                                                                       16230.03




     Via Federal Express
    Becky Patin
    Clerk of 16th JDC
     St. Martin Parish
    415 St. Martin Street
    St. Martinville, LA 70582


                   Re:    Gilbert Dugas v. Ace American Insurance Company, et al
                          16th JDC, St. Martin Parish, No. 85926, Div. A

    Dear Ms. Patin:


                   Attached please find the original and three copies of the Motion for and Judgment of
    Dismissal Without Prejudice. Also attached is the Facsimile Transmission Confirmation and a firm
    check in the amount of $150.00. Please return a conformed copy in the enclosed self-addressed,
    stamped envelope.

                   Thank you and should you have any questions, please do not hesitate to contact me.




                                                            Sincerely,




                                                            Thomas J. Cortazzo of
                                                            LEWIS BRISBOIS BISGAARD & SMITH LLP

    TJC/rrm


    Enclosures


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    GILBERT DUGAS                                              16™ judicial district court

    VERSUS                                                     DOCKET NO. 85926            DIVISION A

   ACE AMERICAN INSURANCE COMPANY,                             ST. MARTIN PARISH
   CRST EXPEDITED INC., MARK STRAUSS,
   PILOT TRAVEL CENTERS LLC - STORE                            STATE OF LOUISIANA
   #274, AND PROGRESSIVE SECURITY
   INSURANCE COMPANY



            MOTION FOR AND JUDGMENT OF DISMISSAL WITHOUT PREJUDICE


             NOW COME Plaintiffs, Gilbert Dugas and Rachel Dugas, through undersigned counsel,


   and move to dismiss all petitions and claims against Pilot Travel Centers LLC (erroneously


   named in the Petitions "Pilot Travel Centers LLC-Store #274") and Ace American Insurance


   Company as insurer of Pilot Travel Centers LLC, ONLY, preserving all rights to proceed against


   all other defendants and parties in the above-entitled and numbered cause, without prejudice,


   each party to bear their own costs;


            IT IS ORDERED, ADJUDGED AND DECREED that all plaintiffs' petitions and


  claims asserted against Pilot Travel Centers LLC and Ace American Insurance Company as


  insurer of Pilot Travel Centers LLC, ONLY,           in the above-entitled and numbered cause are

  hereby DISMISSED WITHOUT PREJUDICE, each party to bear their own costs, reserving all


  rights of plaintiffs against all other defendants and parties.


            JUDGMENT REA(b, R               RED AND SIGNED at St. Martinville, Louisiana, on

  this          day of                          018.



                                                 ANTHONY THIBODEMJX, JUDGE

 Respectfully submitted,                                             Keith R.J. Comeaux

 Broussard & David, LLC
 557 Jefferson Street
 P. O. Box 3524
 Lafayette, LA        70502-3524

 By:
           Jerome HSMoroux
           Robert A. Brahan
           ATTORNEYS FOR PLAINTIFFS



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                                                 RESPECTFULLY SUBMITTED;



                                                 TIloilA   S J. CORTAZZO, T.A: (#18174)
                                                 DAKOTA K. C             NVERT (#37069)
                                                 JAMES V. KING (#36106)
                                                 LEWIS BRISBOIS BISGAARD & SMITH, LLP
                                                 400 Poydras Street, Ste. 1300
                                                 1 1 00 Poydras Street
                                                New Orleans, LA      70130
                                                Telephone: (504)322-4100
                                                Facsimile: (504) 754-7569


                                                Attorneys for defendants Pilot Travel Centers
                                                LLC and Ace American Insurance Company



                                    CERTIFICATE OF SERVICE

             I hereby certify that a copy of the foregoing pleading has been served on all parties
   through their counsel of record ^a                         same in the U.S. Mail, postage prepaid
   and properly addressed, this r\Y     day of September, 20 1 8.




  PLEASE SERVE:


  Plaintiffs Gilbert and Rachel Dugas
  through their counsel of record:
  Mr. Jerome H. Moroux
  Broussard & David, LLC
  557 Jefferson Street
  Lafayette, LA 70501




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                DUGAS, GILBERT-ETAL                                                                                                      s
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          1     counsel interested therein.                                                                                              1
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    1          DAKOTA K. CHENVERT                                                                                                   1
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    I          JAMES V. KING                                                                                                       2
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1              ATTORNEYS AT LAW                                                                                                Ii
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 TO: Sheriff
                                           from: Becky P. Patin

      Lafayette Parish
                                                  Clerk of Court, St. Martin Parish

      P. O. Box 3508                              P. O. Box 308, St. Martinville, LA 70582


      Lafayette, LA 70502-3508                    Phone: 337-394-2210     Fax: 337-394-2240




 RE: SUIT NO.             85926                   PROBATE NO.




                 GILBERT DUGAS



VS.



  ACE AMERICAN INSURANCE CO., ET AL




       I AM ENCLOSING (1) CERTIFICATE, ALONG WITH TRUE COPIES OF THE MOTION
                                                                            FOR

AND JUDGMENT OF DISMISSAL. FOR SERVICE ON GILBERT AND RACHEL
                                                             DUGAS THROUGH

THEIR COUNSEL OF RECORD, JEROME MOROUX. UPON RECEIPT SHOWIN
                                                            G SERVICE

THEREOF, TOGETHER WITH YOUR BILL, WE SHALL REMIT.




Date of Notice     September 27, 2018
                                                        Jordan Currier
                                                      Deputy Clerk of Court
                    Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 298 of 335 PageID #:
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     j PLAINTIFFS, GILBERT AND RACHEL DUGAS                                                                                                                                                                      *

     i         THROUGH THEIR COUNSEL OF RECORD:
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     |         MR. JEROME H. MOROUX                                                                                                                                                                              I
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     I ATTORNEYAT LAW
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 TO: Sheriff
                                           from. Becky P. Patin

      Lafayette Parish
                                                  Clerk of Court, St. Martin Parish

      P. O. Box 3508                              P. O. Box 308, St. Martinville, LA 70582


      Lafayette, LA 70502-3508                    Phone: 337-394-2210     Fax: 337-394-2240




 RE: SUIT NO.             85926                   PROBATE NO.




                 GILBERT DUGAS



VS.



  ACE AMERICAN INSURANCE CO., ETAL




       I AM ENCLOSING (1) CERTIFICATE, ALONG WITH TRUE COPIES OF THE MOTION
                                                                            FOR

AND JUDGMENT OF DISMISSAL. FOR SERVICE ON GILBERT AND RACHEL DUGAS
                                                                   THROUGH

THEIR COUNSEL OF RECORD, JEROME MOROUX. UPON RECEIPT SHOWING
                                                             SERVICE

THEREOF, TOGETHER WITH YOUR BILL, WE SHALL REMIT.




Date of Notice     September 27, 2018                   Jordan Currier
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                CASLER, BORDELON, LAWLER & GELDER
                                           Not a Partnership, Not a Corporation
                                                     Attorneys at Law
                                    4000 S. Sherwood Forest Boulevard, Suite 303
                                                Baton Rouge, LA 70816
                                                 Fax: (866) 516-8616
                                                                                                                 gk
          Sean P. Rabalais, Esq.                                                       SALARIED EMPLOYEES OKgP
                                                                                       PROGRESSIVE CASUALTY^
          Direct Dial: (337) 347-0096
                                                                                         INSURANCE COMPANY ™
          Email: Sean_P_Rabalais@Progressive.com
          Legal Assistant: Kandice Dimaio-Moore
          Direct Dial: (225) 663-4042
          Email: kdimaiol@progressive.com


                                                 October 25, 2018

         Clerk of Court
          1 6th Judicial District Court for the Parish of St. Martin
         P.O. Box 308
         St. Martinville, LA 70582-0308


                          RE:    Gilbert Dngas v. Ace American Insurance Company, et al
                                 16th Judicial District Court, No.: 85926 - Division "A"
                                 Matter/Claim No.: 165956988

         Dear Sir or Madam:


                 Enclosed please find defendant, Progressive Security Insurance Company's Motion to
         Compel and Incorporated Memorandum in Support for filing in relation to the above referenced
         matter. Please present it to the Judge for a hearing date and signature and return a certified copy
         to my office in the stamped envelope provided herein. Also enclosed is my firm's check in the
         amount of $300 to cover the cost of this request.


                                                                Kindly,




                                                                Sean P. Rabalais
         SPR/ett
         Enclosures
         cc:    Jerome H. Moroux, Esq. (w/encl.)
                Thomas J. Cortazzo, Esq. (w/encl.)
                Renee F. Auld, Esq. (w/encl.)
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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 303 of 335 PageID #:
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                 16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                       STATE OF LOUISIANA


                    NO: 85926                                       DIVISION: "A"


                                          GILBERT DUGAS


                  VERSUS


  ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
           PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY

                                          INSURANCE COMPANY


 FILED:
                                                        CLERK


     MOTION TO COMPEL and INCORPORATED MEMORANDUM IN SUPPORT


        NOW INTO COURT, through undersigned counsel, conies mover, Progressive Security


 Insurance Company, pursuant to Rule 10.1 of the Rules of Civil Procedure, who respectfully


 moves to compel Plaintiff, Gilbert Dugas, to sufficiently respond to Interrogatories and Requests


 for Production of Documents propounded by Progressive.



         Said discovery was served on November 1, 2017. (Exhibit 1, Interrogatories and Request


 for Production of Documents) On November 15, 2017, plaintiff responded to defendant


 Interrogatories and Request for Production of Documents (Exhibit 2). However, the responses


 are wholly insufficient.    As emailed to plaintiffs attorney in the request for supplement, on


 September 14, 2018, specifically, the responses are deficient as follows:


        Interrogatory #1 is missing current occupation and business occupation and occupation on


 date of accident, driver's license number and state of issuance, marital status, spouse's name,


 names and ages of all children, whether he is on SSDI etc.




        Interrogatory #5 asks if Mr. Dugas has ever made a claim for personal injuries, worker's

 comp or SSDI either before or after the accident in the Petition and if so to describe (injuries, date,

 medical providers, lawsuit etc). Your response "Plaintiff recalls none." However, I see from your

 supplement (#5) to Renee Auld's discovery you list "he started receiving disability benefits in

 2005 from a job related accident which occurred in 2003 while working at the Walmart

 Distribution Center in Ville Platte." Also listed in your supplement to Renee' s discovery #7 Mr.

 Dugas states he had prior bulged disc/hip injury from 2003 and an auto accident in 2012 where he

 sustained injury to his shoulder, right leg and femur. (No medical providers are listed).
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 304 of 335 PageID #:
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         Interrogatory #9 asks if Mr. Dugas wore a brace, corset etc. Response is your default "refer


to medical and billing records."




         Interrogatory #12 asks for Mr. Dugas employers for the last 5 years. (Response is "plaintiff


is not making a claim for lost wages." But its still relevant for various other reasons such as if he


reported injury to prior employers.




         Interrogatory #13 asks for Mr. Dugas' accidents prior to or subsequent to our accident aid


asks for place date, all medical providers. Your response "Plaintiff recalls an automobile accident


in 2012." This doesn't list medical providers or location. Also it doesn't list his 2003 hip/disc


injury




         Interrogatory #15 asks for all physicians Mr. Dugas treated with EXCEPT those listed for


our accident. Your response "Please refer to medical and billing records. . .." But no other medical


providers are listed. Please supplement.



                                                   i


         Importantly, my Interrogatory #16 requests all medical providers who treated Gilbert


Dugas in the 10 years prior to the accident. Your response was your boilerplate "Please refer to

medical and billing records for dates of treatment, treatment given and diagnosis/prognosis." But

no prior medical records are included so this is insufficient. Please supplement to provide all of

his medical providers in the 10 years before our accident.




         Interrogatory #18 requests criminal history which is clearly discoverable. Your response

 "Objection the interrogatory is not calculated to lead to discoverable information is unacceptable.




         Interrogatory #20 requests prior disabilities, physical impairments along with list of

 medical providers for the disability. Your response is the default "please refer to medical and

 billing records." But no prior medical records are provided. Please supplement to include medical

 providers for his SSDI claim along with medical providers.
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 305 of 335 PageID #:
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        Interrogatory #22 requests the name of all schools attended. Your response "Plaintiff is not


 in possession of requested information" is clearly insufficient.


        Additionally, counsel for Mover wrote to counsel for Plaintiff on September 26, 2018,


 pursuant to Rule 1 0. 1 of the Rules of Civil Procedure, reminding counsel that discovery responses


 were incomplete.    (Exhibit 2, Rule 10.1 letter with confirmation of delivery)       A Rule 10.1


 conference was scheduled for October 3, 2018 and held on October 3, 2018, wherein counsel


 agreed that responses to discovery would be received within 14 days/on or before October 19,


 201 8. As of this filing, supplemental responses from Plaintiff have not been received.


        Plaintiff, Gilbert Dugas, should be ordered to pay reasonable expenses for Mover having


to bring this Motion, plus attorney's fees in the amount of $450.00. Accordingly, Mover is entitled,


as a matter of law, to an Order requiring Plaintiff to reimburse costs of the filing of this Motion


and to fully and completely respond to said discovery requests in accordance with the law within


ten (10) days of the hearing of this Motion, under the penalty of dismissal of Plaintiff's Petition


for Damages, and at such time awarding Mover reasonable attorney's fees in the amount of


$450.00 and additional costs for enforcing same.


        WHEREFORE, Mover prays that this Honorable Court issue an Order to Plaintiff, Gilbert


Dugas, commanding a hearing within a time to be fixed by this Honorable Court and commanding


Plaintiff to fully and completely respond to the said discovery in accordance with the law within


ten (10) days of the hearing of this Motion; and in default thereof, the instant suit be dismissed


with prejudice, Plaintiff to bear all costs, including but not limited to reasonable attorney's fees


and costs for bringing this Motion in accordance with Code of Civil Procedure Article 1469.



     CERTIFICATE OF SERVICE                   Respectfully submitted,


 I hereby certify that I have on this j^J      CASLER, BORDELON, LAWLER & GELDER
 day of October, 2018, served a copy of
 the foregoing on counsel for all parties
 to this proceeding by mailing a copy of
 same by electronic mail, U. S. Mail,          SEAN P.'        ALAlS-(LSBA #28410)
 postage pre-paid and/or transmitting via     4000 S. Sherwood Forest Boulevard, Suite 303
 facsimile.                                   Baton Rouge, LA 70816
                                              Direct Dial: (337) 347-0096
                                               Fax: (866)516-8616
               I :
              m                               Attorney for defendant,
              Sean P. Kabalais                Progressive Security Insurance Company




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 306 of 335 PageID #:
                                     315




                16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                     STATE OF LOUISIANA


              NO: 85926                                             DIVISION: "A"


                                          GILBERT DUGAS


                                             VERSUS


 ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
         PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY
                                          INSURANCE COMPANY


FILED:
                                                    CLERK



                              ORDER/RULE TO SHOW CAUSE


       Considering the foregoing Motion, let Plaintiff, Gilbert Dugas, appear and show cause


before this Court on the   S^day of                      , 2018 at jQlCQ o'clock A .m., why
he should not be required to produce the documents requested and to answer the Interrogatories


propounded by Defendant, Progressive Security Insurance Company, and why the other relief


prayed for should not be granted.
                                            4/           /




       St. Martinville, Louisiana, this       day Ji j/Ja                   , 20P8.




                                                  he Honorable./Anthony Thibodeai



                                                                            Thibodeaux
PLEASE SERVE:                                                Anthony
Gilbert Dugas
Through attorney:
Renee F. Smith Auld, Esq.
557 Jefferson Street
Lafayette, LA 70501




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 307 of 335 PageID #:
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              16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                     STATE OF LOUISIANA


                  NO: 85926                                     DIVISION: "A"


                                        GILBERT DUGAS


                                             VERSUS


 ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
         PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY
                                        INSURANCE COMPANY


FILED:
                                                     CLERK


                         RULE 10.1 CERTIFICATE OF CONFERENCE


      I, the undersigned attorney, certify to the court as follows:


      On November 1, 2017, Mover served written Interrogatories and a Request for Production
      of Documents upon Plaintiff, Gilbert Dugas.


      On September 26, 2018, counsel for Mover wrote to counsel for Plaintiff, reminding
      counsel that discovery responses were insufficient.


      The parties or counsel personally conducted a conference on October 3, 2018. At this
      conference, there was a substantive discussion of every item presented to the court in this
      motion and, despite their best efforts, the parties or counsel were unable to resolve the
      matters presented.


      As of this filing, more complete and definite responses from Plaintiff have not been
      received.


      Respondent or counsel has failed to respond or failed to confer in good faith in an attempt
      to resolve the matters presented.



      Certified this   '^\^day of October, 2018.




                                      Sean P. Rabalais




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                                                        BROUSSARD
                                                           DAVID
                                                         JUSTICE.              OBTAINED.


               Jerome II. \lo rum
                                                                       Attorneys Ai I.iiu
          A Professional l.wCorjroraiion                                                          (357)233-2323 Telephone
                                                                     557 Jeftcrson Street
                                                                                                     (337)233-2353 Tax
                                                                    Post Office II' v\ 5524       i«S8) 337-2323 Toll Tree
                                                              J.afaycliv. l.tmisiana 70502-3524



                                                                 November 9. 201 7

   Via t erlifieU Mail # 70)7 053(1 WW 7919 5022 / Return RerCiut
                                                                  Reunestcil

   Sean P. Rabalais                                                                                                  :-L
   GASi.ER. BORDELON. EAWLER & GELDER
   1 1 550 Newcastle Avenue. Suite 200
   Baton Rouge. LA 70S 16


   Re:        Gilbert Dugas versus Ace American Insurance Company, et al
              Docket Number: 85926A / 16lh JDC / St. Martin Parish

   Dear Sean:


             Please find enclosed Answers to Interrogatories and Responses to Requests
                                                                                       for Production
  of Documents propounded by Defendant. Progressive Security
                                                                   Insurance Company, on behalf of
  Plaintiff, Gilbert Dugas, regarding the above-referenced matter.


             With kind regards. I am

                                                                                  Yours fruly.




                                                                                  JERtDME H MOR.OUX
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  Enclosures




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19
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                                                         Page 309 of 335 PageID #:
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                GILBERT DUG AS                                        16'" JUDICIAL DISTRICT COURT

                VERSUS                                             DOCKET NUMBER: 85926A

              ACE AMERICAN INSURANCE COMPANY,                     ST. MARTIN PARISH
              CRST EXPEDITED INC., MARK STRAlJSS,
              PILOT TRAVEL CENTERS LLC - STORE                    STATE OF LOUISIANA
              #274, AND PROGRESSIVE SECURITY
              INSURANCE COMPANY



                                      ANSWERS TO INTERROGATORIES AND
                         RESPONSES TO REQUESTS FOR PRODUCTION OF DOCUMENTS

                     NOW INTO COURT, through undersigned counsel, comes Plaintiff, GILBERT DUGAS.

            who for Answers to Interrogatories and Responses lo Requests for Production of Documents


           propounded by Defendant. PROGRESSIVE SECURITY INSURANCE COMPANY, respectfully


           represents:



                                           ANSWERS TO INTERROGATORIES

           INTERROG ATORY NO. 1

           Please state the following:


          a         Your full legal name and any other names you are or have been known by;


          b.        Your date and place of birth:


          e.        Your gender.


          d.        Your Social Security number;


          e.        Your present residence address:

          I".      , Your business address and current occupation as well as your occupation on the date of the


                    accident sued upon herein;


          g-        Your driver's license number and issuing state;


          h.        Your marital status:


          1.        Your spouse's name:


         J.         The names and ages of all children.

          In addition, please answer the         following pursuant to the mandatory     Medicare Reporting

         Requirements pursuant to §111 of the Medicare. Medicaid, and SCHIP Extension Act
                                                                                          of2007

         ("MMSEA") (P.I.. 1 10-173) and as codified in 42 U.S.C. 1395y(b)<"7)-(8):


         a.        Your social security number;


         b.        Whether you presently receive Medicare'Medicaid benefits or have applied lo receive said


                   benefits. If in the affirmative, for what condition do you receive or have applied for said


                   benefits;
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 310 of 335 PageID #:
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           c.       Whether you have a Medicare/Medicaid card and/or a Health Insurance Claim Number. IT


                    in the affirmative, identify the card number and/or the Health Insurance Claim Number:

           d.       Whether you have been receiving Social Security Disability Insurance ("SSDI") benefits


                    for the past twenty-four (24 ) months. If in the affirmative, for what condition; and

           e.      Whether you presently suffer from End Stage Renal Failure or Amyotrophic Lateral

                   Sclerosis ("ACS").


          ANSWER


          Gilbert Dugas


          DOB: 1 1/04/1962


          SSN: XXX-XX-XXXX


           1028 Pete Broussard Road. Breaux Bridge, LA 70517


          Plaintiff receives Medicare benefits.

          INTERROGATORY NO. 2

          Kindly describe in detail the nature, extent and exact location of the injuries claimed to have
                                                                                                          been

          sustained by you as a result of the alleged incident and if permanent injuries are claimed,
                                                                                                      state the

          nature of same and how they manifest themselves.


          Please further describe any pain, discomfort, limitations or disability that you currently have, and

          describe the nature, frequency, intensity of same, and the extent to which it affects your normal


          activities.


          ANSWER


          Please refer to medical and billing records for dates of treatment, treatment given, and


         diagnosis/prognosis.      Additionally, please refer to the Limited Authorizations for Release of

         Protected Health information. Plaintiff reserves the right to supplement this Answer.


         INTERROGATORY NO. 3

         Did you file federal income tax returns for the last five years? If you did not file a return for any


         year during this period, then state the reasons you did not file a return. If you filed a return for any


         year during this period, then state for each year you filed a return and the amount of your reported

         gross income from wages and/or earnings.


         ANSWER


         Plaintiff is not making a claim for lost wages.


         INTERROGATORY NO. 4

         Please state the date or dates you claim you were prevented from performing the duties of your

         profession, employment or business by reason of your alleged injuries, and the amount of
                                                                                                  earnings
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 1 Page 311 of 335 PageID #:
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           or income tJiat is claimed by you to have been lost as a result of the accident described in your


           Petition, and the method which you have used in calculating said amount.


           ANSWER


           Plaintiff is not making a claim for lost wages.


           INTERROGATORY NO. 5

           Have you ever made a claim for yourself for personal injuries. Worker's Compensation, or Social


           Security disability benefits, either prior to or subsequent to the accident described in your Petition?


           If so. describe the nature of the injuries or condition, the date of the injury or onset of the condition,


           the name of each health care provider that treated you for the same, and if you filed a lawsuit


           regarding the same, then give the name of the court, the number of the case, and the disposition of


           the case.


           ANSWER


           Plaintiff recalls none.


           INTERROGATORY NO. 6


          Please give the name and address of each person known or believed by you or your attorney to


          have witnessed the accident described in your Petition and the name and address of each person


          known or believed by you or your attorney to have arrived at the scene within thirty minutes of its


          occurrence and identify each as an eye witness or an after-the-fact witness.

          ANSWER


          Please refer to the Breaux Bridge Police Department Incident Report.


          INTERROGATORY NO. 7

          Please give the name and address of each person, lay and expert, that you, through your attorney,


          may reasonably call as a witness to testify at the trial of this case and, if the person is an expert,


          state the area of his/her expertise,


          ANSWER


          This information will be provided in accordance with this Honorable Court's Scheduling Order.


          INTERROGATORY NO. 8


          Give the names and addresses of any and all physicians, chiropractors, dentists, therapists.


          psychiatrists,   psychologists,   medical   practitioners,   other   health care   providers,   hospitals,

          pharmacies and/or medical institutions who have examined, treated and/or rendered service upon


          you as a result of the accident complained of in the Petition and give the first date and the lasi date


          on which you were examined and/or treated by each. DO NOT RESPOND WITH "PLEASE SEE




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 312 of 335 PageID #:
                      c              321
           ATTACHED RECORDS." RATHER, LIST YOUR PROVIDERS INDIVIDU
                                                                   ALLY, WITH

           NAME AND ADDRESS, AND INDICATE WHETHER YOU ARE STILL
                                                                TREATING.

           ANSWER


           Please refer to medical and billing records for dates of treatment,
                                                                               treatment given, and

           diagnosis/prognosis.     Additionally, please refer to the Limited Authorizations for Release
                                                                                                         of

           Protected Health Information. Plaintiff reserves the right to supplement this Answer.


           INTERROGATORY NO. 9

           If you wore a brace, corset, cervical collar, support, cast or used crutches
                                                                                        or any other type of

           orthopedic appliance or medical device, please give the name of the person
                                                                                      who prescribed it, and

           the period of time that you used it.


           ANSWER


           Please refer to medical and billing records for dates of treatment,
                                                                               treatment given, and

          diagnosis/prognosis.     Additionally, please refer to the Limited Authorizations for Release of

          Protected Health Information. Plaintiff reserves the right to supplement
                                                                                   this Answer.

          INTERROGATORY NO. 10

          Give an itemized list of all expenses incurred and losses sustained by you as a
                                                                                          result of the accident

          and injuries described in your Petition and identify each expense and loss
                                                                                     by the name of the party

          with whom it was incurred or sustained, the sendee or product provided or
                                                                                    lost, and the amount,

          if any. for which you were reimbursed to any extent for said cost or loss.


          ANSWER


          Please refer to medical and billing records for dates of treatment, treatment
                                                                                        given, and

          diagnosis/prognosis.    Additionally, please refer to the Limited Authorizations for Release of

          Protected Health Information. Plaintiff reserves the right to supplement
                                                                                   this Answer.

          INTERROGATORY NO. 1 1


          Please give the names and addresses of all of your employers during the
                                                                                  last five years and state

         the dates of employment, rate of pay for each, job duties, name of direct
                                                                                   supervisor and reason for

         leaving.


         ANSWER


         Plaintiff is not making a claim for lost wages.


         INTERROGATORY NO. 12


         Please state, in accordance with Louisiana (AC. P. Article 893, the amount
                                                                                    of general damages,

         which you are seeking in this lawsuit.
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                     c               322
           ANSWER


           Objection.   Premature.   Plaintiff is currently treating for injuries sustained in the accident and

           Plaintiff s quantum of damages is not yet known.


           INTERROGATORY NO. 13

           Have you been involved in any accidents of any type or nature prior to or subsequent to
                                                                                                   the accident

           described in your Petition and if so. please state the place of the accident, date of
                                                                                                 the accident,

           injuries received in such accident, the name of each and every doctor, hospital and/or
                                                                                                  medical

           institution that treated or examined you for injuries received in said accident.


           ANSWER


           Plaintiff recalls an automobile accident in 2012,


          INTERROGATORY NO, 14

          Please state whether or not you have ever been hospitalized prior to or subsequent
                                                                                             to the

          complained of accident, other than referred to in previous answers and if yes, please
                                                                                                state the name

          and address of all such hospitals, clinics or other medical institutions, the dates during
                                                                                                     which you

          were confined, the nature of your illness, disease or injury, and the names and addresses
                                                                                                    of all

          doctors that treated you during such confinement.


          ANSWER


          Please refer to medical and billing records          for dates of treatment, treatment given, and

          diagnosis/prognosis.    Additionally, please refer to the Limited Authorizations for Release of

          Protected Health Information. Plaintiff reserves the right to supplement this Answer.


          INTERROGATORY NO. 15

          Please list the name, address, specialty, and reasons for consulting any and all physicians
                                                                                                      who had

          occasion to examine and/or treat you since the date of the incident described in your Petition
                                                                                                         with

          the exception of those physicians listed in your answers to the preceding interrogatorie
                                                                                                   s.

         ANSWER


         Please refer to medical     and   billing records for dates of treatment, treatment       given, and

         diagnosis/prognosis.     Additionally, please refer to the Limited Authorizations for Release of

         Protected Health Information. Plaintiff reserves the right to supplement this Answer.


         INTERROGATORY NO. 16


         Please list the name, address, specialty, and reason for consulting any and
                                                                                     all physicians,

         chiropractors, dentists, therapists, psychiatrists, psychologists, medical practitioners,
                                                                                                   pharmacies

         or other health care providers who had occasion to examine, treat and/or render service
                                                                                                 upon you




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 314 of 335 PageID #:
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          during the ten-year period immediately preceding the date of the incident described in your


          Petition, and give the approximate date on which you were examined and/or treated by each.

          ANSWER


          Please refer to medical      and   billing records for dates of treatment, treatment        given, and

          diagnosis/prognosis.      Additionally, please refer to the Limited Authorizations for Release of

          Protected Health Information. Plaintiff reserves the right to supplement this Answer.


          INTERROGATORY NO. 17


          If you have been involved in any other lawsuits, either as a plaintiff or a defendant, state the court


          in which the action was filed, the number of the action, the approximate dale of which it was filed.

          and the nature or purpose of the lawsuit.


          ANSWER

          Plaintiff recalls none.


         INTERROGATORY NO. 18


         If you have been arrested for any crime, other than a traffic violation, then state the nature of the


         crime, the date on which you were arrested, the city and state in which you were arrested, and the


         disposition of the charge against you.

         ANSWER


         Objection. The Interrogatory is not calculated to lead to discoverable information.


         INTERROGATORY NO. 19

         If you consumed any alcoholic beverage or took any type of medication during the twelve ( 12)


         hours immediately preceding the incident described in your Petition, then state the nature, amount


         and type of item consumed, the lime it was consumed, and the names and addresses of all persons


         who have any knowledge as to consumption of these items.


         ANSWER


         Plaintiff recalls none.


         INTERROGATORY NO. 20


         If before the date of the automobile accident in this ease you had any disabilities, physical


         impairments, disfigurements, physical limitations, including but not limited to vision, then


         describe the nature and extent of the disability, limitation or impairment, the length of time you


         had it. the effect of it on your daily activities, and the name and address of all medical practitioners


         who treated or evaluated you concerning it.




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                                     324
           ANSWER


           Please refer lo medical     and billing records    for dates of treatment, treatment given, and

           diagnosis/prognosis.    Additionally, please refer to the Limited Authorizations
                                                                                            for Release of

           Protected Health Information. Plaintiff reserves the right
                                                                      to supplement this Answer.

           INTERROGATORY NO. 21

           Do you or your attorneys have or know of any photogra
                                                                 phs, video tapes, movies, or drawings of

           the scene of the accident described in your Petition, the
                                                                     vehicles involved in the accident, or any

           of the persons injured in the accident? If so. describe
                                                                   the item, the date made, and that which it

          depicts.


          ANSWER


          Plaintiff is not in possession of the requested information.


          INTERROGATORY NO. 22

          State the name and address of each high school, college,
                                                                   or educational institution including

          vocation, technical or trade schools you har e attended
                                                                  and give the dates of attending each.

          ANSWER


          Plaintiff is not in possession of the requested information.


          INTERROGATORY NO. 23


         Please state with specificity your version of how this
                                                                accident happened.

         ANSWER


         Please refer to the Breaux Bridge Police Departm
                                                          ent Incident Report, Petition, and First

         Supplemental and Amending Petition


         INTERROGATORY NO. 24

         Please identify, by name and address, all persons wilh
                                                                whom you spoke during the 60 minutes

         following and preceding the subject accident.


         ANSWER

         Please refer to the Breaux Bridge Police Department
                                                             Incident Report.

         INTERROGATORY NO. 25

         Please provide the name, address and telephone number
                                                               of all persons from whom statements have

        been taken by you or anyone on your behalf and indicate
                                                                when the statement was taken, whether

        it was recorded ore preserved and by whom it was taken.


        ANSWER


        Plaintiff is not in possession of She requested information.




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   Operator:       Readlmage
   Position:       1046




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            CASLER, BORDELON, LAWLER & GELDER
                                    Not a Partnership, Not a Corporation
                                            Attorneys at Law
                               4000 S. Sherwood Forest Boulevard, Suite 303
                                         Baton Rouge, LA 70816
                                              Fax: (866) 516-8616

      Sean P. Rabalais, Esq.                                                           SALARIED EMPLOYEES OF
                                                                                        PROGRESSIVE CASUALTY
      Direct Dial: (337) 347-0096
                                                                                          INSURANCE COMPANY
      Email: Sean_P_Rabalais @ Progressive.com
      Legal Assistant: Kandice Dimaio-Moore
      Direct Dial: (225) 663-4042
      Email: kdimaiol@progressive.com


                                                September 26, 2018

     VIA FAX ONLY: (337) 233-2353
     Jerome H. Moroux, Esq.
     Broussard & David
     P. O. Box 3524
     Lafayette, LA 70502

                      RE:    Gilbert Dugas v. Ace American Insurance Company, et al
                             16th Judicial District Court for St. Martin Parish No.: 85926 - Division "A"
                             Matter/Claim No.: 165956988


     Dear Mr. Moroux:

              As of the date of this letter, our office has not received any response regarding the Supplemental
     Interrogatories and Request for Production of Documents we have previously propounded to your
     client, Gilbert Dugas. Pursuant to Rule 10.1, we are scheduling a telephone discovery conference to
     be initiated by our office on October 3, 2018 at 10:00 a.m. If this date and time is not convenient
     for you, please contact our office immediately and we would be happy to select a mutually
     convenient date and time.


            Should you not contact our office for a mutually convenient date or participate in the above
     scheduled Rule 10.1 conference, we will be left with no other option but to file a Motion to Compel
     Discovery.

             Please contact our office or legal assistant Kandice Dimaio-Moore at (225) 663-4042 with any
     questions.


                                                              Very truly yours,


                                                              &>te>c 5. Jiepagm&c
                                                              Ester T. Trepagnier,
                                                              Assistant for Sean P. Rabalais
     /ett




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    Details

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    8:32 AM 9/26/2018 Conversion Record
              [[26352318] DRAFT Our Ltrto Atty Setting 10.1 Disc [Pit Supp).pdf]
              Type: applicafion/pdf
              G3 to TIFF attempt 1: Success (50ms)
              GhostScript TIFF attempt 1: Success (694ms)
              (SCRFXP02:WORKSRV1)


    8:32 AM 9/26/2018 Transmission Record
           Sent to: Jerome H. Moroux
              Phone: 3372332353
              Billing information: " "
              Remote ID; 3372332353
              Unique ID: "ETR5BAB4436 10F2"
              Elapsed time: 1 minutes, 14 seconds.
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      S              Case 6:19-cv-00630-TAD-CBW
                                          (     Document 1-1 Filed 05/16/19 Page 319 of 335 PageID #:
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                                                          328
                                                   CitationRule                                                                           \
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      I    DUGAS, GILBERT -ETAL
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                                                                                                       Case: 085926                       $
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      S                                                                                                Division: A
      I     Versus
                                                                                                       16"' Judicial District Court       I
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           ACE AMERICAN INSURANCE COMPANY- ETAL
                                                                  n         w?
                                                                                                       Parish ofSt Martin
                                                                                                       State of Louisiana
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      s     TO:                                                                                                                           |
      I       GILBERT DUGAS
      I       THROUGH ATTORNEY:
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             JEROME H. MOROUX                                                                                                             !
      s
              557 JEFFERSON STREET                                                                                                        i
             LAFAYETTE, LA 70501                                                                                                          I
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    'i                                                                                                                                    1
                                          ofLAFAYETTE Parish, Louisiana.                                                                  I

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  I              You are hereby cited to show cause in the District Court Room, at the Courthouse, 415 S. Main St., St.
                                                                                                                                          s
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  t        Martinville, Louisiana, on the 5TH day ofDECEMBER, 2018 at 10:00o'clockA.M. why the rule issued by this                    S
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  I        Court under date of OCTOBER 30, 2018, a certified copy whereof is hereto attached, should not be made                      fi
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           absolute.
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 I                    ST. MARTINVILLE, LOUISIANA, 31 STday of OCTOBER, 2018.                                                          I
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5                                                                     Deputy Clerk of Court, St. Martin Parish, LA.
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I          REQUESTED BY:
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           SEAN P. RABALAIS
           ATTORNEY FOR: PROGRESSIVE SECURITY INSURANCE COMPANY                                                                       !
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                                                               Service Information                                                    i
           Received on the                                                                                                            .
                                    day of                                  , 20     and on the           day of                      A



I                                  , 20      served the above named party as follows:
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\          Personal Service on the party herein named                                                                                 I
           Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
           hands of
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?                                                                     , a person apparently over the age ofseventeen
           years, living and residing in said domicile and whose name and other facts connected with this service, I
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           learned by interrogating the saidperson, saidparty herein being absentfrom his/her residence at the time of
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I          said service.
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       Case 6:19-cv-00630-TAD-CBW
                            p     Document 1-1 Filed 05/16/19 Page 320 of 335 PageID #:
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TO: Sheriff
                                            FROM: Reeky P. Pa tin

      Lafayette Parish
                                                  Clerk of Court, St. Martin Parish

      P. O. Box 3508                              P. O. Box 308, St. Martinville, LA 70582


      Lafayette, LA 70502-3508                    Phone: 337-394-2210     Fax: 337-394-2240




RE: SUIT NO.                  85926               PROBATE NO.




                 GILBERT DUGAS



VS.



 ACE AMERICAN INSURANCE CO., ET AL




       ! AM ENCLOSING (1) CITATION RULE, ALONG WITH TRUE COPIES OF THE MOTION TO

COMPEL. FOR SERVICE ON GILBERT DUGAS THROUGH JEROME H. MOROUX. UPON

RECEIPT SHOWING SERVICE THEREOF, TOGETHER WITH YOUR BILL, WE SHALL REMIT.




Date of Notice           October 31, 2018                Jordan Currier
                                                       Deputy Clerk of Court
     i            Case 6:19-cv-00630-TAD-CBW
                                        I      Document 1-1 Filed 05/16/19 Page 321 of 335 PageID #:
     I                                                   330
                                          Notice of Fixing Case for Trl»«-V

     I    DUGAS, GILBERT -ETAL                                                                                                             1
                                                                                                   Case: 085926
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           Versus
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     f    ACE AMERICAN INSURANCE COMPANY - ET AL
                                                                  Wu)                              Parish ofSt. Martin
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     i?   7U
     I     JEROME H. MOROUX
               ATTORNEY AT LAW

    j          P.O. BOX 3524
               LAFAYETTE, LA 70502
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               RENEE' F. SMITH A ULD
 I             ATTORNEY AT LAW
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               400 POYDRAS STREET, SUITE 2600                                                                                          I

%              NEW ORLEANS, LA 70130

i                                                                                                                                      I
               SEAN P. RABALAIS                                                                                                        I

I           ATTORNEY AT LAW                                                                                                            I
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            4000 S. SHERWOOD FOREST BLVD., STE. 303                                                                                    I
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            BATON ROUGE, LA 70816
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i              NOTICE IS HEREBY GIVEN that the above captioned and numbered matter has been setfor trial                              I
                                                                                                         on the
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          MOTION TO COMPEL on DECEMBER 5, 2018, at 10:00 o'clock A.M. at the Courthouse, 415
          Martinville Louisiana, before Judge ANTHONY THIBODEAUX as a 7THfixing.
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                 Uniform Rules requires that you file for all exceptions, motions and motion for summaryjudgments
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/         trial memorandum at leastfifteen (15) calendar days before the hearing. Opposition memorandu
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                                                                                                          ms shall be              •S
f filed at least eight (8) calendar days before the hearing. Any reply memorandums must be received by Judge                       I
I         and all parties before 4:00 p.m. on a day that allows one (1) full work day before the hearing.                          s
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                Failure to file and distribute the memorandum outlined shall subject said party to the assessment ofcosts
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\         by the Court or to be otherwise disciplined.                                                                            I
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                 Rule 8.3 requires the attorneyfor Plaintiffto notify the Docket Clerk and the Trial Judge when a case
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          is fixedfor trial is settled or continued by mutual agreement.                                                          I
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                 ST. MARTINVILLE, LOUISIANA, this 3 1ST day of OCTOBER, 2018.                                                     I
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                                                                        BECKY P. PATIN
                                                                        Clerk of Court
                                                                        St. Martin Parish
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                                                                        Deputy Clerk ofCourt
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                                     Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 322 of 335 PageID #:                                           ...»



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                 ;    DUGAS, GILBERT -ETAL
                                                                                                                                   Case: 085926
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                                                                                                                                   Division: A
                       Versus                                                                     is                               16th Judicial District Court                 \
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                      ACE AMERICAN INSURANCE COMPANY - ET AL
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                                                                                                                     £             Parish ofSt. Martin
                                                                                                                                   State ofLouisiana
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                       TO:
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                             GILBERT DUGAS                                                                                                                                          &
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                             THROUGH ATTORNEY:                                                                                                                                      %
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                            JEROME H. MOROUX
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                            557 JEFFERSON STREET
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            1               LAFAYETTE, LA 70501                                                                                                                                 I
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        !                                                               ofLAFAYETTE Parish, Louisiana.
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        1                  You are hereby cited to show cause in the District Court Room, at the Courthouse, 415 S. Main St., St.
                     Martinville, Louisiana, on the 5TH day ofDECEMBER, 2018 at 10:00o'clock A.M. why the rule issued by this
        |            Court under date of OCTOBER 30, 2018, a certified copy whereof is hereto attached, should not be made
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                     absolute.
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                                                ST. MARTINVILLE, LOUISIANA, 31STday of OCTOBER, 2018.
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        I                                                                                         Deputy Clerk of Court, St. Martin Parish, LA.
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    I                REQUESTED BY:                                                                                                                                          I
                     SEAN P. RABALAIS                                                                                                                                       I
                     ATTORNEY FOR: PROGRESSIVE SECURITY INSURANCE COMPANY
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                                                                                        Service Information
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                                                                 , 20      served the above named party as follows:


%                    Personal Service on the party herein named                                                                                                             I
    :                Domiciliary Service on the party herein named by leavingthe same at his/her domicile in the parish in the                                              I
                     hands of                                                  , a person apparently over the age ofseventeen
I                    years, living and residing in said domicile and whose name and other facts connected with this service, I
i                    learned by interrogating the said person, said party herein being absent from his/her residence at the time of                                         \
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                     said service.


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                        Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 323 of 335 PageID #:
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I        DUGAS, GILBERT-ETAL                                                                                 Case: 085926                   I
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i         Versus                                                                                             16th Judicial District Court   f
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II        ACE AMERICAN INSURANCE COMPANY -ETAL                                                               State ofLouisiana
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I         TO:

I             S&47VP. RABALAIS                                                                                                              I
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              CASLER , BORDELON & LA WLER
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1             4000 S. SHERWOOD FOREST BLVD., STE. 303
II            BATON ROUGE, LA 70816
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|         Date ofService: Monday, November 05, 2018
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|         Number ofService: 1
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          Personal/Domiciliary: PER ON GILBERT DUGAS THROUGH JEROME H MOROUX (JAMILA)
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if        Issued by the Clerk of Court on the 20™ day of NOVEMBER, 2018.
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                 Case 6:19-cv-00630-TAD-CBW
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                                              V
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  DECEMBER        5,   2018




 STATE      OF    LOUISIANA
                                                                                                        PARISH    OF   ST.    MARTIN




 THE      COURT    MET    THIS   DAY   IN   COURTROOM           1    WITH    THE    HONORABLE     ANTHONY        THIBODEAUX        JUDGE   PRESIDING.
 ALSO      PRESENT WAS        THE   COURT   REPORTER,               KATHLEEN       HEBERT .     THE    MINUTE     CLERK      ON   THIS   DAY WAS
 GABRIELLE         NOEL.




 Case     # :      085926                             GILBERT           DUGAS,       ET   AL


                                                      VERSUS


                                                      ACE       AMERICAN           INSURANCE     COMPANY,      ET   AL




 THIS     MATTER WAS        SCHEDULED ON          TODAY'S           DOCKET   FOR A MOTION         TO    COMPEL;     HOWEVER,       WAS   NOT    ADDRESSED
 IN   OPEN       COURT.     NO   PARTIES    WERE     PRESENT           NOR   REPRESENTED         BY    COUNSEL.




 I                                                          ,       DEPUTY    CLERK       OF   COURT,    DO   HEREBY     CERTIFY     THAT      THE   ABOVE
 IS   A   TRUE AND        CORRECT   MINUTE    EXTRACT.




Page Number: 1
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 325 of 335 PageID #:
                                     334
                                           BROUSSARD
                                              DAVID
                                            JUSTICE.         OBTAINED.
              Jerome H. Moroux                        Attorneys At Law                        (337)233-2323 Telephone
         A Professional Law Corporation              557 Jefferson Street                        (337)233-2353 Fax
                                                    Post Office Box 3524                      (888) 337-2323 Toll Free
                                               Lafayette, Louisiana 70502-3524



                                                   March 20, 2019

    Via Facsimile - 337-394-2240 & U.S. Mail
    St. Martin Parish Clerk of Court                                              Ip3 5 E
    415 St. Martin Street
    P.O. Box 308
                                                                                  I
    St. Martinville, LA 70582


            Re:       Gilbert Dugas versus Ace American Insurance Company, CRST Expedited Inc.,
                      Mark Strauss, Pilot Travel Centers LLC - Store #274, ABC Insurance Company,
                      and Progressive Security Insurance Company
                      St. Martin Parish, Cause No. 85926-A


Dear Clerk:


       Please have the original Petition, Interrogatories and Request for Production of Documents
regarding the above captioned case served of the following defendant:


                                                   Mark Strauss
                                              79740 Camelback Dr.
                                          Bermuda Dunes, CA 92203-1431


        Please file this correspondence into the record, conform the extra copy and return to my
office. Lastly, once service has been made, please forward a service return to my office. A
copy of same has been forwarded to all known parties via U.S. Mail, properly addressed, postage
prepaid.


           Thank you for your attention and cooperation in this matter.


           With kind regards, I am,
                                                                   Yours truly,




                                                                   Jer< ime/H.        IUX



JHM/mrm
Enclosures                                                                             RECEIVED AND FILED
cc:        Ms. Renee Auld                                                              201SMAR 22 AH 9- 17.

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     *1           Case 6:19-cv-00630-TAD-CBW Document
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     |    DUGAS, GILBERT -ETAL                                                                                                              I
     %                                                                                               Case: 085926                           1
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           Versus                                                                                    16th Judicial District Court           1
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     I    ACE AMERICAN INSURANCE COMPANY -ETAL                                                                                              1
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      1    T0:                                                                                                                              I
     1      MARK STRAUSS                                                                                                                    I
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             79740 CAMELBACK DR.                                                                                                            1
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            BERMUDA DUNES, CA 92203-1431
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 1                                             FZ4 LONG ARM STATUTE                                                                     I
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 I                     7ow are hereby summoned to comply with the demand contained in the PETITION,

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 j        INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS ofwhich a true and correct                                           \I
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          copy (exclusive ofexhibits) accompanies this citation, or make an appearance, either byfiling a pleading or                   &
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 I        otherwise, in the 16th Judicial District Court in andfor the Parish ofSt. Martin, State ofLouisiana, within                   1
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 |        thirty (30) days after the service hereof, under penalty ofdefault.
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             WITNESS MY OFFICIAL HAND AND SEAL OF OFFICE AT ST. MARTINVILLE, LOUISIANA, on this
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 I        25m         of MARCH, 2019.                                                                                                   I
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                                                                    BECKY P. PATIN                                                      I
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I                                                                   Clerk ofthe 16th Judicial District Courtfor                         I
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                                                                    St. Martin Parish, Louisiana
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                                                                    Deputy Clerk ofCourt                                                I
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I         REQUESTED BY:                                                                                                                 1
I         JEROME H.MOROUX                                                                                                               I
I         ATTORNEY FOR: GILBERT DUGAS                                                                                                   I
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                                                           Service Information                                                          f
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          Received on the           day of                              , 20      and on the _          day of                          !
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I                                  , 20      served the above named party as follows:                                                   I
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|         Personal Service on the party herein named                                                          ;                         I
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          Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the                    I
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II        hands of                                                   , a person apparently over the age ofseventeen                     1
|         years, living and residing in said domicile and whose name and otherfacts connected with this service, I                      i
f         learned by interrogating the said person, said party herein being absent from his/her residence at the time of                I
11        said service.
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      Case 6:19-cv-00630-TAD-CBW
                          r\     Document 1-1 Filed 05/16/19 Page 327 of 335 PageID #:
                                           336


TO:    JEROME H. MOROUX
                                          from: Becky P. Patin

       ATTORNEY AT LAW
                                                 Clerk of Court, St. Martin Parish

       P.O. BOX 3524                             P. O. Box 308, St. Martinville, LA 70582

       LAFAYETTE, LA 70502-3524                  Phone: 337-394-2210      Fax: 337-394-7772




RE: SUIT NO.             85926                   PROBATE NO.




                 GILBERT DUGAS



VS.


        ACE AMERICAN INSURANCE
             COMPANY, ET AL




       I AM ENCLOSING (1) CITATION, ALONG WITH TRUE COPIES OF THE PETITION. FOR

SERVICE ON MARK STRAUSS THROUGH THE LOUISIANA LONG ARM STATUTE.




Date of Notice       March 25, 2019                     Jordan Currier
                                                      Deputy Clerk of Court
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 328 of 335 PageID #:
                    r                337


       CASLER, BORDELON, LAWLER & GELDER
                             Not a Partnership, Not a Corporation
                                         Attorneys at Law
                         4000 S. Sherwood Forest Boulevard, Suite 303
                                     Baton Rouge, LA 70816
                                       Fax: (866) 516-8616


Sean P. Rabalais, Esq.
                                                                                 SALARIED EMPLOYEES OF
Direct Dial: (337) 347-0096                                                      PROGRESSIVE CASUALTY
Email: Sean_P_Rabalais@Progressive.com                                              INSURANCE COMPANY

Legal Assistant: Kandice Dimaio-Moore
Direct Dial: (225) 663-4042
Email: kdimaiol@progressive.com


                                          March 20, 2019
Clerk of Court,
                                                                          L-s.
16th Judicial District Court for the Parish of St. Martin
P.O. Box 308
St. Martinville, LA 70582-0308


               RE:     Gilbert Dugas v. Ace American Insurance Company, et al
                       16th Judicial District Court for St. Martin Parish No.: 85926
                       Matter/Claim No.: 165956988

Dear Sir or Madam:


        Enclosed please find an original Partial Motion and Order to Dismiss with Prejudice and
with Reservation of Rights for filing into the record of the above referenced matter. Please
forward the Motion to Judge Anthony Thibodeaux for consideration and signing and return a
certified copy to our office in the self-addressed and stamped envelope provided herein for your
convenience.   It is my understanding that we have enough money on the docket to cover the
associated fees.    Please refund any remaining funds on deposit in a check made payable to
Progressive Security Insurance Company.


                                                      Very truly yours,




                                                      Alicia €h~Buc5anan,
                                                      Admin. Assistant for Sean P. Rabalais


/AGB
Enclosure(s)               RECEIVED AND FILED
                           2019 m 25 AH 9- 56


                               S/MARMH PAfKw;
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 329 of 335 PageID #:
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                 16TH JUDICIAL DISTRICT COURT FOR ST. MARTIN PARISH


                                       STATE OF LOUISIANA


                NO. 85926                                           DIVISION: "A"


                                           GILBERT DUGAS


                                              VERSUS


  ACE AMERICAN INSURANCE COMPANY, CRST EXPEDITED INC., MARK STRAUSS,
     PILOT TRAVEL CENTERS LLC-STORE #274, AND PROGRESSIVE SECURITY
                                      INSURANCE COMPANY


     PARTIAL MOTION and ORDER TO DISMISS WITH PREJUDICE AND WITH


                                   RESERVATION OF RIGHTS


        NOW INTO COURT, through undersigned counsel, comes plaintiff, Gilbert Dugas, upon


suggesting to this Honorable Court that he wishes to dismiss Progressive Security Insurance


Company only, reserving his right to proceed against all other parties (named and unnamed), and


respectfully requests that this Honorable Court dismiss said suit against Progressive Security


Insurance Company only, with prejudice allowing each party to bear its own costs.


                                              ORDER


        Considering the above and foregoing;


        IT IS ORDERED, ADJUDGED AND DECREED that plaintiff Gilbert Dugas' suit as


against Progressive Security Insurance Company only, be and is hereby dismissed with prejudice


allowing each party to bear its own costs and allowing plaintiff to reserve their rights to proceed


against all other parties (named and unnami


        St. Martinville, Louisiana, thi:                                              , 20>8.




                                                    le Honorable, Anthony Thibqdeaux

Respectfully submitted,
                                                                 Anthony Thibodeaux
Broussard & Dayid




Jerome H. Moroux (LSBA# #32666)
P. O. Box 3524
557 Jefferson Street (70501)
Lafayette, LA 70502
Telephone: (337) 233-2323
Fax: (337)233-2353                                 RECEIVED AND FILED
Counsel ofRecordfor Plaintiff, Gilbert
Dugas
                                                   2019 HSR 25 fiM 9= 56

                                                                      iY
                                                                  PAY
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19*1 Page 330 of 335 PageID #:
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                                          CERTIFICATE

 GILBERT DUGAS                                            STATE OF LOUISIANA

 Vs. NO.      85926                                       16th JUDICIAL DISTRICT COURT

 ACE AMERICAN INSURANCE COMPANY,                          PARISH OF ST. MARTIN
 ET AL



        THIS IS TO CERTIFY that on MARCH 27, 2019, Notice of the signing of the PARTIAL


 MOTION AND ORDER TO DISMISS WITH PREJUDICE AND WITH RESERV
                                                            ATION OF

 RIGHTS in this case was mailed to all parties and/or counsel interested therein.


        WITNESS my hand at St. Martinville, Louisiana, on MARCH 27, 2019.


                                                         CLERK OF COURT


                                                         BY:
                                                               DEPUTY/CLERK OF COURT




 JEROME H. MOROUX
 ATTORNEY AT LAW
 P.O. BOX 3524
 LAFAYETTE, LA 70502-3524


 SIDNEY W. DEGAN, III
RENEE F. SMITH AULD
ATTORNEYS AT LAW
400 POYDRAS STREET, SUITE 2600
NEW ORLEANS, LA 70130


SEAN P. RABALAIS
ATTORNEY AT LAW
4000 S. SHERWOOD FOREST BOULEVARD, SUITE 303
BATON ROUGE, LA 70816
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 331 of 335 PageID #:
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                                        stateop Louisiana

                    NO. 85926
                                                                              DIVISlONr*

                                           GILBERT DUGAS


                                                  :fSRSiS'

                                                     , CRST EXPEDITED INC., MARK STRAUSS,
                                                             •, AND PROGRESSIVE SECURITY
                                      WSURANCECOMPANY




                                   RlSi!RVA11O^0i:Mi^S;


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                                                     V *:.




                                               Order

           Considerahg the above and foregoing;

          IT IS ORDERED, ADJUDGED AS

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          St. MMiiiviile, Louisiana, iM%2l.U   day of
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                I
  Jerome H. Moroux (LSBA# #32666)
  P.:O.:B0x 3524
  557 Jefferson Street (7Q501)                                                        A   r^UE COPY
  Laf%dtt^:LA 70502
  Telephone: (337p33-2323
  ftsfc 0>37). 233-2353                             itei ANDtoIBSr' m
  Cmnsel of'Recordfor Plaititi   Gilbert

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    GILBERT DUGAS                             iffi gflouisiana.

    Vs. pip.   85926

                                              OTtSH-GF ST. MARTIN
    ET AL




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                                                  DEWY CLERK OF COURT




    JEROME K. M0ROUX
    ATTORNEY AT LAW
    RO. BOX 3524
    LAFAYETTE, LA 70562-3:524


    SIDNEY W. DEGAN,1II
    RENEE F. SMITH ALU®
   ATTORNEYS AT LAW


   NEW ORLEANS, LA 70 130


    SEAN P. RABALAIS
    ATTORNEY AT LAW


   BATON ROUGE, LA 7G816




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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 333 of 335 PageID #:
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                                                    B ROUS SARD
                                                                 DAVID
                                                    JUSTICE.          O 8 • A I N E 0 .
                     Jerome H. Moroux                        Attorneys Ai J   aw
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                                                             May 6.2019

           St. Martin ParisiriClerk of Court
           415 St. MartjifStreet
           P.O. Box 308
           Si. Martjftville, LA 70582


                   Re:        Gilbert Dugas versus Ace American Insurance Company. CRS i expedited Inc..
                              Mark Strauss. Pilot Travel Centers LLC  Store #274. ABC Insurance Company,
                              and Progressive Security Insurance Company
                              St. Martin Parish, Cause No. H5926-A


           Dear Clerk:


                  Please find enclosed one original and one copy of the Affidavit of Mark Strauss, which !
           ask that you file into the record of the above captioned case.                     Please stamp the o tni copy and
          return to my office for filing.


                  Thank you for your attention and cooperation in ihis matter.


                  With kind regards, 1 am                                        /
                                                                           Youijt truly.
                                                                                     /
                                                                                          /
                                                                                         /

                                                                           Jerome H. Moruux

          JHM/jbd
          Enclosures


          cc:     Ms. Renee Auld
Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 334 of 335 PageID #:
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     GILBERT DUGAS                                         16"' JUDICIAL DISTRICT COURT

     VERSUS                                                DOCKET NUMBER: 85926A

     ACE AMERICAN INSURANCE COMPANY,                       ST. MARTIN PARISH
     CRST EXPEDITED INC., MARK STRAUSS,
     PILOT TRAVEL CENTERS LLC - STORE                      STATE OF LOUISI ANA
     #274, AND PROGRESSIVE SECURITY
     INSURANCE COMPANY



     STATE OF LOUISIANA


     PARISH OF LAFAYETTE


                                                AFFIDAVIT

            BEFORE ME. the undersigned authority, personally appeared JANEY                  DF. ROUEN.

     Secretary to Jerome H. Moroux. al the law firm of Broussard & David. Post Office
                                                                                      Box 3524.

    Lafayette, LA 70502, who. after being duly sworn, said that on April 2. 20 1 0 she served a certified


    copy of the Citation and Petition in this action under the Louisiana Long Arm Statute.
                                                                                           Revised

    Statute 13:3201, by mailing them to the defendant. Mark Strauss, by certified mail, return
                                                                                               receipt

    requested, properly addressed and postage prepaid: that on April 16. 2019 the Citation and
                                                                                               Petition

    were delivered and received by defendant. Mark Strauss: that site received the postal receipt

    attached hereto indicating that same had been delivered uxlelendant.

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                                                          ^ecjretary to^Jerome 1 1. Moruux

           SWORN TO AND SUBSCRIBED before me. Notary, this ..                   day of Ma\. 2019.




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                                           NOTARY PUBLIC

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Case 6:19-cv-00630-TAD-CBW Document 1-1 Filed 05/16/19 Page 335 of 335 PageID #:
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                 or on the front if space permits.                                                                                            1-IU-f
        1. Article Addressed to:                                                            D. Is delivery address different from item 1?      O Yes
                                                                                                if YES, enter delivery address below:                  No


        Mr. Mark Strauss
        79740 Camelback Drive
        Bermuda Dunes, CA 92203-1431

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        PS Form 3811, July 2015 PSN 7530-02-000-9053                                                                                  Domestic Return Receipt
